     Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 1 of 164

                                                                                         


                           81,7('67$7(6',675,&7&2857
                          6287+(51',675,&72)1(:<25.
                                                    
-$1('2(/8.(/2(5,&+$5'52(DQG
0$5<02(LQGLYLGXDOO\DQGRQEHKDOIRIDOO
RWKHUVVLPLODUO\VLWXDWHG                               
                                    Plaintiffs
             v                                         1RBBBBBBBBBBBBBBBBBBBBBBB
7+(75803&25325$7,21'21$/'-                        
75803LQKLVSHUVRQDOFDSDFLW\                        
'21$/'75803-5(5,&75803DQG                       -85<75,$/'(0$1'('
,9$1.$75803
                   Defendants        

                                 &/$66$&7,21&203/$,17
         Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 2 of 164




                                                     7$%/(2)&217(176

,1752'8&7,21

3$57,(6

           $        3ODLQWLIIV
           %        'HIHQGDQWV

-85,6',&7,21$1'9(18(

)$&76

,        7+(75803(17(535,6(

           $        7KH7UXPS$VVRFLDWLRQLQ)DFW
           %        7KH7UXPS&RUS(QWHUSULVH

,,       %(7:((17+(($5/<$1'0,'6758035(,19(17('+,6%5$1'
           $1'7+(75803(17(535,6(%(*$172&21&2&7,76)5$8'8/(17
           6&+(0(

,,,      7+(75803(17(535,6($*5((672(1'256($1'352027($&1
           7+528*+$3(59$6,9($1':,'(/<',66(0,1$7('0(66$*(

           $        7KH$&1³%XVLQHVV2SSRUWXQLW\´1HHGHG+LJK3URILOH(QGRUVHPHQW7R
                      5HFUXLWDQG0DLQWDLQ,QYHVWRUV
           %        7UXPS'LVVHPLQDWHGWKH0HVVDJH7KURXJK$&19LGHRV
           &        7UXPS'LVVHPLQDWHGWKH0HVVDJH7KURXJK3ULQWDQG2QOLQH0HGLD
           '        7UXPS'LVVHPLQDWHGWKH0HVVDJHDW$&1(YHQWV
           (        7UXPS'LVVHPLQDWHGWKH0HVVDJH7KURXJK1DWLRQDO3ULPHWLPH7HOHYLVLRQ

,9       7+(75803(17(535,6(.12:,1*/<&219(<('$&216,67(17
           )5$8'8/(170(66$*($%287$&1

           $        7KH7UXPS(QWHUSULVH)DOVHO\5HSUHVHQWHGWKDWWKH$&1%XVLQHVV
                      2SSRUWXQLW\2IIHUHG&RQVXPHUVD5HDVRQDEOH3UREDELOLW\RI&RPPHUFLDO
                      6XFFHVV
                               7UXPS0LVUHSUHVHQWHG$&1¶V5LVN3URILOH
                               7UXPS)DOVHO\&ODLPHG7KDW$&1¶V%XVLQHVV0RGHO DQG'LUHFW
                                  6HOOLQJLQ*HQHUDO 3URYLGHGD9LDEOH6RXUFHRI,QFRPHIRU
                                  3URVSHFWLYH,QYHVWRUV
                               7UXPS0LVUHSUHVHQWHGWKH&RPPHUFLDO9LDELOLW\RI$&1¶V3URGXFWV
                                  (VSHFLDOO\WKH$&19LGHR3KRQH
        Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 3 of 164




         %        7UXPS)DOVHO\5HSUHVHQWHGWKDW+H*HQXLQHO\6XSSRUWHG$&1DQG)DLOHG7R
                    'LVFORVH7KDW+H:DV%HLQJ3DLG/DYLVKO\IRU+LV(QGRUVHPHQW
         &        7UXPS)DOVHO\5HSUHVHQWHGWKDW+LV(QGRUVHPHQW:DV3UHGLFDWHGRQ
                    $SSURSULDWH'XH'LOLJHQFHDQG3HUVRQDO([SHULHQFHZLWK$&1¶V%XVLQHVV

9      7+(75803(17(535,6(¶6)5$8'8/(17352027,21$1'
         (1'256(0(172)$&1:$67+(.(<)$&725,13/$,17,))6¶
         ,19(670(17'(&,6,216

         $        -DQH'RH
         %        /XNH/RH
         &        5LFKDUG5RH
         '        0DU\0RH

9,     7+(75803(17(535,6($1'$&1¶6&2)281'(5:$6,192/9(',1
         6,'('($/67+$7)$&,/,7$7('021(<)/2:%(7:((17+(0

         $        $&1¶V&R)RXQGHU%RXJKW3URSHUW\$URXQG7KH7UXPS2UJDQL]DWLRQ¶V
                    0DMRU*ROI&RXUVH'HYHORSPHQWLQ1RUWK&DUROLQD
         %        $&1+DV3DLGWKH7UXPS(QWHUSULVH7R+ROG&KDULWDEOH*ROI7RXUQDPHQWVDW
                    7UXPS*ROI&OXEV
         &        7UXPS-RLQHGWKH$GYLVRU\%RDUGRIWKH68&&(66)RXQGDWLRQDQ$IILOLDWHRI
                    SUCCESS from Home MagazineZKLFK3XUSRUWHG7R3URYLGH³7KLUG3DUW\
                    9DOLGDWLRQ´RIWKH$&1%XVLQHVV2SSRUWXQLW\

9,,    7+(75803(17(535,6(¶621*2,1*352027,21$1'(1'256(0(17
         2)$&1

9,,, 7+(75803(17(535,6(¶6)5$8'8/(17352027,21$1'
       (1'256(0(172)7+(758031(7:25.

         $        ,GHDO+HDOWK%DFNJURXQG '61&/LFHQVLQJ'HDO
         %        %DFNJURXQGRQ7KH7UXPS1HWZRUN
         &        7UXPS3URPRWHGDQG(QGRUVHGWKH7UXPS1HWZRUNZLWKD:LGHO\
                    'LVWULEXWHGDQG3HUYDVLYH0HVVDJH
         '        7UXPS)DOVHO\5HSUHVHQWHG7KDW&RQVXPHUV+DGD5HDVRQDEOH3UREDELOLW\RI
                    &RPPHUFLDO6XFFHVVLQ7KH7UXPS1HWZRUN
         (        7UXPS)DOVHO\5HSUHVHQWHGWKDW+H:DV(QGRUVLQJ7KH7UXPS1HWZRUN
                    %HFDXVH,W:DV+LV&RPSDQ\DQG%HFDXVH+H*HQXLQHO\%HOLHYHG,W:RXOG
                    %HD6XFFHVV




                                                                    LL
        Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 4 of 164




,;      7+(75803(17(535,6(¶6)5$8'8/(17352027,21$1'
          (1'256(0(172)7+(75803,167,787(

          $        7UXPS)DOVHO\5HSUHVHQWHG7KDW&RQVXPHUV+DG5HDVRQDEOH3UREDELOLW\RI
                     &RPPHUFLDO6XFFHVVLQ7KH7UXPS,QVWLWXWH
          %        7UXPS)DOVHO\5HSUHVHQWHGWKDW+H6XSSRUWHGWKH7UXPS,QVWLWXWH%HFDXVH
                     +H%HOLHYHG,W2IIHUHGD5HDVRQDEOH3UREDELOLW\RI&RPPHUFLDO6XFFHVV
                      5DWKHUWKDQ%HFDXVHWKH7UXPS(QWHUSULVH:DV%HLQJ3DLG 
          &        7UXPS)DOVHO\5HSUHVHQWHGWKDW+LV(QGRUVHPHQW:DV3UHGLFDWHGRQ
                     $SSURSULDWH'XH'LOLJHQFHDQGRU,QVLGH,QIRUPDWLRQ

;       &/$66$//(*$7,216

&$86(62)$&7,21

&281721(

&28177:2

&28177+5((

&2817)285

&2817),9(

&28176,;

&28176(9(1

&2817(,*+7

35$<(5)255(/,()

-85<'(0$1'










                                                                   LLL
      Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 5 of 164




        3ODLQWLIIV-DQH'RH/XNH/RH5LFKDUG5RHDQG0DU\0RHRQEHKDOIRIWKHPVHOYHVDQG

RWKHUVVLPLODUO\VLWXDWHGDOOHJHXSRQSHUVRQDONQRZOHGJHDVWRWKHPVHOYHVDQGLQIRUPDWLRQDQG

EHOLHIDVWRRWKHUPDWWHUVDVIROORZV

                                           ,1752'8&7,21

             7KLVFDVHLVDERXWIRXUZRUNLQJFODVV$PHULFDQVDQGWKRXVDQGVPRUHMXVWOLNH

WKHPZKRZHUHGHOLEHUDWHO\GHIUDXGHGE\'RQDOG-7UXPSKLVIDPLO\DQGWKHFRUSRUDWLRQWKDW

EHDUVWKHLUQDPH7KH7UXPSVFRQQHGHDFKRIWKHVHYLFWLPVLQWRJLYLQJXSKXQGUHGVRU

WKRXVDQGVRIGROODUV²ORVVHVWKDWPDQ\H[SHULHQFHGDVGHYDVWDWLQJDQGOLIHDOWHULQJ6XUHO\WKH

7UXPSVGLVPLVVHGWKHVHDPRXQWV DQGWKHOLYHVWKH\ZUHFNHG DVWULYLDO%XWE\GHIUDXGLQJVR

PDQ\IRUVRORQJWKH7UXPSVPDGHPLOOLRQV

             )RUPRUHWKDQDGHFDGH'HIHQGDQWV7KH7UXPS&RUSRUDWLRQ'RQDOG-7UXPS

'RQDOG7UXPS-U(ULF7UXPSDQG,YDQND7UXPS WKHODWWHUIRXUFROOHFWLYHO\WKH³,QGLYLGXDO

'HIHQGDQWV´ KDYHRSHUDWHGDODUJHDQGFRPSOH[HQWHUSULVHZLWKDVLQJXODUJRDOWRHQULFK

WKHPVHOYHVE\V\VWHPDWLFDOO\GHIUDXGLQJHFRQRPLFDOO\PDUJLQDOL]HGSHRSOHORRNLQJWRLQYHVWLQ

WKHLUHGXFDWLRQVVWDUWWKHLURZQVPDOOEXVLQHVVHVDQGSXUVXHWKH$PHULFDQ'UHDP

             &HQWUDOWR'HIHQGDQWV¶IUDXGXOHQWVFKHPHZDVDFRPSDQ\FDOOHG$&1DPXOWL

OHYHOPDUNHWLQJFRPSDQ\ ³0/0´ WKDWRIIHUVDEXVLQHVVRSSRUWXQLW\WRLQGLYLGXDOSDUWLFLSDQWV

)URPWRDWOHDVW'HIHQGDQWVUHFHLYHGPLOOLRQVRIGROODUVLQVHFUHWSD\PHQWVWR

SURPRWHDQGHQGRUVH$&1,QUHWXUQ'RQDOG-7UXPS ³7UXPS´ WROGSURVSHFWLYHLQYHVWRUV

WKDW³>\@RXKDYHDJUHDWRSSRUWXQLW\EHIRUH\RXDW$&1ZLWKRXWDQ\RIWKHULVNVPRVW

HQWUHSUHQHXUVKDYHWRWDNH´DQGWKDW$&1¶VIODJVKLSYLGHRSKRQHZDVGRLQJ³KDOIDELOOLRQ

GROODUV¶ZRUWKRIVDOHVD\HDU´7UXPSDOVRWROGLQYHVWRUVWKDWKHKDG³H[SHULHQFHGWKH

RSSRUWXQLW\´DQG³GRQHDORWRIUHVHDUFK´DQGWKDWKLVHQGRUVHPHQWZDV³QRWIRUDQ\PRQH\´

1RWDZRUGRIWKLVZDVWUXH
      Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 6 of 164




            ,QWKHPLQGVRIPDQ\$PHULFDQVWKH7UXPSEUDQGZDVRQFHV\QRQ\PRXVZLWK

HQWUHSUHQHXULDOVXFFHVV,QGHHG7UXPSVSHQW\HDUVFXOWLYDWLQJDEUDQGIRUKLPVHOIEDVHGRQWKH

LPSUHVVLRQWKDWKHZDVDVXFFHVVIXOHQWUHSUHQHXU'HIHQGDQWVFRQGXFWHGWKHDIIDLUVRIWKHLU

HQWHUSULVHDVDIUDXGXOHQWVFKHPHWROHYHUDJHWKDWEUDQGDQGXVHDVHULHVRIIDOVHDQGPLVOHDGLQJ

VWDWHPHQWVDQGRPLVVLRQVWRHQVQDUHYXOQHUDEOHFRQVXPHUVLQFHUWDLQVRFDOOHGEXVLQHVV

RSSRUWXQLWLHVDQGWUDLQLQJSURJUDPVOLNH$&1

            'HIHQGDQWV¶DVVRFLDWLRQLQIDFWHQWHUSULVHLQFOXGHGDQDUUD\RIKROGLQJ

FRPSDQLHVRSHUDWLQJFRPSDQLHVOLFHQVLQJFRPSDQLHVDSURGXFWLRQFRPSDQ\DUHDOHVWDWH

FRPSDQ\DQGWZRRIWKH7UXPSJROIFOXEV FROOHFWLYHO\WKH³7UXPS$VVRFLDWLRQLQ)DFW´ 7KH

PHPEHUVRIWKH7UXPS$VVRFLDWLRQLQ)DFWGLGQRWVKDUHFRPPRQRZQHUVKLSQRUZHUHWKH\DOO

ZKROO\RZQHGGLUHFWO\RULQGLUHFWO\E\'HIHQGDQWV1HYHUWKHOHVVDWDOOUHOHYDQWWLPHVWKH

7UXPS(QWHUSULVHZDVGLUHFWHGDQGFRQWUROOHGE\'HIHQGDQWV,QGHHG$OOHQ:HLVVHOEHUJWKH

&KLHI)LQDQFLDO2IILFHURI³7KH7UXPS2UJDQL]DWLRQ´WHVWLILHGDWD-XQHGHSRVLWLRQWKDW

7KH7UXPS&RUSRUDWLRQZDV³WKHRSHUDWLQJHQWLW\WKDWZHXVH´DQGWKDWWKH,QGLYLGXDO

'HIHQGDQWVKDGWKHDXWKRULW\WRVLJQFKHFNV³RYHUDOORXUHQWLWLHV´

            'HIHQGDQW7KH7UXPS&RUSRUDWLRQDVDOHJDOHQWLW\DQGHQWHUSULVH WKH³7UXPS

&RUS(QWHUSULVH´DQGWRJHWKHUZLWKWKHZLWK7UXPS$VVRFLDWLRQLQ)DFWWKH³7UXPS

(QWHUSULVH´ ZDVRSHUDWHGGLUHFWHGDQGFRQWUROOHGE\WKH,QGLYLGXDO'HIHQGDQWV

            %HWZHHQDQGWKH7UXPS(QWHUSULVHIUDXGXOHQWO\SURPRWHGDQG

HQGRUVHGWKHEXVLQHVVRSSRUWXQLWLHVDQGWUDLQLQJSURJUDPV FROOHFWLYHO\WKH³,QYHVWPHQWV´ 

RIIHUHGE\DWOHDVWWKUHHFRQVXPHUIDFLQJFRPSDQLHV

               $     $&12SSRUWXQLW\//& ³$&1´ DQ0/0

               %     771//& GED³7KH7UXPS1HWZRUN´ DQRWKHU0/0DQG




                                                
      Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 7 of 164




               &     %XVLQHVV6WUDWHJLHV*URXS//& GED³7KH7UXPS,QVWLWXWH´ DOLYH

                       VHPLQDUSURJUDPWKDWSXUSRUWHGWRVHOO7UXPS¶V³VHFUHWVWRVXFFHVV´LQ

                       H[WUDYDJDQWO\SULFHGVHPLQDUV

            ,QH[FKDQJHIRUODUJHVHFUHWSD\PHQWVIURPWKHVHFRPSDQLHV FROOHFWLYHO\WKH

³(QGRUVHG(QWLWLHV´ WKH7UXPS(QWHUSULVHGHOLEHUDWHO\PLVOHGFRQVXPHUVE\GHOLYHULQJD

FRPPRQDQGFRQVLVWHQWPHVVDJH  WKDWSURVSHFWLYHLQYHVWRUVZRXOGKDYHDUHDVRQDEOH

SUREDELOLW\RIFRPPHUFLDOVXFFHVVLIWKH\ERXJKWLQWRWKH ,QYHVWPHQWV  WKDW7UXPSZDV

HQGRUVLQJDQGSURPRWLQJWKH,QYHVWPHQWVEHFDXVHKHEHOLHYHGWKDWWKH\RIIHUHGDUHDVRQDEOH

SUREDELOLW\RIFRPPHUFLDOVXFFHVV UDWKHUWKDQEHFDXVHWKH7UXPS(QWHUSULVHZDVEHLQJSDLG 

DQG  WKDW7UXPS¶VHQGRUVHPHQWZDVSUHGLFDWHGRQ'HIHQGDQWV¶H[WHQVLYHGXHGLOLJHQFHLQVLGH

LQIRUPDWLRQDQGSHUVRQDOH[SHULHQFHZLWKWKH,QYHVWPHQWV FROOHFWLYHO\WKH³0HVVDJH´ 

            7KH0HVVDJHZDVPDWHULDOO\IDOVH7KH,QYHVWPHQWVGLGQRW²DQGFRXOGQRW²

RIIHUDUHDVRQDEOHSUREDELOLW\RIVXFFHVV1RUZDV7UXPSHQGRUVLQJWKH,QYHVWPHQWVEHFDXVHKH

EHOLHYHGWKH\ZRXOG,QGHHG'HIHQGDQWVZHUHDZDUHWKDWWKHYDVWPDMRULW\RIFRQVXPHUVZRXOG

ORVHZKDWHYHUPRQH\WKH\LQYHVWHGLQWKHEXVLQHVVRSSRUWXQLWLHVDQGWUDLQLQJSURJUDPVWKH

(QGRUVHG(QWLWLHVRIIHUHG,WZDVDIWHUDOOWKHSRWHQWLDOWRSURILWIURPFRQVXPHUV¶XQUHFRXSHG

LQYHVWPHQWVWKDWGUHZWKH7UXPS(QWHUSULVHWRWKH(QGRUVHG(QWLWLHVLQWKHILUVWSODFH$QG

ZKLOH'HIHQGDQWVFODLPHGWRKDYHFRQGXFWHGH[WHQVLYHGLOLJHQFHDQGUHVHDUFKDQGWRKDYH

DFFHVVWRLQVLGHLQIRUPDWLRQRUSHUVRQDOH[SHULHQFHZLWKWKH,QYHVWPHQWVWKRVHFODLPVWRRZHUH

IDOVHDQGPLVOHDGLQJ

           7KH0HVVDJHZDVGHOLYHUHGSULPDULO\E\7UXPSKLPVHOIZKRPDGHPDWHULDOO\

IDOVHDQGPLVOHDGLQJVWDWHPHQWVDERXWWKHQDWXUHRIWKH,QYHVWPHQWVDVZHOODVDERXWKLVRZQ

LQFHQWLYHVGLOLJHQFHDQGH[SHULHQFHLQSHUVRQDWWKH(QGRUVHG(QWLWLHV¶HYHQWVDQGLQQXPHURXV




                                                
      Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 8 of 164




ZULWWHQSXEOLFDWLRQVDQGYLGHRV'HIHQGDQWVDOVRGHOLEHUDWHO\HQKDQFHGDPSOLILHGDQG

DXJPHQWHGWKH0HVVDJHE\DPRQJRWKHUWKLQJVVHOOLQJWRWKH(QGRUVHG(QWLWLHVWKHULJKWWRXVH

WKH7UXPSEUDQGOLFHQVLQJWKH7UXPSQDPHWRFHUWDLQRIWKH(QGRUVHG(QWLWLHVDQGHYHQ

DUUDQJLQJIRURQHRIWKH(QGRUVHG(QWLWLHVWRDSSHDURQWKHSULPHWLPHQDWLRQDOWHOHYLVLRQVKRZ

The Celebrity Apprentice$OORIWKLVZDVLQWHQGHGWRFUHDWH DQGGLGFUHDWH DYHQHHURI

OHJLWLPDF\DQGDQLPSUHVVLRQRIVXFFHVVZKLFKIXUWKHUHQFRXUDJHGFRQVXPHUVWRWDNHWKH

0HVVDJHVHULRXVO\DQGUHO\RQLW

           $VWKH\FRQYH\HGWKH0HVVDJH'HIHQGDQWVUHSHDWHGO\IDLOHGWRFRUUHFWWKH

LPSUHVVLRQWKH\KDGGHOLEHUDWHO\WDNHQVWHSVWRFUHDWH²QDPHO\WKHLPSUHVVLRQWKDW7UXPSZDV

HQGRUVLQJWKH,QYHVWPHQWVEHFDXVHKHJHQXLQHO\EHOLHYHGWKDWWKH,QYHVWPHQWVRIIHUHGDUHDOLVWLF

SUREDELOLW\RIFRPPHUFLDOVXFFHVVDQGWKDWWKLVEHOLHIZDVSUHGLFDWHGRQH[WHQVLYHGXHGLOLJHQFH

LQVLGHLQIRUPDWLRQDQGSHUVRQDOH[SHULHQFHZLWKWKH,QYHVWPHQWV'HIHQGDQWVZLOOIXOO\IDLOHGWR

GLVFORVHWKHLUILQDQFLDOWLHVWR²DQGTXLGSURTXRDUUDQJHPHQWVZLWK²WKH(QGRUVHG(QWLWLHV

           7KH0HVVDJHKDGWKHHIIHFW'HIHQGDQWVLQWHQGHGDQGIRUZKLFKWKH7UXPS

(QWHUSULVHZDVODYLVKO\SDLG7UXPS¶VVHHPLQJO\JHQXLQHHQGRUVHPHQWEURXJKWSURVSHFWLYH

LQYHVWRUVWRWKHWDEOHDQGKHOSHGWKHPRYHUFRPHDQ\OLQJHULQJUHVHUYDWLRQVDERXWWKH

,QYHVWPHQWV,QGHHGIRUWKHZRUNLQJSHRSOHZKRIHOOSUH\WRWKH,QYHVWPHQWVWKH7UXPS

HQGRUVHPHQWZDVW\SLFDOO\WKHILUVWWKLQJWKH\OHDUQHGDERXWWKH,QYHVWPHQWVWKHUHDVRQWKH\

WRRNDQLQWHUHVWDQGWKHGHWHUPLQLQJIDFWRULQWKHLUGHFLVLRQWRLQYHVW³7UXVWPH´7UXPSRIWHQ

VDLGLQHQGRUVLQJDQGSURPRWLQJWKH,QYHVWPHQWV8QIRUWXQDWHO\IDUWRRPDQ\YLFWLPVGLG

           0DQ\RIWKH7UXPS(QWHUSULVH¶VYLFWLPVZHUHWKHQDQGDUHQRZDPRQJWKHPRVW

HFRQRPLFDOO\PDUJLQDOL]HGDQGYXOQHUDEOH$PHULFDQV,QGHHGWKHYLFWLPVZHUHVSHFLILFDOO\

WDUJHWHGbecauseWKH\ZHUHQRWH[SHULHQFHGLQILQDQFLDODQGFRPPHUFLDOPDWWHUV




                                                
      Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 9 of 164




           7KRVHFRQVXPHUVGLGQRWDFKLHYHWKHVXFFHVVWKH0HVVDJHSURPLVHG7RWKH

FRQWUDU\3ODLQWLIIVKDYHVXIIHUHGFRQVLGHUDEOHILQDQFLDOORVVEHFDXVHRIWKHLUUHOLDQFHRQWKHIDOVH

DQGZLOOIXOO\PLVOHDGLQJ0HVVDJH

           $VDOOHJHGDERYH$&1²VKRUWIRU$PHULFDQ&RPPXQLFDWLRQV1HWZRUN²ZDV

FHQWUDOWRWKHDVSHFWRIWKH7UXPS(QWHUSULVH¶VIUDXGXOHQWVFKHPHWKDWLVFKDOOHQJHGE\WKLV

DFWLRQ)URPWRDWOHDVWWKH7UXPS(QWHUSULVHUHFHLYHGPLOOLRQVRIGROODUVLQVHFUHW

SD\PHQWVWRSURPRWHDQGHQGRUVH$&17KHVHVHFUHWSD\PHQWVWRRNWKHIRUPRIVSHDNLQJIHHV

IRU7UXPS¶VDSSHDUDQFHVLQ$&1YLGHRVSXEOLFDWLRQVDQGHYHQWVSD\PHQWVIRU$&1¶V

DSSHDUDQFHVRQThe Celebrity ApprenticeDQGIHHVIRU$&1JROIWRXUQDPHQWVKHOGDW7UXPSJROI

FOXEV$OORIWKLVZDVGHOLEHUDWHO\FRQFHDOHGIURPXQVXVSHFWLQJ$&1UHFUXLWV

           ,QH[FKDQJHIRUWKHVHXQGLVFORVHGSD\PHQWV7UXPSDFWLQJLQFRQFHUWZLWKDQG

WKURXJKWKHPHPEHUVRIWKH7UXPS(QWHUSULVHWKDW'HIHQGDQWVFRQWUROOHGUHSHDWHGO\H[SOLFLWO\

DQGERPEDVWLFDOO\HQGRUVHG$&1LQP\ULDGIRUPDWVDQGIRUXPV'HIHQGDQWVDQGWKH7UXPS

(QWHUSULVHPDGHDQGGLVVHPLQDWHGQXPHURXVNQRZLQJO\IDOVHDQGPLVOHDGLQJVWDWHPHQWV

FRQFHUQLQJWKHYDOXHRI$&1¶VWHFKQRORJ\WKHVRXQGQHVVRILWVEXVLQHVVPRGHODQGWKHOHYHORI

ULVNSDUWLFLSDQWVZRXOGIDFHLQSXUVXLQJWKH$&1EXVLQHVVRSSRUWXQLW\

           'HIHQGDQWVZHUHIXOO\DZDUHWKDWWKHVHVWDWHPHQWVZHUHIDOVHDQGPLVOHDGLQJ1RW

RQO\GLGWKH7UXPS(QWHUSULVHKDYHDORQJVWDQGLQJFRPPHUFLDOUHODWLRQVKLSZLWK$&1EXW

VHYHUDORIWKH,QGLYLGXDO'HIHQGDQWVLQFOXGLQJ7UXPSKLPVHOIKDGFORVHSHUVRQDODQGILQDQFLDO

WLHVWR$&1¶VIRXQGHUVDQGSULQFLSDOV,QGHHGGXULQJWKHWLPHWKDW'HIHQGDQWVZHUHHQGRUVLQJ

DQGSURPRWLQJ$&1WKH7UXPS(QWHUSULVHRSHQHGDUHDOW\RIILFHDWWKHJROIFRXUVHWKDWKDGMXVW

EHHQUHEUDQGHGWKH7UXPS1DWLRQDO*ROI&OXELQ0RRUHVYLOOH1RUWK&DUROLQDDQGHQWLWLHV

FRQWUROOHGE\DQ$&1FRIRXQGHUERXJKWPXOWLSOHSURSHUWLHVQHDUE\DURXQGWKHVDPHWLPH,Q




                                                 
        Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 10 of 164




DGGLWLRQLQIRUPDWLRQWKDWZDVDFFHVVLEOHWR7KH7UXPS&RUSRUDWLRQDQGWKH7UXPS(QWHUSULVH

    EXWQRWWRWKHFRQVXPHUVWRZKRP7UXPSZDVSLWFKLQJWKH$&1EXVLQHVVRSSRUWXQLW\ PDGH

FOHDUWKDWWKHOLNHOLKRRGRIFRPPHUFLDOVXFFHVVIRUDQDYHUDJHQHZSDUWLFLSDQWZDVPLQLVFXOH

             ,QDGGLWLRQWRWKHLUNQRZLQJO\IDOVHDQGPLVOHDGLQJVWDWHPHQWVDERXWWKHQDWXUHRI

WKH$&1EXVLQHVVRSSRUWXQLW\'HIHQGDQWVPDGHDQGGLVVHPLQDWHGIDOVHDQGPLVOHDGLQJ

VWDWHPHQWVLQGLFDWLQJWKDW7UXPSZDVHQGRUVLQJWKHFRPSDQ\EHFDXVHKHEHOLHYHGWKDWWKH$&1

EXVLQHVVRSSRUWXQLW\RIIHUHGDUHDVRQDEOHSUREDELOLW\RIFRPPHUFLDOVXFFHVV UDWKHUWKDQEHFDXVH

WKH7UXPS(QWHUSULVHZDVEHLQJSDLG DVZHOODVVWDWHPHQWVGHVLJQHGWRDVVXUHFRQVXPHUVWKDW

WKH\KDGGRQHH[WHQVLYHUHVHDUFKEHIRUHHQGRUVLQJ$&1DQGKDGH[SHULHQFHZLWKWKH$&1

EXVLQHVVRSSRUWXQLW\$OODYDLODEOHHYLGHQFHLVWRWKHFRQWUDU\

             7KH7UXPS(QWHUSULVH¶VIUDXGXOHQWSURPRWLRQDQGHQGRUVHPHQWRI$&1KDGWKH

GHVLUHGHIIHFWRQ3ODLQWLIIV,QGHHG3ODLQWLIIVPDGHWKHIDWHIXOGHFLVLRQWRLQYHVWLQ$&1

EHFDXVHRIWKH7UXPS(QWHUSULVH¶VSURPRWLRQDQGHQGRUVHPHQW$VWKHWUXWKEHKLQGWKH0HVVDJH

HPHUJHG3ODLQWLIIVHYHQWXDOO\UHDOL]HGWKDWWKH\KDGEHHQVFDPPHGFXWWKHLUORVVHVDQGTXLWWKH

EXVLQHVV7KH7UXPS(QWHUSULVH¶VIUDXGXOHQW0HVVDJHZDVWKXVWKHFDXVHRIERWKWKH3ODLQWLIIV¶

LQYHVWPHQWVDQGWKH3ODLQWLIIV¶ORVVHV

             3ODLQWLII-DQH'RHLVDUHVLGHQWRI&DOLIRUQLDZKRZRUNVDVDKRVSLFHFDUHJLYHU,Q

'RHDWWHQGHGDPHHWLQJIRUSURVSHFWLYH$&1UHFUXLWV$VVKHOLVWHQHGWRWKHSUHVHQWDWLRQV

'RHZDVVNHSWLFDODQGXQSHUVXDGHG%XWWKHQVKHVDZDSURPRWLRQDOYLGHRSURPLQHQWO\

IHDWXULQJ7UXPS7UXPS¶VHQGRUVHPHQWZDVDWXUQLQJSRLQW'RHZDWFKHGFOLSVRI$&1

DSSHDULQJRQTheCelebrity ApprenticeZKHUH7UXPSVWRRGDORQJVLGHWKHIRXQGHUVDQGSUDLVHG

WKHFRPSDQ\6KHOLVWHQHGDV7UXPSVDLGWKDWLQYHVWLQJLQ$&1ZDVDJUHDWEXVLQHVV

RSSRUWXQLW\²DQGWKDWWKHVWUHQJWKRIWKHEXVLQHVVRSSRUWXQLW\ZDVZK\KHZDVHQGRUVLQJLW6KH




                                                  
     Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 11 of 164




EHOLHYHGKHKDGUHVHDUFKHG$&1H[WHQVLYHO\DQGWKDWKLVVWDWHPHQWVZHUHVXSSRUWHGE\KLVRZQ

UHVHDUFK'RHKDGQRLGHD7UXPSZDVEHLQJSDLGODYLVKO\IRUKLVHQGRUVHPHQW²WKHYLGHRPDGH

QRPHQWLRQRIWKDW'RHMRLQHG$&1WKHQDQGWKHUH'HVSLWHKHUOLPLWHGUHVRXUFHV'RHZURWHD

FKHFNIRUWKHUHJLVWUDWLRQIHHLQUHOLDQFHRQ7UXPS¶VHQGRUVHPHQW,QWKHWZR\HDUVWKDW

IROORZHG'RHSDLGWKRXVDQGVRIGROODUVLQIHHVDQGH[SHQVHVWRDWWHQG$&1HYHQWVDQGKRVW

$&1PHHWLQJVLQDQHIIRUWWRVXFFHHGZLWKWKHEXVLQHVV%XWXOWLPDWHO\VKHKDGH[WUHPHO\

OLPLWHGVXFFHVV²VKHHDUQHGDVLQJOHFKHFNIRU(YHQWXDOO\'RHUHDOL]HGWKDW$&1ZDVQRW

DWDOOZKDW7UXPSKDGGHVFULEHGDQGWKDWVKHZDVMXVWJRLQJWRFRQWLQXHORVLQJPRQH\:KHQ

KHUQH[WDQQXDOUHQHZDOGDWHFDPHXS'RHGHFLGHGQRWWRUHQHZKHUSRVLWLRQ

           3ODLQWLII/XNH/RHLVDVHOIHPSOR\HGUHVLGHQWRI&DOLIRUQLD/RHILUVWKHDUGDERXW

$&1LQPLGZKHQKHZDVZRUNLQJIRUWKH6DOYDWLRQ$UP\LQ/RV$QJHOHV&DOLIRUQLD$

FROOHDJXHDSSURDFKHG/RHDQGLQYLWHGKLPWRDQLQIRUPDWLRQDOPHHWLQJLQ/RV$QJHOHV$WWKDW

PHHWLQJ/RHVDZDSURPRWLRQDOYLGHRSURPLQHQWO\IHDWXULQJ7UXPS/RHKDGZDWFKHGThe

Celebrity ApprenticeDIHZWLPHVDQGKDGVHHQ7UXPSSUHVHQWKLPVHOIDVDVDYY\H[SHULHQFHG

DQGNQRZOHGJHDEOHHQWUHSUHQHXUZKRKDGDFKLHYHGUHPDUNDEOHZHDOWKDQGFHOHEULW\&ULWLFDOO\

IRU/RH7UXPSSURPRWHG$&1DVD³JRRGPRQH\PDNLQJRSSRUWXQLW\´DQGVDLGWKDWKHZDVJODG

WREHDSDUWRI$&1EHFDXVHKHJHQXLQHO\EHOLHYHGWKHFRPSDQ\SURYLGHGDSDWKWRFRPPHUFLDO

VXFFHVV7UXPS¶VHQGRUVHPHQWZDVWKHNH\IDFWRULQ/RH¶VGHFLVLRQWRLQYHVWLQWKH$&1

EXVLQHVVRSSRUWXQLW\'HVSLWHEHLQJKRPHOHVVDWWKHWLPH/RHSDLGWKHUHJLVWUDWLRQIHH

ZLWKDORDQIURPDFROOHDJXH7KRXJK/RHZRUNHGKDUGDQGDWWHQGHGPRUHWKDQRU

PHHWLQJV/RHQHYHUUHFHLYHGDQ\LQFRPHIURP$&1/RHFDPHWRUHDOL]HWKDWFRQWUDU\WRZKDW

7UXPSKDGVDLGLQWKHSURPRWLRQDOYLGHRV$&1ZDVQRWDJRRGPRQH\PDNLQJRSSRUWXQLW\DQG

KHGHFLGHGQRWWRUHQHZKLVPHPEHUVKLS




                                                
     Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 12 of 164




           3ODLQWLII5LFKDUG5RHLVDUHVLGHQWRI0DU\ODQGZKRZRUNVDVDIRRGGHOLYHU\

GULYHU5RHILUVWOHDUQHGDERXW$&1LQPLG7KRXJK5RHZDVLQLWLDOO\VNHSWLFDODERXW

LQYHVWLQJLQ$&1KHGHFLGHGWRORRNXS$&1RQ<RX7XEH²DQGWKHILUVWWKLQJWKDWFDXJKWKLV

H\HZDVDYLGHRRI7UXPSIURPThe Celebrity ApprenticeZKHUH7UXPSVWRRGQH[WWRWZRRIWKH

$&1IRXQGHUV*UHJ3URYHQ]DQRDQG7RQ\&XSLV]DQGHQGRUVHG$&1VD\LQJKHNQHZWKH

FRPSDQ\ZHOO$VZLWKRWKHU3ODLQWLIIVWKHYLGHRZDVWKHWXUQLQJSRLQWIRU5RH5RHEHOLHYHG

WKDW7UXPSZDVDVXFFHVVIXOEXVLQHVVPDQZKRNQHZKRZWRPDNHPRQH\DQGWKDWE\SURPRWLQJ

$&17UXPSZDVWHOOLQJRWKHUVWKDWWKH\WRRFRXOGPDNHPRQH\DQGEHFRPHVXFFHVVIXOEXVLQHVV

RZQHUVOLNHKLP7KRXJK5RHZDVQRWDEOHWRDIIRUGWKHUHJLVWUDWLRQIHHDWILUVWKHVDYHG

XSDQGSDLGDIHZPRQWKVODWHU$IWHUVLJQLQJXS5RHLQFXUUHGPXOWLSOHDGGLWLRQDOIHHVDQG

H[SHQVHVFRQQHFWHGZLWKKLVSDUWLFLSDWLRQLQ$&1$WQRWLPHGLG5RHUHFRYHUDQ\RIWKHPRQH\

WKDWKHLQYHVWHG(YHQWXDOO\5RHUHFRJQL]HGWKDWKHZDVQRWPDNLQJDQ\PRQH\IURP$&1DQG

WKDW7UXPS¶VPHVVDJHZDVIDOVH5RHWKHQVWRSSHGHQJDJLQJZLWK$&1DQGGLGQRWUHQHZKLV

SRVLWLRQ

           3ODLQWLII0DU\0RHZDVDUHVLGHQWRI3HQQV\OYDQLDDWDOOWLPHVUHOHYDQWWRWKLV

&RPSODLQW0RHVLJQHGXSZLWK$&1LQ$SULO/LNHVRPDQ\RWKHUVVKHZDVUHFUXLWHG

LQWR$&1DWDORFDOPHHWLQJWKHFHQWHUSLHFHRIZKLFKZDVDSURPRWLRQDOYLGHRSURPLQHQWO\

IHDWXULQJ7UXPS¶VHQGRUVHPHQW0RHZDWFKHGLQWHQWO\DV7UXPSGHVFULEHG$&1DVDJUHDW

VRSKLVWLFDWHGFRPSDQ\DQGDVKHWRXWHGDQGSUDLVHG$&1¶VSURGXFWVHYHQVXJJHVWLQJWKDWKH

XVHGWKHSURGXFWVKLPVHOI0RVWRIDOO0RHZDVPRYHGE\7UXPS¶VVWDWHPHQWWKDWWKHUHZDV

KXJHSRWHQWLDOWRPDNHPRQH\ZLWK$&16KHGLGQRWKDYHWKHPRQH\WRVLJQXSULJKWDZD\EXW

RQKHUQH[WSD\GD\0RHSDLGWKHUHJLVWUDWLRQIHH6KHVSHQWQHDUO\WZR\HDUVZRUNLQJ

KDUGWRSXUVXHWKHEXVLQHVVRSSRUWXQLW\EX\LQJDQGVWXG\LQJWUDLQLQJDQGSURPRWLRQDOPDWHULDOV




                                                
     Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 13 of 164




SLWFKLQJWKHSURGXFWVDQGWKHEXVLQHVVRSSRUWXQLWLHVDQGDWWHQGLQJQXPHURXVPHHWLQJV$WHYHU\

PHHWLQJRUJDQL]HUVUHPLQGHGSDUWLFLSDQWVDERXW7UXPS¶VLQYROYHPHQW%XWGHVSLWHKHUKDUG

ZRUN0RHZDVQRWDEOHWRPDNHPRQH\DQGXOWLPDWHO\VKHUHDOL]HGWKDWVKHKDGEHHQPLVOHGE\

7UXPS¶VHQGRUVHPHQW$WWKHHQGRIVKHFXWKHUORVVHVDQGOHIWWKHFRPSDQ\

           %XWIRU'HIHQGDQWV¶IUDXGXOHQWSURPRWLRQDQGHQGRUVHPHQWRI$&1DFWLQJ

WKURXJKWKH7UXPS(QWHUSULVH3ODLQWLIIVZRXOGQRWKDYHSDLGWKHLQLWLDOIHHWRVLJQXSZLWK$&1

ZRXOGQRWKDYHSDLGUHQHZDOIHHVZRXOGQRWKDYHLQFXUUHGH[SHQVHVDWWHQGLQJPHHWLQJVDQG

WUDYHOLQJWRFRQYHQWLRQVZRXOGQRWKDYHSXUFKDVHGEXVLQHVVWRROVDQGLQFXUUHGRWKHUH[SHQVHVLQ

DWWHPSWLQJWRUHFUXLWFXVWRPHUVDQGRWKHUSDUWLFLSDQWVDQGZRXOGQRWKDYHIRUJRQHRWKHULQFRPH

           $&1ZDVQRWWKHRQO\FRQVXPHUIDFLQJFRPSDQ\VHOOLQJDEXVLQHVVRSSRUWXQLW\

RUWUDLQLQJSURJUDPIRUZKLFK'HIHQGDQWVDJUHHGWRGLVVHPLQDWHWKH0HVVDJHWKURXJKWKH7UXPS

(QWHUSULVHLQH[FKDQJHIRUVHFUHWSD\PHQWV

           ,Q7UXPSOLFHQVHGKLVQDPHWR%XVLQHVV6WUDWHJLHV*URXS//& GED³7KH

7UXPS,QVWLWXWH´ DFRPSDQ\WKDWSXUSRUWHGWRVHOO7UXPS¶VVHFUHWVIRUVXFFHVVLQWKHUHDOHVWDWH

EXVLQHVVLQWKHIRUPRIH[WUDYDJDQWO\SULFHGPXOWLGD\WUDLQLQJVHPLQDUV,QUHDOLW\DVXEVWDQWLDO

DPRXQWRIWKHFRQWHQWVROGWRWKRVHKXQJU\WROHDUQ7UXPS¶VLQVLJKWVIRUVXFFHVVLQUHDOHVWDWH

LQYHVWLQJZDVSODJLDUL]HGIURPRWKHUVRXUFHVDQG7UXPSKDGQRWKLQJWRGRZLWKWKHSXUSRUWHG

WHDFKLQJVRIWKHVRFDOOHG³,QVWLWXWH´

           ,QDGGLWLRQGXULQJLWV\HDUVRIGRLQJEXVLQHVVZLWK$&1WKH7UXPS(QWHUSULVH

ZDVVRLPSUHVVHGZLWKLWVSURILWDELOLW\WKDWLQWKH7UXPS(QWHUSULVHPDGHDGHDOZLWK

DQRWKHU0/0ZKLFKSXUSRUWHGWRVHOOYLWDPLQVDQGRWKHUVLPLODUFRPPRGLW\SURGXFWVWKURXJKD

QHWZRUNRILQGHSHQGHQWGLVWULEXWRUV8QOLNHWKHGHDOZLWK$&1WKH7UXPS(QWHUSULVHDJUHHGWR

OLFHQVHWKH7UXPSEUDQGWRWKH0/0ZKLFKZDVWKHQGXEEHGWKH7UXPS1HWZRUN7KLVGHDO




                                                 
     Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 14 of 164




ZDVDQHIIRUWRQWKH7UXPS(QWHUSULVH¶VSDUWWRGHHSHQLWVLQYROYHPHQWZLWKWKH0/0

LQGXVWU\²UHIOHFWLQJWKH7UXPS(QWHUSULVH¶VNQRZOHGJHEDVHGRQLWVFORVHUHODWLRQVKLSZLWK

$&1WKDWWKHZLGHVSUHDGORVVHVRIDYHUDJHLQYHVWRUVLQWKHVHVRUWVRI0/0VFDQJHQHUDWH

HQRUPRXVSURILWVIRUWKHRZQHUV6KRUWO\DIWHUVLJQLQJWKHOLFHQVLQJGHDOZLWKWKH7UXPS

(QWHUSULVHWKH7UXPS1HWZRUNKLUHGDQ$&1DGYLVRUWRUHGHVLJQLWVRZQFRPSHQVDWLRQSODQ

           7KH7UXPS(QWHUSULVHZDVSDLGLQVHFUHWWRHQGRUVHDQGSURPRWHWKH7UXPS

1HWZRUNIURPXQWLOWKHHQGRIVKRUWO\EHIRUHWKH7UXPS1HWZRUNFROODSVHG$VZLWK

$&1'HIHQGDQWVDFWLQJWKURXJKWKH7UXPS(QWHUSULVHPDGHRUGLVVHPLQDWHGDVHULHVRI

NQRZLQJO\IDOVHVWDWHPHQWVDERXWWKHUHWDLOGHPDQGIRULWVSURGXFWVDQGWKHOLNHOLKRRGRIVXFFHVV

IRUWKHSDUWLFLSDQWVLQLWVEXVLQHVVRSSRUWXQLWLHVDVZHOODVVWDWHPHQWVGHVLJQHGWRPLVOHDG

FRQVXPHUVLQWREHOLHYLQJWKDWWKHHQGRUVHPHQWZDVJHQXLQHDQGSUHGLFDWHGRQDSSURSULDWH

GLOLJHQFHLQVLGHLQIRUPDWLRQDQGSHUVRQDOH[SHULHQFH

           $VDUHVXOWRIWKH7UXPS(QWHUSULVH¶VIUDXGXOHQWSURPRWLRQDQGHQGRUVHPHQWRI

WKH,QYHVWPHQWV'HIHQGDQWVDUHOLDEOHIRUDSDWWHUQRIUDFNHWHHULQJDFWLYLW\LQYLRODWLRQRIWKH

5DFNHWHHU,QIOXHQFHGDQG&RUUXSW2UJDQL]DWLRQ ³5,&2´ $FW86& F FRQVSLULQJ

WRYLRODWH5,&286& G IDOVHDGYHUWLVLQJXQGHU&DOLIRUQLD%XVLQHVVDQG

3URIHVVLRQV&RGHXQIDLUFRPSHWLWLRQXQGHU&DOLIRUQLD%XVLQHVVDQG3URIHVVLRQV&RGH

XQIDLUDQGGHFHSWLYHWUDGHSUDFWLFHVXQGHUWKH0DU\ODQG&RQVXPHU3URWHFWLRQ$FW

XQIDLUDQGGHFHSWLYHDFWVXQGHUWKH3HQQV\OYDQLD8QIDLU7UDGH3UDFWLFHVDQG&RQVXPHU

3URWHFWLRQ/DZFRPPRQODZIDOVHDGYHUWLVLQJFRPPRQODZIUDXGDQGFRPPRQODZQHJOLJHQW

PLVUHSUHVHQWDWLRQ




                                                
     Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 15 of 164




                                          3$57,(6

       $    3ODLQWLIIV

          3ODLQWLII-DQH'RHLVDUHVLGHQWRI&DOLIRUQLDZKRSDUWLFLSDWHGLQWKH$&1

EXVLQHVVRSSRUWXQLW\IURPWREHFDXVHRIWKH7UXPS(QWHUSULVH¶VIUDXGXOHQWSURPRWLRQ

DQGHQGRUVHPHQWRI$&1

          3ODLQWLII/XNH/RHLVDUHVLGHQWRI&DOLIRUQLDZKRSDUWLFLSDWHGLQWKH$&1

EXVLQHVVRSSRUWXQLW\IURPWREHFDXVHRIWKH7UXPS(QWHUSULVH¶VIUDXGXOHQWSURPRWLRQ

DQGHQGRUVHPHQWRI$&1

          3ODLQWLII5LFKDUG5RHLVDUHVLGHQWRI0DU\ODQGZKRSDUWLFLSDWHGLQWKH$&1

EXVLQHVVRSSRUWXQLW\IURPWREHFDXVHRIWKH7UXPS(QWHUSULVH¶VIUDXGXOHQWSURPRWLRQ

DQGHQGRUVHPHQWRI$&1

          3ODLQWLII0DU\0RHZDVDUHVLGHQWRI3HQQV\OYDQLDDWDOOWLPHVUHOHYDQWWRWKLV

&RPSODLQWZKRSDUWLFLSDWHGLQWKH$&1EXVLQHVVRSSRUWXQLW\IURPWREHFDXVHRIWKH

7UXPS(QWHUSULVH¶VIUDXGXOHQWSURPRWLRQDQGHQGRUVHPHQWRI$&1


       %    'HIHQGDQWV

          'HIHQGDQW7KH7UXPS&RUSRUDWLRQLVDFRUSRUDWLRQLQFRUSRUDWHGXQGHUWKHODZVRI

WKH6WDWHRI1HZ<RUNZLWKDSULQFLSDOSODFHRIEXVLQHVVDW)LIWK$YHQXH1HZ<RUN1HZ

<RUN7KH7UXPS&RUSRUDWLRQLVLWVHOIDQHQWHUSULVHZLWKLQWKHPHDQLQJRI86&

  DQGLVDOVRWKHSULQFLSDORSHUDWLQJFRPSDQ\IRUWKHFROOHFWLRQRIFRPSDQLHVNQRZQDV

7KH7UXPS2UJDQL]DWLRQ$ORQJZLWK'HIHQGDQW'RQDOG-7UXPSDQGWKHRWKHU,QGLYLGXDO

'HIHQGDQWV7KH7UXPS&RUSRUDWLRQRSHUDWHVWKH7UXPS$VVRFLDWLRQLQ)DFW




                                              
     Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 16 of 164




           'HIHQGDQW'RQDOG-7UXPSLVFXUUHQWO\WKH3UHVLGHQWRIWKH8QLWHG6WDWHV

DOWKRXJKKHLVVXHGKHUHLQKLVSHUVRQDOFDSDFLW\RQO\$WDOOWLPHVUHOHYDQWWRWKLV&RPSODLQW

7UXPSZDVWKH'LUHFWRU3UHVLGHQW&KDLUPDQDQGVROHVKDUHKROGHURI7KH7UXPS&RUSRUDWLRQ

           'HIHQGDQW,YDQND7UXPSLV'HIHQGDQW'RQDOG-7UXPS¶VGDXJKWHU6KH

FXUUHQWO\DFWVDV$GYLVRUWRWKH3UHVLGHQWRIWKH8QLWHG6WDWHVWKRXJKVKHLVVXHGKHUHLQKHU

SHUVRQDOFDSDFLW\RQO\,YDQND7UXPSZDV9LFH3UHVLGHQWRI7KH7UXPS&RUSRUDWLRQIURP

WR([HFXWLYH9LFH3UHVLGHQWRI71*&&KDUORWWH//&IURPWR7UXPS1DWLRQDO

*ROI&OXE//&IURPWRDQG7,QWHUQDWLRQDO5HDOW\//&IURPWR

           'HIHQGDQW'RQDOG7UXPS-ULV'HIHQGDQW'RQDOG-7UXPS¶VVRQ2Q

LQIRUPDWLRQDQGEHOLHILQWKHUHOHYDQWWLPHSHULRG'RQDOG7UXPS-UKHOGVHQLRUH[HFXWLYH

SRVLWLRQVDWRURWKHUZLVHH[HUFLVHGFRQWURORYHUHQWLWLHVLQFOXGHGLQRUDVVRFLDWHGZLWKWKH

7UXPS$VVRFLDWLRQLQ)DFW'RQDOG7UXPS-UUHVLGHVLQ1HZ<RUN&LW\1HZ<RUN

           'HIHQGDQW(ULF7UXPSLV'HIHQGDQW'RQDOG-7UXPS¶VVRQ2QLQIRUPDWLRQDQG

EHOLHILQWKHUHOHYDQWWLPHSHULRG(ULF7UXPSKHOGVHQLRUH[HFXWLYHSRVLWLRQVDWRURWKHUZLVH

H[HUFLVHGFRQWURORYHUHQWLWLHVLQFOXGHGLQRUDVVRFLDWHGZLWKWKH7UXPS$VVRFLDWLRQLQ)DFW

(ULF7UXPSUHVLGHVLQ1HZ<RUN&LW\1HZ<RUN

                                 -85,6',&7,21$1'9(18(

           7KLV&RXUWKDVVXEMHFWPDWWHUMXULVGLFWLRQSXUVXDQWWR86&EHFDXVH

WKLVDFWLRQDULVHVXQGHUWKHODZVRIWKH8QLWHG6WDWHV86&EHFDXVHWKHSDUWLHVDUH

FRPSOHWHO\GLYHUVHLQFLWL]HQVKLSDQGWKHDPRXQWLQFRQWURYHUV\H[FHHGVDQG86&

 F EHFDXVH3ODLQWLIIVDVVHUWFODLPVXQGHUWKH5DFNHWHHU,QIOXHQFHGDQG&RUUXSW

2UJDQL]DWLRQV$FW ³5,&2´ 86&et seq7KLV&RXUWDOVRKDVVXEMHFWPDWWHU

MXULVGLFWLRQSXUVXDQWWRWKH&ODVV$FWLRQ)DLUQHVV$FWRI86& G  EHFDXVH

WKLVLVDFODVVDFWLRQLQFOXGLQJFODLPVDVVHUWHGRQEHKDOIRIDQDWLRQZLGHFODVVILOHGXQGHU


                                                
      Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 17 of 164




5XOHRIWKH)HGHUDO5XOHVRI&LYLO3URFHGXUHWKHUHDUHOLNHO\WKRXVDQGVRISXWDWLYH&ODVV

0HPEHUVWKHDJJUHJDWHDPRXQWLQFRQWURYHUV\H[FHHGVWKHMXULVGLFWLRQDODPRXQWRU

DQG'HIHQGDQWVDUHFLWL]HQVRID6WDWHGLIIHUHQWIURPWKDWRI3ODLQWLIIVDQG

PHPEHUVRIWKH&ODVV7KLV&RXUWKDVVXSSOHPHQWDOMXULVGLFWLRQRYHU3ODLQWLIIV¶VWDWHODZFODLPV

XQGHU86&EHFDXVHWKRVHFODLPVDUHVXEVWDQWLDOO\UHODWHGWR3ODLQWLIIV¶FODLPVXQGHU

IHGHUDOODZ'HFODUDWRU\UHOLHILVDYDLODEOHSXUVXDQWWR86&DQG

           9HQXHLVSURSHULQWKLV'LVWULFWSXUVXDQWWR86& E  DQG  

EHFDXVHDPRQJRWKHUWKLQJV'HIHQGDQWVUHVLGHLQWKLV'LVWULFWDQGDVXEVWDQWLDOSDUWRIWKH

WUDQVDFWLRQVDQGHYHQWVJLYLQJULVHWR3ODLQWLIIV¶FODLPVRFFXUUHGLQWKLV'LVWULFW

                                               )$&76

,    7+(75803(17(535,6(

       $     7KH7UXPS$VVRFLDWLRQLQ)DFW

           $WDOOWLPHVUHOHYDQWWRWKLV&RPSODLQWWKH7UXPS$VVRFLDWLRQLQ)DFWZDVDQ

DVVRFLDWLRQLQIDFWZLWKLQWKHPHDQLQJRI86&  FRPSULVHGRIDQHWZRUNRI

FRPSDQLHVDQGDVVRFLDWHVWKDWVKDUHGDFRPPRQSXUSRVHRIHDUQLQJUHYHQXHIURPWKH(QGRUVHG

(QWLWLHVLQH[FKDQJHIRUFRQYH\LQJWKHIDOVHDQGPLVOHDGLQJ0HVVDJH,QRWKHUZRUGVWKH

PLVVLRQRIWKH7UXPS$VVRFLDWLRQLQ)DFWZDVWRFDUU\RXWWKHVFKHPHWRGHIUDXGFRQVXPHUV

           7KH7UXPS$VVRFLDWLRQLQ)DFWZDVPDGHXSRIDQHWZRUNRIFRPSDQLHVDQG

LQGLYLGXDOVWKDWFDUULHGRXWWKHVFKHPHXQGHU'HIHQGDQWV¶GLUHFWLRQDQGFRQWURO7KH7UXPS

$VVRFLDWLRQLQ)DFWLQFOXGHGVHYHUDOFRPSDQLHVZLWKLQWKHJURXSRIFRPSDQLHVWKDWRSHUDWH

XQGHUWKHEDQQHURI³7KH7UXPS2UJDQL]DWLRQ´.QRZQPHPEHUVRIWKH7UXPS$VVRFLDWLRQLQ

)DFWZKLFKZHUHDOVRPHPEHUVRIWKH7UXPS2UJDQL]DWLRQLQFOXGHGWKHIROORZLQJ

                   D  'HIHQGDQW7KH7UXPS&RUSRUDWLRQ

                   E  'HIHQGDQW'RQDOG-7UXPS


                                                 
     Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 18 of 164




                   F  'HIHQGDQW,YDQND7UXPS

                   G  'HIHQGDQW'RQDOG7UXPS-U

                   H  'HIHQGDQW(ULF7UXPS

                   I  7UXPS3URGXFWLRQV//& ³7UXPS3URGXFWLRQV´ ZKLFKFR

                       SURGXFHGThe Celebrity Apprentice LQDVVRFLDWLRQZLWK0DUN

                       %XUQHWW3URGXFWLRQV

                   J  '61/LFHQVLQJ//&ZKLFKOLFHQVHG7UXPS¶VQDPHDQGEUDQGWR

                       7KH7UXPS1HWZRUN

                   K  7UXPS8QLYHUVLW\//&ZKLFKOLFHQVHG7UXPS¶VQDPHDQGEUDQG

                       WRWKH7UXPS,QVWLWXWH

                   L  7,QWHUQDWLRQDO5HDOW\//& ³7UXPS,QWHUQDWLRQDO5HDOW\´ D

                       'HODZDUH//&WKDWLVHQJDJHGLQWKHEXVLQHVVRIDFTXLULQJDQG

                       GHYHORSLQJSURSHUW\

                   M  7UXPS1DWLRQDO*ROI&OXE//&D1HZ<RUN//&WKDWRSHUDWHV

                       WKH7UXPS1DWLRQDO*ROI&OXELQ:HVWFKHVWHU&RXQW\1HZ<RUN

                       DQG

                   N  71*&&KDUORWWH//&D'HODZDUH//&WKDWRSHUDWHVWKH7UXPS

                       1DWLRQDO*ROI&OXELQ0RRUHVYLOOH1RUWK&DUROLQD

           7KHLGHQWLWLHVRIRWKHUPHPEHUVRIWKH7UXPS$VVRFLDWLRQLQ)DFWDUHFXUUHQWO\

XQNQRZQEXWDUHH[SHFWHGWREHLGHQWLILHGWKURXJKWKHGLVFRYHU\SURFHVV

           7KHPHPEHUVRIWKH7UXPS$VVRFLDWLRQLQ)DFWGLGQRWVKDUHFRPPRQRZQHUVKLS

QRUZHUHWKH\DOOZKROO\RZQHGGLUHFWO\RULQGLUHFWO\E\'HIHQGDQWV1HYHUWKHOHVVDWDOO

UHOHYDQWWLPHVWKH7UXPS$VVRFLDWLRQLQ)DFWZDVGLUHFWHGDQGFRQWUROOHGE\'HIHQGDQWV




                                                  
     Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 19 of 164




'HIHQGDQWVDSSURYHGDXWKRUL]HGDQGRUHLWKHUVSHFLILFDOO\RUWDFLWO\GLUHFWHGUDWLILHGRU

SDUWLFLSDWHGLQWKHDFWVRIWKH7UXPS$VVRFLDWLRQLQ)DFWGHWDLOHGLQWKLV&RPSODLQW

            $OOHQ:HLVVHOEHUJWKH&KLHI)LQDQFLDO2IILFHURI³7KH7UXPS2UJDQL]DWLRQ´

WHVWLILHGDWD-XQHGHSRVLWLRQWKDW7KH7UXPS&RUSRUDWLRQZDV³WKHRSHUDWLQJHQWLW\WKDWZH

XVH´DQGWKDW7UXPSDQGKLVFKLOGUHQZHUHDPRQJWKHVPDOOJURXSRISHRSOHZKRKDGWKH

DXWKRULW\WRVLJQFKHFNV³RYHUDOORXUHQWLWLHV´,QDGHSRVLWLRQ'HIHQGDQW'RQDOG7UXPS

-UWHVWLILHG³:HNLQGRIUXQDOLWWOHELWOLNHDPRPDQGSRSLQWKDWVHQVH,JXHVVWKHUHLV

DQRUJDQL]DWLRQDOFKDUWEXWLQWKHRU\WKHUHLVQRWWRRPDQ\OHYHOV&RXOG,PDNHRQH"<HV

,VWKHUHRQHRIILFLDOO\"1RWWKDW,¶PDZDUHRI´

            ,YDQND7UXPSVHUYHGDVD9LFH3UHVLGHQWRI7KH7UXPS&RUSRUDWLRQIURPWR

([HFXWLYH9LFH3UHVLGHQWRI71*&&KDUORWWH//&IURPWR7UXPS1DWLRQDO

*ROI&OXE//&IURPWRDQG7,QWHUQDWLRQDO5HDOW\//&IURPWR

            8SRQLQIRUPDWLRQDQGEHOLHI(ULF7UXPSDQG'RQDOG7UXPS-UDOVRKHOGVHQLRU

H[HFXWLYHSRVLWLRQVDWRURWKHUZLVHH[HUFLVHGFRQWURORYHUHQWLWLHVLQFOXGHGLQRUDVVRFLDWHGZLWK

WKH7UXPS$VVRFLDWLRQLQ)DFW


        %     7KH7UXPS&RUS(QWHUSULVH

            $WDOOWLPHVUHOHYDQWWRWKLV&RPSODLQW7KH7UXPS&RUSRUDWLRQZDVDQHQWHUSULVH

ZLWKLQWKHPHDQLQJRI86&   WKH³7UXPS&RUS(QWHUSULVH´ FRPSULVHGRIKLJK

OHYHOH[HFXWLYHVLQFOXGLQJZLWKRXWOLPLWDWLRQ'HIHQGDQW'RQDOG-7UXPS'HIHQGDQW,YDQND

7UXPS'HIHQGDQW'RQDOG7UXPS-U(ULF7UXPSDQGYDULRXVFRUSRUDWHHQWLWLHVRZQHGRU

FRQWUROOHGE\7KH7UXPS&RUSRUDWLRQWKDWZRUNHGWRJHWKHUWRHDUQUHYHQXHIURPWKH(QGRUVHG

(QWLWLHVLQH[FKDQJHIRUFRQYH\LQJWKHIDOVHDQGPLVOHDGLQJ0HVVDJH7KHPLVVLRQRIWKH7UXPS

&RUS(QWHUSULVHZDVWRFDUU\RXWWKHVFKHPHWRGHIUDXGFRQVXPHUV



                                                  
          Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 20 of 164




                         7KHLGHQWLWLHVRIRWKHUPHPEHUVRIWKH7UXPS&RUS(QWHUSULVHDUHFXUUHQWO\

XQNQRZQEXWDUHH[SHFWHGWREHLGHQWLILHGWKURXJKWKHGLVFRYHU\SURFHVV

                         7KH7UXPS(QWHUSULVHDQGWKH7UXPS&RUS(QWHUSULVHDUHUHIHUUHGWRFROOHFWLYHO\

DV³7KH7UXPS(QWHUSULVH´


,,          %(7:((17+(($5/<$1'0,'6758035(,19(17('+,6%5$1'
              $1'7+(75803(17(535,6(%(*$172&21&2&7,76)5$8'8/(17
              6&+(0(

                         ,QWKHHDUO\V7KH7UXPS2UJDQL]DWLRQZDVLQGLUHVWUDLWV,WZDVVDGGOHGLQ

GHEWOHIWRYHUIURP7UXPS¶VH[WUDYDJDQFHVLQWKHHDUO\V,Q7UXPSKDGUROOHGXS7KH

7UXPS2UJDQL]DWLRQ¶VKRWHODQGFDVLQREXVLQHVVHVLQWRDSXEOLFFRPSDQ\7UXPS+RWHOV 

&DVLQR5HVRUWV,QF,QWKH\HDUVWKDW7UXPSZDVWKHFRPSDQ\¶VFKDLUPDQWKHFRPSDQ\ORVW

PRUHWKDQELOOLRQDQGZDVLQWKHUHGHYHU\\HDUIURPWR,WILOHGIRUEDQNUXSWF\LQ

 WKHILIWKFRUSRUDWHEDQNUXSWF\ILOLQJLQ7UXPS¶VFDUHHU 6KDUHKROGHUVDQGFUHGLWRUV

VXIIHUHGGHYDVWDWLQJORVVHV,QGHHG7UXPS¶V7DM0DKDOFDVLQRLQ$WODQWLF&LW\ZHQWEDQNUXSW

HYHQWKRXJK7UXPS¶VIDWKHU)UHG7UXPSUHSRUWHGO\PDGHDWOHDVWRQHTXLHWORDQWRWKHFDVLQR

E\EX\LQJPLOOLRQLQFKLSVDQGQRWXVLQJWKHP

                         %\WKHHDUO\V7UXPSKLPVHOIZDVOLYLQJRQDSHUVRQDODOORZDQFHIURPD

V\QGLFDWHRIEDQNVDVSDUWRIWKHLUGHDOWRUHVWUXFWXUHWKHRUJDQL]DWLRQ¶VGHEW7KH1HZ<RUN

WDEORLGSUHVVRIWHQULGLFXOHG7UXPSIRUFRQWLQXLQJWROLYHDODYLVKOLIHVW\OHZKLOHKLVHPSLUH

FUXPEOHGDURXQGKLP+HQHHGHGDZD\WRUHVWRUHKLVEUDQG²DQGWRVWDUWPDNLQJPRQH\DJDLQ






    See1HWIOL[Dirty Money6HDVRQ(SLVRGHThe Confidence Man  


                                                               
          Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 21 of 164




                         7UXPSEHJDQUHEXLOGLQJKLVEUDQGDQGSXEOLFSHUVRQDLQWKHHDUO\V+LVUHDO

EUHDNWKURXJKLQWKLVFRPHEDFNFDPHZKHQKHDJUHHGWRKRVWWKHUHDOLW\WHOHYLVLRQVKRZThe

ApprenticeDQGLWVVXFFHVVRUThe Celebrity Apprentice

                         ,Q0DUN%XUQHWWWKHFUHDWRURIWKHKLJKO\VXFFHVVIXOUHDOLW\WHOHYLVLRQ

VKRZSurvivorDSSURDFKHG7UXPSZLWKWKHLGHDIRUThe Apprentice7KHSLWFKZDVWKDWWKH

VKRZZRXOGIHDWXUH³7UXPS¶VZKROHHPSLUH²7UXPS7RZHUWKHFDVLQRVWKHKRWHOVWKH

KHOLFRSWHUDQGWKHMHWWKHRSXOHQWDSDUWPHQWDQGWKHVSOHQGRURI0DUD/DJR´(DFKHSLVRGH

ZRXOGIHDWXUHFRQWHVWDQWVFRPSHWLQJLQEXVLQHVVRULHQWHGWDVNVZLWK7UXPSHYDOXDWLQJWKHLU

SHUIRUPDQFHDQG³ILULQJ´HDFKHSLVRGH¶VOHDVWLPSUHVVLYHFRPSHWLWRU7KHXOWLPDWHSUL]HDWWKH

HQGRIWKHVHDVRQZDVDMREDW7KH7UXPS2UJDQL]DWLRQ

                         7UXPSORYHGWKHLGHDDQGVRRQWKHGHDOZDVGRQH2QWKHDLUEHJLQQLQJLQ

-DQXDU\The Apprentice ZDVSURGXFHGE\0DUN%XUQHWW3URGXFWLRQVLQDVVRFLDWLRQZLWK

7UXPS3URGXFWLRQV//&DFRPSDQ\ZLWKLQWKH7UXPS(QWHUSULVHWKDWZDVHIIHFWLYHO\FRQWUROOHG

E\'HIHQGDQWV7UXPSDQG7KH7UXPS&RUSRUDWLRQ0DUN%XUQHWWDQG7UXPSZHUHH[HFXWLYH

SURGXFHUVDQG7UXPS3URGXFWLRQV//&RZQHGRIWKHVKRZ






  See generally 0LFKDHO.UDQLVKDQG0DUF)LVKHUTrump Revealed, Chapter Twelve: Ratings
Machine  

  See 0LFKDHO.UDQLVKDQG0DUF)LVKHUThe Inside Story of How “The Apprentice” Rescued
Donald Trump)25781(6HSWDYDLODEOHDWKWWSIRUWXQHFRPGRQDOG
WUXPSWKHDSSUHQWLFHEXUQHWW


                                                               
     Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 22 of 164






                                                                                    

          ,QThe ApprenticeEHFDPHThe Celebrity Apprentice,QVWHDGRIRUGLQDU\

SHRSOHFRPSHWLQJIRUDMREDW7KH7UXPS2UJDQL]DWLRQFRQWHVWDQWVZHUHFHOHEULWLHVZKR

FRPSHWHGWRZLQFDVKGRQDWLRQVIRUWKHLUQRPLQDWHGFKDULWLHV

          7KHVHVKRZVSRUWUD\HG7UXPSWRDQDXGLHQFHRIPLOOLRQVDURXQGWKHFRXQWU\DVD

FUHGLEOHDQGDXWKRULWDWLYHYRLFHLQWKHZRUOGRIEXVLQHVV²DPDQSRUWUD\HGLQWKHZRUGVRI

ELRJUDSKHUV0LFKDHO.UDQLVKDQG0DUF)LVKHUDV³VXSUHPHO\FRPSHWHQWDQGFRQILGHQW

GLVSHQVLQJKLVDXWKRULW\DQGJHWWLQJLPPHGLDWHUHVXOWV´)DUIURPWKHKDUGVFUDEEOH4XHHQVWR

%URRNO\QWR0DQKDWWDQSURSHUW\GHYHORSHUZKRVHHPSLUHZDVFROODSVLQJXQGHUGHEW7UXPSZDV

SUHVHQWHGWRWKHZRUOGDVDKLJKO\VXFFHVVIXODQGIDEXORXVO\ZHDOWK\HQWUHSUHQHXUDQG

EXVLQHVVPDQ$V7UXPSERDVWHGLQDYRLFHRYHUDWWKHVWDUWRIDQHSLVRGH

              ,¶PWKHODUJHVWUHDOHVWDWHGHYHORSHULQ1HZ<RUN,RZQEXLOGLQJVDOO
              RYHUWKHSODFH0RGHODJHQFLHVWKH0LVV8QLYHUVHSDJHDQWMHWOLQHUV
              JROIFRXUVHVFDVLQRVDQGSULYDWHUHVRUWVOLNH0DUD/DJR,¶YH
              PDVWHUHGWKHDUWRIWKHGHDODQGKDYHWXUQHGWKHQDPH7UXPSLQWRWKH
              KLJKHVWTXDOLW\EUDQG$QGDVWKHPDVWHU,ZDQWWRSDVVDORQJVRPHRI
              P\NQRZOHGJHWRVRPHERG\HOVH


                                              
     Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 23 of 164






                                                                                   




                                                                                   

           ,QFRQWUDVWWRWKHLPDJHRI7UXPSSURMHFWHGWRWKHWHOHYLVLRQDXGLHQFHThe

Apprentice¶VSURGXFHUVFDQGLGO\DFNQRZOHGJHGWKDWWKHLUSRUWUD\DORI7UXPSZDVSXUHILFWLRQ

2QHRIWKHSURGXFHUVFRPPHQWHGWKDWWKHSURGXFHUVLQWHQGHG7UXPS¶VSHUVRQDRQThe

ApprenticeWREHDVDWLULFDOILJXUH




                                              
          Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 24 of 164




                             +RZIXQQ\LVLWWRKDYHWKLVZDVKHGXSWLPHEDQNUXSWF\JX\ZKR
                             OLYHVLQDJROGHQSDODFHWKDWRWKHUSHRSOHDUHSD\LQJIRU±WKDWKHLVQRZ
                             WKH³H[HFXWLYHLQFKDUJHRIWKLVELJFRUSRUDWLRQ´"




                                                                                                             
                         2IWKHVKRZ¶VLPSDFWRQLWVDXGLHQFHWKHSURGXFHUFRPPHQWHGWKDW³DORWRI

SHRSOHZKRZDWFKHGWKHVKRZEHOLHYHGLQ'RQDOG7UXPSWKDWZHZHUHSUHVHQWLQJLQWKLV

FKDUDFWHU>EXW@LWZDVDVFDPWKDWZDVHQWHUWDLQPHQW´7UXPS¶VFKDUDFWHUZDV³DFRQVWUXFW

DOPRVWIURPWKHYHU\EHJLQQLQJ´

                         The ApprenticeZDVDKLWERWKILQDQFLDOO\DQGIRU7UXPS¶VODUJHUSURMHFWWR

UHVWRUHKLVEUDQG$VRQHFRPPHQWDWRUSXWLW³The ApprenticeUHDOO\RYHUQLJKWUHSRVLWLRQHG

>7UXPS@LQWKH$PHULFDQLPDJLQDWLRQDVWKHHPERGLPHQWRIGHDOPDNLQJVDYY\FDSDEOH

HQWUHSUHQHXUDQGEXVLQHVVVXFFHVV´





    See1HWIOL[Dirty Money6HDVRQ(SLVRGHThe Confidence Man  

    Id


                                                               
     Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 25 of 164






                                                                                            
           $GHILQLQJDVSHFWRI7UXPS¶VUHEXLOWEUDQGZDVWKHQRWLRQWKDW7UXPSZDVYHU\

ULFKThe ApprenticeSRUWUD\HGKLPDVHQMR\LQJWKHWUDSSLQJVRIH[WUDRUGLQDU\ZHDOWK7UXPS

ZDVVKRZQLQSULYDWHMHWVDWOX[XU\JROIFRXUVHVVXUURXQGHGE\EHDXW\SDJHDQWFRQWHVWDQWVDQG

VWUROOLQJWKURXJKWKHPDUEOHDQGEUDVVH[FHVVRIKLV7UXPS7RZHUDSDUWPHQW$FRXUWGRFXPHQW




                                              
        Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 26 of 164




UHSRUWHGO\ILOHGRQ7UXPS¶VEHKDOILQ'HFHPEHU²DWWKHSHDNRIWKHVXFFHVVRIThe

Celebrity Apprentice²H[SODLQHGWKHFHQWUDOLW\RIWKLVSHUFHSWLRQRIZHDOWKWR7UXPS¶VEUDQG

                 &ULWLFDOWR7UXPS¶VVXFFHVVLQEXVLQHVVLVWKHIDFWWKDWKHLVZLGHO\
                 UHFRJQL]HGE\ERWKWKHILQDQFLDOFRPPXQLW\DQGWKHSXEOLFDVDVNLOOHG
                 VXFFHVVIXOEXVLQHVVPDQZKRKDVILQDQFLDOUHVRXUFHVWRWDOLQJbillions of
                 dollars7UXPS¶VDELOLW\WRFORVHGHDOVDQGVHFXUHILQDQFLQJIRUKLV
                 SURMHFWVGHSHQGVRQLQYHVWRUVWUXVWLQJKLVreputation and net worth

    HPSKDVHVDGGHG 




                                                                                                   
             7UXPSKDVDORQJDQGVWRULHGKLVWRU\RIZLOGO\H[DJJHUDWLQJKLVQHWZRUWK,QRQH

QRWRULRXVDFFRXQW7UXPSWROGDQDXWKRULQHDUO\WKDWKHZDVZRUWK³ILYHWRVL[´ELOOLRQ

GROODUV²DVLJQLILFDQWLQFUHDVHIURPWKH³IRXUWRILYHELOOLRQGROODUV´7UXPSKDGWROGWKHVDPH

DXWKRUEHIRUH$EURFKXUHIRURQHRI7UXPS¶VFOXEVDURXQGWKHVDPHWLPHFODLPHGKHZDVZRUWK



                                                  
          Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 27 of 164




³ELOOLRQ´7KHDXWKRUFRQGXFWHGIXUWKHUUHVHDUFKDQGZDVWROGE\SHRSOHZKRFODLPHG

³GLUHFWNQRZOHGJH´RI7UXPS¶VILQDQFHVWKDWKLVQHWZRUWKZDV³VRPHZKHUHEHWZHHQ

PLOOLRQDQGPLOOLRQ´

                         :KHQWKHDXWKRUSXEOLVKHGWKLVDFFRXQW7UXPSVXHGWKHDXWKRULQWKH6XSHULRU

&RXUWRI1HZ-HUVH\RQWKHEDVLVWKDWWKHDXWKRUKDGGHIDPHGKLPE\XQGHUVWDWLQJKLVZHDOWK

7KH6XSHULRU&RXUWJUDQWHGVXPPDU\MXGJPHQWLQWKHDXWKRU¶VIDYRUKROGLQJWKDW7UXPSKDG

IDLOHGWRSURYHWKDWWKHDXWKRUSXEOLVKHGWKHVWDWHPHQWVUHJDUGLQJ7UXPS¶VZHDOWKZLWKDFWXDO

PDOLFH,QDIILUPLQJWKH6XSHULRU&RXUW¶VGHFLVLRQWKH$SSHOODWH'LYLVLRQKHOGWKDWWKHUHZDVQR

³UHOLDEOHLQIRUPDWLRQ´FRQWUDGLFWLQJWKHDXWKRU¶VUHSRUWVDQGWKDWWKHDXWKRUKDGQR³REYLRXV

UHDVRQVWRGRXEWWKHYHUDFLW\´RIKLVVRXUFHV¶VWDWHPHQWV7KH&RXUWQRWHGWKDW³7UXPS¶V

HVWLPDWHVRIKLVRZQZRUWKFKDQJHGVXEVWDQWLDOO\RYHUWLPH´DQGTXRWHGIURP7UXPS¶V

GHSRVLWLRQLQWKHFDVH

                             41RZ0U7UXPSKDYH\RXDOZD\VEHHQFRPSOHWHO\WUXWKIXOLQ\RXU
                             SXEOLFVWDWHPHQWVDERXW\RXUQHWZRUWKRISURSHUWLHV"

                             $,WU\

                             4+DYH\RXHYHUQRWEHHQWUXWKIXO"

                             $0\QHWZRUWKIOXFWXDWHVDQGLWJRHVXSDQGGRZQZLWKPDUNHWVDQG
                             ZLWKDWWLWXGHVDQGZLWKIHHOLQJVHYHQP\RZQIHHOLQJVEXW,WU\

                             4<RXVDLGWKDWWKHQHWZRUWKJRHVXSDQGGRZQEDVHGXSRQ\RXU
                             RZQIHHOLQJV"

                             $<HVHYHQP\RZQIHHOLQJVDVWRZKHUHWKHZRUOGLVZKHUHWKHZRUOG
                             LVJRLQJDQGWKDWFDQFKDQJHUDSLGO\IURPGD\WRGD\6R\HDKHYHQ
                             P\RZQIHHOLQJVDIIHFWP\YDOXHWRP\VHOI





  SeeTrump Revealed&KDSWHU6HYHQWHHQ The Worth of a Man

  Id.

  TrumpYO’Brien1-6XSHU$G $SS'LY 


                                                               
          Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 28 of 164




                             

                             4:KHQ\RXSXEOLFO\VWDWHZKDW\RX¶UHZRUWKZKDWGR\RXEDVHWKDW
                             QXPEHURQ"

                             

                             $,ZRXOGVD\LW¶VP\JHQHUDODWWLWXGHDWWKHWLPHWKDWWKHTXHVWLRQPD\
                             EHDVNHG$QGDV,VD\LWYDULHV

                         7KH&RXUWDOVRQRWHGWKDWWKHGRFXPHQWWKDW7UXPSSULQFLSDOO\UHOLHGRQWR

HVWDEOLVKWKDWKHZDVDELOOLRQDLUHKDG³OLPLWHGYDOXHDVDQDFFXUDWHUHSUHVHQWDWLRQRI7UXPS¶VQHW

ZRUWK´DVLWZDV³QRWDXGLWHG´DQGGLVFORVHGRQLWVIDFH³VLJQLILFDQWGHSDUWXUHVIURPJHQHUDOO\

DFFHSWHGDFFRXQWLQJSULQFLSOHV´

                         3XWVLPSO\WKURXJKThe ApprenticeDQGRWKHUPHDQV7UXPSSDLQWHGKLPVHOIDVD

ELOOLRQDLUHZKRKDGDFKLHYHGWKHSLQQDFOHRIILQDQFLDOVXFFHVV%XWLQUHDOLW\7UXPS

FRQVLVWHQWO\H[DJJHUDWHGKLVZHDOWKDQGVXFFHVVDQGKLGIURPKLVDXGLHQFHVDQ\HYLGHQFHE\

ZKLFKWKH\FRXOGDVVHVVKLVWUXHILQDQFLDOSRVLWLRQ DQGWKDWRI7KH7UXPS2UJDQL]DWLRQ 

                         ,QWKHPLGVWRFDSLWDOL]HRQ7UXPS¶VUHEXLOWEUDQGDQGPDVVLYHH[SRVXUH

'HIHQGDQWVFRQFRFWHGDVFKHPHWRXVH7UXPS¶VEUDQGDQGUHSXWDWLRQDVZHOODVKLVFDVXDO

ZLOOLQJQHVVWRPDNHIDOVHDQGPLVOHDGLQJVWDWHPHQWVWRGHIUDXGFRQVXPHUVZKRZHUHLQVSLUHGE\

7UXPS¶VDSSDUHQWZHDOWKDQGVXFFHVV

                         %HJLQQLQJLQWKH\HDUDIWHUThe ApprenticeILUVWDLUHG'HIHQGDQWVXVHGWKH

7UXPS(QWHUSULVHWRRSHUDWHDIUDXGXOHQWVFKHPHLQZKLFKFRPSDQLHVWKDWRIIHUHGWUDLQLQJ

SURJUDPVDQGRUEXVLQHVVRSSRUWXQLWLHVWRDPELWLRXVDQGHQWUHSUHQHXULDOFRQVXPHUVSDLGWKH

7UXPS(QWHUSULVHLQVHFUHWLQH[FKDQJHIRU7UXPSFRQYH\LQJWKH0HVVDJHZLWKWKHIXOOZHLJKW





    Trump1-6XSHUDW±$GDW

     Trump1-6XSHUDW$GDW


                                                               
        Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 29 of 164




RIKLVSHUVRQDOEUDQGEHKLQGLW7KLVVFKHPHZDVNQRZLQJO\GHVLJQHGWRGHIUDXGFRQVXPHUVDQG

HQULFKWKH7UXPS(QWHUSULVH

            7KHRSHUDWLRQRIWKH6FKHPHZLWKUHVSHFWWRHDFKRIWKH(QGRUVHG(QWLWLHVLV

GHWDLOHGEHORZ


,,,    7+(75803(17(535,6($*5((672(1'256($1'352027($&1
         7+528*+$3(59$6,9($1':,'(/<',66(0,1$7('0(66$*(

         $    7KH$&1³%XVLQHVV2SSRUWXQLW\´1HHGHG+LJK3URILOH(QGRUVHPHQW7R
                5HFUXLWDQG0DLQWDLQ,QYHVWRUV

            $&1LVDPXOWLOHYHOPDUNHWLQJFRPSDQ\WKDWRIIHUVDEXVLQHVVRSSRUWXQLW\WR

³,QGHSHQGHQW%XVLQHVV2ZQHUV´ ³,%2V´ ,%2VDUHUHTXLUHGWRSD\DQLQLWLDOVLJQXSIHHDQGDQ

DQQXDOUHQHZDOIHHIRUWKHSULYLOHJHRIVHOOLQJ$&1¶VSURGXFWV$VRIWKHWLPH

SHULRGWKHVLJQXSIHHZDVDQGWKHUHQHZDOIHHZDV

            $FFRUGLQJWRWKH$&1FRPSHQVDWLRQSODQ,%2VFDQHDUQVPDOOFRPPLVVLRQVRQ

VDOHVDQGELOOLQJWRFXVWRPHUVZKRSXUFKDVH$&1SURGXFWVDQGVHUYLFHVWKURXJKWKDW,%2ZLWK

DGGLWLRQDOERQXVHVIRUPHHWLQJVDOHVWDUJHWV,%2VFDQDOVRHDUQPRQH\E\UHFUXLWLQJRWKHUVWR

VLJQXSDV,%2V:KHQDQH[LVWLQJ,%2UHFUXLWVDQHZ,%2WKHUHFUXLWEHFRPHVSDUWRIWKH

H[LVWLQJ,%2¶V³GRZQOLQH´,%2VFDQUHFHLYHDFRPPLVVLRQRQWKHVDOHVDQGELOOVJHQHUDWHGE\

PHPEHUVRIWKHLUGRZQOLQH

            $&1IRUELGV,%2VIURPHQJDJLQJLQPDVVPDUNHWLQJRUDGYHUWLVLQJ,QVWHDGWKH

OLIHEORRGRI$&1¶VUHFUXLWLQJRSHUDWLRQLVVPDOOJURXSHYHQWVKRVWHGE\,%2VLQWKHLURZQ

KRPHVRUDWORFDOKRWHOVDQGHYHQWVSDFHV,%2VDUHHQFRXUDJHGWRLGHQWLI\³ZDUP´OHDGVDPRQJ

IULHQGVIDPLO\DQGRWKHUFRQWDFWVDQGWRLQYLWHWKHPWRVPDOOJURXSPHHWLQJVDWWKHLUKRPHV7R

KHOSWKHPLQWKHLUVDOHVDQGUHFUXLWPHQWHIIRUWV$&1VHOOV,%2VDVHULHVRI³%XVLQHVV7RROV´




                                               
     Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 30 of 164




LQFOXGLQJSURPRWLRQDO'9'VDQGPDJD]LQHVDVZHOODV³<RXU%XVLQHVV$VVLVWDQW´DZHE

DSSOLFDWLRQ,%2VFDQXVHWRPDQDJHERWKWKHLUGRZQOLQHVDQGFXVWRPHUV

             $WWKHVHVPDOOJURXSUHFUXLWLQJHYHQWVKRVWVZLOOW\SLFDOO\SOD\WKH'9'VDQG

GLVWULEXWHWKHPDWHULDOVWKH\KDYHERXJKWIURP$&17KHDLPLVERWKWRVHOO$&1¶VSURGXFWVDQG

VHUYLFHVDQGWR³VKDUHWKHRSSRUWXQLW\´WREHFRPHDQ,%27KHVHVPDOOPHHWLQJVDUHWKHSULPDU\

PHFKDQLVPWKURXJKZKLFKFRQVXPHUVDUHSHUVXDGHGWRPDNHWKHLQLWLDOLQYHVWPHQWWREHFRPHDQ

,%2




                                                                                                    
             ,QRUGHUWRNHHS,%2VPRWLYDWHGWRLQYHVWLQSURPRWLRQDOPDWHULDOVDQGEXVLQHVV

WRROVDIWHUWKH\KDYHVLJQHGXS$&1VWDJHVWLFNHWHGPXOWLGD\HYHQWV7KHVHHYHQWVRIWHQELOOHG

DVODUJH³7UDLQLQJ(YHQWV´RU³,QWHUQDWLRQDO&RQYHQWLRQV´LQFOXGHERWKODUJHUDOOLHVKHOGLQ

DXGLWRULXPVZLWKJXHVWVSHDNHUVZKRHQFRXUDJH,%2VWRPDNHFRQWLQXHGLQYHVWPHQWVLQ$&1

DVZHOODVVPDOOHUVHPLQDUVW\OHEUHDNRXWVHVVLRQV7KHVHFRQYHQWLRQVDUHQRWPHUHO\EXVLQHVV

FRQIHUHQFHVDWZKLFKSDUWLFLSDQWVPHHWWRQHWZRUNDQGKHDUIURPLQGXVWU\H[SHUWVWKH\DUH

PRWLYDWLRQDOUDOOLHVGHVLJQHGWRVWRNHHQWKXVLDVPDQGFRQYLQFH,%2VWKDWWKH\FDQPDNHDSURILW



                                                
     Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 31 of 164




LIWKH\MXVWNHHSLQYHVWLQJDQGWU\LQJWREXLOGWKHLUGRZQOLQH7KHVHHYHQWVWKHPVHOYHVDUH

DQRWKHUVRXUFHRIVXEVWDQWLDOUHYHQXHIRU$&1




                                                                                                




                                                                                                
           ,QRUGHUWRPDNHERWKWKHVPDOOJURXSUHFUXLWLQJPHHWLQJVDQGWKHODUJHU

PRWLYDWLRQDOUDOOLHVVXFFHVVIXOLWZDVFULWLFDOIRU$&1WRREWDLQKLJKSURILOHFHOHEULW\

HQGRUVHPHQW(QWHUWKH7UXPS(QWHUSULVH




                                                
         Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 32 of 164






                                                                                                    
                $&1ILUVWDQQRXQFHGWKDWWKH7UXPS(QWHUSULVHKDGDJUHHGWRSURPRWHDQG

HQGRUVH$&1LQWKH4HGLWLRQRIACN Newsmagazine$&1¶VTXDUWHUO\PDJD]LQHVHQWWR

,%2V7KHDQQRXQFHPHQWVWDWHGWKDW7UXPSZRXOGEH³IHDWXUHGLQDYDULHW\RISULQWDQGYLGHR

PHGLDRYHUWKHFRPLQJPRQWKVall designed to help you build your ACN business´7KH

DQQRXQFHPHQWDOVRVDLGWKDW7UXPSZRXOG³VSHDNWRLPSRUWDQWSRLQWVHGLI\LQJ$&1²WKH

FRPSDQ\DQGYLVLRQ´7KHPDJD]LQHTXRWHG7UXPSWRXWLQJ$&1

                1RWORQJDIWHU7UXPS¶VHQGRUVHPHQWZDVILUVWDQQRXQFHGWKH4LVVXHRI

$&11HZVPDJD]LQHH[SODLQHGWRLQYHVWRUVWKHXQSUHFHGHQWHGVLJQLILFDQFHRI7UXPS¶V

HQGRUVHPHQW7KHPDJD]LQHHPSKDVL]HG7UXPS¶VJOREDOHQWUHSUHQHXULDOVWDWXUHDQGWKHLPSDFW

LWKDGRQEROVWHULQJ$&1¶VLQWHJULW\LQWKHH\HVRILQYHVWRUV

             7KLVHQGRUVHPHQWVHUYHVDVDhuge testament to the integrityRIWKH$&1
             2SSRUWXQLW\±never beforeKDVDFRPSDQ\LQWKHGLUHFWVHOOLQJLQGXVWU\UHFHLYHG
             DQHQGRUVHPHQWIURPsomeone of such stature'RQDOG-7UXPSLVDQ
             entrepreneurial icon+H¶VDPXOWLELOOLRQDLUH)RXQGHUDQG&(2RI7KH7UXPS


   Donald Trump & ACN$&11(:60$*$=,1(4DW HPSKDVLVDGGHG 

     Id.

     Id.


                                                   
          Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 33 of 164




              2UJDQL]DWLRQDglobally-renownedSURSHUW\PRJXO([HFXWLYH3URGXFHUDQGKRVW
              RIThe Apprentice)RXQGHURI7UXPS8QLYHUVLW\DQGDEHVWVHOOLQJDXWKRU

    HPSKDVHVDGGHG 

                         )ROORZLQJWKHDQQRXQFHPHQWWKH7UXPS(QWHUSULVHHQGRUVHGDQGSURPRWHG$&1

WKURXJKIRXUSULQFLSDOFKDQQHOV  LQ$&1YLGHRVGLVWULEXWHGIRU,%2VWRVFUHHQDWKRPH

PHHWLQJV  LQIHDWXUHVLQSULQWDQGRQOLQHPHGLDLQFOXGLQJLQ$&1EUDQGHGPDJD]LQHV  DW

$&1HYHQWVDQG  GXULQJHSLVRGHVRIThe Celebrity Apprentice,QHDFKRIWKHVHFKDQQHOVDV

DOOHJHGPRUHIXOO\DQGZLWKJUHDWHUGHWDLOLQ6HFWLRQ,9EHORZWKH7UXPS(QWHUSULVHFRQYH\HGD

FRPPRQFRQVLVWHQWDQGSHUYDVLYH0HVVDJH7KHRYHUDOOUHDFKRIWKH0HVVDJHDFURVVWKHVH

FKDQQHOVZDVHQRUPRXVDOORZLQJWKH7UXPS(QWHUSULVHWRFRQYH\WKH0HVVDJHWRPLOOLRQVRI

SRWHQWLDOLQYHVWRUV


              %            7UXPS'LVVHPLQDWHGWKH0HVVDJH7KURXJK$&19LGHRV

                         7UXPSZDVIHDWXUHGSURPLQHQWO\RQPXOWLSOHYHUVLRQVRIWKH³$&12SSRUWXQLW\

'LVF´DVHULHVRISURPRWLRQDO&'VDQG'9'VWKDW,%2VXVHGFRQVLVWHQWO\WRSLWFKWKH$&1

EXVLQHVVRSSRUWXQLW\WRSURVSHFWLYHUHFUXLWV,%2VZHUHHQFRXUDJHGWRSXUFKDVHFRSLHVRIWKH

2SSRUWXQLW\'LVFLQEXONIURP$&1VRWKDWWKH\FRXOGSOD\WKHYLGHRVRQWKHGLVFDWPHHWLQJV

ZLWKSRWHQWLDOUHFUXLWVDQGVHOORUJLYHFRSLHVRIWKHGLVFWRRWKHU$&1SDUWLFLSDQWVWRGRWKH

VDPH7KH2SSRUWXQLW\'LVFZDVXSGDWHGIUHTXHQWO\VRPHWLPHVPRUHWKDQRQFHSHU\HDU(DFK

HGLWLRQRIWKH2SSRUWXQLW\'LVFGXULQJWKHSHULRGRI7UXPS¶VHQGRUVHPHQWLQFOXGHGSURPLQHQW

IRRWDJHRI7UXPSJLYLQJKLVSHUVRQDOHQGRUVHPHQWWR$&1DQGWKHEXVLQHVVRSSRUWXQLW\LW

RIIHUHG,QGHHGWKHVDPHIRRWDJHRI7UXPSZDVUHXVHGIUHTXHQWO\LQVXFFHVVLYHHGLWLRQVZLWK

RQO\PLQRUHGLWLQJEHWZHHQHGLWLRQV7KHHIIHFWZDVFRQVLVWHQWGXULQJWKHUHOHYDQWWLPHSHULRG



  Baltimore International Training Event Sept. 8-10, 2006, $&11(:60$*$=,1(4
DW


                                                               
     Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 34 of 164




WKH0HVVDJHZDVFRQYH\HGLQHYHU\HGLWLRQRIWKH2SSRUWXQLW\'LVFLQVXEVWDQWLDOO\WKHVDPH

IRUP




                                                                                                     

          &    7UXPS'LVVHPLQDWHGWKH0HVVDJH7KURXJK3ULQWDQG2QOLQH0HGLD

             $&1ZDVIHDWXUHGIUHTXHQWO\DQGSURPLQHQWO\LQSuccess from HomeDPRQWKO\

PDJD]LQHWKDWSXUSRUWHGO\LQFOXGHGUHSRUWLQJRQWKHQHWZRUNPDUNHWLQJDQGGLUHFWVHOOLQJ

LQGXVWU\EXWLQUHDOLW\H[FOXVLYHO\SXEOLVKHGFRQWHQWVSRQVRUHGE\FRPSDQLHVLQWKDWLQGXVWU\

7UXPSZDVIHDWXUHGLQRUFRQWULEXWHGWRLVVXHVRISuccess from HomeSXEOLVKHG LQ$SULO

$SULO$XJXVW$XJXVW-XO\6HSWHPEHU6HSWHPEHUDQG

$XJXVW$&1HQFRXUDJHG,%2VWRSXUFKDVHVXEVFULSWLRQVWRWKHPDJD]LQHWRXWLQJLWDV³$

9DOXDEOH7KLUG3DUW\9DOLGDWLRQ7RRO´IRUWKH$&1EXVLQHVVRSSRUWXQLW\DQGWKH0/0LQGXVWU\



                                               
          Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 35 of 164




PRUHJHQHUDOO\H[KRUWLQJ,%2VWR³SXWRQHLQWKHKDQGVRIHDFKRI\RXUWRSSURVSHFWV´

7UXPSDOVRHQFRXUDJHG$&1,%2VWRXVHFRSLHVRIWKHPDJD]LQHWR³legitimize [their] business´

LQWKHH\HVRISRWHQWLDOUHFUXLWV




                                                                                              






   Success from Home Magazine Featuring ACN, $&11(:60$*$=,1(4DWsee
also Home Sweet Home, $&11(:60$*$=,1(4DW

   'RQDOG-7UXPSFrom the Mind of Donald J. Trump$&1$XJDYDLODEOHDW
KWWSVZHEDUFKLYHRUJZHEKWWSDFQLQFFRPQHZVGRQDOGMWUXPS
PHVVDJHVDFQGRQDOGMWUXPS


                                                               
          Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 36 of 164






                                                                                                      
                         )URP$XJXVWWRDURXQG)HEUXDU\7UXPSUHJXODUO\FRQWULEXWHG

³LQVSLUDWLRQDOQRWH>V@´WR$&1¶VEORJ7UXPS¶VSRVWVZHUHGHVLJQHGWRPRWLYDWHDQG

HQFRXUDJH,%2VWRSHUVHYHUHZLWK$&17KHSRVWVDOVRHQFRXUDJHGUHDGHUVWRDWWHQG$&1

HYHQWVDWZKLFK7UXPSZDVVFKHGXOHGWRVSHDN


              '            7UXPS'LVVHPLQDWHGWKH0HVVDJHDW$&1(YHQWV

                         %HWZHHQDQG7UXPSGLVVHPLQDWHGWKH0HVVDJHGXULQJDWOHDVW

IRXUWHHQDSSHDUDQFHVDWPDMRU$&1HYHQWVKHOGLQDXGLWRULXPVDFURVVWKH8QLWHG6WDWHVDQG

RYHUVHDV7UXPSZDVE\IDU$&1¶VPRVWLPSRUWDQWVSHDNHU²LQGHHGLQWKH$&1ZHEVLWH

VWDWHGWKDW7UXPS³>VHW@WKHUHFRUGIRUWKHPRVWDSSHDUDQFHVIURPWKH$&1VWDJHE\DQ\$&1






     Id. 


                                                               
          Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 37 of 164




VSHFLDOJXHVWVSHDNHU´+LVDSSHDUDQFHVLQFOXGHGWKHIROORZLQJHYHQWV$&1¶V,QWHUQDWLRQDO

7UDLQLQJ(YHQWLQ%DOWLPRUH0DU\ODQGDURXQG6HSWHPEHU±$&1¶V,QWHUQDWLRQDO

&RQYHQWLRQLQ)RUW:RUWK7H[DVDURXQG)HEUXDU\±$&1¶V,QWHUQDWLRQDO7UDLQLQJ

(YHQWLQ(DVW5XWKHUIRUG1HZ-HUVH\DURXQG-XQH±$&1¶V,QWHUQDWLRQDO7UDLQLQJ

(YHQWLQ&KDUORWWH1RUWK&DUROLQDDURXQG-XQH±$&1¶V,QWHUQDWLRQDO&RQYHQWLRQ

LQ6DQ-RVH&DOLIRUQLDDURXQG)HEUXDU\±$&1¶V,QWHUQDWLRQDO7UDLQLQJ(YHQW

LQ&KDUORWWH1RUWK&DUROLQDDURXQG6HSWHPEHU±$&1¶V,QWHUQDWLRQDO&RQYHQWLRQLQ

%DUFHORQD6SDLQDURXQG0DUFK±$&1¶V,QWHUQDWLRQDO7UDLQLQJ(YHQWLQ6DQ-RVH

&DOLIRUQLDDURXQG-XQH±$&1¶V,QWHUQDWLRQDO&RQYHQWLRQLQ&KDUORWWH1RUWK

&DUROLQDDURXQG)HEUXDU\±$&1¶VWK$QQLYHUVDU\,QWHUQDWLRQDO7UDLQLQJ(YHQWLQ

&KDUORWWH1RUWK&DUROLQDDURXQG)HEUXDU\±$&1¶V,QWHUQDWLRQDO7UDLQLQJ(YHQWLQ

6DQ-RVH&DOLIRUQLDDURXQG'HFHPEHU±$&1¶V&DQDGD,QWHUQDWLRQDO7UDLQLQJ(YHQW

LQ7RURQWR2QWDULRDURXQG0D\$&1¶V,QWHUQDWLRQDO&RQYHQWLRQLQ%DUFHORQD6SDLQ

DURXQG-XQH±DQG$&1¶V,QWHUQDWLRQDO&RQYHQWLRQLQ&KDUORWWH1RUWK&DUROLQD

DURXQG)HEUXDU\±




                                                                                    



  Catching the Eye of a Billionaire: Donald J. Trump and ACN, $&1DYDLODEOHDW
KWWSVZHEDUFKLYHRUJZHEKWWSDFQLQFFRPWUXPS


                                                               
     Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 38 of 164




                                                




                                                                                        




                                                                                        
          $WWHQGHHVSDLGVXEVWDQWLDOVXPVWRDWWHQGWKHVHHYHQWV)RUH[DPSOHWLFNHWVWR

ZDWFK7UXPS¶VVSHHFKIURPDQRYHUIORZURRPQH[WWRWKHPDLQKDOODWWKH6HSWHPEHUHYHQW

LQ%DOWLPRUHFRVW7LFNHWVWRWKH-XQHHYHQWLQ(DVW5XWKHUIRUGZHUH$QGWLFNHWV

WRWKH)HEUXDU\HYHQWLQ&KDUORWWHUDQJHGIURPWRHDFK

          $OWKRXJK$&1PDGHVXEVWDQWLDOHIIRUWVWRSUHYHQWUHFRUGLQJRIWKHVH

DSSHDUDQFHV²LQFOXGLQJE\EDQQLQJWKHXVHRIFDPHUDVRUVPDUWSKRQHVDQGVHQGLQJVHFXULW\

JXDUGVWKURXJKWKHFURZGZLWKIODVKOLJKWVWRHQIRUFHWKHSURKLELWLRQ²UHFRUGLQJVRIVRPHRI




                                              
     Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 39 of 164




WKHVHDSSHDUDQFHVDUHDYDLODEOHRQOLQHDQGPRUHDUHH[SHFWHGWREHREWDLQDEOHWKURXJKWKH

GLVFRYHU\SURFHVV


       (       7UXPS'LVVHPLQDWHGWKH0HVVDJH7KURXJK1DWLRQDO3ULPHWLPH7HOHYLVLRQ

             2QWZRVHSDUDWHRFFDVLRQVWKH7UXPS(QWHUSULVHIDFLOLWDWHGDQDSSHDUDQFHE\

$&1DQGSURPRWHGLWRQThe Celebrity ApprenticeDQDWLRQDOSULPHWLPHWHOHYLVLRQVKRZ

$FFRUGLQJWRWKHHollywood ReporterWKHILUVWVXFKHSLVRGHZKLFKDLUHG0DUFK

UHDFKHGPLOOLRQYLHZHUV7KHVHFRQGHSLVRGHZKLFKDLUHG0DUFKUHDFKHG

PLOOLRQYLHZHUVDFFRUGLQJWRWKHLos Angeles Times




                                                                                
             'HIHQGDQWV7UXPS'RQDOG7UXPS-UDQG,YDQND7UXPSDSSHDUHGDORQJVLGH

$&1UHSUHVHQWDWLYHVLQERWKHSLVRGHV$QGQRWRQO\GLG7UXPSGLVVHPLQDWHWKH0HVVDJHRQ

SULPHWLPHWHOHYLVLRQRQERWKRFFDVLRQVEXWLQDQWLFLSDWLRQRIHDFKHSLVRGH¶VUHOHDVH$&1DOVR

LVVXHGSUHVVUHOHDVHVIXUWKHUWRXWLQJWKH0HVVDJHRQ)HEUXDU\DQG0DUFK

UHVSHFWLYHO\

             7KHVHDSSHDUDQFHVDFKLHYHGWKH7UXPS(QWHUSULVH¶VJRDOV)RUH[DPSOHVKRUWO\

DIWHUWKHVHFRQGHSLVRGHZDVVFUHHQHGRQ$SULO'HEELH'DYLVDQ$&1³6HQLRU9LFH

3UHVLGHQWDQG&LUFOHRI&KDPSLRQV0HPEHU´ZURWHRQ$&1¶V&RPSDQ\%ORJWKDW


                                                
          Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 40 of 164




                             7KLVSULPHWLPHRSSRUWXQLW\KDVVLPSO\FKDQJHGWKHJDPH%HFDXVHRI
                             WKHVKRZPDQ\UHSUHVHQWDWLYHVZHUHDEOHWRWDONWRSHRSOHWKH\¶YHQHYHU
                             WDONHGZLWKEHIRUHDQGPDQ\RIWKRVHSHRSOHPD\KDYHQHYHUKHDUG
                             RIWKH$&1KRPHEDVHGEXVLQHVVRSSRUWXQLW\:KHQ0U7UXPS
                             DFNQRZOHGJHGRXU&R)RXQGHUVDV³IULHQGV´RIKLVDWWKDWPRPHQW
                             $&1ZDVoozing with credibility in everyone’s eyes.

    HPSKDVLVDGGHG 




                                                                                               
                         'DYLVFRQWLQXHG³$VNHYHU\RQHRQ\RXUOLVWLIWKH\ZDWFKHGThe Celebrity

ApprenticeODVW6XQGD\>7@KDWTXHVWLRQKDVEHFRPHWKHHDVLHVWPRVWVXFFHVVIXOZD\IRUPH

WRVKDUHWKLVRSSRUWXQLW\ZLWKVRPHRQHQHZ´




                                                                                               




   'HEELH'DYLVACN & The Celebrity Apprentice: Next Steps$&1$SUDYDLODEOHDW
KWWSDFQLQFFRPQHZVFRPSDQ\DFQFHOHEULW\DSSUHQWLFHIROORZXSQH[WVWHSV
GHEELHGDYLV

   Id.


                                                               
        Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 41 of 164




,9      7+(75803(17(535,6(.12:,1*/<&219(<('$&216,67(17
          )5$8'8/(170(66$*($%287$&1

             7KURXJKDOOIRXUFKDQQHOVGHVFULEHGDERYHWKH7UXPS(QWHUSULVHGHOLEHUDWHO\

PLVOHGFRQVXPHUVLQWREHOLHYLQJDFRPPRQDQGFRQVLVWHQWIDOVH0HVVDJH²  WKDWSURVSHFWLYH

LQYHVWRUVZRXOGKDYHDUHDVRQDEOHSUREDELOLW\RIFRPPHUFLDOVXFFHVVLIWKH\ERXJKWLQWRWKH

$&1EXVLQHVVRSSRUWXQLW\  WKDW7UXPSZDVSURPRWLQJDQGHQGRUVLQJWKH$&1EXVLQHVV

RSSRUWXQLW\becauseKHEHOLHYHGWKDWWKH\RIIHUHGDUHDVRQDEOHSUREDELOLW\RIFRPPHUFLDOVXFFHVV

    UDWKHUWKDQEHFDXVHWKH7UXPS(QWHUSULVHZDVEHLQJSDLG DQG  WKDW7UXPS¶VHQGRUVHPHQW

ZDVSUHGLFDWHGRQH[WHQVLYHGXHGLOLJHQFHLQVLGHLQIRUPDWLRQDQGSHUVRQDOH[SHULHQFHZLWK

$&1(DFKSDUWRIWKDW0HVVDJHZDVNQRZLQJO\IDOVH


          $    7KH7UXPS(QWHUSULVH)DOVHO\5HSUHVHQWHGWKDWWKH$&1%XVLQHVV
                 2SSRUWXQLW\2IIHUHG&RQVXPHUVD5HDVRQDEOH3UREDELOLW\RI&RPPHUFLDO
                 6XFFHVV

             7KURXJKRXWWKHUHOHYDQWSHULRGWKH7UXPS(QWHUSULVHIDOVHO\UHSUHVHQWHGWR

FRQVXPHUVWKH\ZRXOGKDYHDUHDVRQDEOHSUREDELOLW\RIFRPPHUFLDOVXFFHVVLIWKH\ERXJKWLQWR

WKH$&1EXVLQHVVRSSRUWXQLW\ WKH³6XFFHVV&ODLP´ 7KH7UXPS(QWHUSULVHFRQYH\HGWKH

6XFFHVV&ODLPWRFRQVXPHUVWKURXJKDSSHDUDQFHVE\7UXPSKLPVHOILQHDFKRIWKHFKDQQHOVRI

GLVWULEXWLRQGHVFULEHGDERYH²YLGHRSULQWDQGRQOLQHPHGLDLQSHUVRQHYHQWVDQGQDWLRQDO

WHOHYLVLRQEURDGFDVWV

             7KH7UXPS(QWHUSULVHEXLOWWKH6XFFHVV&ODLPRQWKUHHIDOVHSLOODUVLQKLV

DSSHDUDQFHVRQEHKDOIRI$&17UXPSIDOVHO\PLVUHSUHVHQWHG  WKHOHYHORIULVNLQKHUHQWLQWKH

$&1EXVLQHVVRSSRUWXQLW\  WKHSRWHQWLDOSURILWDELOLW\WRFRQVXPHUVRIWKH$&1EXVLQHVV

RSSRUWXQLW\DQG0/0VLQJHQHUDODQG  WKHPDUNHWIRU$&1¶VSURGXFWVDQGVHUYLFHV




                                                 
        Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 42 of 164




                      Trump Misrepresented ACN’s Risk-Profile.

             7UXPSUHSHDWHGO\PLVUHSUHVHQWHG$&1¶VULVNSURILOHWRFRQVXPHUVIDOVHO\

FODLPLQJWKDWLQYHVWLQJLQ$&1ZDVDORZULVNHQWUHSUHQHXULDOYHQWXUH&KLHIDPRQJWKH

YHKLFOHVIRUGLVVHPLQDWLQJWKLVIDOVHPHVVDJHZDVWKH$&12SSRUWXQLW\'LVFDYLGHRWKDWZDV

GLVWULEXWHGWRSURVSHFWLYHLQYHVWRUV,QWKDWYLGHR7UXPSVWDWHG

                 <RXKDYHDJUHDWRSSRUWXQLW\EHIRUH\RXDW$&1without any of the
                 risks most entrepreneurs have to take<RXKDYHWKHDELOLW\WRPDUNHW
                 EUHDNWKURXJKWHFKQRORJ\EHIRUHLWKLWVWKHFULWLFDOPDVV,¶YH
                 H[SHULHQFHGWKHRSSRUWXQLW\WKDWH[LVWVZKHQ\RX¶UHDEOHWRMXPSDKHDG
                 RIWKHFXUYHDQG$&1JLYHV\RXWKDWRSSRUWXQLW\

    HPSKDVLVDGGHG 

7UXPSUHSHDWHGWKLVFODLPRYHUDQGRYHUDJDLQ²WKLVVWDWHPHQWDSSHDUHGLQeveryHGLWLRQRI$&1

2SSRUWXQLW\'LVFUHOHDVHGIURPWR

             7UXPSGRXEOHGGRZQRQKLVFODLPGXULQJKLVLQSHUVRQHQGRUVHPHQWVJRLQJVR

IDUDVWRVXJJHVWWKDW$&1ZDVULVNIUHH2QVWDJHDW$&1¶V,QWHUQDWLRQDO&RQYHQWLRQLQ

%DUFHORQD6SDLQLQ0DUFK7UXPSH[SODLQHGWRWKHDXGLWRULXPWKDW

                 $ORWRIWKH>$&1@SHRSOHWKDW,¶YHPHWKDGWKHLUMREIRUWZRRUWKUHH
                 \HDUVDQGDOORIDVXGGHQWKH\VWDUWHGOHDYLQJRXWRIWKHLUMREDQGJRLQJ
                 IXOOWLPHDW$&1EHFDXVHWKH\¶UHPDNLQJPRUHPRQH\ZLWK$&16R,
                 OLNHLWEHFDXVHit really takes the risk out,Wtakes a lot of the risk out of
                 the decision.

    HPSKDVHVDGGHG 




                                                   
      Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 43 of 164






                                                                                                    
           ,QYHVWLJDWLRQVE\UHJXODWRU\DJHQFLHVKRZHYHUVKRZWKDWWKH$&1EXVLQHVV

RSSRUWXQLW\ZDVKLJKULVNDQGWKDWLQYHVWRUVKDGDPLQLVFXOHSUREDELOLW\RIFRPPHUFLDOVXFFHVV

,QPXOWLSOHMXULVGLFWLRQVLQWKH8QLWHG6WDWHVDQGWKURXJKRXWWKHZRUOGDFRPPRQDQGFRQVLVWHQW

ILQGLQJKDVHPHUJHGFRQVXPHUVKDYHQRW DQGFRXOGQRW DFKLHYHDUHDVRQDEOHSUREDELOLW\RI

ILQDQFLDOVXFFHVVE\LQYHVWLQJLQWKH$&1EXVLQHVVRSSRUWXQLW\

           )RUH[DPSOHD0RQWDQD&RPPLVVLRQHURI6HFXULWLHVDQG,QVXUDQFH ³&6,´ 

LQYHVWLJDWLRQUHYLHZHG$&1LQWHUQDOGRFXPHQWVDVSDUWRIDQLQYHVWLJDWLRQLQWRLWVEXVLQHVV

SUDFWLFHV7KH&6,IRXQGWKDWWKH,%2VUHFUXLWHGLQ0RQWDQDLQWKHSUHYLRXV\HDUSDLG

DSSUR[LPDWHO\LQPHPEHUVKLSDQGFRQYHQWLRQIHHVDQGVXSSOLHVWR$&1EXWUHFHLYHG

RQO\LQFRPSHQVDWLRQ,QRQH\HDUWKHDYHUDJH0RQWDQD,%2SDLGWR$&1EXW

UHFHLYHGRQO\LQFRPSHQVDWLRQ,QRWKHUZRUGVWKHVH,%2VKDGFRVWVDVVRFLDWHGZLWK

WKHLULQYHVWPHQWLQWKH$&1EXVLQHVVRSSRUWXQLW\WKDWZHUHRYHUWHQWLPHVJUHDWHUWKDQWKHLU

UHWXUQV




                                              
          Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 44 of 164




                         $)UHQFKLQYHVWLJDWLRQLQWR$&1UHDFKHGVLPLODUILQGLQJV'XULQJLWV

LQYHVWLJDWLRQWKH)UHQFK'LUHFWRUDWH*HQHUDOIRU&RPSHWLWLRQ3ROLF\&RQVXPHU$IIDLUVDQG

)UDXG&RQWURO ³'*&&5)´ PRGHOHGWKHHDUQLQJVSRWHQWLDORI$&1,%2VXVLQJUHFRUGV

IXUQLVKHGE\$&17KH'*&&5)FRQFOXGHGWKDW³only 1 percent of people recruited could

claim a satisfactory incomeZKLOHSHUFHQWHLWKHUORVHPRQH\RUDWEHVWHDUQDPRQWKO\

LQFRPHRI¼´ DSSUR[LPDWHO\86  HPSKDVLVDGGHG 0RUHRYHUWKH'*&&5)

SURMHFWHGWKDWHYHQFRPSDUDEO\VXFFHVVIXO,%2VZLWKLQ$&1FRXOGHDUQRQO\DSDOWU\LQFRPH

)RUH[DPSOHDQ,%2ZKRKDGDVPDQ\DVGLUHFWFOLHQWVDQGFOLHQWVLQWKHLUQHWZRUNHDUQHG

RQO\¼PRQWKO\ DSSUR[LPDWHO\86 ZKLOHDQ,%2ZKRKDGDVPDQ\DVGLUHFWFOLHQWV

DQGFOLHQWVLQWKHLUQHWZRUNHDUQHGRQO\¼PRQWKO\ DSSUR[LPDWHO\86 7KH

SURMHFWLRQVVXJJHVWHGWKDWWKHYDVWPDMRULW\RI,%2VORVWPRQH\UHJDUGOHVVRIWKHLUFOLHQW

FRQILJXUDWLRQV(YHQLIDQ,%2DFTXLUHGVL[FOLHQWVGLUHFWFOLHQWVDQGVL[QHWZRUNFOLHQWVRU

GLUHFWFOLHQWVDQGQHWZRUNFOLHQWVWKH,%2ZDVSURMHFWHGWRORVHEHWZHHQ¼

    DSSUR[LPDWHO\86 DQG¼ DSSUR[LPDWHO\86 DQQXDOO\

                         ,QDGGLWLRQ$&1¶VRZQUHSRUWVLQ&DQDGDFRQILUPWKDWFRQVXPHUVGLGQRWKDYHD

UHDVRQDEOHSUREDELOLW\RIFRPPHUFLDOVXFFHVV$FFRUGLQJWR$&1WKHDYHUDJH³DFWLYH´$&1

&DQDGD,%2HDUQHGRQO\DSSUR[LPDWHO\&$LQRQH\HDU3UHYLRXVYHUVLRQVRIWKHVDPH

UHSRUWVUHYHDOHYHQORZHUHDUQLQJV)RUH[DPSOHDFFRUGLQJWR6HUJLR3DUHMDRIWKH8QLYHUVLW\RI

1HZ0H[LFRWKHDYHUDJH$&1&DQDGDDFWLYH,%2³HDUQHGDSSUR[LPDWHO\>&$1@´LQD

VLQJOH\HDU(YHQWKHVHILJXUHVKRZHYHUGRQRWUHYHDOWKHIXOOH[WHQWRI,%2V¶ORVVHV$V




   8QIRUWXQDWHO\IRU3ODLQWLIIV7UXPSGLGQRWPLWLJDWHWKH6XFFHVV&ODLPE\UHIHUHQFHWRDQ\
VXFKGLVFORVXUHVQRUGLG$&1PDNHGLVFORVXUHVRIVXFKJUDQXODULW\LQWKH8QLWHG6WDWHV

   6HUJLR3DUHMDSales Gone Wild: Will the FTC’s Business Opportunity Rule Put an End to
Pyramid Marketing Schemes?0F*HRUJH/5HY  DYDLODEOHDW
KWWSVSDSHUVVVUQFRPVROSDSHUVFIP"DEVWUDFWBLG 


                                                               
          Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 45 of 164




3DUHMDH[SODLQHG$&1¶VILJXUHVVKRZHGJURVVHDUQLQJVWKDWGLGQRWWDNHDFFRXQWRIH[SHQVHV

LQFXUUHGE\,%2VQRUGLGWKRVHILJXUHVLGHQWLI\WKHSHUFHQWDJHRInon-active,%2VZKRZHUH

FDWHJRULFDOO\H[FOXGHGIURPWKHFDOFXODWLRQ


                                     Trump Falsely Claimed That ACN’s Business Model (and Direct-Selling
                                        in General) Provided a Viable Source of Income for Prospective Investors.

                         1RWRQO\GLG7UXPSPLVUHSUHVHQW$&1¶VULVNSURILOHEXWDOVR7UXPSIDOVHO\

FODLPHGWKDWWKH$&1EXVLQHVVRSSRUWXQLW\ DQGWKH0/0EXVLQHVVPRGHOLQJHQHUDO ZDVKLJKO\

SURILWDEOHIRULQYHVWRUV7UXPSVWDWHGWKDW³GLUHFWVHOOLQJ´²DFRPSRQHQWRIWKH0/0EXVLQHVV

PRGHO²³LVDFWXDOO\RQHRIWKHROGHVWPRVWUHVSHFWHGEXVLQHVVPRGHOVLQWKHZRUOGDQGKDV

VWRRGWKHWHVWRIWLPHPRVWLPSRUWDQWO\´,QDQH[WUDFWIURPKLVERRNWhy We Want You to Be

RichZKLFKZDVSXEOLVKHGLQSuccess from Home7UXPS DQGKLVFRDXWKRU VWDWHGWKDW

                             1HWZRUNPDUNHWLQJKDVSURYHQLWVHOIWREHDviable and rewarding
                             source of income0\DGYLFHDERXWQHWZRUNPDUNHWLQJLVWRGR\RXU
                             UHVHDUFKDQGSXWHYHU\WKLQJ\RX¶YHJRWLQWR\RXUSURGXFW*HQXLQH
                             HQWKXVLDVPLVKDUGWREHDWDQGthe odds will be with you

    HPSKDVHVDGGHG 

                         ,QDGGLWLRQIDUIURPHQFRXUDJLQJSURVSHFWLYH,%2VWRH[HUFLVHFDXWLRQLQDWRXJK

HFRQRPLFFOLPDWHGXULQJWKHSHDNRIWKHJOREDOILQDQFLDOFULVLV7UXPSFODLPHGWKDWWKH0/0

LQGXVWU\ZDV³JURZLQJZKHQPDQ\RWKHUVDUHVXIIHULQJPDVVLYHORVVHV´

                         (OVHZKHUH7UXPSFRQWLQXHGWKHVDPHWKHPH,QWKHSuccess from Home

PDJD]LQH7UXPSUHSHDWHGO\SUDLVHG$&1¶VEXVLQHVVPRGHODVSUHVHQWLQJD³JRRGEXVLQHVVDQGD

VROLGRSSRUWXQLW\´IRU³WKRXVDQGVDQGWKRXVDQGVRISHRSOH´6SHDNLQJIURPDSRVLWLRQRI




   'RQDOG-7UXPSWhy Network Marketing?, 68&&(66)520+20($XJDW

   $QQH$UFKHUDirect Selling in the Age of Donald J. Trump68&&(66)520+20($XJ
DW

   Id.


                                                               
     Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 46 of 164




DSSDUHQWDXWKRULW\DVDVHOISURFODLPHGEXVLQHVVH[SHUW7UXPSSRUWUD\HG$&1DVDEXVLQHVV

ZLWKVWURQJIXQGDPHQWDOVDQGVRXQGPDQDJHPHQW

               :KHQHYDOXDWLQJDEXVLQHVVRSSRUWXQLW\SHRSOHQHHGWRORRNIRUVWURQJ
               OHDGHUVKLSDVROLGWUDFNUHFRUGVXFFHVVVWRULHVDVWURQJSURGXFWSHRSOH
               UHDOO\QHHGDQGZDQWDQGDFOHDUSODQIRUWKHIXWXUH$&1KDVDOORI
               WKHVHWKLQJV

        ,QVXP7UXPSWROGKLVDXGLHQFHV³,NQRZZKDWLWWDNHVWREHDVXFFHVVDQG

$&1KDVDZLQQLQJEXVLQHVVPRGHO$QG,PHDQ±ZLQQLQJ´




                                                                                                 
        7UXPS¶VFODLPDERXWWKHSURILWDELOLW\RIWKH$&1EXVLQHVVRSSRUWXQLW\ZDVIDOVH

$VDOOHJHGDERYHRQO\RI,%2VZHUHDEOHWRHDUQDVDWLVIDFWRU\LQFRPH²HYHU\UHJXODWRU\

DJHQF\WRKDYHVWXGLHGWKHPDWWHUKDVFRQFOXGHGWKDWWKHFRVWVWR,%2VJUHDWO\H[FHHGVWKHLU

UHWXUQV0RUHRYHUWKHORVVHVZHUHQRWMXVWOLPLWHGWR$&1¶V,%2V&RQWUDU\WR7UXPS¶V

VWDWHPHQWVVXFKORVVHVZHUHHQGHPLFWR0/0DQGGLUHFWVHOOLQJRSSRUWXQLWLHV$V-RQ0

7D\ORU3UHVLGHQWDQGFRIRXQGHURIWKHQRQSURILW&RQVXPHU$ZDUHQHVV,QVWLWXWHKDVZULWWHQ

ORVVUDWHVLQWKHPXOWLOHYHOPDUNHWLQJLQGXVWU\DUH³H[WUDRUGLQDU\´7D\ORUFRQFOXGHGWKDW

³>E@DVHGRQDYDLODEOHFRPSDQ\GDWDDSSUR[LPDWHO\RIDOO0/0SDUWLFLSDQWVORVHPRQH\±


                                               
          Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 47 of 164




VSHQGLQJPRUHRQFRPSDQ\SXUFKDVHVDQGSURPRWLRQDQGRSHUDWLQJH[SHQVHVWKDQWKH\UHFHLYH

LQFRPPLVVLRQVIURPWKHFRPSDQ\´7D\ORUOLVWV$&1DVRQHVXFKFRPSDQ\

               )LQDOO\FRQVXPHUFRPSODLQWVEXUHDXVKDYHUHFHLYHGDOLWDQ\RIFRPSODLQWVDERXW

WKH³EXVLQHVVRSSRUWXQLW\´RIIHUHGE\$&1&RXQWOHVV,%2VPDGHQRPRQH\DWDOO)RU

H[DPSOHRQHVDLG³,WUXVWHGDYHU\JRRGIULHQGDQGSDLGRXWDQGQHYHUVDZDQ\LQFRPH

IURPWKLVEXVLQHVV´$QRWKHUVDLG³,GLGHYHU\WKLQJ,ZDVVXSSRVHGWRDQGKDYHQRWPDGHD

GROODU´


                                     Trump Misrepresented the Commercial Viability of ACN’s Products,
                                        Especially the ACN Video Phone.

               ,QDGGLWLRQWRPLVUHSUHVHQWLQJWKHULVNSURILOHDQGSURILWDELOLW\RIWKH$&1

EXVLQHVVPRGHO7UXPSPLVUHSUHVHQWHGWKHFRPPHUFLDOYLDELOLW\RI$&1¶VSURGXFWV:KHQ

7UXPSILUVWEHJDQHQGRUVLQJWKHFRPSDQ\$&1GHGLFDWHGDQLPSRUWDQWSDUWRILWVEXVLQHVVWR

UHVHOOLQJWKLUGSDUW\WHOHSKRQHDQGLQWHUQHWXWLOLW\SODQVWKURXJK,%2V,QODWHKRZHYHU

$&1PRYHGLQWRVHOOLQJD³YLGHRSKRQH´DGHVNWRSWHOHSKRQHZLWKDVFUHHQDQGFDPHUDWKDW

DOORZHGXVHUVWRKDYHFRQYHUVDWLRQVXVLQJYRLFHDQGYLGHR7KHYLGHRSKRQHZDVDFHQWUDO

FRPSRQHQWRI$&1¶VVDOHVVWUDWHJ\IRUPDQ\\HDUV'XULQJWKLVSHULRG7UXPSUHSHDWHGO\

SUDLVHG$&1¶V³JUHDWSURGXFW´²LWV³QHZ$&19LGHR3KRQH´%XW$&1¶VYLGHRSKRQHZDV

DQ\WKLQJEXWJUHDW²WKHSURGXFWZDVGRRPHGDOPRVWIURPWKHRXWVHW7KHYLGHRSKRQHZDV

HVVHQWLDOO\DGHVNWRSZLUHGWHOHSKRQHZLWKDYLGHRVFUHHQDQGZHEFDPLQDGGLWLRQWRWKHXVXDO

KDQGVHWDQGNH\SDG,WUHTXLUHGDQLQWHUQHWFRQQHFWLRQWRZRUN$QGEHFDXVHDQ$&1

YLGHRSKRQHFRXOGRQO\EHXVHGWRPDNHYLGHRFDOOVWRRWKHU$&1YLGHRSKRQHVERWKSDUWLHVWRD



   Pissed Consumer UHSRUWQRDYDLODEOHDWKWWSVDFQSLVVHGFRQVXPHUFRPYHU\YHU\
EDGLGHDKWPO

   Pissed Consumer UHSRUWQRDYDLODEOHDWKWWSVDFQSLVVHGFRQVXPHUFRPULSRIIDFQ
LVDVFDPDOOWKHZD\EHZDUHKWPO


                                                               
          Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 48 of 164




FDOOKDGWRVXEVFULEHWR$&1VHUYLFHVWRXVHWKHSKRQH¶VYLGHRFDSDELOLWLHV7KH$&1

YLGHRSKRQHZDVLQGLUHFWFRPSHWLWLRQZLWKHDVLO\DFFHVVLEOHYLGHRFDOOLQJVRIWZDUH LQFOXGLQJ

6N\SH DQGZDVVRRQHFOLSVHGE\VPDUWSKRQHVZLWKYLGHRFDOOLQJFDSDELOLW\,QVKRUWWKHUHZDV

QRSURYHQPDUNHWIRUWKHSKRQHQRUHDVRQWRH[SHFWFRQVXPHUVZRXOGGHPDQGWKHSKRQHDQG

QRWKLQJWRVXJJHVWDVWDQGDORQHYLGHRSKRQHZDVDGHVLUDEOHSURGXFWLQOLJKWRILWVFRPSHWLWLRQ




                                                                                                    
               ,QIRUPDWLRQDYDLODEOHWRWKH7UXPS(QWHUSULVH EXWXQIRUWXQDWHO\QRWUHDGLO\

DYDLODEOHWR3ODLQWLIIV UHIOHFWHGWKH$&1YLGHRSKRQH¶VGLPFRPPHUFLDOSURVSHFWV:RUOGJDWH

&RPPXQLFDWLRQV,QFZDVDVPDOOFRPSDQ\WKDWVROG³GLJLWDOYLGHRSKRQHVGLUHFWO\RUWKURXJK

DJHQWVWRWHOHFRPPXQLFDWLRQVVHUYLFHSURYLGHUVZKRKDYHDGLJLWDOYRLFHDQGYLGHRPDQDJHPHQW

DQGQHWZRUNLQIUDVWUXFWXUH´,QODWH:RUOGJDWHZDVRQWKHEULQNRIFROODSVH,WKDG






   Company Overview of WorldGate Communications, Inc., %/220%(5*DYDLODEOHDW
KWWSVZZZEORRPEHUJFRPUHVHDUFKVWRFNVSULYDWHVQDSVKRWDVS"SULYFDS,G 

   See generally :RUOG*DWH.$QQXDO5HSRUWDW  DYDLODEOHDW
KWWSVZZZVHFJRY$UFKLYHVHGJDUGDWDYBNKWP


                                                               
          Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 49 of 164




EHHQGHOLVWHGIURPWKH1$6'$4LQDQGVXVSHQGHGRSHUDWLRQVIRUVRPHWLPHGXULQJ

,WVPDQDJHUVGRXEWHGLWFRXOGFRQWLQXHDVDJRLQJFRQFHUQ

               ,Q'HFHPEHUDPHUHWKUHHPRQWKVEHIRUH$&1DSSHDUHGRQThe Celebrity

ApprenticeIRUWKHILUVWWLPH$&1DJUHHGWREX\YLGHRSKRQHVIURP:RUOGJDWHDQGWR

SURYLGHPLOOLRQLQIXQGLQJIRU:RUOGJDWH7KHVDPHPRQWK:*,,QYHVWRU//&DQHQWLW\

RZQHGLQGLUHFWO\E\$&1FRIRXQGHU5REHUW6WHYDQRYVNLDQGKLVZLIHDJUHHGWRSXUFKDVHD

VWDNHLQ:RUOGJDWHLQH[FKDQJHIRUPLOOLRQDQGWKHDVVXPSWLRQRIPLOOLRQLQ

GHEW

               ,QWKHHSLVRGHRIThe Celebrity ApprenticeIHDWXULQJ$&17UXPSVDLGWKDW

³$&1LVWKHODUJHVWGLVWULEXWRURIYLGHRSKRQHVDQ\ZKHUHLQWKHZRUOG7KH\GRKDOIDELOOLRQ

GROODUVZRUWKRIVDOHVD\HDU´7KLVUHYHQXHUHSUHVHQWDWLRQZDVDEMHFWO\IDOVH




                                                                                            




   Id. DW

   Id. DW

   Id. DW


                                                               
        Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 50 of 164




           (YHQLI$&1VROGHDFKDQGHYHU\RQHRIWKHYLGHRSKRQHVLWRUGHUHGLQ

RQH\HDUDWWKHUHWDLOSULFHRIIRUH[DPSOHWKDWZRXOGRQO\DPRXQWWRPLOOLRQLQVDOHV

           ,QDGGLWLRQLWVHHPVKLJKO\XQOLNHO\WKDW$&1¶VRUGHUIRUXQLWVIURP

:RUOGJDWHFDPHDQ\ZKHUHFORVHWRPDNLQJ$&1WKH³ODUJHVWGLVWULEXWRURIYLGHRSKRQHV´LQWKH

ZRUOGDWWKHWLPH

           $WDQ$&1FRQYHQWLRQLQ-XQH7UXPSFRQWLQXHGWRFODLP$&1KDGD³JUHDW

SURGXFW´7UXPSVWDWHGWKDW$&1ZDVD³OHDGHULQWKHILHOG´DQGDVVXUHGSDUWLFLSDQWVWKDWWKH\

ZHUHLQWKH³ULJKWEXVLQHVV´+HKDGSUHYLRXVO\WROG$&1SDUWLFLSDQWVWKDW³,WKLQN>$&1¶V@

QHZYLGHRSKRQHLVJRLQJWREHWUHPHQGRXV´%XWWKHUHZDVQHLWKHUDEDVLVIRU7UXPSWRDVVHUW

WKDW$&1ZDVD³OHDGHU´LQWKHILHOGRIWHOHFRPPXQLFDWLRQVKDUGZDUHJHQHUDOO\QRUYLGHRSKRQHV

VSHFLILFDOO\

           7UXPSUHSHDWHGO\UHSUHVHQWHGWKDW$&1¶VYLGHRSKRQHSURGXFWVZHUH

WHFKQRORJLFDOO\VXSHULRUWRWKHLUFRPSHWLWLRQ,QRQHYLGHRKHVDLG

                 ,ZRXOGVD\NQRZOHGJHLVVRLPSRUWDQWHVSHFLDOO\ZKHQ\RX¶UHGHDOLQJ
                 LQKLJKWHFKNLQGRIWKLQJVOLNH\RX:LWK$&1LW¶VUHDOO\
                 NQRZOHGJHDQGRQHRIWKHEHDXWLHVZLWK$&1WKDW,¶YHEHHQDEOHWR
                 GHWHUPLQHDIWHUVRPHUHVHDUFKLVWKDWyou guys have stayed ahead of the
                 packYou’ve stayed ahead of it from a technological standpointIURPD
                 NQRZOHGJHVWDQGSRLQW$QGLQ\RXUZRUOG,WKLQNWKHZRUGNQRZOHGJHLV
                 VRLPSRUWDQW

    HPSKDVLVDGGHG 

           2QVWDJHDWDQ$&1HYHQW7UXPSVDLGWKDW

                 %UHDNWKURXJKSURGXFWVOLNHWKH$&19LGHR3KRQHUHYHDO$&1¶V
                 FRPPLWPHQWWRSLRQHHULQJWHFKQRORJLHVRIWKHIXWXUH:LWKWKH$&1
                 9LGHR3KRQHWKH\DUHOHDGLQJWKHZD\LQDFRPPXQLFDWLRQUHYROXWLRQ




                                                
          Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 51 of 164




                             6WD\LQJDWWKHIRUHIURQWRILQQRYDWLRQLVNH\WRORQJWHUPEXVLQHVV
                             VXFFHVVDQG$&1LVGRLQJMXVWWKDW




                                                                                                             
               7UXPSUHSHDWHGO\FODLPHGWKDWWKLVWHFKQRORJLFDOVXSHULRULW\ZRXOGOHDGWRUREXVW

FRQVXPHUGHPDQGIRUWKHYLGHRSKRQHV,QDQ$&12SSRUWXQLW\'LVFUHOHDVHGDURXQG

7UXPSVDLG

                             ,PDJLQHVHHLQJWKHSHUVRQ\RX¶UHWDONLQJWRQRWMXVWKHDULQJWKHLUYRLFHV
                             1RPDWWHUZKR\RXDUHQRPDWWHUZKDW\RXGReveryone can find value
                             in this technology:LWKP\EXV\VFKHGXOHWKH$&1YLGHRSKRQHNHHSV
                             PHSHUVRQDOO\FRQQHFWHGWRP\FRQWDFWVDURXQGWKHZRUOGZLWKRXWHYHU
                             OHDYLQJP\RIILFH

    HPSKDVLVDGGHG 7KLVFRXOGQRWSRVVLEO\EHWUXH






 $QQH$UFKHUDirect Selling in the Age of Donald J. Trump68&&(66)520+20($XJ
DW


                                                               
          Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 52 of 164




               7RSXWLWEH\RQGGRXEWLQDHGLWLRQIURPSuccess from Home7UXPSZDV

TXRWHGDVVD\LQJWKDWWKHYLGHRSKRQHZDV³FKDQJLQJFRPPXQLFDWLRQVDVZHNQRZLW,W¶VD

SURGXFWWKDWSUDFWLFDOO\VHOOVLWVHOI´

               ,Q$&1¶VSUHVVUHOHDVHDQQRXQFLQJLWVDSSHDUDQFHLQWKHVHDVRQRIThe

Celebrity Apprentice$&1DJDLQWRXWHGLWV³ODWHVWYLGHRSKRQH´DV³UHYROXWLRQDU\´7UXPSZDV

TXRWHGDVVD\LQJ

                             ,WKLQNWKH$&19LGHR3KRQHLVDPD]LQJ,W¶VFRQQHFWLQJSHRSOHIDFH
                             WRIDFHUHJDUGOHVVRIZKHUHWKH\DUH,VLPSO\FDQ¶WLPDJLQHDQ\ERG\
                             XVLQJWKLVSKRQHDQGQRWORYLQJLW

               7UXPS¶VVWDWHPHQWVUHJDUGLQJWKHWHFKQRORJLFDOVXSHULRULW\RIWKHYLGHRSKRQH

DQGH[SHFWHGFRQVXPHUGHPDQGZHUHIDOVHDQGPLVOHDGLQJ$&1¶VYLGHRSKRQHZDVOHVV

WHFKQRORJLFDOO\DGYDQFHGWKDQDQ\RILWVFRPSHWLWRUVZKLFKDOVRRIIHUHGWKHLUFRPSHWLWLYH

SURGXFWVDWORZHUSULFHV)RUH[DPSOHDVDOOHJHGDERYHGHVNWRSDSSOLFDWLRQVVXFKDV6N\SH

RIIHUHGYRLFHDQGYLGHRFDOOLQJDWIDUORZHUFRVWVWKDQ$&1¶VYLGHRSKRQHSODQ,QGHHGWKH

PDUNHW¶VUHFHSWLRQVKRZHG$&1YLGHRSKRQHZDVDQ\WKLQJEXWDPD]LQJ,Q0DUFKPHUH

GD\VEHIRUHWKHHSLVRGHRITheCelebrity ApprenticeDLUHG:RUOGJDWHDQQRXQFHGWKDWLW

ZDVLQD³FDVKFUXQFK´DQGZRXOGILUHRILWVZRUNIRUFH OHDYLQJLWZLWKHPSOR\HHV 

7KDWVDPHPRQWK$&1UHYLVHGGRZQZDUGLWVDJUHHPHQWWREX\YLGHRSKRQHV






   $QQH$UFKHUDirect Selling in the Age of Donald J. Trump68&&(66)520+20($XJ
DW

   ACN Goes Primetime with Encore Appearance on Donald J. Trump’s 7KH&HOHEULW\
$SSUHQWLFH$&10DUDYDLODEOHDW
KWWSVZHEDUFKLYHRUJZHEKWWSZZZDFQSUHVVNLWFRPGRFXPHQWV$&1
&HOHEULW\$SSUHQWLFH1%&7UXPS3UHVV5HOHDVHSGI


                                                               
          Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 53 of 164




              %            7UXPS)DOVHO\5HSUHVHQWHGWKDW+H*HQXLQHO\6XSSRUWHG$&1DQG)DLOHG
                             7R'LVFORVH7KDW+H:DV%HLQJ3DLG/DYLVKO\IRU+LV(QGRUVHPHQW

               7UXPSUHSHDWHGO\WROGKLVDXGLHQFHVWKDWKHHQGRUVHG$&1EHFDXVHKHEHOLHYHGLW

RIIHUHGDUHDVRQDEOHSUREDELOLW\RIFRPPHUFLDOVXFFHVV+HWRXWHG$&1¶VFRPPHUFLDOSURVSHFWV

DQGRUKLVUHJDUGIRULWVIRXQGHUV$QGKHIDLOHGWRGLVFORVHWKDWKHZDVLQIDFWEHLQJSDLG

PLOOLRQVRIGROODUVIRUKLV$&1HQGRUVHPHQW




                                                                                             
               )RUH[DPSOHLQKLVVSHHFKDW$&1¶V,QWHUQDWLRQDO&RQYHQWLRQLQ(DVW

5XWKHUIRUG1HZ-HUVH\7UXPSVWDWHGWKDWKHKDGMXVW³H[WHQGHG´KLV³SDUWQHUVKLSZLWK$&1´

EHFDXVH³ZKHQ\RXKDYHNQRZOHGJHRIVRPHWKLQJDQG\RXUHDOO\EHOLHYHLQVRPHWKLQJLW¶VYHU\

HDV\WRJLYHDQHQGRUVHPHQWAnd I give my endorsementSHUFHQW´ HPSKDVLVDGGHG 

1HLWKHU7UXPSQRU$&1GLVFORVHGWRWKHDXGLHQFHWKDW7UXPSZDVSDLGIRUWKLVDSSHDUDQFH

WKRXJKKHZDVSDLGODYLVKO\IRUHDFKDSSHDUDQFH²DWWLPHVPLOOLRQVRIGROODUVIRUGHOLYHULQJD

VLQJOHVSHHFK



   Learn 3 Networking Secrets from Donald Trump on Effective MLM Marketing<2878%(
$SUDYDLODEOHDWZZZ\RXWXEHFRPZDWFK"Y 1V,46NXLR,

   -DPHV9*ULPDOGLDQG0DUN0DUHPRQWDonald Trump Made Millions from Multilevel
Marketing Firm7+(:$//675((7-2851$/$XJDYDLODEOHDW
KWWSVZZZZVMFRPDUWLFOHVWUXPSPDGHPLOOLRQVIURPPXOWLOHYHOPDUNHWLQJILUP



                                                               
          Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 54 of 164




               2QVWDJHDW$&1¶V,QWHUQDWLRQDO7UDLQLQJ(YHQWLQ&KDUORWWH1RUWK&DUROLQD

7UXPSQRWHGLWZDVWKH³IRXUWKWLPH,¶YHIHOWOLNH,¶PSDUWRI\RX´+HSUDLVHG$&1¶VIRXQGHUV

VD\LQJ³,UHDOO\XQGHUVWDQGWKHVHJX\V´KDYLQJ³EHHQZLWKWKHPIRURYHUWKUHH\HDUVDVWKHLU

IULHQG´+HFRQFOXGHG³,PHDQWKDWDQGLI,GLGQ¶W,ZRXOGQ¶WEHKHUH´

               7UXPSZDVWKH³NH\QRWHVSHDNHU´DW$&1¶V,QWHUQDWLRQDO7UDLQLQJ(YHQWLQ

&KDUORWWH1RUWK&DUROLQDZKHUHKHZDVPLVOHDGLQJO\ELOOHGDVD³PXOWLELOOLRQDLUH

HQWUHSUHQHXU´$WWKHFRQYHQWLRQKHZDVLQWHUYLHZHGE\'DUUHQ+DUG\SXEOLVKHURISuccess

from Home,QWKHLQWHUYLHZ7UXPSHPSKDVL]HGKLVOLNLQJIRU$&1¶VIRXQGHUVVD\LQJWKDWKH

KDG³GHYHORSHGDUHDOOLNLQJIRU*UHJ>3URYHQ]DQR@DQG5REHUW>6WHYDQRYVNL@´DQGWKDW³,UHDOO\

HQMR\DQGXVH\RXUSURGXFW,UHDOO\OLNHLWDORW,XVHLWZKHQ,FDQ´7UXPSDOVRVDLGWKDW

³$&1LVJRLQJWREHFRPHDPDMRUVSRQVRURIThe Apprentice´DQGVXJJHVWHGWKDWKHZRXOG³SXW

LQDOLWWOHVSHFLDOIODYRUEHFDXVH,UHDOO\IHHOVWURQJO\DERXWWKHFRPSDQ\´

               7UXPSZDVWKHJXHVWVSHDNHUDW$&1¶V,QWHUQDWLRQDO&RQYHQWLRQLQ

%DUFHORQD6SDLQZKHUHKHZDVDJDLQLQWHUYLHZHGRQVWDJHE\+DUG\$VNHGZK\KHKDG³VXFK

DIILQLW\IRU$&1´7UXPSH[SODLQHGWKDWKH³UHDOO\OLNH>V@WKHJX\V´ZKR³KDYHUHDOO\EHFRPH

IULHQGVRIPLQH´+HFRQWLQXHGWRH[SODLQWKDWKH³JLYH>V@ORWVRIPRQH\WRFKDULW\DQG>WKH

$&1IRXQGHUV@FRQWULEXWHWRP\FKDULWLHV7KH\UHDOO\KDYHEHHQYHU\JHQHURXV7KHVHDUH




   ACN Donald Trump TRUMP CLT<2878%(0DUDYDLODEOHDW
KWWSVZZZ\RXWXEHFRPZDWFK"Y (]L+0NJ*I,

   ACN Welcomes Representatives to Hometown for International Training Event, $&1
$XJDYDLODEOHDWKWWSDFQLQFFRPQHZVSUHVVUHOHDVHVDFQZHOFRPHV
UHSUHVHQWDWLYHVWRKRPHWRZQIRULQWHUQDWLRQDOWUDLQLQJHYHQW

   Donald Trump Interviewed by Darren Hardy Part 1, <2878%(0DUDYDLODEOHDW
KWWSVZZZ\RXWXEHFRPZDWFK"Y UMWO1J:*0

   Donald Trump Interviewed by Darren Hardy Part 3, <2878%(0DUDYDLODEOHDW
KWWSVZZZ\RXWXEHFRPZDWFK"Y [8TGO'V$

   Convention Internationale Barcelone 2011 Iterview de M. Donald J. Trump, <2878%(
$SUDYDLODEOHDWKWWSVZZZ\RXWXEHFRPZDWFK"Y OL]4$(N


                                                               
          Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 55 of 164




JRRGJX\V$QG,MXVWIHOW,KDGDOLWWOHELWRIDQREOLJDWLRQ>,W@ZDVDSDLQLQWKHDVVWRJHW

KHUH´ 7KHUHLVOLWWOHHYLGHQFHWRVXSSRUW7UXPS¶VFODLPVDERXWJLYLQJORWVRIPRQH\WR

FKDULW\ 

               $WDQ$&1FRQYHQWLRQVKRUWO\WKHUHDIWHU7UXPSH[SODLQHGWRJUHDWDSSODXVH³,

GRVSHHFKHVEHFDXVH,OLNHGRLQJLW´

               ,QDHGLWLRQRIWKH$&12SSRUWXQLW\'LVF7UXPSHODERUDWHGRQKLVUHDVRQV

IRUVXSSRUWLQJWKHFRPSDQ\

                             ,¶YHEHHQZRUNLQJZLWK$&1IRUDIHZ\HDUVQRZ6LQFHWKDWWLPH,KDYH
                             GHYHORSHGDJUHDWUHODWLRQVKLSZLWK$&1DQGWKHPRUH,OHDUQDERXW
                             WKHPWKHPRUH,OLNHDQGUHVSHFWWKHP,VHHLQFUHGLEOHSRWHQWLDOLQWKH
                             WKLQJVWKH\¶UHGRLQJQRZDQGDUHSODQQLQJLQWKHIXWXUH

               $W$&1¶VWK$QQLYHUVDU\,QWHUQDWLRQDO7UDLQLQJ(YHQWLQ&KDUORWWH1RUWK

&DUROLQDLQ)HEUXDU\$&1DQQRXQFHGWKDW7UXPSZDVQRZDQ³H[FOXVLYH´HQGRUVHU

2QVWDJHDWWKHHYHQW+DUG\DVNHG7UXPS³ZK\GR\RXNHHSFRPLQJEDFN":KDWLVLWDERXW

$&1"Certainly not for any money´ HPSKDVLVDGGHG 7UXPSDQVZHUHG³1R´




                                                                                             


   Id.

   Trump Loves ACN, <2878%()HEDYDLODEOHDW
KWWSVZZZ\RXWXEHFRPZDWFK"Y ,BY,M)V0V

   Donald Trump 1 of 5 at ACN’s 20th, <2878%()HEDYDLODEOHDW
KWWSVZZZ\RXWXEHFRPZDWFK"Y E<BJ:V&4

   Id.


                                                               
          Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 56 of 164




               +DUG\FRQWLQXHG³,W¶VIRUWKHORYHRIWKHRUJDQL]DWLRQ7HOOXVZK\\RXORYH

$&1"´7UXPSUHSOLHG

                             >7@KHUHDVRQ,¶PGRLQJLWLVEHFDXVH,UHDOO\KDYHDMXVWDVSHFLDO
                             UHODWLRQVKLSZLWKWKHIRXQGHUVWKH\DUHJRRGSHRSOHWKH\DUHKDUG
                             ZRUNHUVWKH\ORYHZKDWWKH\DUHGRLQJWKH\ORYHWKHSHRSOHLQWKHURRP
                             >7@KH\DUHUHDOO\JRRGSHRSOHZLWKJUHDWLGHDVDQGWKH\ZDQWWRKHOS
                             RWKHUSHRSOH

               7UXPSFRQWLQXHGWRVD\WKDWKHKDG³DJUHHGWRH[WHQGWKHUHODWLRQVKLSIRUD

VXEVWDQWLDOSHULRGRIWLPH$JDLQEHFDXVHRIP\UHODWLRQVKLSZLWKWKHIRXQGHUV´$IWHU

+DUG\QRWHGWKDW7UXPSKDG³>FKRVHQ@WREHFRPHH[FOXVLYHZLWK$&1´7UXPSVDLG³,W¶VWUXH

,W¶VDQKRQRU%HOLHYHPH´

               $WWKH-XQH$&1,QWHUQDWLRQDO&RQYHQWLRQLQ%DUFHORQD7UXPSDJDLQ

DIILUPHGWKDWKHZDVQRWHQGRUVLQJ$&1EHFDXVHKHZDVSDLGWRGRVR+HFODLPHGKHZDV³D

IDQRIWKHIRXQGHUVDQGWKHYLVLRQ´RI$&1DQGFRQWLQXHGWRVD\WKDWKHZDV³QRWDQRZQHURI

$&1´VRKHGLGQRW³UHDOO\QHHGWKLV´EXWWKDWKH³UHVSHFW>V@ZKDWWKHRZQHUVDUHGRLQJ´

               7UXPS¶VUHSUHVHQWDWLRQVWKDWKHJHQXLQHO\VXSSRUWHG$&1RXWRIDGPLUDWLRQIRU

LWVEXVLQHVVDQGDIIHFWLRQIRULWVIRXQGHUVZHUHDWEHVWNQRZLQJO\PLVOHDGLQJ'XULQJWKHSHULRG

RIKLVHQGRUVHPHQW7UXPSQHYHUGLVFORVHGWRKLVDXGLHQFHVWKDWKHZDVSDLGYDVWVXPVRIPRQH\

IRUHDFKDSSHDUDQFHDVDQ$&1JXHVWVSHDNHU






   Id.

   Id.

   Donald Trump 2 of 5 ACN 20th, <2878%()HEDYDLODEOHDW
KWWSVZZZ\RXWXEHFRPZDWFK"Y OLO'M:$

   7KLV³H[FOXVLYH´DJUHHPHQWDSSHDUVWRKDYHEHHQUHDFKHGVKRUWO\DIWHUWKH7UXPS1HWZRUN
FROODSVHGLQODWH

   Donald Trump 2 of 5 ACN 20th, <2878%()HEDYDLODEOHDW
KWWSVZZZ\RXWXEHFRPZDWFK"Y OLO'M:$


                                                               
          Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 57 of 164




               7RWKHFRQWUDU\7UXPSDIILUPDWLYHO\FODLPHGWKDWKHGLGQRWHQGRUVH$&1IRUWKH

PRQH\)RUH[DPSOHLQWKH$XJXVWLVVXHRISuccess from Home7UXPSZDVTXRWHGDV

VD\LQJ

                             :KHQ7UXPSZDVQHJRWLDWLQJZLWK$&1,QFWRUHSUHVHQWWKHFRPSDQ\
                             DQGVSHDNDWWKHLUHYHQWVKHPDGHLWFOHDUWKDWKHZRXOGQRWEHGRLQJLW
                             ³IRUWKHPRQH\´+HKDVSOHQW\RIPRQH\VRVRPHWKLQJHOVHKDGWREH
                             WKHGHFLGLQJIDFWRU)RUKLPLWFDPHGRZQWRWKHIRXU$&1FR
                             IRXQGHUV

               7UXPSUHLWHUDWHGWKLVPHVVDJHUHSHDWHGO\DW$&1¶VHYHQWV

               ,QGLUHFWFRQWUDGLFWLRQWRKLVPDQ\\HDUVRIVWDWHPHQWVDQGRPLVVLRQVLQGLFDWLQJ

WKDWKHZDVQRWGRLQJLW³IRUWKHPRQH\´7UXPSDGPLWWHG\HDUVODWHUWKDWKLVVSHDNLQJIHHV

DPRXQWHGWR³DVXEVWDQWLDODPRXQWRIPRQH\HYHQLI\RX¶UHULFK´3ODLQWLIIVDUHQRWSUHVHQWO\

DZDUHRIMXVWKRZPXFK7UXPSDQGWKH7UXPS(QWHUSULVHZHUHSDLGIRU7UXPS¶VHQGRUVHPHQW

%XWWKHHYLGHQFHQRZDYDLODEOHVXJJHVWVWKDWWKHDPRXQWVZHUHVWDJJHULQJ²HVSHFLDOO\FRPSDUHG

WRWKHLQFRPHRIWKHDYHUDJH$&1,%2$FFRUGLQJWR7UXPS¶VILQDQFLDOGLVFORVXUHV$&1

,QFSDLGKLPHDFKIRUWKUHHLQSHUVRQDSSHDUDQFHVEHWZHHQ0D\DQG

)HEUXDU\

               6LPLODUO\LQQHLWKHUWKHQRUWKHHSLVRGHVGLG7UXPSRUWKH7UXPS

(QWHUSULVHGLVFORVHWKDW$&1KDGSDLGWKHSURGXFHUVRIThe Celebrity ApprenticeKDQGVRPHO\WR

EHIHDWXUHGRQWKHVKRZ%XW\HDUVODWHU7UXPSDGPLWWHGWKDW$&1³SDLGDORWRIPRQH\WRJR

RQWKHVKRZ´VD\LQJWKDW³LWZDVOLNHDWZRKRXUDGYHUWLVHPHQWDVRSSRVHGWRDVHFRQG





   $QQH$UFKHUCatching the Eye of a Billionaire68&&(66)520+20($XJDW

   -DPHV9*ULPDOGLDQG0DUN0DUHPRQWDonald Trump Made Millions from Multilevel
Marketing Firm7+(:$//675((7-2851$/$XJDYDLODEOHDW
KWWSVZZZZVMFRPDUWLFOHVWUXPSPDGHPLOOLRQVIURPPXOWLOHYHOPDUNHWLQJILUP


   'RQDOG-7UXPS2IILFHRI*RYHUQPHQW(WKLFV'LVFORVXUH)RUP-XO\


                                                               
          Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 58 of 164




FRPPHUFLDO´$OWKRXJK3ODLQWLIIVDUHQRWDZDUHKRZPXFK$&1SDLGIRULWVDSSHDUDQFHVRQ

The Celebrity ApprenticeSXEOLFUHSRUWVKDYHHVWLPDWHGWKDWWKHFRPSDQ\SDLGEHWZHHQ±

PLOOLRQWRDSSHDULQDVLQJOHHSLVRGH3ODLQWLIIVDUHXQDZDUHRIZKLFKHQWLW\ZLWKLQWKH7UXPS

(QWHUSULVHUHFHLYHGWKHVHSD\PHQWVRUZKHWKHURWKHUSDUWLHVVKDUHGLQWKHSD\PHQWV

               7KH)HGHUDO7UDGH&RPPLVVLRQ WKH³)7&´ WKHDJHQF\FKDUJHGZLWKSURWHFWLQJ

WKHQDWLRQ¶VFRQVXPHUVKDVORQJHPSKDVL]HGWKHLPSRUWDQFHRIGLVFORVLQJFOHDUO\DQG

FRQVSLFXRXVO\FRPSHQVDWLRQIRUHQGRUVHPHQWDFWLYLWLHV²DQGWKDWIDLOLQJWRGRVRPLVOHDGV

FRQVXPHUV,QGHHGDVSDUWRILWVFRQVXPHUSURWHFWLRQPDQGDWHWKH)7&LVVXHVVSHFLILFJXLGDQFH

FRQFHUQLQJWKHXVHRIHQGRUVHPHQWV,QWKH)7&¶VYLHZHQGRUVHUVPXVWGLVFORVH³FRQQHFWLRQV´

ZLWKLQFOXGLQJPRQHWDU\FRPSHQVDWLRQWKH\UHFHLYHIURPVHOOHUVRIDGYHUWLVHGSURGXFWV³WKDW

PLJKWPDWHULDOO\DIIHFWWKHZHLJKWRUFUHGLELOLW\RIWKHHQGRUVHPHQW´

               7KH)7&VXFFLQFWO\H[SODLQVZK\HQGRUVHUVPXVWFOHDUO\DQGFRQVSLFXRXVO\

GLVFORVH³PDWHULDOFRQQHFWLRQV´ZLWKVHOOHUVRISURGXFWV

                             6XSSRVH\RXPHHWVRPHRQHZKRWHOOV\RXDERXWDJUHDWQHZSURGXFW
                             6KHWHOOV\RXLWSHUIRUPVZRQGHUIXOO\DQGRIIHUVIDQWDVWLFQHZIHDWXUHV
                             WKDWQRERG\HOVHKDV:RXOGWKDWUHFRPPHQGDWLRQIDFWRULQWR\RXU
                             GHFLVLRQWREX\WKHSURGXFW"3UREDEO\

                             1RZVXSSRVHWKHSHUVRQZRUNVIRUWKHFRPSDQ\WKDWVHOOVWKHSURGXFW±
                             or has been paid by the company to tout the product. Would you want
                             to know that when you’re evaluating the endorser’s glowing





   -DPHV9*ULPDOGLDQG0DUN0DUHPRQWDonald Trump Made Millions from Multilevel
Marketing Firm7+(:$//675((7-2851$/$XJDYDLODEOHDW
KWWSVZZZZVMFRPDUWLFOHVWUXPSPDGHPLOOLRQVIURPPXOWLOHYHOPDUNHWLQJILUP


   Id. 

   &)53DUW

   Id. seealso)7&6WDII5HPLQGV,QIOXHQFHUVDQG%UDQGVWR&OHDUO\'LVFORVH5HODWLRQVKLS
KWWSVZZZIWFJRYQHZVHYHQWVSUHVVUHOHDVHVIWFVWDIIUHPLQGVLQIOXHQFHUVEUDQGV
FOHDUO\GLVFORVH ³)7&5HPLQGHU´ 


                                                               
          Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 59 of 164




                             recommendation? You bet. 7KDWFRPPRQVHQVHSUHPLVHLVDWWKHKHDUW
                             RIWKH)HGHUDO7UDGH&RPPLVVLRQ¶V )7& (QGRUVHPHQW*XLGHV

    HPSKDVHVDGGHG 

               ,QUHFHQW\HDUVWKH)7&KDVWDNHQDPRUHYLJRURXVDSSURDFKWRZDUGVWKRVHZKR

IDLOWRFRPSO\ZLWKLWVDGYLFH,QGHHGMXVWODVW\HDUWKH)7&DQQRXQFHGWKDWLWVVWDIIKDGLVVXHG

LQH[FHVVRIOHWWHUVUHPLQGLQJFHOHEULWLHVWRGLVFORVHPDWHULDOFRQQHFWLRQVZLWKUHOHYDQWSDUWLHV

ZKHQSURPRWLQJRUHQGRUVLQJSURGXFWV

               ,QDGGLWLRQWRUHTXLULQJGLVFORVXUHRIDQHQGRUVHU¶VPDWHULDOFRQQHFWLRQVWKH)7&

VWDWHVWKDWHQGRUVHPHQWV³PXVWUHIOHFWWKHKRQHVWRSLQLRQVILQGLQJVEHOLHIVRUH[SHULHQFHRIWKH

HQGRUVHU´7KH)7&DJDLQH[SODLQVWKHUHVSRQVLELOLW\WKDWDFHOHEULW\HQGRUVHUDVVXPHVZKHQ

VKHRUKHHOHFWVWRPDNHDSDLGHQGRUVHPHQW

                             7KHFHOHEULW\KDVdecided to earn money by providing an endorsement
                             :LWKWKDWRSSRUWXQLW\FRPHVWKHresponsibilityIRUWKHFHOHEULW\RUKLVRU
                             KHUOHJDOUHSUHVHQWDWLYHWRensurein advanceWKDWWKHFHOHEULW\GRHVnot
                             say something that does not “reflect [his or her] honest opinions,
                             findings, beliefs, or experience´

    HPSKDVHVDGGHG ,QGHHGLQWKH)7&¶VYLHZHYHQLIDFHOHEULW\LVRQO\UHDGLQJIURPDVFULSW

WKDWZDVZULWWHQE\WKHDGYHUWLVHUWKHHQGRUVHUPD\KDYH³DQREOLJDWLRQWRPDNHreasonable

inquiriesRIWKHDGYHUWLVHUWKDWWKHUHLVDQadequate basisIRUDVVHUWLRQVWKDWWKHVFULSWKDVWKHP

PDNLQJ´ HPSKDVLVDGGHG 

               7UXPS¶VSHUVLVWHQWIDLOXUHWRGLVFORVHWKDWKHZDVEHLQJSDLGIRUKLVHQGRUVHPHQW

RI$&1ZDVZKROO\LQFRQVLVWHQWZLWKWKHVHEDVLFFRQVXPHUSURWHFWLRQSULQFLSOHV




   7KH)7&¶V(QGRUVHPHQW*XLGHV:KDW3HRSOH$UH$VNLQJKWWSVZZZIWFJRYWLSV
DGYLFHEXVLQHVVFHQWHUJXLGDQFHIWFVHQGRUVHPHQWJXLGHVZKDWSHRSOHDUHDVNLQJ

   )7&5HPLQGHU

   &)53DUW D 

   )HG5HJ FLWLQJ&)5 D 

   )HG5HJ


                                                               
     Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 60 of 164




       &     7UXPS)DOVHO\5HSUHVHQWHGWKDW+LV(QGRUVHPHQW:DV3UHGLFDWHGRQ
               $SSURSULDWH'XH'LOLJHQFHDQG3HUVRQDO([SHULHQFHZLWK$&1¶V%XVLQHVV

        7UXPSUHDVVXUHGKLVDXGLHQFHVWKDWWKH\FRXOGWUXVWZKDWKHZDVVD\LQJDERXW

$&1E\PDNLQJIXUWKHUIDOVHVWDWHPHQWVDERXWWKHEDVLVIRUKLVVWDWHPHQWV,QSDUWLFXODU7UXPS

FODLPHGWKDWKHFRQGXFWHGDSSURSULDWHGXHGLOLJHQFHLQWR$&1EHIRUHDJUHHLQJWRHQGRUVHLW,Q

VRGRLQJKHLPSOLHGWKDWKLVGLOLJHQFHFRQILUPHGWKDW$&1SUHVHQWHGDUHDVRQDEOHSUREDELOLW\RI

FRPPHUFLDOVXFFHVVIRUSURVSHFWLYH,%2V7UXPSDOVRFODLPHGWKDWKHKDGSHUVRQDOO\

H[SHULHQFHGWKH$&1RSSRUWXQLW\DQGWKDWKLVHQGRUVHPHQWZDVEDVHGRQWKDWH[SHULHQFH

        )RUH[DPSOHLQDQQRXQFLQJKLVHQGRUVHPHQWLQ7UXPSVDLG³$&1LVD

JUHDWFRPSDQ\+RZGR,NQRZ"%HFDXVHZHKDYHdone a lot of research´/DWHULQDQRWKHU

$&12SSRUWXQLW\'LVF7UXPSH[SODLQHGKLVSURFHVVIRUGHFLGLQJWRHQGRUVH$&1VD\LQJ³we

do a lot of research on companiesEHIRUHZHDJUHHWRGRVRPHWKLQJOLNH,¶PGRLQJIRU\RX$QG

$&1¶VDJUHDWFRPSDQ\´

        7UXPSHFKRHGWKHVHIDOVHVWDWHPHQWVGXULQJKLVLQSHUVRQDSSHDUDQFHV:KHQ

H[SODLQLQJWRDOLYHDXGLHQFHLQZK\KHKDGGHFLGHGWRH[WHQGKLVHQGRUVHPHQW7UXPSVDLG

WKDW³ZKHQ\RXKDYHNQRZOHGJHRIVRPHWKLQJLW¶VYHU\HDV\WRJLYHDQHQGRUVHPHQW

SHUFHQW´$QG7UXPSUHSHDWHGWKLVPHVVDJHLQLQWHUYLHZVIRUSuccess from Home$VWKH

$XJXVWLVVXHSXWLW






   Donald Trump & ACN, $&11(:60$*$=,1(, 4DW

   ACN Interview with Donald Trump #3, <2878%($SUDYDLODEOHDW
KWWSVZZZ\RXWXEHFRPZDWFK"Y V0SQ&;P0U[0

  Learning 3 Network Secrets from Donald Trump on Effective MLM Marketing, <2878%(
$SUDYDLODEOHDW ZZZ\RXWXEHFRPZDWFK"Y 1V,46NXLR,


                                              
          Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 61 of 164




                             :KHQ7UXPSZDVLQLWLDOO\GHFLGLQJWRZRUNZLWK$&1KLVRUJDQL]DWLRQ
                             GLGDJUHDWGHDORIUHVHDUFKRQWKHFRPSDQ\DQGWRRNDKDUGORRNEHIRUH
                             GHFLGLQJWRHQGRUVH$&1DQGLWVSURGXFWV

$ODWHULVVXHVWDWHGUHLWHUDWHG7UXPS³RQO\FKRRVHV´WRLQYHVW³DIWHUSHUIRUPLQJGXHGLOLJHQFH´

               ,QWKHYLGHRRQWKH$&12SSRUWXQLW\'LVF7UXPSVLPLODUO\FODLPHGWKDW³,¶YH

H[SHULHQFHGWKHRSSRUWXQLW\WKDWH[LVWVZKHQ\RX¶UHDEOHWRMXPSDKHDGRIWKHFXUYHDQG$&1

JLYHV\RXWKDWRSSRUWXQLW\´

               ,QDGGLWLRQWRFODLPLQJKHKDGFRQGXFWHGUHVHDUFKLQWRDQGKDGSHUVRQDO

H[SHULHQFHZLWK$&1¶VEXVLQHVVPRGHO7UXPSFODLPHGWRKDYHFRQGXFWHGVSHFLILFUHVHDUFKLQWR

LWVYLGHRSKRQHSURGXFW$IILUPLQJWKHLPSRUWDQFHRI³NQRZOHGJH´ZKHQGHDOLQJZLWK³KLJK

WHFK´SURGXFWV7UXPSFODLPHG³,¶YHEHHQDEOHWRGHWHUPLQHDIWHUVRPHUHVHDUFK´WKDW$&1¶V

WHFKQRORJ\KDG³VWD\HGDKHDGRIWKHSDFN´

               %XWDOODYDLODEOHLQIRUPDWLRQLVWRWKHFRQWUDU\$V7UXPSWROGWKHWall Street

JournalLQ³,¶PQRWIDPLOLDUZLWKZKDW>$&1@GR>HV@RUKRZWKH\JRDERXWGRLQJWKDW´

+HZHQWRQWRVD\³DQG,PDNHWKDWFOHDULQP\VSHHFKHV´²\HWDQRWKHUEODWDQWIDOVHKRRG






   $QQH$UFKHUCatching the Eye of a Billionaire68&&(66)520+20($XJDW
see also$QQH$UFKHUDirect Selling in the Age of Donald J. Trump68&&(66)520+20(
$XJDW

   %HWK'RXJODVV6LOFR[Recognizing a Winner68&&(66)520+20(6HSWDW

   ACN Interview with Donald Trump #3, <2878%($SUDYDLODEOHDW
KWWSVZZZ\RXWXEHFRPZDWFK"Y V0SQ&;P0U[0

   -DPHV9*ULPDOGLDQG0DUN0DUHPRQWDonald Trump Made Millions from Multilevel
Marketing Firm7+(:$//675((7-2851$/$XJDYDLODEOHDW
KWWSVZZZZVMFRPDUWLFOHVWUXPSPDGHPLOOLRQVIURPPXOWLOHYHOPDUNHWLQJILUP


   Id.


                                                               
        Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 62 of 164




9       7+(75803(17(535,6(¶6)5$8'8/(17352027,21$1'
          (1'256(0(172)$&1:$67+(.(<)$&725,13/$,17,))6¶
          ,19(670(17'(&,6,216

           7UXPS¶VIUDXGXOHQWPHVVDJHZDVKLJKO\PDWHULDOLQWKHPLQGVRILQYHVWRUVDV

$&1LWVHOIDFNQRZOHGJHG²DOOWKHPRUHVREHFDXVHWKH7UXPS(QWHUSULVHXVHGWKH7UXPSEUDQG

WREROVWHUWKHPHVVDJHDQGSHUPLWWHG$&1WRGRWKHVDPH7KLVXVHRIWKH7UXPSEUDQGDQG

DVVRFLDWLRQZLWK7UXPSZDVDOVRH[WUHPHO\SRZHUIXOLQWKHPLQGVRILQYHVWRUV,QGHHGLQ

QXPHURXVSXEOLVKHGWHVWLPRQLDOV,%2VDWWULEXWHGWKHLUGHFLVLRQWRMRLQ$&1WR7UXPS¶V

HQGRUVHPHQW

           )RUH[DPSOHRQH,%2GHVFULEHGOHDYLQJKHUMREDVDGHQWDOK\JLHQLVWWRMRLQ$&1

DIWHUDSDWLHQWOHIWKHUDFRS\RIWKH2SSRUWXQLW\'LVF

                 2QHVSHFLDOGD\KRZHYHULWZDVDSDWLHQWZKRZDVORRNLQJRXWIRU.LP
                 ZKHQVKHWROGKHUDOODERXW$&1DQGOHIWEHKLQGDQ2SSRUWXQLW\'LVF
                 µ6KHUHDOO\GURYHKRPHWZRPDMRUSRLQWVWKDWPDGHDQLPSUHVVLRQILUVW
                 that Donald Trump endorsed the companyDQGVHFRQGWKDWWKHGLVFVKH
                 KDGJLYHQPHZRXOGWDNHOHVVWKDQPLQXWHVWRWDNHDORRNDW¶$V
                 VRRQDVVKHZDWFKHGWKHYLGHRVVKHVLJQHGXSULJKWDZD\

    HPSKDVLVDGGHG 

           $&1LWVHOISURXGO\ERDVWHGRILWVUHODWLRQVKLSZLWK7UXPSDQGWKHOHJLWLPDF\WKH

7UXPSEUDQGDIIRUGHGWKHFRPSDQ\$VRQHHGLWLRQRIWKH$&12SSRUWXQLW\'LVFSXWLW

                 :H¶UHDWWUDFWLQJDWWHQWLRQLQYHU\KLJKSODFHVDQGDPRQJthe world’s
                 most successful business leaders.2QHVXFKOHDGHULVELOOLRQDLUH
                 HQWUHSUHQHXU'RQDOG7UXPSZKRKDVbuilt his career on recognizing an
                 exceptional opportunity when he sees it.

    HPSKDVHVDGGHG 

           $&1¶VSULPHWLPHIHDWXUHVRQThe Celebrity ApprenticePDVVLYHO\ERRVWHG

$&1¶VEXVLQHVV,Q-XQHDirect Selling NewsUHSRUWHGWKDW$&1³KDGWUHPHQGRXVJURZWK

DIWHULWVYLGHRSKRQHZDVIHDWXUHGRQ'RQDOG7UXPS¶VThe Celebrity Apprentice´3URYH]DQR

ZDVTXRWHGDVVD\LQJWKDW$&1¶VSHUIRUPDQFHZDV³VSHFWDFXODU´LQWKHILUVWTXDUWHURI,Q


                                                
          Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 63 of 164




3URYHQ]DQRH[SODLQHGWKDWIURP$&1¶VSHUVSHFWLYH³KDYLQJ'RQDOG7UXPSHQGRUVHRXU

RUJDQL]DWLRQZRXOGEHWKHHSLWRPHRIDQHQGRUVHPHQW´$VDQDUWLFOHLQSuccess from Home

QRWHG³>W@KHHQGRUVHPHQWLVWUXO\DGLUHFWVHOOHU¶VGUHDP$IWHUDOO7UXPSSHUVRQLILHVWKHZLOOWR

ZLQ+HLVDQHQWUHSUHQHXULDOLFRQQRERG\FDQRXWZRUNKLPDQGKHLVDIDQRIQHWZRUN

PDUNHWLQJ´

               $&1PDGHFU\VWDOFOHDUWKDW7UXPS¶VEUDQGZDVDQLPSDFWIXOUHFUXLWLQJWRROIRU

LQYHVWRUVLQWZRSULQFLSDOZD\VILUVWLWDWWUDFWHGWKHLQWHUHVWRISURVSHFWLYHLQYHVWRUVDQG

VHFRQGLWZRXOGKHOSFORVHWKHGHDOZLWKSURVSHFWLYHUHFUXLWV$V$&11HZVPDJD]LQH

H[SODLQHGWKH$&12SSRUWXQLW\'LVFZDVGHVLJQHGWR³SLTXHLQWHUHVWLQ$&1DQGget existing

prospects off the fence´LQFOXGLQJE\XVLQJ³WKHpowerfulHQGRUVHPHQWRI'RQDOG-7UXPS´

    HPSKDVHVDGGHG 

               $&1H[HFXWLYHVUHSHDWHGO\HPSKDVL]HGWKDWWKH7UXPSEUDQGZRXOGKHLJKWHQWKH

LPSDFWRIKLVHQGRUVHPHQWLQWKHPLQGVRISURVSHFWLYHLQYHVWRUV$&1FRIRXQGHU7RQ\&XSLV]

ZDVTXRWHGDVVD\LQJ³<RX¶YHJRWWKDWLQFUHGLEOHGLVFZLWK'RQDOG7UXPSRQLWZKRHYHU

KDQGVRXWWKHPRVWRIWKRVHGLVFVZLOOJHWWKHPRVWUHVXOWVDonald Trump is promoting

your business for you´ HPSKDVLVDGGHG &RIRXQGHU0LNH&XSLV]QRWHGWKDW7UXPS¶V

VXSSRUWIRU$&1ZDVXQSDUDOOHOHG³:HKDYHJRW'RQDOGTrump±Dmulti-billionaire±JLYLQJXV

the highest level endorsement than any other network marketing company has ever had in

history´ HPSKDVHVDGGHG *UHJ3URYHQ]DQR$&1¶VFRIRXQGHUDQGSUHVLGHQWERDVWHGLQKLV





   %DUEDUD6HDOHThe Wizard of Winning, 68&&(66)520+20(-XO\DW

   Id.

   Baltimore International Training Event Sept. 8-10, 2006, $&11(:60$*$=,1(4
DW

   Id.

   Id.


                                                               
          Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 64 of 164




³3UHVLGHQW¶V0HVVDJH´DERXWWKHVLJQLILFDQFHDQGVLQJXODULW\RI7UXPS¶VHQGRUVHPHQW²DQGWKH

HQRUPRXVYDOXHLWZRXOGKDYHEHFDXVHRILWVLPSDFWRQLQYHVWRUV

                             2QHRIWKHmost important toolsDYDLODEOHWR$&1UHSUHVHQWDWLYHVWRGD\LV
                             REYLRXVO\WKH'RQDOG-7UXPSHQGRUVHPHQW. It’s all about TrumpWKLV
                             TXDUWHUDW$&1±DQGDOODERXWZKDW7UXPSFDQGRIRU\RX
                             
                             +RZPXFKZRXOGLWEHZRUWKWRKDYH0U7UXPSVLWLQ\RXUOLYLQJURRP
                             DQGpersonally endorse$&1DV\RXSUHVHQWWKH$&12SSRUWXQLW\WR\RXU
                             SURVSHFWV",WZRXOGEHpriceless±DQG$&1LVPDNLQJWKDWKDSSHQ
                             
                             0U7UXPSLVextremely selectiveLQKLVVSHDNLQJHQJDJHPHQWVDQGLQWKH
                             FRPSDQLHVKHFKRRVHVWRZRUNZLWK±DQGKHchose ACN

    HPSKDVHVDGGHG 

               )LQDOO\$&1¶VDSSHDUDQFHRQThe Celebrity Apprentice³DGGHGFUHGLELOLW\IRU

>$&1@OLNHQRQHRWKHU´$V3URYHQ]DQRSXWLWLQDQLQWHUYLHZLQSuccess from Home

                             ,WZDVWKHbiggest meeting night in ACN history,QGHSHQGHQWEXVLQHVV
                             RZQHUVKHOGRSSRUWXQLW\PHHWLQJVLQKRWHOVWKHDWHUVUHVWDXUDQWVDQGRWKHU
                             YHQXHVWRLQWURGXFH$&1LQDZKROHQHZZD\WKURXJKWKHHSLVRGH
                             SURYLGLQJDQHZSODWIRUPIRUWKHPWRVKDUHWKH$&1KRPHEDVHGEXVLQHVV
                             ZLWKWKHLUSURVSHFWV$QGWKHLQWHUHVWGLGQ¶WGLHGRZQGXULQJFRPPHUFLDO
                             EUHDNVDVLQGHSHQGHQWEXVLQHVVRZQHUVXVHGFRPPHUFLDOVDVSULPH
                             RSSRUWXQLWLHVWRDQVZHUTXHVWLRQVKRVWFRQWHVWVDERXW$&1DQGWKH
                             HSLVRGHDQGWRVKDUHRXURSSRUWXQLW\WKURXJKSUHVHQWDWLRQVDQGWDONV
                             The wave of momentum the episode created is truly incredible´

    HPSKDVHVDGGHG 

               7KHUHSHDWHGUHIHUHQFHVWR7UXPS¶VZHDOWKZHUHDNH\SDUWRIWKHXVHRIKLVEUDQG

WRERRVW$&1¶VEXVLQHVV3RWHQWLDOLQYHVWRUVZHUHOHGWRFUHGLW7UXPS¶VDVVHVVPHQWVRI$&1DV

DEXVLQHVVRSSRUWXQLW\EHFDXVHRIKLVSRUWUD\DODVH[FHHGLQJO\ZHDOWK\²DIWHUDOODSXUSRUWHGO\

VHOIPDGHELOOLRQDLUHPXVWNQRZDWKLQJRUWZRDERXWPDNLQJPRQH\%XWDVDOOHJHGDERYH

7UXPS¶VDSSDUHQWZHDOWKZDVODUJHO\DQLOOXVLRQ




     $QQH$UFKHUCatching the Eye of a Billionaire68&&(66)520+20($XJDW

     Id.


                                                               
     Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 65 of 164




        7KXVLWZDVQRWRQO\WKHPHVVDJHFRQYH\HGE\7UXPSWKDWVRPLVOHGLQYHVWRUV,W

ZDV$&1¶VDELOLW\WRDVVRFLDWHLWVHOIZLWKWKH7UXPSEUDQG²DULJKWWKDW$&1VHFUHWO\ERXJKW

IURPWKH7UXPS(QWHUSULVH²WKDWGURYHWKHIUDXGXOHQWPHVVDJHKRPHDQGSXVKHGLQYHVWRUVWR

RYHUFRPHOLQJHULQJGRXEWVDQGLQYHVWLQWKH$&1EXVLQHVVRSSRUWXQLW\

        7KURXJKRXWWKHSHULRGRIKLVHQGRUVHPHQW7UXPSZDVLQIXOOFRQWURORIKRZKLV

EUDQGZDVXVHGWREROVWHU$&1LQWKHH\HVRISRWHQWLDOLQYHVWRUV,QGHHG$&1GLUHFWHG,%2V

WKDWWKH\FRXOGRQO\XVHPDWHULDOVIHDWXULQJ7UXPSWKDWZHUHFUHDWHGE\$&1LWVHOIEHFDXVH

$&1KDG³H[FOXVLYHDQGlimited SHUPLVVLRQWRUHIHUHQFH'RQDOG-7UXPSDQGXVHKLVLPDJHRQ

$&1FUHDWHGPDWHULDOWKDWKDVEHHQapproved byWKH7UXPSRUJDQL]DWLRQ´ HPSKDVHVDGGHG 


       $     -DQH'RH

        3ODLQWLII'RHVLJQHGXSDVDQ$&1,%2LQPLGWRODWHDQGSXUVXHGWKH

EXVLQHVVRSSRUWXQLW\IRUDSSUR[LPDWHO\WZR\HDUV7KURXJKRXWWKDWWLPHVKHDOVRZRUNHGDVD

KRVSLFHFDUHJLYHURIWHQZRUNLQJWZHOYHKRXUVKLIWVVHYHQGD\VDZHHN'RHFRQWLQXHVWRZRUN

DVDKRVSLFHFDUHJLYHUWRWKLVGD\

        'RHZDVLQYLWHGWRKHULQLWLDO$&1PHHWLQJE\KHUIULHQG3ODLQWLII/XNH/RH

'RHKDGILUVWPHW/RHDERXWILYH\HDUVHDUOLHUWKURXJKDVRFLDOFOXEDQGWKH\FRQQHFWHGEHFDXVH

RIWKHLUPXWXDOLQWHUHVWLQEXVLQHVVDQGFXUUHQWHYHQWV'RHDQG/RHZHUHDPELWLRXV

HQWUHSUHQHXULDODQGHDJHUWRLQYHVWLQWKHPVHOYHV

        2QHGD\LQPLGWRODWH/RHFDOOHG'RHDQGWROGKHUWKDWKHKDGMRLQHG

$&1+HVDLGWKDWKHWKRXJKWWKDWWKHFRPSDQ\ZDVDJUHDWRSSRUWXQLW\IRUWKHPERWKWRPDNH

PRQH\DQGLQYLWHGKHUWRMRLQKLPDWDQ$&1PHHWLQJ'RHZDVLQWULJXHG6KHNQHZWKDWOLNH

KHUVHOI/RHUHDOO\QHHGHGDQGZDQWHGWRPDNHPRQH\7KH\ZHUHERWKVWUXJJOLQJILQDQFLDOO\

'RHDJUHHGWRDWWHQG



                                                
     Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 66 of 164




        7KHPHHWLQJZDVKHOGLQDODUJHPHHWLQJURRPDWDKRWHOLQ/RV$QJHOHV7KHUH

ZHUHDERXWSHRSOHWKHUHDPL[RIFXUUHQW$&1,%2VDWYDULRXVOHYHOVDVZHOODVSRWHQWLDO

UHFUXLWV7KHUHFUXLWVZHUHHQFRXUDJHGWRVLWULJKWXSIURQW

        7KHPHHWLQJEHJDQZLWKVSHHFKHVE\WKUHHPRUHVHQLRU$&1,%2V7KHILUVW

VSHDNHUWDONHGDWVRPHOHQJWKDERXW$&1¶VFKDULWDEOHJLYLQJDQGWROGUHFUXLWVWKDWLIWKH\

VLJQHGXSIRU$&1WKH\ZRXOGQRWQHHGWRPDNHFKDULWDEOHGRQDWLRQVVLQFHDVXEVWDQWLDOSRUWLRQ

RIWKHLULQYHVWPHQWZRXOGVXSSRUWFKDULWDEOHFDXVHV'RHDFKDULWDEOHSHUVRQZKRUHJXODUO\

PDGHGRQDWLRQVWR6W-XGHGHVSLWHKHUH[WUHPHO\OLPLWHGPHDQVOLNHGZKDWVKHZDVKHDULQJ

        7KHQH[W,%2WDONHGPRUHDERXWKRZWRSXUVXHWKHEXVLQHVVRSSRUWXQLW\6KH

HPSKDVL]HGWKHLPSRUWDQFHRIJHWWLQJRQH¶VRZQIDPLO\LQYROYHGLQWKHFRPSDQ\'RHWKRXJKW

WKLVVRXQGHGRND\EXWVKHZDVXQFRQYLQFHG

        7KHWKLUGVSHDNHUZDVDVHQLRU$&1,%2'RHGLGQRWFDUHIRUKLPDWDOO6KH

ZDVH[WUHPHO\SXWRIIE\KHUVHQVHWKDWKHZDVWDONLQJGRZQWRSHRSOHIDQF\LQJKLPVHOIDVEHWWHU

WKDQORZHUOHYHO,%2V6KHWKRXJKWKHVHHPHGDUURJDQW6KHFRQVLGHUHGOHDYLQJWKHPHHWLQJ

        1H[WWKHRUJDQL]HUVRIWKHPHHWLQJSOD\HGDVHYHQWRHLJKWPLQXWHSURPRWLRQDO

YLGHRSURPLQHQWO\IHDWXULQJ'RQDOG7UXPS7KLVYLGHRZDVWKHWXUQLQJSRLQWIRU'RH'RH

WKRXJKWYHU\KLJKO\RI7UXPS6KHZDVHQWUHSUHQHXULDODQGDPELWLRXVDQGVKHWKRXJKWRI

7UXPSDVDKLJKO\VXFFHVVIXOEXVLQHVVPDQZLWKPDQ\DFFRPSOLVKPHQWV,QDGGLWLRQ'RH¶V

PRWKHUKDGEHHQDYLHZHURIThe Celebrity Apprentice DQGIUHTXHQWO\WROG'RHDOODERXWLW6KH

HPSKDVL]HGKRZLPSUHVVLYH7UXPSZDV²KRZJRRGKHVHHPHGDWEXVLQHVV

        $VVKHZDWFKHGWKHYLGHR'RHZDVYHU\LPSUHVVHGE\7UXPS¶VHQGRUVHPHQWRI

$&16KHZDWFKHGDVKHVDLGWKDW$&1,%2VFRXOGPDNHUHDOPRQH\IURPWKHLULQYROYHPHQWLQ

WKHFRPSDQ\ZKLFKKHVDLGZDVDOUHDG\ZRUWKPLOOLRQV7KHQVKHZDWFKHGFOLSVRI$&1¶V




                                                 
     Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 67 of 164




DSSHDUDQFHRQThe Celebrity Apprentice'RHVDZ7UXPSVWDQGDORQJVLGHWKHIRXQGHUVDQG

SUDLVHWKHFRPSDQ\

        %DVHGRQZKDWVKHNQHZDERXW7UXPSDQGThe Celebrity Apprentice'RHZDV

FRQYLQFHGE\KLVVWDWHPHQWVWKDW$&1ZDVDJUHDWRSSRUWXQLW\'RHWUXVWHG7UXPS6KHZDV

FRQYLQFHGWKDW7UXPSEHOLHYHGWKDWLQYHVWLQJLQ$&1ZDVDJUHDWEXVLQHVVRSSRUWXQLW\²DQG

WKDWWKDWZDVZK\KHZDVHQGRUVLQJLW$QGVKHEHOLHYHGWKDWOLNHDQ\EXVLQHVVPDQSURPRWLQJD

EXVLQHVVRSSRUWXQLW\KHKDGUHVHDUFKHG$&1H[WHQVLYHO\DQGWKDWKLVVWDWHPHQWVZHUHVXSSRUWHG

E\KLVRZQUHVHDUFKDQGH[SHULHQFH

        ,QDGGLWLRQ'RHEHOLHYHGWKDW7UXPSKDGKHUEHVWLQWHUHVWVDWKHDUW6KHEHOLHYHG

WKDW7UXPSZDVDOUHDG\YHU\ULFKDQGVKHWKRXJKWWRKHUVHOI³ZKDWZRXOGKHZDQWZLWKP\

"´6KHWKRXJKW³KHDOUHDG\KDVDORWRIPRQH\KH¶VQRWWU\LQJWRVFDPPH´'RHKDGQR

LGHD7UXPSZDVEHLQJSDLGODYLVKO\IRUKLVHQGRUVHPHQW²WKHYLGHRPDGHQRPHQWLRQRIWKDW

'RHWKRXJKW7UXPS¶VRQO\PRWLYDWLRQLQHQGRUVLQJ$&1ZDVWRKHOSSHRSOHOLNHKHUPDNHJRRG

EXVLQHVVGHFLVLRQV$VDUHVXOW'RHWUXVWHG7UXPSZKHQKHVDLGWKDW$&1ZDV³RQHRIWKHEHVW

EXVLQHVVHV´DQGWKDWSDUWLFLSDQWVFRXOGPDNHDORWRIPRQH\IURPLQYHVWLQJLQ$&1'RH

FRQFOXGHGWKDW7UXPSZRXOGQRWKDYHDVVRFLDWHGKLPVHOIZLWK$&1EURXJKWWKHFRPSDQ\RQWR

KLVVKRZDQGJLYHQLWVXFKKXJHSXEOLFLW\LILWZHUHQRWDJHQXLQHRSSRUWXQLW\WKDWRIIHUHGD

VWURQJOLNHOLKRRGRIDJRRGUHWXUQ

        0RUHRYHUEDVHGRQWKHZD\7UXPSWDONHGDERXW$&1LQWKHYLGHR'RHEHOLHYHG

WKDW7UXPSKLPVHOIKDGLQYHVWHGLQWKH$&1EXVLQHVVRSSRUWXQLW\DQGKDGPDGHPRQH\IURPLW

6KHEHOLHYHGWKDWLI7UXPSKDGPDGHPRQH\ZLWK$&1VKHFRXOGWRR

        $IWHUVHHLQJ7UXPSLQWKHYLGHR'RHZDVFRQYLQFHG%DVHGRQWKHVSHHFKHVVKH

KDGVHHQXSWRWKDWSRLQWVKHZRXOGQRWKDYHMRLQHG+RZHYHU7UXPS¶VHQGRUVHPHQWVROGKHU




                                               
     Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 68 of 164




RQWKHRSSRUWXQLW\6KHWROGRWKHUVDWWKHPHHWLQJWKDWVKHKDGQRWOLNHGWKHWKLUGVSHDNHUEXW

WKDWVKHKDGEHHQFRQYLQFHGE\7UXPS

        'RHMRLQHG$&1WKHQDQGWKHUH6KHZURWHDFKHFNIRUWKHUHJLVWUDWLRQIHH

DQGEHFDPHDQ,%26KHDOVRVLJQHGXSIRUDQXSFRPLQJWULSIRUDODUJHU$&1PHHWLQJLQ3DOP

6SULQJV&DOLIRUQLD

        0RUHVHQLRU,%2VWROG'RHWKDW3DOP6SULQJVZRXOGEHDJUHDWZD\WREHJLQKHU

FDUHHUZLWK$&17KH\DOVRWROGKHUWKDWWKHUHZRXOGEHD³VSHFLDOJXHVW´DQGDQRSSRUWXQLW\WR

³PHHWVRPHRQHYHU\VSHFLDO´DQGLPSOLHGWKDWLWZRXOGEH'RQDOG7UXPS'RHZDQWHGWRJRWR

3DOP6SULQJVIRUPDQ\UHDVRQVVKHZDVH[FLWHGDERXWWKHFRQYHQWLRQVKHZDQWHGWREH

VXFFHVVIXOLQ$&1VKHEHOLHYHGWKHFRQYHQWLRQZDVQHFHVVDU\IRUKHUVXFFHVVEXWDERYHDOO

VKHZDQWHGWRPHHW'RQDOG7UXPS

        +DYLQJSDLGWKHUHJLVWUDWLRQIHH'RHKDGYHU\OLPLWHGIXQGV'HVSLWHKHU

OLPLWHGUHVRXUFHV'RHXVHGKHUPRVWUHFHQWSD\FKHFNWRSD\IRUKHUHYHQWH[SHQVHVLQFOXGLQJ

KHUUHJLVWUDWLRQIHHDQGKHUVKDUHRIDFDUUHQWDOKRWHOURRPDQGIRRG6KHVKDUHGDKRWHOURRP

ZLWKIRXURWKHUZRPHQ6KHDOVRSXUFKDVHGWUDLQLQJPDWHULDOVDQGRWKHUEXVLQHVVWRROVWRKHOS

KHUVXFFHHGZLWK$&1'RH¶VFXPXODWLYHH[SHQVHVIURPWKHFRQYHQWLRQWRWDOHGDOPRVW

7KURXJKRXWWKHHYHQWLQ3DOP6SULQJV7UXPS¶VHQGRUVHPHQWZDVIHDWXUHGSURPLQHQWO\

DOWKRXJK7UXPSKLPVHOIGLGQRWDSSHDU

        $IWHUWKHHYHQWLQ3DOP6SULQJV'RHUHWXUQHGWR/RV$QJHOHVDQGUHPDLQHGIXOO\

FRPPLWWHGWR$&10RUHVHQLRU,%2VWROGKHUWKDWWREHVXFFHVVIXOVKHKDGWRDWWHQG$&1

PHHWLQJVOLNHWKHRQHZKHUHVKHKDGILUVWVLJQHGXS(DFKPHHWLQJFRVWDQG'RHRIWHQ

DWWHQGHGWZRSHUPRQWK




                                                
      Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 69 of 164




         7KHVHPHHWLQJVZHUHKHOGLQRQHRIWZRKRWHOVLQ/RV$QJHOHV7KHSURJUDPDW

HYHU\PHHWLQJZDVHVVHQWLDOO\WKHVDPHVSHHFKHVE\PRUHVHQLRU,%2VUHFRJQLWLRQRI,%2V

ZKRFODLPHGWKH\ZHUH³PDNLQJPRQH\´ UDUHO\ZDVDVSHFLILFQXPEHUJLYHQ DQGWKH

FHQWHUSLHFHRILWDOOWKHSURPRWLRQDOYLGHRIHDWXULQJ7UXPS¶VHQGRUVHPHQW

         'RHIHOWVXEVWDQWLDOSUHVVXUHWRDWWHQGWKHVHPHHWLQJV$WWHQGLQJWKHVHPHHWLQJV

RIWHQFDXVHG'RHWRPLVVVKLIWVSURYLGLQJKRVSLFHFDUHZKLFKUHGXFHG'RH¶VLQFRPH

         'RHZRUNHGWLUHOHVVO\WRUHFUXLWKHUIULHQGVDQGIDPLO\DQGVHOOWKHPVHUYLFHV

6KHKRVWHGHYHQWVDWKHUKRPHIRUKHUIDPLO\WRLQIRUPWKHPDERXW$&1'RHLQYHVWHGPRQH\

DQGFRQVLGHUDEOHWLPHSURYLGLQJIRRGDQGVXSSOLHVIRUWKHVHHYHQWVSUHSDULQJKHUKRXVHDQG

FRRNLQJIRRG8OWLPDWHO\VKHKDGH[WUHPHO\OLPLWHGVXFFHVV,QKHUILUVWIHZPRQWKV'RHZDV

DEOHWRUHFUXLWRQHRIKHUVLVWHUVDVDQ,%2EXWMXVWWZRGD\VODWHUKHUVLVWHUGHPDQGHGKHU

PRQH\EDFN'RHZDQWLQJWRGRULJKWE\KHUVLVWHUUHIXQGHGKHUVLVWHU¶VLQYHVWPHQW

KHUVHOI

         'RHDOVRZDVDEOHWRUHFUXLWWKUHHRIKHUFRXVLQVDVFXVWRPHUV7ZRRIKHU

FRXVLQVSXUFKDVHGD79SODQDQGRQHFKDQJHGKLVFHOOSKRQHSODQ

         %DVHGRQWKRVHFXVWRPHUV'RHUHFHLYHGDFKHFNIURP$&1IRU,WZDVWKH

RQO\LQFRPHVKHZRXOGHYHUUHFHLYHIURPWKHFRPSDQ\

         $VWKHPRQWKVZRUHRQ'RHEHJDQWRJHWGLVFRXUDJHG%XWHDFKWLPHVKHEHJDQ

WRORVHFRQILGHQFHVKHZRXOGEODPHLWRQKHUVHOIDQGWU\WRFKDQJHKHUDSSURDFKEHFDXVHVKH

EHOLHYHGWKDWVKHZDVGRLQJVRPHWKLQJZURQJ

         7KURXJKRXW'RH¶VWLPHLQ$&1LQFOXGLQJDWWKHUHJXODUPHHWLQJVPRUHVHQLRU

,%2VFRQVWDQWO\WRXWHG7UXPS¶VHQGRUVHPHQWRI$&17KH\VDLGWKLQJVOLNH³,I\RXDUH

VXFFHVVIXOHQRXJKZLWK$&1WKHQ\RXFDQPHHW'RQDOG7UXPS´DQGWROGKHUWKDW7UXPSZRXOG




                                                
     Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 70 of 164




KHOSLQGLYLGXDO,%2VZLWKWKHLUEXVLQHVVHVLIWKH\SXWLQHQRXJKZRUN'RHXQGHUVWRRGWKDWWKDW

7UXPSZDVLQYHVWHGLQWKHFRPSDQ\ILQDQFLDOO\DQGWKDWKHKDGDSHUVRQDOVWDNHLWLWVVXFFHVV

        $ERXWVL[PRQWKVDIWHUVKHILUVWVLJQHGXS'RHDWWHQGHGDQDWLRQDO$&1

FRQYHQWLRQLQ&OHYHODQG2KLR6KHZDVZDU\RIVSHQGLQJWKHPRQH\EXWKHUXSOLQHWROGKHU

WKDWLWFRXOGQRWEHPLVVHG7KH\HPSKDVL]HGWKHFRPPXQLW\WKHWUDLQLQJDQGLPSRUWDQWO\WKDW

7UXPSPLJKWEHWKHUHDVDVSHFLDOJXHVW$WWKHORFDOPHHWLQJVOHDGLQJXSWRWKHFRQYHQWLRQ

'RH¶VXSOLQHSOD\HGHYHQPRUH7UXPSYLGHRVWKDQXVXDOZKLSSLQJXSH[FLWHPHQWDPRQJWKH

,%2V'RHNQHZWKDWVKHFRXOGQRWPLVVRXWRQRSSRUWXQLW\WROHDUQDERXWEXVLQHVVIURP

7UXPS²DQGVKHGHFLGHGWRJR

        'RHSXUFKDVHGDFRQYHQWLRQWLFNHWDQGJDYHKHUXSOLQHPRQH\IRUIOLJKWVDQGKHU

VKDUHRIDKRWHOURRPYDQVHUYLFHDQGPLVFHOODQHRXVH[SHQVHV$JDLQ'RHKRSHGDQGH[SHFWHG

WKDW7UXPSZRXOGDSSHDUSHUVRQDOO\$QGDJDLQ'RHZDVGLVDSSRLQWHG$OWKRXJK7UXPSGLG

QRWDSSHDUSKRWRVDQGYLGHRVIHDWXULQJ7UXPSZHUHSURPLQHQWO\GLVSOD\HGWKURXJKRXWWKH

FRQYHQWLRQ

        'RHKDGWRUHWXUQIURPWKHFRQYHQWLRQDGD\HDUOLHUWKDQWKHUHVWRIKHUJURXSDQG

ZKHQVKHJRWWRWKHDLUSRUWVKHUHDOL]HGWKDWWKHWLFNHWKHUXSOLQHKDGJLYHQKHUZDVRQHZD\

RQO\6KHKDGWRSXUFKDVHDUHWXUQWLFNHWKHUVHOI+HUWRWDOLQYHVWPHQWLQDWWHQGLQJWKH

&OHYHODQGFRQYHQWLRQZDVDSSUR[LPDWHO\

        6RPHPRQWKVODWHU'RHDWWHQGHGDQRWKHUPXOWLGD\HYHQWWKLVWLPHLQ'HWURLW

0LFKLJDQ$JDLQVKHLQYHVWHGVXEVWDQWLDODPRXQWVRIPRQH\WRDWWHQGWKHHYHQWLQWKHKRSHVRI

VHHLQJRUPHHWLQJ'RQDOG7UXPS$JDLQKHGLGQRWDSSHDUEXWKLVHQGRUVHPHQWZDVFHQWUDOWR

WKHHYHQW




                                                
          Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 71 of 164




            1RWORQJDIWHUWKH'HWURLWHYHQW'RH¶VIULHQG3ODLQWLII/XNH/RHZKRKDGILUVW

UHFUXLWHGKHUWRWKHEXVLQHVVGHFLGHGQRWWRUHQHZKLV,%2SRVLWLRQIRUDVHFRQG\HDU/RHZKR

ZDVKRPHOHVVDWWKHWLPHVLPSO\KDGQRIXQGVWRFRQWLQXHSXUVXLQJWKHEXVLQHVVRSSRUWXQLW\

7KRXJKVKHZDVGLVDSSRLQWHGWKDW/RHZRXOGQRWFRQWLQXHZLWK$&1'RHKHUVHOIGHFLGHGWR

VROGLHURQDQGVKHSDLGWKHDQQXDOUHQHZDOIHHRI

            )RUDWLPH'RHFRQWLQXHGDWWHPSWLQJWRUHFUXLWERWKFXVWRPHUVDQG,%2V

EULQJLQJIDPLO\PHPEHUVWRWKHORFDO$&1HYHQWV6KHZDVPLQGIXORIKRZPXFKPRQH\VKH

KDGLQYHVWHGLQWKH$&1EXVLQHVVRSSRUWXQLW\DQGZDVHDJHUWRILQGDZD\WRUHFRXSKHU

LQYHVWPHQW%XWHYHQWXDOO\VKHWRRVLPSO\UDQRXWRIPRQH\WRLQYHVW

            $WRQHSRLQWLQKHUVHFRQG\HDUZLWK$&1'RHFDPHWRRQHRIWKHUHJXODU

PHHWLQJVZLWKRXWDUHFUXLW+HUXSOLQHFULWLFL]HGKHUDQGWROGKHUVKHZRXOGQHYHUPDNHPRQH\

LIVKHGLGQRWEULQJSHRSOHWRWKHUHJXODUPHHWLQJV'RHWKRXJKWWRKHUVHOIWKDWVKHKDGEHHQ

EULQJLQJSHRSOHWRWKHPHHWLQJVIRUPRUHWKDQD\HDUDQGKDGRQO\PDGH'HVSLWHKHU

VWUHQXRXVHIIRUWVVKHVLPSO\ZDVQRWPDNLQJPRQH\6KHEHJDQWRKDYHUHDOGRXEWVDERXWWKH

FRPSDQ\$QGVKHZDVEHFRPLQJXQFRPIRUWDEOHZLWKWKHLGHDRIWU\LQJWRUHFUXLWSHRSOHLQWR

WKHFRPSDQ\²VKHGLGQRWVHHKRZVKHFRXOGWHOOSHRSOH$&1ZDVDJRRGWKLQJZKHQVKHZDV

PRUHDQGPRUHFRQYLQFHGWKDWQHLWKHUWKH\QRUVKHFRXOGPDNHDSURILW

            1RWORQJWKHUHDIWHUWKHORFDWLRQRIWKHUHJXODUPHHWLQJZDVPRYHGWRWKHKRXVHRI

DQ,%2$VVKHSDLGWKHIHHWRHQWHUWKHPHHWLQJ'RHWKRXJKWWRKHUVHOI,UHDOO\DPVSHQGLQJD

ORW

            $WWKHPHHWLQJLWEHFDPHFOHDUWR'RHWKDWWKHVWDWHPHQWV7UXPSZDVPDNLQJ

DERXW$&1ZHUHQRWWUXHDQGWKDW$&1GLGQRWSURYLGHDYHUDJH,%2VZLWKDUHDOLVWLFFKDQFHRI

PDNLQJDSURILW6KHUHDOL]HGWKDWVKHKDGEHHQVFDPPHG7UXPSZDVVHOOLQJDGUHDPWRSHRSOH




                                                  
     Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 72 of 164




OLNHKHU²SHRSOHZKRZHUHVWUXJJOLQJILQDQFLDOO\ZHUHUHDOO\GHVSHUDWHDQGZRXOGOHDSDWD

SURPLVHRIWKHNLQGRIVXFFHVV7UXPSHPERGLHG,WZDVKHUODVWPHHWLQJ

        'RHUHDOL]HGWKDWLWZDVDORVWFDXVHDQGWKDWVKHZDVMXVWJRLQJWRFRQWLQXHORVLQJ

PRQH\,WZDVDWWKLVSRLQWWKDW'RHFXWKHUORVVHVDQGFHDVHGWRSDUWLFLSDWHLQ$&1:KHQKHU

QH[WDQQXDOUHQHZDOGDWHFDPHXS'RHGHFLGHGQRWWRUHQHZKHUSRVLWLRQ


       %     /XNH/RH

        3ODLQWLII/RHILUVWKHDUGDERXW$&1LQPLGZKHQKHZDVZRUNLQJIRUWKH

6DOYDWLRQ$UP\+HZDVKRPHOHVVDWWKHWLPH$FROOHDJXHDSSURDFKHG/RHDQGWROGKLPDERXW

DQRSSRUWXQLW\WRPDNHPRQH\E\MRLQLQJ$&17KHFROOHDJXHLQYLWHG/RHWRMRLQKLPDWDQ

LQIRUPDWLRQPHHWLQJ

        7KHPHHWLQJZDVKHOGDWDKRWHOLQ/RV$QJHOHV7KHPHHWLQJEHJDQZLWKVRPH

VKRUWVSHHFKHVE\$&1UHSUHVHQWDWLYHVIROORZHGE\DVHYHQWRHLJKWPLQXWHSURPRWLRQDOYLGHR

ZKLFKSURPLQHQWO\IHDWXUHG7UXPS/RHEHOLHYHGDWWKHWLPHWKDW7UXPSZDVDKLJKO\VXFFHVVIXO

EXVLQHVVPDQ/RHKDGZDWFKHGThe Celebrity ApprenticeDIHZWLPHVDQGKDGVHHQ7UXPS

SUHVHQWKLPVHOIDVDVDYY\H[SHULHQFHGDQGNQRZOHGJHDEOHHQWUHSUHQHXUZKRKDGDFKLHYHG

UHPDUNDEOHZHDOWKDQGFHOHEULW\

        ,QWKH$&1YLGHR7UXPSVSRNHDERXWKLVHQWUHSUHQHXULDOLVPGHVFULELQJKRZKH

KDGVWDUWHGEXVLQHVVHVDQGEHFRPHYHU\VXFFHVVIXO&ULWLFDOO\IRU/RH7UXPSSURPRWHG$&1DV

DJRRGPRQH\PDNLQJRSSRUWXQLW\7UXPSDOVRVDLGWKDWKHZDVJODGWREHDSDUWRI$&1

EHFDXVHKHJHQXLQHO\EHOLHYHGWKHFRPSDQ\SURYLGHGDSDWKWRFRPPHUFLDOVXFFHVV

        7KH7UXPSHQGRUVHPHQWLQWKHYLGHRZDVWKHNH\IDFWRUWKDWPDGH/RHGHFLGHWR

LQYHVWLQWKH$&1EXVLQHVVRSSRUWXQLW\/RHWKRXJKWWKDWLIDVXFFHVVIXOEXVLQHVVSHUVRQOLNH

7UXPSEHOLHYHGLQWKHFRPSDQ\LWZDVZRUWK/RH¶VRZQWLPHDQGHIIRUW



                                               
      Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 73 of 164




         $IWHUWKHYLGHRDQ$&1UHJLRQDOYLFHSUHVLGHQWJDYHDIRUPDOSUHVHQWDWLRQ$IWHU

WKDWSUHVHQWDWLRQDQGVRPHVSHHFKHVE\RWKHU$&1PHPEHUV/RHZDVDVNHGWRMRLQ$&1²IRU

DUHJLVWUDWLRQIHH

         /RHZDVKRPHOHVVDWWKHWLPHDQGGLGQRWKDYHWKHPRQH\WRSD\WKHUHJLVWUDWLRQ

IHH%XW/RH¶VFROOHDJXH²WKHRQHZKRKDGILUVWLQWURGXFHGKLPWRWKHFRPSDQ\DQGLQYLWHGKLP

WRWKHPHHWLQJ²RIIHUHGWRORDQ/RHWKHPRQH\$OWKRXJKZDVDYHU\VLJQLILFDQWDPRXQWRI

PRQH\IRU/RHKHEHOLHYHGLWZDVZRUWKJRLQJLQWRGHEWEHFDXVHKHWKRXJKWEDVHGODUJHO\RQ

7UXPS¶VHQGRUVHPHQWWKDWKHZRXOGUHFRXSKLVLQYHVWPHQWLIKHZRUNHGKDUGWREXLOGDEXVLQHVV

ZLWKLQ$&1

         $IWHUKHVLJQHGXS/RHEHJDQWU\LQJWRUHFUXLWRWKHU,%2VDQGVHOO$&1VHUYLFHV

+HKDGYHU\OLPLWHGVXFFHVV/RHZDVRQO\DEOHWRUHFUXLWRQHRWKHU,%2IHOORZ3ODLQWLII-DQH

'RH+HDOVRVROGDKDQGIXORIVHUYLFHVWRIULHQGV/RHUHJLVWHUHGVRPHRIWKHVHUYLFHVLQKLV

RZQQDPHHYHQWKRXJKWKH\ZHUHLQWHQGHGIRUDIULHQGZKRKDGSURPLVHGWRIRRWWKHELOO

8OWLPDWHO\/RH¶VIULHQGZDVXQDEOHWRSD\EHFDXVHWKHSULFHVRIWKHVHUYLFHVJRWWRRKLJKDQG

/RHZDVVWXFNZLWKDELOOWKDWKHWRRZDVXQDEOHWRSD\7KHXQSDLGFKDUJHVUHPDLQRQKLVFUHGLW

UHSRUWWRWKLVGD\

         /RHQHYHUUHFHLYHGDQ\LQFRPHZKDWVRHYHUIURP$&1

         /RH¶VLQDELOLW\WRVXFFHHGZLWK$&1ZDVQRWGXHWRODFNRIHIIRUW/RHDWWHQGHG

WRPHHWLQJVHDFKFRVWLQJEHWZHHQWR7KHVHPHHWLQJVZHUHKHOGDSSUR[LPDWHO\

WZLFHSHUPRQWKLQRQHRIWZRKRWHOVLQ/RV$QJHOHV7KHSURJUDPDWHYHU\PHHWLQJZDV

HVVHQWLDOO\WKHVDPHVSHHFKHVE\PRUHVHQLRU,%2VUHFRJQLWLRQRI,%2VZKRFODLPHGWKH\ZHUH

³PDNLQJPRQH\´ UDUHO\ZDVDVSHFLILFQXPEHUJLYHQ DQGWKHFHQWHUSLHFHRILWDOOWKH

SURPRWLRQDOYLGHRIHDWXULQJ7UXPS¶VHQGRUVHPHQW




                                                
     Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 74 of 164




        /RHIHOWVXEVWDQWLDOSUHVVXUHWRDWWHQGWKHVHPHHWLQJVZKHQKHPLVVHGDPHHWLQJ

KHZDVFULWLFL]HGDQGVKXQQHGE\PRUHVHQLRU,%2V$WWHQGLQJWKHVHPHHWLQJVRIWHQFDXVHG/RH

WRIRUJRRSSRUWXQLWLHVWRHDUQLQFRPHSHUIRUPLQJRQHRIISURMHFWVDVDPHFKDQLFRUKDQG\PDQ

        /RHDOVRDWWHQGHGWKUHHODUJHU$&1HYHQWVGXULQJWKH\HDUKHVSHQWLQWKH

FRPSDQ\DPXOWLGD\HYHQWLQ3DOP6SULQJV&DOLIRUQLDDQDWLRQDOFRQYHQWLRQLQ&OHYHODQG

2KLRDQGDQRWKHUPXOWLGD\HYHQWLQ'HWURLW0LFKLJDQ

        /RHZDVXQDEOHWRSD\IRUKLVRZQHYHQWWLFNHWVIOLJKWVORGJLQJDQG

PLVFHOODQHRXVH[SHQVHV,QGLUHVWUDLWV/RHERUURZHGPRQH\IURPKLVIHOORZWHDPPHPEHUVVR

WKDWKHFRXOGDWWHQGWKHVHHYHQWVKRSHIXOWKDWLIKHFRQWLQXHGLQYHVWLQJLQSXUVXLQJWKH$&1

EXVLQHVVRSSRUWXQLW\KHZRXOGXOWLPDWHO\UHFRXSKLVLQLWLDOLQYHVWPHQW

        /LNH'RH/RHWKRXJKW7UXPSPLJKWVXUSULVHWKHDXGLHQFHDWWKHQDWLRQDO

FRQYHQWLRQLQ&OHYHODQGE\DSSHDULQJRQVWDJHSHUVRQDOO\:KLOH7UXPSGLGQRWDSSHDULQ

SHUVRQKLVHQGRUVHPHQWRIWKHFRPSDQ\ZDVFHQWHUVWDJH3KRWRVRI7UXPSDQGZRUGRIKLV

HQGRUVHPHQWZHUHZLGHVSUHDGDQGDSURPRWLRQDOYLGHRSURPLQHQWO\IHDWXULQJ7UXPSZDV

SOD\HGRQODUJHVFUHHQVLQWKHFRQYHQWLRQDUHQD:KHQ7UXPSFDPHRQWKHVFUHHQWKHHQWLUH

DUHQDZDVWUDQVIL[HG)RUKLVSDUW/RHZDVDJDLQLPSUHVVHGE\7UXPS¶VVHHPLQJO\JHQXLQH

VXSSRUWIRUWKHFRPSDQ\DQGOHIWWKHFRQYHQWLRQUHLQVSLUHGDQGUHLQYLJRUDWHGEHOLHYLQJWKDW

$&1FRXOGVWLOOEHDJRRGEXVLQHVVRSSRUWXQLW\

        $IWHUDIHZPRUHPRQWKVRIPHHWLQJVH[SHQVHVGHEWDQG]HURLQFRPHWRVKRZ

IRULWDOO/RHVWRSSHGEHOLHYLQJLQWKHFRPSDQ\+HNQHZWKDWKHKDGRQO\ORVWPRQH\VRIDUDQG

FRXOGQRWVHHDSDWKWRPDNLQJDQ\PRQH\LQWKHIXWXUH&RQWUDU\WRZKDW7UXPSKDGVDLGLQWKH

SURPRWLRQDOYLGHRV/RHFRQFOXGHG$&1ZDVQRWDJRRGPRQH\PDNLQJRSSRUWXQLW\:KHQWKH

WLPHFDPHIRUKLVQH[WDQQXDOUHQHZDOKHFKRVHQRWWRSD\WKHIHH




                                               
     Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 75 of 164




       &     5LFKDUG5RH

        3ODLQWLII5RHLVDUHVLGHQWRI0DU\ODQG+HZDVDQDFWLYH,%2IRUOHVVWKDQRQH

\HDUIURP1RYHPEHUXQWLO1RYHPEHUZKHQKHOHWKLVUHJLVWUDWLRQODSVH+H

FXUUHQWO\ZRUNVDVDIRRGGHOLYHU\GULYHU

        5RHILUVWOHDUQHGDERXW$&1LQPLG$WWKHWLPHKHZDVOLYLQJZLWKKLV

PRWKHUDQGEURWKHUDQGZRUNLQJIRUDIDVWIRRGUHVWDXUDQWLQ&ROXPELD

        2QHGD\LQPLG5RHZDVZRUNLQJDQDIWHUQRRQVKLIWZKHQDFXVWRPHU

EHFNRQHG5RHRYHUDQGWROG5RHKHKDGDEXVLQHVVRSSRUWXQLW\IRUKLP7KHFXVWRPHUVDLGKH

ZDVLQYROYHGZLWK$&1JDYH5RHKLVEXVLQHVVFDUGEHDULQJWKH$&1ORJRVKRZHG5RHDQ$&1

PDJD]LQHDQGWROG5RHWRJLYHKLPDFDOOLIKHZDVLQWHUHVWHG

        ,QLWLDOO\5RHZDVVNHSWLFDO+HZDVQRWVXUHWKHEXVLQHVVZRXOGEHZRUWKKLV

WLPHDQGHIIRUW%XW5RHZDVVSHQGLQJPRVWRIKLVWLPHDVDIRRGGHOLYHU\GULYHUDQGZDVQRW

PDNLQJYHU\PXFKRQWLSV+HZDQWHGWRFKDQJHKLVOLIHIRUWKHEHWWHU

        $ERXWWZRZHHNVODWHU5RHFDOOHGWKHQXPEHURQWKHEXVLQHVVFDUGWKH$&1

SDUWLFLSDQWKDGJLYHQKLPWROHDUQPRUHDERXWWKHSRWHQWLDORSSRUWXQLW\7KH$&1SDUWLFLSDQW

WH[WHG5RHDOLQNWRDQLQIRUPDWLRQDOYLGHRWKDWERDVWHGRIWKHOLIHVW\OH$&1ZRXOGSURYLGHDQG

HQFRXUDJHG5RHWRMRLQDQRQOLQHFRQIHUHQFHZLWKRWKHU$&1,%2VDQGSRWHQWLDOUHFUXLWV5RH

MRLQHGWKHRQOLQHFRQIHUHQFHODWHUWKDWHYHQLQJZKHUHKHYLHZHGDSUHVHQWDWLRQSURYLGLQJPRUH

GHWDLODERXW$&1$WWKHHQGRIWKHSUHVHQWDWLRQ5RHZDVWROGWKDWHDFKUHFUXLWZRXOGKDYHWR

SD\LIWKH\ZDQWHGWR³VWDUWDEXVLQHVV´

        $IWHUWKHRQOLQHFRQIHUHQFHWKH$&1SDUWLFLSDQWZKRKDGJLYHQKLPWKHEXVLQHVV

FDUGLPPHGLDWHO\FDOOHG5RHDQGSUHVVHG5RHWRVLJQXSEXW5RHVDLGWKDWKHZRXOGKDYHWR

WKLQNDERXWLW)LYHKXQGUHGGROODUVZDVPRUHWKDQ5RHFRXOGDIIRUG7KH$&1SDUWLFLSDQWWKHQ

LQYLWHG5RHWRDWWHQGDFRQYHQWLRQLQKLVKRPHWRZQ&ROXPELD0DU\ODQG


                                                  
     Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 76 of 164




        ,QWULJXHG5RHGHFLGHGWRGRVRPHDGGLWLRQDOUHVHDUFKRQ$&15RHILUVWORRNHG

DWWKH%HWWHU%XVLQHVV%XUHDX¶VZHEVLWH+HVDZWKDW$&1KDGDQ$UDWLQJEXWWKDWWKHUHZHUH

VRPHFRPSODLQWVLQFOXGLQJIURPFXVWRPHUVZKRKDGWULHGWKHSKRQHVHUYLFHZKRZHUHQRW

VDWLVILHGDQGKDGWULHGWRHQGWKHVHUYLFHEXWNHSWJHWWLQJELOOV%HFDXVHWKHFRPPHQWVGLGQRW

PDWFK$&1¶VUDWLQJ5RHUHPDLQHGXQVXUH+HGHFLGHGWRORRNXS$&1RQ<RX7XEH7KHILUVW

WKLQJWKDWFDXJKWKLVH\HZDVDYLGHRRI7UXPSIURPThe Celebrity Apprentice

        5RHZDVH[FLWHGWRVHH7UXPS+HFOLFNHGRQWKHOLQNDQGZDWFKHGWKHYLGHR

)RUDERXWHLJKWPLQXWHVKHZDWFKHGDVWKHFHOHEULW\FRQWHVWDQWVSHUIRUPHGGLIIHUHQWSLWFKHVWR

VHOO$&1YLGHRSKRQHV$VSDUWRIWKHFOLS'RQDOG7UXPSVWRRGQH[WWRWZRRIWKH$&1

IRXQGHUV*UHJ3URYHQ]DQRDQG7RQ\&XSLV]DQGHQGRUVHG$&1VD\LQJWKDWKHNQHZWKH

FRPSDQ\ZHOO7UXPSWKHQOHWWKHIRXQGHUVVSHDNDVKHUHPDLQHGDORQJVLGHWKHP

        7KLVYLGHRZDVDWXUQLQJSRLQWIRU5RH5RHZDVIDVFLQDWHGE\'RQDOG7UXPS

+HEHOLHYHGWKDW7UXPSZDVDVXFFHVVIXOEXVLQHVVPDQZKRKDGPDQ\NLQGVRIEXVLQHVVHV

LQFOXGLQJ7UXPS7RZHUVLQ1HZ<RUN&LW\DQGDFDVLQRLQ$WODQWLF&LW\DQGWKXVDZLGHUDQJH

RIEXVLQHVVH[SHUWLVH5RHEHOLHYHGWKDW7UXPSUHDOO\NQHZKRZWRPDNHPRQH\&RQVHTXHQWO\

7UXPS¶VHQGRUVHPHQWRIWKHFRPSDQ\PHDQWDORW5RHEHOLHYHGWKDWE\SURPRWLQJWKH

FRPSDQ\7UXPSZDVWHOOLQJRWKHUVWKDWWKH\WRRFRXOGPDNHPRQH\DQGEHFRPHVXFFHVVIXO

EXVLQHVVRZQHUVOLNHKLPE\LQYHVWLQJLQ$&18OWLPDWHO\IRU5RH'RQDOG7UXPSwas

EXVLQHVV+HEHOLHYHGWKDWLI'RQDOG7UXPSVDLGWKDW$&1ZDVJUHDWWKHQLWPXVWEHWUXH$IWHU

ZDWFKLQJWKLVYLGHR5RHZDVLQFOLQHGWRVLJQXSZLWK$&1DQGGHFLGHGWRDWWHQGWKHFRQYHQWLRQ

        5RHDWWHQGHGWKHFRQYHQWLRQ+HZDVH[FLWHGDERXWWKH$&1RSSRUWXQLW\DQG

KRZPXFKKHFRXOGPDNHFRPSDUHGWRKLVIDVWIRRGMRE%XWKHVWLOOFRXOGQRWDIIRUGWKH

LQLWLDWLRQIHH7KHFXVWRPHUIROORZHGXSZLWK5RHRYHUWKHSKRQHDIHZGD\VODWHU:KHQWKH




                                                
      Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 77 of 164




FXVWRPHUDVNHG5RHZKDWKHZDVWKLQNLQJDERXW$&15RHVDLGKHZDVQRWVXUHEHFDXVHKHGLG

QRWKDYHWKHPRQH\7KHFXVWRPHUNHSWFDOOLQJ5RH'XULQJWKHVHFRQYHUVDWLRQV5RHZRXOGWHOO

WKHFXVWRPHUWKDWKHZDVQRWSODQQLQJWRFRPPLWWR$&1QRZEHFDXVHLWZDVWRRPXFKPRQH\

%XWEHFDXVHRI7UXPS¶VHQGRUVHPHQWKHZDQWHGWRVLJQXS²LIRQO\KHFRXOGILQGDZD\WR

DIIRUGLW

         2QHZHHNHQGLQWKHEHJLQQLQJRI1RYHPEHU5RHDQGKLVPRWKHUZHQWWRD

QHDUE\FDVLQR5RHJRWRQDVORWPDFKLQHDQGKHTXLFNO\ZRQ+HLPPHGLDWHO\SXWWKLVLQ

KLVEDQNDFFRXQW/DWHUWKDWQLJKWKHZRQIURPDORWWHU\WLFNHW$WWKDWPRPHQW

VRPHWKLQJFOLFNHG5RHUHDOL]HGKHKDGHQRXJKPRQH\IRUWKH$&1UHJLVWUDWLRQIHH+HSXWWKH

PRQH\GLUHFWO\LQWRKLVDFFRXQWDQGGHFLGHGKHZRXOGVLJQXS

         5RHWKHQFDOOHGWKH$&1SDUWLFLSDQWZKRJDYHKLPWKHEXVLQHVVFDUGDQGWROGWKH

SDUWLFLSDQWWKDWKHZDVUHDG\WRVLJQXS7KHSDUWLFLSDQWUHPDLQHGRQWKHSKRQHZLWK5RHDVKH

ILOOHGRXWKLVUHJLVWUDWLRQIRUPDQGSDLGWKHUHJLVWUDWLRQIHH

         7KHSDUWLFLSDQWZKRZRXOGQRZEHFRPH5RH¶V$&1³PHQWRU´LQYLWHGKLPWRKLV

KRXVHWKDWHYHQLQJWRKHOSWUDLQ5RHRQKRZWREHVWXVHWKH$&1WRROV

         $IWHUWKLVWUDLQLQJ5RHTXLFNO\DWWHPSWHGWRHVWDEOLVKKLVRZQVXFFHVVLQWKH

FRPSDQ\+HGLGWKLVERWKE\WU\LQJWRFRQYLQFHSRWHQWLDOFXVWRPHUVWRSXUFKDVH$&1VHUYLFHV

DQGWU\LQJWRFRQYLQFHRWKHUVWRMRLQ$&1DV,%2V+HILUVWWULHGWRUHFUXLWKLVPRWKHUDVD

FXVWRPHU6KHVDLGQR7KHQDERXWDPRQWKODWHUKHYLVLWHGDIULHQGZKRKDGDKLJKHOHFWULF

ELOO5RHWKRXJKWPD\EHKHFRXOGKHOSE\SURYLGLQJDOWHUQDWLYHVHUYLFHVWKURXJK$&15RH

DWWHPSWHGWRXVHWKH$&1SLWFKWRVHOOWKHVHUYLFHVEXWKLVIULHQGZDVVNHSWLFDODQGGLGQRW

SXUFKDVHDQ\VHUYLFHV)LQDOO\5RHWULHGWRXVHVRFLDOPHGLDDVDUHFUXLWLQJWRRO+HVHQWWKH




                                                 
      Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 78 of 164




OLQNWRWKH$&1UHFUXLWPHQWYLGHRWRKLVIULHQGVXVLQJ6QDSFKDWEXWUHFHLYHGQRWKLQJLQ

UHVSRQVH

         'XULQJKLVILUVWPRQWKRI$&15RH¶VPHQWRUUHSHDWHGO\FDOOHGKLPDQGZRXOG

DOZD\VJLYHKLPDQ$&1PRWLYDWLRQDOVSHHFK5RHZDVPRWLYDWHGDWILUVWEXWEHJDQWRJHW

GLVFRXUDJHGZKHQKHZDVXQDEOHWRUHFUXLWDQ\DGGLWLRQDOFXVWRPHUVRUUHFUXLWV7RZDUGWKHHQG

RIKLVVHFRQGPRQWKDURXQGWKHVWDUWRI5RHZKRIROORZHG$&1RQPXOWLSOHVRFLDOPHGLD

DFFRXQWVLQFOXGLQJ)DFHERRN,QVWDJUDPDQG<RX7XEHVWDUWHGVHHLQJWKDW$&1ZDVSRVWLQJ

YLGHRVVD\LQJWKDWLWZDVQRWDVFDP7KHVHYLGHRVFDXJKW5RH¶VH\HEXWKHGLGQRWWKLQNPXFK

RILWDWWKHWLPH

         7KHQLQHDUO\5RH¶VPHQWRULQYLWHGKLPWRDORFDOVHPLQDURQD6DWXUGD\

PRUQLQJ+HSDLGWRDWWHQGDVLPLODUSUHVHQWDWLRQWKDWKHKDGVHHQPRQWKVHDUOLHU²KH

ZDWFKHGWKHVDPHYLGHRIHDWXULQJ7UXPSDVOLGHVKRZDQGWKHQSDUWLFLSDWHGLQDVHVVLRQDERXW

KRZWRSLWFK$&1

         $IWHUWKHFODVV5RHZDVDJDLQIHHOLQJPRUHPRWLYDWHGWRVHOODQGSURPRWH$&1

5RHKDGDOUHDG\UHDFKHGRXWWRKLVIDPLO\DQGIULHQGVZKRKDGQRWVLJQHGXS+HWULHGWRWDONWR

SHRSOHDWZRUNLQFOXGLQJDQHZKLUHZKRZDVQRWPDNLQJPXFKPRQH\5RHPDGHWKHSLWFKDQG

JDYHWKHQHZKLUHKLVPHQWRU¶VQXPEHUEXWGRHVQRWEHOLHYHWKHQHZKLUHHYHUVLJQHGXS

         7KHQDURXQG0DUFK5RHDJDLQVDZWKHYLGHRVDERXW$&1notEHLQJDVFDP

RQKLVVRFLDOPHGLDIHHG$WWKLVSRLQW5RHEHJDQWREHFRPHVNHSWLFDORIWKHFRPSDQ\+H

IRXQGLWTXHVWLRQDEOHWKDWWKHFRPSDQ\ZDVKDYLQJWRSURGXFHYLGHRVWKDWLWZDVnot DVFDPDQG

DQVZHUTXHVWLRQVVXFKDV³,V$&1DS\UDPLGVFKHPH"´,QVWHDGRIFRQYLQFLQJ5RHWKDW$&1

ZDVQRWDVFDPWKHVHYLGHRVKDGWKHRSSRVLWHLPSDFW5RHEHJDQWREHFRPHFRQFHUQHGWKDW

$&1was DVFDP5RHUHFRJQL]HGWKDWKHZDVQRWPDNLQJDQ\PRQH\DQGGLGQRWVHHKRZKH




                                               
     Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 79 of 164




couldPDNHDQ\PRQH\,WZDVDWWKLVSRLQWWKDW5RHEHJDQWRUHDOL]HWKDWWKHPHVVDJHKHWRRN

DZD\IURP7UXPS¶VHQGRUVHPHQWZDVIDOVH±KHUHDOL]HGKHKDGZDVWHGKLVWLPHDQGPRQH\RQ

$&1

        5RHWKHQVWRSSHGHQJDJLQJZLWK$&1%\WKLVWLPHKLVPHQWRUKDGVWRSSHG

UHDFKLQJRXWWRKLP+HUHDOO\KDGQRUHDVRQRUPRWLYDWLRQWRFRQWLQXH,Q2FWREHU5RH

UHFHLYHGDQHPDLODVNLQJKLPWRUHQHZKLV$&1UHJLVWUDWLRQ+HLJQRUHGWKHHPDLODQGDVD

UHVXOWKLVDFFRXQWZDVWHUPLQDWHG

        5RHLQFXUUHGPXOWLSOHH[SHQVHVDVDQ$&1,%2)LUVWKHSDLGWKH

UHJLVWUDWLRQIHH6HFRQGKHSDLGWRDWWHQGWKHVHPLQDU7KLUGKHSDLGKLVH[SHQVHVIRU

WUDYHOWRDQGIURP$&1HYHQWV)LQDOO\5RHVSHQWKLVIUHHWLPHUHFUXLWLQJ$&1FXVWRPHUVDQG

UHFUXLWV$WQRWLPHGLG5RHUHFRYHUDQ\RIWKHPRQH\WKDWKHLQYHVWHGLQ$&1


       '     0DU\0RH

        0RHZDVDUHVLGHQWRI3HQQV\OYDQLDDWDOOWLPHVUHOHYDQWWRWKLV&RPSODLQW0RH

LVWHPSRUDULO\UHVLGLQJLQ1RUWK&DUROLQD0RHDOVRZRUNVDWDQDWLRQDOUHWDLOVWRUH

        3ODLQWLII0RHVLJQHGXSDVDQ$&1,%2LQ$SULO$WWKHWLPHVKHZDV

OLYLQJLQDVPDOOWRZQLQ3HQQV\OYDQLDZLWKKHUKXVEDQGDQGWKUHHFKLOGUHQ0RHZKRZDV

ZRUNLQJLQFXVWRPHUVHUYLFHVDWDPDQXIDFWXULQJFRPSDQ\ZDVWKHSULPDU\EUHDGZLQQHUIRUWKH

KRXVHKROGZKLOHKHUKXVEDQGZDVLQDQGRXWRIMREV

        0RH¶VQLHFHLQLWLDOO\FRQQHFWHGKHUWR$&10RHRULJLQDOO\DWWHQGHGDQ$&1

DZDUGFHUHPRQ\WRVXSSRUWKHUQLHFHDWDKRWHOLQ3HQQV\OYDQLD%HVLGHV0RHWKHUHZHUHDERXW

WZHOYHRWKHUSDUWLFLSDQWVLQWKHURRP6RRQDIWHUVKHDUULYHGLWEHFDPHFOHDUWR0RHWKDWWKH

PDLQSXUSRVHRIWKHHYHQWZDVIRUWKHH[LVWLQJ,%2VWRUHFUXLWKHUDQGRWKHUJXHVWVWR$&1

        7KHHYHQWEHJDQZLWKVKRUWLQWURGXFWLRQVIURPWKH$&1,%2VLQWKHURRP



                                                
     Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 80 of 164




        1H[WWKHRUJDQL]HUVSOD\HGDSURPRWLRQDOYLGHRZKLFKODVWHGDERXWILYHPLQXWHV

DQGSURPLQHQWO\IHDWXUHG7UXPS7KHYLGHRLVZKDWOHG0RHWRGHFLGHWRFRPPLWWR$&10RH

ZDVDOUHDG\H[WUHPHO\LPSUHVVHGE\7UXPS6KHZDVDUHJXODUYLHZHURITheCelebrity

ApprenticeDQGVKHNQHZKLPWREHDQH[WUHPHO\ZHDOWK\VDYY\EXVLQHVVPDQ6KHEHOLHYHGLQ

KLVDELOLW\WRPDNHPRQH\

        $VWKHILOPSOD\HG0RHZDVVWUXFNE\7UXPS¶VSRZHUIXOHQGRUVHPHQWRI$&1

6KHZDWFKHGKLPGHVFULEH$&1DVDOXFUDWLYHEXVLQHVVRSSRUWXQLW\+HSUDLVHGWKH$&1

SURGXFWVDQGHYHQDOOXGHGWRWKHIDFWWKDWKHXVHG$&1SURGXFWVDQGVHUYLFHVKLPVHOI0RVW

LPSRUWDQWO\0RHZDVLPSUHVVHGE\7UXPS¶VVWDWHPHQWWKDWLQYHVWRUVLQ$&1KDGHQRUPRXV

SRWHQWLDOWRPDNHPRQH\EHFDXVHRIWKHZD\LWZDVGHVLJQHG

        $IWHUWKHYLGHR0RHNQHZWKDWVKHZDVJRLQJWRVLJQXSIRU$&16KHEHOLHYHG

WKDWMRLQLQJWKHFRPSDQ\ZDVDOXFUDWLYHRSSRUWXQLW\VKHLPDJLQHGWKDWE\IROORZLQJ7UXPS

DQGLQYHVWLQJLQWKHFRPSDQ\VKHZRXOGUHFHLYHVRPHWKLQJLQUHWXUQ0RHYHU\PXFKQHHGHG

WKHH[WUDPRQH\WRVXSSRUWKHUFKLOGUHQRQHRIZKRPZDVDERXWWRHQWHUFROOHJH/DUJHO\

EHFDXVHRIWKHYLGHR0RHEHOLHYHG$&1ZDVWKHZD\VKHFRXOGJHQHUDWHDGGLWLRQDOLQFRPH

        0RHZDVUHDG\WRVLJQXSLPPHGLDWHO\EXWVKHKDGWRZDLWXQWLOKHUSD\GD\WKH

QH[W)ULGD\ZKHQVKHZRXOGEHDEOHWRFRYHUWKHUHJLVWUDWLRQIHH*LYHQWKDW0RH¶VDQQXDO

VDODU\ZDVRQO\SD\LQJWKHUHJLVWUDWLRQIHHZDVJRLQJWREHDELJULVNWKHZDVQRW

WKHVPDOOFKDQJHWKH$&1UHFUXLWHUVPDGHLWRXWWREH1HYHUWKHOHVV0RHEHOLHYHGLWZRXOGEH

ZRUWKLW$VVRRQDVKHUSD\FKHFNFOHDUHGVKHSDLGWKHUHJLVWUDWLRQIHH

        7RHQVXUHWKDWVKHZDVIXOO\SUHSDUHGWRSLWFK$&1¶VSURGXFWVHIIHFWLYHO\0RH

LPPHUVHGKHUVHOILQLQIRUPDWLRQDERXWWKHFRPSDQ\6KHH[SORUHGWKHZHEVLWHZDWFKHGYLGHRV




                                               
     Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 81 of 164




DQGUHDGSDPSKOHWV2QO\WKHQGLG0RHEHJLQWRPDNHKHUUHFUXLWPHQWOLVWVDQGWRWKLQNDERXW

DSSURDFKLQJKHUIULHQGVDQGRWKHUSRWHQWLDOFXVWRPHUV

        0RHDOVREHJDQWRDWWHQG$&1PHHWLQJVWRZLGHQKHUQHWZRUNDQGFRQWLQXHWR

GHYHORSKHUVNLOOV0HHWLQJVRFFXUUHGDOPRVWHYHU\ZHHNHQGDQGFRVWEHWZHHQDQGWR

DWWHQG(DFK6DWXUGD\PRUQLQJ0RHZRXOGOHDYHKHUIDPLO\DWKRPHDQGGULYHWRDPHHWLQJLQ

'HODZDUHRU3HQQV\OYDQLD,QWRWDO0RHDWWHQGHGDERXWPHHWLQJVGXULQJKHUWLPHZLWK$&1

        ,QDGGLWLRQWRWKHPHHWLQJV0RHDWWHQGHGIRXU5HYROXWLRQ:HHNHQGV7KHVH

ZHUHH[WHQGHGVHPLQDUVWKDWODVWHGIURP)ULGD\QLJKWWKURXJKPLGGD\6XQGD\0RHSDLGWR

WRDWWHQGWKHVHZHHNHQGVLQDGGLWLRQWRH[SHQVHV

        0RHZDVQRWSDUWLFXODUO\H[FLWHGDERXWVSHQGLQJKHUZHHNHQGZLWK$&1,%2V

UDWKHUWKDQKHUKXVEDQGDQGFKLOGUHQEXWVKHEHOLHYHGKHUXSOLQHZKRWROGKHUWKDWWKHVH

PHHWLQJVZHUHLPSRUWDQWDQGQHFHVVDU\IRUKHUVXFFHVV7KHPHHWLQJVFRQVLVWHGRIWUDLQLQJVRQ

KRZEHVWWRUHFUXLW,%2VDQGFXVWRPHUV7KH\DOVRLQFOXGHGSUHVHQWDWLRQVDQGYLGHRVLQWHQGHGWR

PRWLYDWHDQGLPSUHVV,%2V

        7UXPSZDVRIWHQUHIHUHQFHGDWWKHVHPHHWLQJV0HHWLQJRUJDQL]HUVZRXOGUHPLQG

,%2VRI7UXPS¶VLQYROYHPHQWZLWKDQGHQGRUVHPHQWRI$&1WKH\ZRXOGFRQVLVWHQWO\UHLWHUDWH

WKDWVXFKDVXFFHVVIXOZHDOWK\EXVLQHVVPDQVDZYDOXHLQDQGVXSSRUWHGWKHFRPSDQ\0RHZDV

HYHQJLYHQWKHRSSRUWXQLW\WRWDNHDSLFWXUHZLWKDFXWRXWRI7UXPS

        $WWKHPHHWLQJV0RHDWWHQGHGRUJDQL]HUVDOVRFRQWLQXDOO\SURPRWHGWKHVWRU\RI

&DVH\6Q\GHU6Q\GHULVDQ$&1,%2IURPQHDUE\3HQQV\OYDQLDZKRZRUNHGKLVZD\XSLQ

$&1WRWKHUROHRI5HJLRQDO9LFH3UHVLGHQW,%2VZRXOGGHVFULEH6Q\GHU¶VWUDMHFWRU\WKURXJK

WKHFRPSDQ\DQGH[SODLQWKDW$&1KDGQRWRQO\KHOSHG6Q\GHUEHFRPHZHDOWK\EXWDOVRWKDWLW

KDGDOORZHGKLPWRDFKLHYHDFHOHEULW\OLNHVWDWXV7KH\ZRXOGKLJKOLJKWWKDWKHKDGEHHQD




                                               
     Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 82 of 164




MXGJHRQTheCelebrity Apprentice6WRULHVRI6Q\GHU¶VVXFFHVVLQFOXGLQJKLVFRQQHFWLRQWR

7UXPSZHUHHVSHFLDOO\PRWLYDWLRQDOIRU0RHLWZDVSRZHUIXOWRVHHWKDWDQRUGLQDU\SHUVRQ

IURPKHUDUHDFRXOGEHFRPHVXFKDVXFFHVVIXOEXVLQHVVPDQDQGHQWHUWKHHOLWHZRUOGRIVRPHRQH

OLNH7UXPS

        0RHZRXOGOHDYHPHHWLQJVDQGWKH5HYROXWLRQ:HHNHQGVH[FLWHGDERXW$&1DQG

WKHRSSRUWXQLW\6KHEHOLHYHGWKDWVKHFRXOGEHFRPHWKHQH[W6Q\GHULIVKHWULHGKDUGHQRXJK

<HWUHSHDWHGO\VKHZRXOGKDYHWKHZLQGEORZQRXWRIKHUVDLOV:KLOH0RHDSSOLHGZKDWVKH

OHDUQHGDWWKHVHPHHWLQJVWRKHUHIIRUWVWRUHFUXLW,%2VDQGVHOODGGLWLRQDOVHUYLFHVVKHZDV

QHYHUWKHOHVVXQDEOHWRILQGVXFFHVV:KHQVKHGLGILQGSRWHQWLDOFOLHQWVVKHUHFHLYHGQRVXSSRUW

IURPWKH,%2VZKRKDGUHFUXLWHGKHUDQGSURPLVHGWRPHQWRUKHU

        'HVSLWHKHUODFNRIVXFFHVVZLWK$&10RHVWLOOKDGIDLWKLQWKHFRPSDQ\,Q

IDFWVKHUHQHZHGKHUUHJLVWUDWLRQIRUDQDGGLWLRQDO\HDUDQGVKHHYHQSXUFKDVHGDUHJLVWUDWLRQIRU

KHUVRQ:KLOH0RHVSHQWWKHODVWPRQH\VKHKDGVKHZDVFRPPLWWHGWRPDNLQJKHULQYHVWPHQW

LQ$&1ZRUN

        'XULQJWKHVHFRQG\HDURIKHUSDUWLFLSDWLRQLQ$&10RHSDLGIRUEXWXOWLPDWHO\

GLGQRWDWWHQGDQDWLRQDOFRQYHQWLRQLQ/RV$QJHOHV'HVSLWHWKHIDFWWKDWLWZDVH[WUHPHO\

GLIILFXOWIRU0RHWRILQGPRQH\WRSD\IRUWKHUHJLVWUDWLRQIHHDQGWRWUDYHODFURVVWKHFRXQWU\

0RHEHOLHYHGDWWHQGLQJWKHFRQYHQWLRQZDVQHFHVVDU\IRUKHUWRVXFFHHG$IWHUSD\LQJWKHQRQ

UHIXQGDEOHUHJLVWUDWLRQIHHKRZHYHULWEHFDPHFOHDUWKDWWKHFRVWVDVVRFLDWHGZLWKDWWHQGLQJWKH

FRQYHQWLRQZRXOGEHWRRKLJKIRU0RH

        )LQDOO\LQ'HFHPEHU0RHUHDOL]HGWKDWVKHZDVQRWJRLQJWRPDNHDQ\

PRQH\LQ$&10RHVWRSSHGZRUNLQJZLWK$&1DQGFKRVHQRWWRUHQHZIRUDQRWKHU\HDU

                                                         




                                                
          Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 83 of 164




               7KH7UXPS(QWHUSULVH¶VIUDXGXOHQWSURPRWLRQDQGHQGRUVHPHQWRI$&1DORQH

FRQVWLWXWHVDSDWWHUQRIUDFNHWHHULQJDFWLYLW\LQYLRODWLRQRIWKH5DFNHWHHU,QIOXHQFHGDQG&RUUXSW

2UJDQL]DWLRQ ³5,&2´ $FW86&et seq.DQGIXUWKHUFRQVWLWXWHVPDLODQGZLUH

IUDXGXQGHUIHGHUDOODZIDOVHDGYHUWLVLQJXQGHU&DOLIRUQLD%XVLQHVVDQG3URIHVVLRQV&RGH

XQIDLUFRPSHWLWLRQXQGHU&DOLIRUQLD%XVLQHVVDQG3URIHVVLRQV&RGHXQIDLUDQG

GHFHSWLYHWUDGHSUDFWLFHVXQGHUWKH0DU\ODQG&RQVXPHU3URWHFWLRQ$FWXQIDLUDQGGHFHSWLYHDFWV

XQGHUWKH3HQQV\OYDQLD8QIDLU7UDGH3UDFWLFHVDQG&RQVXPHU3URWHFWLRQ/DZFRPPRQODZIDOVH

DGYHUWLVLQJFRPPRQODZIUDXGDQGFRPPRQODZQHJOLJHQWPLVUHSUHVHQWDWLRQ


9,          7+(75803(17(535,6($1'$&1¶6&2)281'(5:(5(,192/9(',1
              6,'('($/67+$7)$&,/,7$7('021(<)/2:%(7:((17+(0

               2YHUWKH\HDUVWKH7UXPS(QWHUSULVHEXLOWDFORVHUHODWLRQVKLSZLWK$&1DQGLWV

FRIRXQGHUV8SRQLQIRUPDWLRQDQGEHOLHIWKHYDULRXVLQWHUFRQQHFWLRQVDQGGHDOVEHWZHHQ

'HIHQGDQWVDQG$&1ZHUH\HWDQRWKHUZD\WKDWPRQH\IORZHGEHWZHHQWKHWZRLQTXLGSURTXR

DUUDQJHPHQWVWKDWZHUHQRWGLVFORVHGWRWKHYXOQHUDEOHFRQVXPHUVKHDULQJ7UXPS¶VSLWFK


              $            $&1¶V&R)RXQGHU%RXJKW3URSHUW\$URXQG7KH7UXPS2UJDQL]DWLRQ¶V
                             0DMRU*ROI&RXUVH'HYHORSPHQWLQ1RUWK&DUROLQD

               ,Q0DUFK71*&&KDUORWWH//& DPHPEHURIWKH7UXPS(QWHUSULVH 

DJUHHGWRDFTXLUH7KH3RLQW/DNHDQG*ROI&OXELQ0RRUHVYLOOH1RUWK&DUROLQDDQGUHEUDQGHGLW

WKH7UXPS1DWLRQDO*ROI&OXE ³71*&&KDUORWWH´ 7KDWVDPHPRQWK$&1FRIRXQGHU5REHUW

6WHYDQRYVNLDQGKLVZLIH6RQ\D6WHYDQRYVNLUHJLVWHUHG3DVLFRU//& ³3DVLFRU´ LQ1RUWK

&DUROLQD7KH6WHYDQRYVNLVXVHGFRUSRUDWHHQWLWLHVPDQDJHGE\3DVLFRUWRDFTXLUHVHYHUDO

SDUFHOVRIODQGQHDU71*&&KDUORWWH



  1RUWK&DUROLQD'HS¶WRI6WDWH%XVLQHVV5HJLVWUDWLRQ'LYLVLRQ/LPLWHG/LDELOLW\&RPSDQ\
,QIRUPDWLRQ3DVLFRU//3  


                                                               
          Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 84 of 164




               2Q0DUFKWKHGD\EHIRUH3DVLFRUZDVUHJLVWHUHG$XJXVWD/HH&DSLWDO

3DUWQHUV//& ³$XJXVWD/HH´ ZDVUHJLVWHUHGLQ1RUWK&DUROLQD3DVLFRUZDVDSSRLQWHGLWV

PDQDJLQJPHPEHU7ZRGD\VDIWHULWZDVUHJLVWHUHG$XJXVWD/HHSDLGPLOOLRQWRSXUFKDVH

DDFUHSURSHUW\NQRZQDV³$XJXVWDOHH´LQ&RUQHOLXV1RUWK&DUROLQDQHDUE\71*&

&KDUORWWH

               2Q$SULO/DQJWUHH'HYHORSPHQW*URXS//&DQG/DQJWUHH&DSLWDO

3DUWQHUV//& WKH³/DQJWUHH&RPSDQLHV´ ZHUHUHJLVWHUHGLQ1RUWK&DUROLQDZLWK3DVLFRUDV

WKHLUPDQDJLQJPHPEHU7KH/DQJWUHH&RPSDQLHVSXUFKDVHGPXOWLSOHSURSHUWLHVDURXQGWKH

/DNH1RUPDQZDWHUIURQWQHDUE\71*&&KDUORWWH

               0HDQZKLOHWKHIROORZLQJ\HDU7UXPSDQQRXQFHGWKHRSHQLQJRI7UXPS

,QWHUQDWLRQDO5HDOW\&KDUORWWHDUHDOHVWDWHEURNHUDJHEDVHGDW71*&&KDUORWWH7UXPS

,QWHUQDWLRQDO5HDOW\&KDUORWWHLVDEURNHUDJHVSHFLDOL]LQJLQ³OX[XU\KRPHVIRUVDOHLQ/DNH

1RUPDQ&KDUORWWH0RRUHVYLOOH&RUQHOLXV'DYLVRQ+XQWHUVYLOOHDQG6WDWHVYLOOHDOOLQWKH/DNH

1RUPDQUHJLRQRI1RUWK&DUROLQD´

               2Q-XQH:HVW&DWDZED$YHQXH//&ZDVUHJLVWHUHGLQ1RUWK&DUROLQD

ZLWK3DVFLRUDVLWVPDQDJLQJPHPEHU,Q-XO\:HVW&DWDZED$YHQXH//&SXUFKDVHGD

SURSHUW\DW:&DWDZED$YHQXHLQ&RUQHOLXV1RUWK&DUROLQD QHDU/DNH1RUPDQ IRU

PLOOLRQ;RRP(QHUJ\DQ$&1VXEVLGLDU\OHDVHGDVXLWHLQDQRIILFHEXLOGLQJDWWKDW

VLWH,Q$XJXVW:HVW&DWDZED$YHQXH//&VROGWKHSURSHUW\IRUPLOOLRQ





   1RUWK&DUROLQD'HS¶WRI6WDWH%XVLQHVV5HJLVWUDWLRQ'LYLVLRQ/LPLWHG/LDELOLW\&RPSDQ\
,QIRUPDWLRQ$XJXVWD/HH&DSLWDO3DUWQHUV//&  

   1RUWK&DUROLQD'HS¶WRI6WDWH%XVLQHVV5HJLVWUDWLRQ'LYLVLRQ/LPLWHG/LDELOLW\&RPSDQ\
,QIRUPDWLRQ/DQJWUHH&DSLWDO3DUWQHUV//&  

   1RUWK&DUROLQD'HS¶WRI6WDWH%XVLQHVV5HJLVWUDWLRQ'LYLVLRQ/LPLWHG/LDELOLW\&RPSDQ\
,QIRUPDWLRQ:HVW&DWDZED$YHQXH//&  


                                                               
     Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 85 of 164




        3ODLQWLIIVKDYHOLPLWHGLQIRUPDWLRQDERXWWKHVHUHDOHVWDWHGHDOVEXWH[SHFWWKDW

GLVFRYHU\ZRXOGVKHGPRUHOLJKWRQDQ\FRQQHFWLRQVEHWZHHQWKHVHWUDQVDFWLRQVDQGWKH7UXPS

(QWHUSULVHLQFOXGLQJ7UXPS,QWHUQDWLRQDO5HDOW\

        ,QDGGLWLRQLQ$XJXVWWKHZHGGLQJRI3URYHQ]DQR¶VGDXJKWHU$XWXPQ

0RKH\HUZDVKHOGDWWKH7UXPS,QWHUQDWLRQDO*ROI&OXELQ&KDUORWWH


       %     $&1+DV3DLGWKH7UXPS(QWHUSULVH7R+ROG&KDULWDEOH*ROI7RXUQDPHQWV
               DW7UXPS*ROI&OXEV

        7KHILQDQFLDOWLHVEHWZHHQ$&1DQGWKH7UXPS(QWHUSULVHZHUHQRWOLPLWHGWR

SD\PHQWVIRU7UXPS¶VHQGRUVHPHQWDQGWKHUHDOHVWDWHGHDOVLQ1RUWK&DUROLQD

        )URPWR$&1*OREDO5HDFK&KDULWLHV,QF ³$&1*OREDO5HDFK´ D

QRQSURILWDIILOLDWHGZLWK$&1VWDJHGDQQXDOFHOHEULW\JROIWRXUQDPHQWVWKDWZHUHKRVWHGDW

71*&&KDUORWWH$OWKRXJKWKHVHHYHQWVZHUHELOOHGDVIXQGUDLVHUVIRU5RQDOG0F'RQDOG+RXVH

WKH7UXPS(QWHUSULVHDSSHDUVWRKDYHEHHQSDLGVXEVWDQWLDOVXPVWRKRVWWKHHYHQWV%\

DVVRFLDWLQJ7UXPSDQG$&1DQGWKHLUUHVSHFWLYHEUDQGVDQGEXVLQHVVHVZLWKFKDULWDEOHFDXVHV

WKH7UXPS(QWHUSULVHFUHDWHGDQRWKHUYHQHHURIOHJLWLPDF\LQWKHH\HVRI$&1¶VPHPEHUVDQG

SRWHQWLDOUHFUXLWV²ZKLOHSRFNHWLQJODUJHVXPVRIPRQH\




                                              
    Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 86 of 164






                                                                          




                                                                          




                                   
     Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 87 of 164




        ,Q$&1*OREDO5HDFKUHSRUWHGO\UDLVHGIURPWKHJROIWRXUQDPHQW

,WUHSRUWHGLQH[SHQVHVLQUDLVLQJWKLVDPRXQW,WLVXQFOHDUKRZPXFKRIWKDWH[SHQVH

DPRXQWZDVSDLGWRWKH7UXPS(QWHUSULVHIRUKRVWLQJWKHWRXUQDPHQW DQGLQVRGRLQJIXUWKHU

SURPRWLQJDQGHQGRUVLQJ$&1 

        ,Q$&1*OREDO5HDFKUHSRUWHGD³UHFRUGEUHDNLQJ´UDLVHGIURP

WKHWRXUQDPHQW7D[ILOLQJVODWHUUHYHDOHGWKDWLWLQFXUUHGLQH[SHQVHVIRUWKHHYHQW

LQFOXGLQJLQ³UHQWIDFLOLW\´FRVWVDQGLQIRRGDQGEHYHUDJHFRVWV

        ,Q$&1*OREDO5HDFKUHSRUWHGDQRWKHU³UHFRUGEUHDNLQJJLIW´RI

IURPWKHWRXUQDPHQW7D[ILOLQJVUHYHDOHGWKDWLWLQFXUUHGLQH[SHQVHVIRUWKHHYHQW

LQFOXGLQJLQ³UHQWIDFLOLW\´FRVWVDQGLQIRRGDQGEHYHUDJHFRVWV

        ,Q$&1*OREDO5HDFKUDLVHGD³UHFRUGEUHDNLQJ´IURPWKH

WRXUQDPHQW7D[ILOLQJVUHYHDOHGWKDWLWLQFXUUHGLQH[SHQVHVIRUWKHHYHQWLQFOXGLQJ

LQ³UHQWIDFLOLW\´FRVWVDQGLQIRRGDQGEHYHUDJHFRVWV

        $&1¶VSD\PHQWVWRWKH7UXPSJROIFOXEVZHUHQRWOLPLWHGWRGLUHFWSD\PHQWVIRU

KRVWLQJ$&1*OREDO5HDFKHYHQWV,QHDFKRIDQG$&1SXUFKDVHGD

³7LWDQLXP´OHYHOVSRQVRUVKLSSULFHGDWWRWKH$QQXDO*ROI,QYLWDWLRQDO $XFWLRQ

'LQQHUKRVWHGE\'HIHQGDQW(ULF7UXPSDQGWKH(ULF7UXPS)RXQGDWLRQ7KHHYHQWVZHUH

IXQGUDLVHUVIRUWKH6W-XGH&KLOGUHQ¶V5HVHDUFK+RVSLWDO7KHHYHQWVZHUHKRVWHGDWWKH7UXPS

,QWHUQDWLRQDO*ROI&OXELQ:HVWFKHVWHU1HZ<RUNZKLFKLVRZQHGE\DQHQWLW\ZLWKLQ7KH

7UXPS2UJDQL]DWLRQ,WLVXQFOHDUKRZPXFKRI$&1¶VVSRQVRUVKLSGRQDWLRQZDVSDLGRYHUWR

WKH7UXPSFOXE




                                                
    Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 88 of 164






                                                                          




                                                                          




                                   
          Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 89 of 164






                                                                                        

              &            7UXPS-RLQHGWKH$GYLVRU\%RDUGRIWKH68&&(66)RXQGDWLRQDQ$IILOLDWH
                             RISUCCESS from Home MagazineZKLFK3XUSRUWHG7R3URYLGH³7KLUG
                             3DUW\9DOLGDWLRQ´RIWKH$&1%XVLQHVV2SSRUWXQLW\

               2QHRIWKHWRROV$&1SURPRWHGWRLWV,%2VZDVSuccess from Home MagazineD

PRQWKO\PDJD]LQHIRUWKHGLUHFWVHOOLQJLQGXVWU\$&1ZDVIHDWXUHGVHYHUDOWLPHVLQWKH

PDJD]LQHGXULQJWKHSHULRGUHOHYDQWWRWKLV&RPSODLQW²DQG7UXPSZDVIHDWXUHGSURPLQHQWO\LQ

PDQ\RIWKRVHIHDWXUHV$&1HQFRXUDJHG,%2VWREX\FRSLHVRIWKHPDJD]LQHWRXWLQJLWDV³$

9DOXDEOH7KLUG3DUW\9DOLGDWLRQ7RRO´IRULWVEXVLQHVVPRGHODQGWKHGLUHFWVHOOLQJLQGXVWU\

JHQHUDOO\DQGH[KRUWLQJ,%2VWR³SXWRQHLQWKHKDQGVRIHDFKRI\RXUWRSSURVSHFWV´%XWIDU

IURPEHLQJDQLQGHSHQGHQWDQGREMHFWLYHVRXUFHSuccess from Home MagazineZDVDQGLV






  Success from Home Magazine Featuring ACN, $&11(:60$*$=,1(4DWsee
also Home Sweet Home, $&11(:60$*$=,1(4DW


                                                               
          Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 90 of 164




RZQHGE\6XFFHVV3DUWQHUVZKRVHPLVVLRQLVWRSURYLGHSDLGPDUNHWLQJVHUYLFHVIRU0/0

EXVLQHVVHV,QGHHG$&1LVOLVWHGSURPLQHQWO\DVD³FOLHQW´RQ6XFFHVV3DUWQHUV¶ZHEVLWH

               ([DPSOHVRI$&1¶VIHDWXUHVLQSuccess from Home MagazineDERXQG7KH

$SULOHGLWLRQIHDWXUHG$&1¶VIRXQGHUVRQWKHFRYHU$FFRUGLQJWRDQ$&1QHZVOHWWHUWKH

HGLWLRQFRQWDLQHG³SDJHVRIFRPSDQ\LQIRUPDWLRQVXFFHVVVWRULHVDQGDQDUWLFOHE\'RQDOG-

7UXPSRQWKHSRZHURIQHWZRUNPDUNHWLQJ´$&1ZDVDOVRIHDWXUHGLQSuccess from Home

Magazine $SULOLVVXHZKLFK$&1WRXWHGDVLQFOXGLQJ³SDJHDIWHUSDJHRIDOOWKHUHDVRQV

ZK\$&1LV7+(YHKLFOHIRULQGLYLGXDOVWRDFKLHYHWKHLUGUHDPV´DQGEHLQJ³>S@DFNHGZLWK

SDJHVRIVXFFHVVVWRULHVIURP$&1¶VWRSOHDGHUVFRPSOHWHFRPSDQ\KLVWRU\SURGXFWDQG

WUDLQLQJLQIRUPDWLRQDQGYDOLGDWLRQRIWKHGLUHFWVHOOLQJLQGXVWU\IURPEHVWVHOOLQJDXWKRUVDQG

DGYLVRUV´




                                                                                           



   6XFFHVV3DUWQHUV2XU&OLHQWV  DYDLODEOHDWKWWSZZZVXFFHVVSDUWQHUVFRPVHFWLRQ
 ODVWYLVLWHG0D\ 

   Home Sweet Home, $&11(:60$*$=,1(4DW

   A New Day at ACN, $&1LQ$FWLRQ1RUWK$PHULFD )HE DYDLODEOHDW
KWWSVZHEDUFKLYHRUJZHEKWWSZZZDFQLQFRPDFQLQDFWLRQDFWLR
QKWP


                                                               
          Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 91 of 164




               7UXPSILUVWEHFDPHLQYROYHGZLWKWKH68&&(66)RXQGDWLRQLQ0DUFK

GXULQJSURGXFWLRQRIWKHILUVWThe Celebrity Apprentice HSLVRGHIHDWXULQJ$&1$&1FRIRXQGHU

3URYHQ]DQRPDGHWKHLQWURGXFWLRQ$ORQJZLWK3URYHQ]DQR7UXPSMRLQHGWKH68&&(66

)RXQGDWLRQ¶V$GYLVRU\%RDUGZKLFKZDVODXQFKHGWKDWVDPHPRQWK

               7KH68&&(66)RXQGDWLRQSXUSRUWVWREH³DQRQSURILWWKDWSURYLGHVSHUVRQDO

GHYHORSPHQWWRROVIRU\RXWK´7KH)RXQGDWLRQGLVWULEXWHGDSHUVRQDOGHYHORSPHQWERRNFDOOHG

Success for TeensWRKLJKVFKRROVWXGHQWV,QH[SODLQLQJWKHVLJQLILFDQFHRI7UXPSMRLQLQJWKH

$GYLVRU\%RDUG68&&(66)RXQGDWLRQH[HFXWLYHGLUHFWRU-RKQ)OHPLQJVDLG

                             7KHTrump name is a brand in itself7RKDYHWKDWEUDQGDIILOLDWHGZLWK
                             WKH68&&(66)RXQGDWLRQREYLRXVO\JLYHVXVcredibility)RUWKHpublic
                             at largeKHLVsomeone who most people have heard ofDQGZKRVH
                             name is synonymous with achievement7KDWresults inattracting
                             possible donorsZKRDUHORRNLQJIRUDJRRGFDXVHWRGRQDWHWRDQGDQ
                             HDVHLQILQGLQJYHKLFOHVRIGLVWULEXWLRQIRUWKHERRN,QDGGLWLRQLWZLOO
                             KHOSXVJDLQWKHDWWHQWLRQRIWHHQDJHUVZKRPD\EHUHDGHUVRIWKLVERRN
                             :HDWWKHIRXQGDWLRQDUHHFVWDWLFDERXWKLVSDUWLFLSDWLRQ

    HPSKDVLVDGGHG 




                                                                                                  



   6DUDK3DXONThe Trumps of Tomorrow, 68&&(66)520+20(9RO1RDW

   Id.

   Id.


                                                               
          Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 92 of 164




               7UXPS¶VLQYROYHPHQWZLWKWKH68&&(66)RXQGDWLRQLV\HWDQRWKHUH[DPSOHRI

KLPVHOOLQJKLVLPDJHDQGEUDQGWROHQGSXUSRUWHGFUHGLELOLW\WR$&1DQGDOVRLVHPEOHPDWLFRI

KLVPDQ\FORVHWLHVWR$&1DQGLWVFRIRXQGHUV


9,, 7+(75803(17(535,6(¶621*2,1*352027,21$1'(1'256(0(17
      2)$&1

               ,Q$XJXVWMXVWGD\VDIWHUDWall Street JournalUHSRUWHULQWHUYLHZHG7UXPS

DERXWKLVUHODWLRQVKLSZLWK$&1$&1GHOHWHGDOOUHIHUHQFHVWR7UXPSIURPLWVZHEVLWHVWDWLQJ

WKDWLWGLGVR³LQFRQMXQFWLRQDQGZLWKWKHIXOOVXSSRUWRIWKH7UXPSRUJDQL]DWLRQ´EHFDXVHRI

7UXPS¶VSUHVLGHQWLDOFDPSDLJQ

               ,QDQDUWLFOHSXEOLVKHGRQ$XJXVWWKHWall Street Journal UHSRUWHGWKDW

7UXPSKDG³QRWRQO\HQGRUVHG$&1KHWZLFHIHDWXUHGWKHFRPSDQ\RQKLVIRUPHUUHDOLW\79

6KRZµ7KH&HOHEULW\$SSUHQWLFH¶´7KHDUWLFOHTXRWHGVRPHRI7UXPS¶VVWDWHPHQWVSURPRWLQJ

DQGHQGRUVLQJWKH$&1YLGHRSKRQHDQGWKHQUHSRUWHGWKDWLQIDFW DQGFRQWUDU\WR7UXPS¶V

VWDWHPHQWV ³WKH$&1YLGHRSKRQHZDVLQWURXEOH,WVROGSRRUO\LQSDUWEHFDXVHLWRQO\ZRUNHG

ZLWKRWKHU$&1YLGHRSKRQHVXQOLNH6N\SH¶VYLGHRFDOOLQJWHFKQRORJ\´7KHDUWLFOHIXUWKHU

UHSRUWHGWKDW$&1³KDGVODVKHGRUGHUVIRUWKHSKRQHIURPLWVVXSSOLHUZKLFKODLGRIIRILWV

VWDIIMXVWEHIRUHWKHVKRZDLUHGDQGODWHUILOHGWROLTXLGDWHLQIHGHUDOEDQNUXSWF\FRXUW´

&ULWLFDOO\WKHDUWLFOHUHSRUWHGWKDW³>W@KHEDGQHZVDERXWWKHSKRQHVZDVQHYHUPHQWLRQHGE\0U

7UXPSRQWKHVKRZQRUGLGKHGLVFORVHWRYLHZHUVKHKDGEHHQSDLGE\$&1IRUDSSHDUDQFHV

RYHUWKH\HDUV´




     -DPHV9*ULPDOGLDQG0DUN0DUHPRQWDonald Trump Made Millions from Multilevel
Marketing Firm7+(:$//675((7-2851$/$XJDYDLODEOHDW
KWWSVZZZZVMFRPDUWLFOHVWUXPSPDGHPLOOLRQVIURPPXOWLOHYHOPDUNHWLQJILUP


   Id.


                                                               
          Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 93 of 164




               7KHDUWLFOHUHFRJQL]HGWKDW7UXPS¶VSURPRWLRQDQGHQGRUVHPHQWRI$&1SRVHGD

WKUHDWWRKLVSUHVLGHQWLDOFDPSDLJQ³0U7UXPSZKRFXUUHQWO\OHDGVWKHILHOGRI5HSXEOLFDQ

FDQGLGDWHVIRUSUHVLGHQWELOOVKLPVHOIRQWKHFDPSDLJQWUDLODVDVWUDLJKWWDONHUDQGVD\VKHZLOO

XVHKLVEXVLQHVVVDYY\WRVROYH$PHULFD¶VSUREOHPV´

               5HFRJQL]LQJWKLVWKUHDW7UXPSDWWHPSWHGWRGLVWDQFHKLPVHOIIURP$&1+H

VWDWHG IDOVHO\ ³,GRQRWNQRZWKHFRPSDQ\,NQRZQRWKLQJDERXWWKHFRPSDQ\RWKHUWKDQWKH

SHRSOHZKRUXQWKHFRPSDQ\,¶PQRWIDPLOLDUZLWKZKDWWKH\GRRUKRZWKH\JRDERXWGRLQJ

WKDWDQG,PDNHWKDWFOHDULQP\VSHHFKHV´

               1RWZLWKVWDQGLQJ7UXPS¶VSXUSRUWHGGLVVRFLDWLRQIURP$&1LQ$XJXVW

QXPHURXVYLGHRVUHPDLQRQ<RX7XEHDQGRWKHUVWUHDPLQJVHUYLFHVZLWKIRRWDJHRI7UXPS¶V

HQGRUVHPHQWRI$&1LQFOXGLQJLQ$&1¶VDSSHDUDQFHVRQTheCelebrity Apprentice7KHVH

YLGHRVKDYHFRQWLQXHGWRLQGXFHSHRSOHWRVLJQXSWR$&1DIWHU7UXPSSXUSRUWHGO\HQGHGKLV

HQGRUVHPHQW

               0RUHRYHUGHVSLWHWKHFODLPHGVHSDUDWLRQEHWZHHQ'HIHQGDQWVDQG$&1WKH

ILQDQFLDOWLHVEHWZHHQ$&1DQGWKHLQGLYLGXDOVZLWKWLHVWRWKH7UXPS(QWHUSULVHKDYHUHPDLQHG

)RUH[DPSOHLQ6HSWHPEHU$&1VSRQVRUHGDKROHDWWKHDQQXDOJROIWRXUQDPHQWIRUWKH

(ULF7UXPS)RXQGDWLRQ QRZNQRZQDV&XUHWLYLW\ 

               ,QDGGLWLRQRQ$XJXVW$&1KHOGLWV6HYHQWK$QQXDO5RQDOG0F'RQDOG

+RXVH&HOHEULW\*ROI7RXUQDPHQWDW7UXPS1DWLRQDO*ROI&OXELQ0RRUHVYLOOH

1&3KRWRJUDSKVRIWKHHYHQWFRQILUPWKHWLPLQJDQGORFDWLRQ




  Id.

  'DQ$OH[DQGHUEric Trump’s Old Foundation Apparently Held Secret Event at Trump-Owned
Golf Club)25%(66HSDYDLODEOHDW
KWWSVZZZIRUEHVFRPVLWHVGDQDOH[DQGHUHULFWUXPSVROGIRXQGDWLRQDSSDUHQWO\
KHOGVHFUHWHYHQWDWWUXPSRZQHGJROIFOXEHH


                                                               
    Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 94 of 164






                                                                    




                                                                    



                                   
          Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 95 of 164




9,,, 7+(75803(17(535,6(¶6)5$8'8/(17352027,21$1'
       (1'256(0(172)7+(758031(7:25.

               $IHZ\HDUVDIWHUWKHEHJLQQLQJRILWVUHODWLRQVKLSZLWK$&1WKH7UXPS

(QWHUSULVHVRXJKWWRGHHSHQLWVLQYROYHPHQWLQWKH0/0LQGXVWU\,Q'HIHQGDQWVHQWHUHG

LQWRDOLFHQVLQJDJUHHPHQWZLWK,GHDO+HDOWKDQRWKHU0/0$VSDUWRIWKHDJUHHPHQW,GHDO

+HDOWKZDVRIILFLDOO\UHEUDQGHG³7KH7UXPS1HWZRUN´7KH7UXPS1HWZRUNGHDOUHIOHFWHGWKH

'HIHQGDQW¶VDWWHPSWWRFDSLWDOL]HRQZKDWWKH\KDGOHDUQHGIURPWKHLUUHODWLRQVKLSZLWK$&1

WKDWRZQHUVRI0/0VFRXOGUHDSHQRUPRXVSURILWVIXHOHGE\ZLGHVSUHDGORVVHVDWWKHH[SHQVHRI

DYHUDJHLQYHVWRUV¶LQLWLDOLQYHVWPHQWV:LWKWKHSURPLVHRIVXFKULFKHV7UXPSDJUHHGWR

SURPRWHDQGHQGRUVH7KH7UXPS1HWZRUNLQH[FKDQJHIRUUR\DOW\SD\PHQWVDVZHOODV

DGGLWLRQDOIHHVFRQWLQJHQWXSRQRQJRLQJSURPRWLRQDODFWLYLWLHV7KXVLQWKH7UXPS1HWZRUN

GHDO'HIHQGDQWVJDYHHYHQPRUHDFFHVVWRXVHWKH7UXPSEUDQGWKDQKDGEHHQDJUHHGXSRQZLWK

$&1LQH[FKDQJHIRUDJUHDWHUVKDUHRIWKHXSVLGH

               )URPXQWLO'HFHPEHUWKH7UXPS(QWHUSULVHUHFHLYHGVHFUHWSD\PHQWV

WRHQGRUVHDQGSURPRWHWKH7UXPS1HWZRUN$VWKH\KDGGRQHUHSHDWHGO\ZLWK$&1

'HIHQGDQWVDFWLQJWKURXJKWKH7UXPS(QWHUSULVHPDGHRUGLVVHPLQDWHGDVHULHVRINQRZLQJO\

IDOVHVWDWHPHQWV  WKDWSURVSHFWLYHLQYHVWRUVZRXOGKDYHDUHDVRQDEOHSUREDELOLW\RI

FRPPHUFLDOVXFFHVVLIWKH\ERXJKWLQWRWKH 7UXPS1HWZRUN  WKDW7UXPSZDVSURPRWLQJDQG

HQGRUVLQJWKH7UXPS1HWZRUNEHFDXVHKHEHOLHYHGWKDWWKH\RIIHUHGDUHDVRQDEOHSUREDELOLW\RI

FRPPHUFLDOVXFFHVV UDWKHUWKDQEHFDXVHWKH7UXPS(QWHUSULVHZDVEHLQJSDLG DQG  WKDW

7UXPS¶VHQGRUVHPHQWZDVSUHGLFDWHGRQ'HIHQGDQWV¶H[WHQVLYHGXHGLOLJHQFHLQVLGH

LQIRUPDWLRQDQGSHUVRQDOH[SHULHQFHZLWKWKH7UXPS1HWZRUN$QGDVZLWK$&1WKHXVHRIWKH



  See$GDP)HXHUVWHLQDQG'DPLDQ*DUGHDonald Trump and the Vitamin Company that Went
Bust67$71(:61RYDYDLODEOHDWKWWSVZZZVWDWQHZVFRPGRQDOG
WUXPSYLWDPLQFRPSDQ\


                                                               
          Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 96 of 164




7UXPSEUDQGDPSOLILHG7UXPS¶VIUDXGXOHQWPHVVDJHDQGHQFRXUDJHGSRWHQWLDOLQYHVWRUVWRWDNHLW

VHULRXVO\


              $            ,GHDO+HDOWK%DFNJURXQG '61&/LFHQVLQJ'HDO

               ,GHDO+HDOWK,QFZDVIRXQGHGLQE\/RX'H&DSULRDQGEURWKHUV6FRWWDQG

7RGG6WDQZRRG)URPLWVLQFHSWLRQWKHFRPSDQ\VROGGLHWDU\VXSSOHPHQWVKHDOWKUHODWHG

SURGXFWVDQGFXVWRPL]HGYLWDPLQVDVSDUWRIDQ0/0EXVLQHVVPRGHO

               %HWZHHQDQGDWOHDVWWZHQW\GLIIHUHQWFRPSODLQWVZHUHVXEPLWWHGWR

WKH)HGHUDO7UDGH&RPPLVVLRQ ³)7&´ E\ERWKVDOHVSHRSOHDQGFXVWRPHUVRI,GHDO+HDOWK

DFFRUGLQJWR)7&UHFRUGV&RPSODLQWVIURP,GHDO+HDOWKVDOHVSHRSOHVWDWHGWKDWWKH\KDG

LQYHVWHGWKRXVDQGVRIGROODUVLQWKHFRPSDQ\DQGKDGUHFHLYHGQRUHWXUQVRQWKHZRUNRU

LQYHVWPHQW,QDGGLWLRQFXVWRPHUVRIWKHFRPSDQ\VXEPLWWHGFRPSODLQWVVWDWLQJWKDWWKHYLWDPLQ

VXSSOHPHQWVVROGE\WKHFRPSDQ\KDGFDXVHGLOOQHVVHVDQGWKDW,GHDO+HDOWKKDGUHIXVHGWKHLU

UHTXHVWVWRFDQFHOWKHLUVXEVFULSWLRQVDQGFRQWLQXHGFKDUJLQJIRUWKHYLWDPLQV

               ,Q,GHDO+HDOWKZDVXQGHUFDSLWDOL]HGDQGORRNLQJIRUDVWUDWHJLFSDUWQHUVKLS

WKDWFRXOGKHOSJURZEUDQGUHFRJQLWLRQDQGH[SDQGLWVH[LVWLQJQHWZRUNRIVDOHVUHSUHVHQWDWLYHV

,QHDUO\WKH6WDQZRRGEURWKHUVDQG'H&DSULRZHUHLQWURGXFHGWR7UXPSWRGLVFXVVD

SRVVLEOHSDUWQHUVKLS

               ,Q-DQXDU\³771//&´²771PD\VWDQGIRU7KH7UXPS1HWZRUN²ZDV

UHJLVWHUHGLQWKHVWDWHRI'HODZDUH&RUSRUDWHUHFRUGVVKRZWKDWWKHFRPSDQ\SODQQHGWR

³HQJDJHLQWKHPDUNHWLQJVHOOLQJDQGGLVWULEXWLQJRIKHDOWKDQGZHOOQHVVSURGXFWV´6FRWWDQG



   )HGHUDO7UDGH&RPPLVVLRQ$XJ)UHHGRPRI,QIRUPDWLRQ$FW5HTXHVW5HVSRQVH
&RQVXPHU&RPSODLQWVWR)HGHUDO7UDGH&RPPLVVLRQ )7& 

   771//&)RUHLJQ/LPLWHG/LDELOLW\&RPSDQ\$SSOLFDWLRQIRU5HJLVWUDWLRQ7KH
&RPPRQZHDOWKRI0DVVDFKXVHWWV6HFUHWDU\RIWKH&RPPRQZHDOWK&RUSRUDWLRQV'LYLVLRQ -DQ
 


                                                               
          Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 97 of 164




7RGG6WDQZRRGDVZHOODV'H&DSULRZHUHOLVWHGDVWKHFRPSDQ\¶VPDQDJHUV6KRUWO\DIWHU

771//&¶VIRUPDWLRQ,GHDO+HDOWKDJUHHGWR³FRQGXFWLWVEXVLQHVVH[FOXVLYHO\´WKURXJK771

//&HVVHQWLDOO\PHUJLQJWKHFRUSRUDWHDFWLYLWLHVZLWKWKHQHZEXVLQHVVHQWLW\

               2Q0DUFK771//&HQWHUHGLQWRDOLFHQVLQJDJUHHPHQWZLWK'61

/LFHQVLQJ//&DPHPEHURIWKH7UXPS(QWHUSULVH$FFRUGLQJWRFRXUWUHFRUGV,GHDO+HDOWK

,QFFUHDWHG771//&DVDZKROO\RZQHGVXEVLGLDU\IRUWKHVSHFLILFSXUSRVHVRILWVOLFHQVLQJ

DJUHHPHQWZLWK'61/LFHQVLQJ//&

               7KHLQLWLDODJUHHPHQWEHWZHHQ'61/LFHQVLQJ//&DQG,GHDO+HDOWKVWDWHGWKDW

³,GHDO>+HDOWK@ZRXOGOLFHQVHYDULRXVWUDGHPDUNVSULQFLSDOO\RZQHGE\DQGWKHOLNHQHVVRI0U

7UXPSWRXWLOL]HLQ>,GHDO+HDOWK¶V@GLUHFWPDUNHWLQJHIIRUWV´,QDGGLWLRQ7UXPSDJUHHG

³SHUVRQDOO\WRSURPRWHDQGVXSSRUW7KH7UXPS1HWZRUNLQFOXGLQJZLWKRXWOLPLWDWLRQWRDSSHDU

SHUVRQDOO\DWDQXPEHURI&RPSDQ\HYHQWVHDFK\HDUDQGWRDSSHDURQWKH&RPSDQ\¶VPDUNHWLQJ

DQGSURPRWLRQDOYLGHRVDQGRWKHUPDWHULDOV´

               6KRUWO\DIWHUWKHGHDODVHQLRUDGYLVRUDQG³7RS5DQN´UHSUHVHQWDWLYHDW$&1

0DUW\+DOHZDVEURXJKWRQERDUGDWWKH7UXPS1HWZRUNDV&KLHI6WUDWHJLVWWRKHOSUHGHVLJQWKH

FRPSHQVDWLRQSODQDQGHQVXUHVRPHRIWKHVDPHVXFFHVVWKDW7UXPSKDGH[SHULHQFHGZLWK$&1


              %            %DFNJURXQGRQ7KH7UXPS1HWZRUN

               7KH7UXPS1HWZRUNDVWKHQHZYHQWXUHZDVQDPHGZDVDQ0/0WKDWSXUSRUWHG

WRVHOODQDUUD\RIGLHWVXSSOHPHQWVDQGPXOWLYLWDPLQV$VLVW\SLFDOZLWK0/0V7KH7UXPS

1HWZRUNUHOLHGRQSDUWLFLSDQWVWRVHOOWKHSURGXFWVSHUVRQWRSHUVRQDQGWRUHFUXLWRWKHUVWRGR




   Ideal Health, Inc. et alYDean Blechman1RFY'-&&RPSO

   Id.

   Id. DW

    Id.


                                                               
          Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 98 of 164




WKHVDPH(DFKDGGLWLRQDOVDOHVSHUVRQWKDWVRPHRQHUHFUXLWHGWR7KH7UXPS1HWZRUNZRXOG

EHFRPHDPHPEHURIWKHUHFUXLWHU¶V³GRZQOLQH´VDOHVWHDP7KHLQFHQWLYHWRFRQWLQXHWREXLOG

RXWRQH¶VRZQ³GRZQOLQH´VDOHVWHDPZDVLQKHUHQWLQWKHVWUXFWXUHRIWKHVFKHPHIRUHDFK

FRPPLVVLRQRI7KH7UXPS1HWZRUNSURGXFWVVROGDSHUFHQWDJHRIWKDWFRPPLVVLRQZRXOGSDVV

WRHDFK³XSOLQH´UHFUXLWHUZLWKWKHLQGLYLGXDOVDWWKHWRSRIWKHS\UDPLGHDUQLQJWKHJUHDWHVW

LQFRPH7KRVHVDOHVSHRSOHWKHQLQWXUQZRXOGUHFUXLWDGGLWLRQDOSHRSOHWREHFRPHSDUWRIWKHLU

RZQGRZQOLQHVDOHVWHDPDQGVRRQZLWKHDFKDGGLWLRQDOVDOHVSHUVRQXQGHUWDNLQJWRUHVHOO7KH

7UXPS1HWZRUNSURGXFWVDQGDSHUFHQWDJHRIHDFKVDOHIXQQHOLQJDOOWKHZD\XSWKHS\UDPLG

               %HFRPLQJD7UXPS1HWZRUNVDOHVSHUVRQKRZHYHUZDVFRVWO\%HJLQQHUVDOHV

UHSUHVHQWDWLYHVZHUHWROGWREX\DVWDUWHUNLWRISURGXFWVFRVWLQJQHDUO\DQGHQFRXUDJHG

WRDWWHQGH[SHQVLYHVHPLQDUV,QRUGHUWRMRLQDWWKH³)DVW6WDUW*ROG´OHYHODPDUNHWHUFRXOG

VSHQGDERXWMXVWWRSXUFKDVHDNLWRIVDPSOHSURGXFWVHYHQEHIRUHSD\LQJWRDWWHQGD

VHPLQDURUSXUFKDVLQJDGGLWLRQDOVXSSOLHV


              &            7UXPS3URPRWHGDQG(QGRUVHGWKH7UXPS1HWZRUNZLWKD:LGHO\
                             'LVWULEXWHGDQG3HUYDVLYH0HVVDJH

               6KRUWO\DIWHU'61/LFHQVLQJ//&HQWHUHGDQDJUHHPHQWZLWKWKH7UXPS

1HWZRUN7UXPSZLGHO\GLVVHPLQDWHGIDOVHVWDWHPHQWVSURPRWLQJDQGHQGRUVLQJWKH7UXPS

1HWZRUN7UXPS¶VIDOVHVWDWHPHQWVZHUHGLVWULEXWHGWKURXJKYDULRXVFKDQQHOVLQFOXGLQJ

WHOHYLVLRQLQIRPHUFLDOVQHZVRXWOHWVSULQWHGSURPRWLRQDODQGHGLWRULDOPDWHULDODQGLQSHUVRQ

SURPRWLRQDOHYHQWV



    -XOLDQQD*ROGPDQDQG/DXUD6WULFNOHUBehind the collapse of the "recession-proof" Trump
Network&%61(:6 $SU DYDLODEOHDWKWWSVZZZFEVQHZVFRPQHZVGRQDOG
WUXPSQHWZRUNFEVQHZVLQYHVWLJDWLRQVXSSOHPHQWVPXOWLOHYHOPDUNHWLQJ

    -HVVLFD3UHVVOHUIf I Can’t Trust Donald Trump, Who Can I Trust? The Donald Has a New
Scheme. Seller Beware1(:<25.0$*$=,1( -DQ 
KWWSQ\PDJFRPQ\PDJIHDWXUHVLQGH[KWPOSULQW


                                                               
          Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 99 of 164






                                                                                             
               First7UXPSIHDWXUHGSURPLQHQWO\LQLQIRPHUFLDOVSURPRWLQJ7KH7UXPS

1HWZRUNEHJLQQLQJZLWKDLQIRPHUFLDODQQRXQFLQJ7KH7UXPS1HWZRUN¶VRIILFLDO

ODXQFK7KHLQIRPHUFLDOVLPXODWHGDWHOHYLVLRQWDONVKRZLQZKLFKDKRVWLQWHUYLHZHG7UXPS

DERXWKLVWKRXJKWVRQ7KH7UXPS1HWZRUNWRIUHTXHQWDSSODXVHIURPDFWRUVSRUWUD\LQJDQ

H[FLWHGVWXGLRDXGLHQFH

               Second, 7UXPSWRRNDGYDQWDJHRIRSSRUWXQLWLHVWRGLVVHPLQDWHIDOVHVWDWHPHQWV

DERXW7KH7UXPS1HWZRUNWKURXJKQHZVRXWOHWV)RUH[DPSOHLQ'HFHPEHURIKHLVVXHGD

SUHVVUHOHDVHDQQRXQFLQJWKDWIRUPHUFRQWHVWDQWVIURPThe Apprentice ZRXOGEHMRLQLQJ7KH






  7KH7UXPS1HWZRUN³'RQDOG7UXPSDQG,GHDO+HDOWK7HDP8S´DYDLODEOHRQ7KH7UXPS
1HWZRUN<RXWXEHFKDQQHOKWWSVZZZ\RXWXEHFRPZDWFK"Y I.$K2R)M


                                                               
         Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 100 of 164




7UXPS1HWZRUN7KHVDPHPRQWK7UXPSDOVRGLVFXVVHGWKHVWUHQJWKRI7KH7UXPS1HWZRUN

EXVLQHVVPRGHOZLWKUHSRUWHUVIURPWKH%RVWRQ*OREHDPRQJRWKHUV

               Third, 7UXPS¶VIDOVHVWDWHPHQWVWRXWLQJWKH0HVVDJHGHVFULEHGPRUHIXOO\EHORZ

DSSHDUHGLQQXPHURXVSULQWHGSURPRWLRQDOPDWHULDOVRI7KH7UXPS1HWZRUNDVZHOODVGR]HQV

RILQWHUYLHZVZLWKUHSRUWHUVDERXWWKH7UXPS1HWZRUNEXVLQHVVRSSRUWXQLW\0RUHRYHUEHWZHHQ

WKH\HDUVRIDQGIRUH[DPSOHDWOHDVWWZRGLIIHUHQWOHWWHUVDGGUHVVHGWRSRWHQWLDO

7UXPS1HWZRUNLQYHVWRUVRUPDUNHWHUVDQGVLJQHGE\7UXPSSHUVRQDOO\ZHUHSRVWHGWR7KH

7UXPS1HWZRUNZHEVLWH






    NBC’s The Apprentice Leads Candidates to The Trump Network351HZVZLUH7UXPS
1HWZRUN 'HF KWWSELRFHXWLFDFRPSGI3UHVV5HOHDVHSGI

    (ULQ$LOZRUWKFirm’s New Moniker May be its Trump Card: After Partnering with the
Donald, the Former Ideal Health Takes Off%26721*/2%('HFDYDLODEOHDW
KWWSDUFKLYHERVWRQFRPEXVLQHVVDUWLFOHVILUPVBQHZBPRQLNHUBPD\BEHBLWVBWUXPSB
FDUG

    -XOLDQQD*ROGPDQDQG/DXUD6WULFNOHUTrump’s Failed Venture: Vitamin Business Fails After
Get Rich Quick Pledge&%61HZV,QYHVWLJDWLRQ&%67+,60251,1*$SUDW
DYDLODEOHDWKWWSVZZZFEVQHZVFRPQHZVGRQDOGWUXPSQHWZRUNFEVQHZVLQYHVWLJDWLRQ
VXSSOHPHQWVPXOWLOHYHOPDUNHWLQJ&%67KLV0RUQLQJ,QYHVWLJDWLRQ $SU DYDLODEOH
DWKWWSVZZZ\RXWXEHFRPZDWFK"Y RS$J%PF4NZsee also7LP0XUSK\The Trump Files:
The Saga of Donald Trump’s Short-Lived Weight-Loss Program027+(5-21(62FW
DYDLODEOHDWKWWSVZZZPRWKHUMRQHVFRPSROLWLFVWUXPSILOHVZHLJKWORVVVQD]]OH
VQD[[V


                                                               
         Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 101 of 164






                                                                                              
               Fourth7UXPSDSSHDUHGDVWKHNH\QRWHVSHDNHUDWVHYHUDOLQSHUVRQSURPRWLRQDO

HYHQWVIRU7KH7UXPS1HWZRUN)RUH[DPSOH7UXPSVSRNHDWWKH7UXPS1HWZRUNODXQFK

LQ0LDPL)ORULGDKHUDOGLQJWKHODXQFKRI7KH7UXPS1HWZRUNWRDURRPRIVHYHUDOWKRXVDQG

SHRSOH³>7KH7UXPS1HWZRUN@LVQRWDORQJVKRW´KHSURFODLPHG³7KLVLVJRLQJWREH

VRPHWKLQJWKDW¶VUHDOO\DPD]LQJ´



   'RQDOG7UXPSVSHHFK7UXPS1HWZRUN&RQIHUHQFH0LDPL)ORULGD  <RXWXEH
KWWSVZZZ\RXWXEHFRPZDWFK"WLPHBFRQWLQXH  Y ;\5(01MU$see also,DQ7XWWOHAdd


                                                               
         Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 102 of 164






                                                                                         




                                                                                         

              '          7UXPS)DOVHO\5HSUHVHQWHG7KDW&RQVXPHUV+DGD5HDVRQDEOH3UREDELOLW\
                           RI&RPPHUFLDO6XFFHVVLQ7KH7UXPS1HWZRUN

               7KURXJKRXWWKHUHOHYDQWSHULRG7UXPSIUHTXHQWO\PLVUHSUHVHQWHGWKHQDWXUHRI

7KH7UXPS1HWZRUN¶VEXVLQHVVPRGHODQGRIIHUHGIDOVHDQGPLVOHDGLQJSURPLVHVRIVXFFHVV

7UXPS¶VVWDWHPHQWVSURPRWLQJ7KH7UXPS1HWZRUNDQGKLVGHSLFWLRQLQFRXQWOHVVSURPRWLRQDO

PDWHULDOVZHUHLQWHQWLRQDOO\FDOFXODWHGWRJLYHWKHIDOVHLPSUHVVLRQWKDW7KH7UXPS1HWZRUN





Another Yuuge Failure to Trump’s Pile: The Trump Network1$7,21$/5(9,(:0DU
DYDLODEOHDWKWWSVZZZQDWLRQDOUHYLHZFRPGRQDOGWUXPSQHWZRUNVIDLOXUHKDUPHG
VPDOOLQYHVWRUV


                                                               
         Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 103 of 164




,QYHVWPHQWRSSRUWXQLW\RIIHUHGDUHDVRQDEOHSUREDELOLW\RIFRPPHUFLDOVXFFHVVIRUWKRVHZKR

LQYHVWHGLQLW




                                                                                                
               7UXPSPDGHUHSHDWHGVWDWHPHQWVFDOFXODWHGWRFDXVHWKHOLVWHQHUWREHOLHYHWKDW

LQYHVWLQJLQ7KH7UXPS1HWZRUNZDVDVRXQGILQDQFLDOGHFLVLRQWKDWLWZDVZLWKRXWULVNDQG

WKDWLWZRXOGSURYLGHVXIILFLHQWUHWXUQWRVDYHWKHPIURPWKHWKUHDWRIILQDQFLDOUXLQLQWKHZDNH

RIWKHUHFHVVLRQ)URPXQWLO7UXPSWUDYHOHGDURXQGWKHFRXQWU\SURPRWLQJ7KH

7UXPS1HWZRUNDQGSURPLVLQJSHRSOHWKDWLWZDVDVDIHLQYHVWPHQW'XULQJKLVLQSHUVRQ

DSSHDUDQFHV7UXPSVSRNHWRODUJHFURZGVDQGHQWKXVLDVWLFDOO\JDYH7KH7UXPS1HWZRUN

VFKHPHKLVSHUVRQDOVWDPSRIDSSURYDOUHIHUHQFLQJKLVRZQWUDFNUHFRUGRIVXFFHVV



    &%67KLV0RUQLQJ,QYHVWLJDWLRQ $SU DYDLODEOHDW
KWWSVZZZ\RXWXEHFRPZDWFK"Y RS$J%PF4NZDW

    'RQDOG7UXPSVSHHFK7UXPS1HWZRUN&RQIHUHQFH0LDPL)ORULGD  <RXWXEH
KWWSVZZZ\RXWXEHFRPZDWFK"WLPHBFRQWLQXH  Y ;\5(01MU$see also,DQ7XWWOHAdd
Another Yuuge Failure to Trump’s Pile: The Trump Network1$7,21$/5(9,(:0DU


                                                               
         Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 104 of 164




               ,QDLQIRPHUFLDOKHUDOGLQJWKHODXQFKRI7KH7UXPS1HWZRUN7UXPS

VSHFLILFDOO\WDUJHWHGYXOQHUDEOHLQGLYLGXDOVVXIIHULQJIURPWKHHIIHFWVRIWKHHFRQRPLFUHFHVVLRQ

³7KH7UXPS1HWZRUNZDQWVWRJLYHPLOOLRQVRISHRSOHUHQHZHGKRSHDQGZLWKan exciting plan

to opt-out of the recession´KHVDLG³,KRSH\RX¶UHJRLQJWRMRLQXV´ HPSKDVLVDGGHG 




                                                                                           

               6LPLODUO\LQDQRSHQOHWWHUWRSRWHQWLDOLQYHVWRUVVLJQHGE\7UXPSSHUVRQDOO\DQG

SRVWHGRQWKH7UXPS1HWZRUNZHEVLWHLQRUDURXQG'RQDOG7UXPSZURWH³7KH7UXPS

1HWZRUNFDQSURYLGH\RXZLWKDVROXWLRQWRKHOS\RXDQG\RXUIDPLO\FUHDWHDPRUHVHFXUH

IXWXUH'LYHUVLI\LQJLVDZD\WRSURWHFW\RXULQFRPHVRWKDW\RXFDQFRQWLQXHWRGRZKDW\RX

NQRZDQGORYHDQGVWLOOPDNHPRQH\´

               $QGDWDDSSHDUDQFHLQ0LDPL)ORULGDIRUWKHRIILFLDOODXQFKRIWKH7UXPS

1HWZRUN7UXPSPDGHVLPLODUVWDWHPHQWVH[WROOLQJWKHFRPPHUFLDOSURVSHFWVIRUWKRVHZKR

LQYHVWHGLQ7KH7UXPS1HWZRUN³:KHQ,GLGµ7KH$SSUHQWLFH¶LWZDVDORQJVKRWThis is not a





DYDLODEOHDWKWWSVZZZQDWLRQDOUHYLHZFRPGRQDOGWUXPSQHWZRUNVIDLOXUHKDUPHG
VPDOOLQYHVWRUV

    7KH7UXPS1HWZRUN³'RQDOG7UXPSDQG,GHDO+HDOWK7HDP8S´DYDLODEOHRQ7KH7UXPS
1HWZRUN<RXWXEHFKDQQHOKWWSVZZZ\RXWXEHFRPZDWFK"Y I.$K2R)M


                                                               
         Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 105 of 164




long shotThis is going to be something that’s really amazing . . . . We are going to be the

biggest in the industry´ HPSKDVLVDGGHG 

               7UXPSDOVRPDGHPLVUHSUHVHQWDWLRQVDERXWWKHSURGXFWVWKDW7KH7UXPS1HWZRUN

VDOHVUHSUHVHQWDWLYHVVROG

               )RUH[DPSOHLQDQRSHQOHWWHUSRVWHGRQWKH7UXPS1HWZRUNZHEVLWHWLWOHG³$

3HUVRQDO/HWWHUIURP'RQDOG-7UXPS´DQGFRQWDLQLQJ'RQDOG7UXPS¶VSHUVRQDOVLJQDWXUHDWWKH

ERWWRP7UXPSZURWHWKDWWKH³7UXPS1HWZRUNZRUNVZLWKVRPHRIWKHbest nutritionists

scientistsDQGtechnologists>DQG@DVDUHVXOWourSURGXFWVDUHleaders in their categories²

GHVLJQHGWRKHOSLPSURYH\RXUKHDOWKDQGZHOOQHVVSXWWLQJ\RXRQDSDWKWRWKHOLIHVW\OH\RX¶YH

DOZD\VZDQWHG´ HPSKDVHVDGGHG 




                                                                                       


      Id.

      ³$3HUVRQDO/HWWHUIURP'RQDOG-7UXPS´7UXPS1HWZRUNZHEVLWH


                                                               
         Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 106 of 164




               $IHZ\HDUVODWHUKRZHYHUZKHQTXHVWLRQHGDERXWUHSRUWVWKDW7KH7UXPS

1HWZRUNSURGXFWVZHUHLQHIIHFWLYHDQGEDVHGRQIODZHGRUQRQH[LVWHQWVFLHQFH7UXPS

UHSUHVHQWDWLYHVWROGUHSRUWHUVWKDW7UXPSZDVQHYHUSHUVRQDOO\LQYROYHGLQWKHFUHDWLRQRI7KH

7UXPS1HWZRUN¶VSURGXFWVDQGWKDWKHGLGQRWJXDUDQWHHWKHLUHIIHFWLYHQHVV7UXPSGLGQRW

RZQWKHFRPSDQ\RUPDNHWKHSURGXFWVDQDWWRUQH\VSHDNLQJRQ7UXPS¶VEHKDOIFODLPHG

               7UXPSHQFRXUDJHGLQYHVWRUVWRUHO\RQKLVVWDWHPHQWVE\HPSKDVL]LQJKLVUHFRUG

RIVXFFHVVLQEXVLQHVVDQGDVVXULQJSURVSHFWLYHUHFUXLWVWKDWKLVSDVWDFKLHYHPHQWVDVVXUHGWKHLU

VXFFHVV

               ,QDLQWHUYLHZZLWKWKHBoston GlobeIRUH[DPSOH7UXPSVDLGWKDW³7KH

7UXPS1HWZRUNKDVDELJDGYDQWDJHRYHURWKHUQHWZRUNPDUNHWLQJFRQFHUQVEHFDXVHRIWKHIDFW

WKDW,DPVRZHOONQRZQ´+HFRQWLQXHG³,WLVYHU\LPSRUWDQWIRUPHWREHDVVRFLDWHGZLWK

VXFFHVV>VR@LW¶VYHU\LPSRUWDQWIRUPHWKDWWKH7UXPS1HWZRUNEHDELJVXFFHVV´

               $VZLWK$&1WKHIDFWWKDWWKH7UXPS(QWHUSULVHKDGVROGWKH7UXPS1HWZRUND

OLFHQVHWRXVHWKH7UXPSEUDQGGUDPDWLFDOO\LQFUHDVHGWKHLPSDFWRI7UXPS¶VIDOVHDQG

PLVOHDGLQJVWDWHPHQWV)RUH[DPSOHLQDLQWHUYLHZZLWKNew York MagazineZKHQDVNHG

DERXWKLVGHFLVLRQWRSDUWQHUZLWK7UXPS'H&DSULRH[SODLQHGWKHFULWLFDOLPSRUWDQFHRIKDYLQJ

WKH7UXPSHQGRUVHPHQWLQJHWWLQJSHRSOHWRLQYHVW³:KHQ\RXWKLQNRI'RQDOG7UXPSDVD






     &%67KLV0RUQLQJ,QYHVWLJDWLRQ $SU DYDLODEOHDW
KWWSVZZZ\RXWXEHFRPZDWFK"Y RS$J%PF4NZ

     Id.

    (ULQ$LOZRUWKFirm’s New Moniker May be its Trump Card: After Partnering with the
Donald, the Former Ideal Health Takes Off%26721*/2%('HFDYDLODEOHDW
KWWSDUFKLYHERVWRQFRPEXVLQHVVDUWLFOHVILUPVBQHZBPRQLNHUBPD\BEHBLWVBWUXPSB
FDUG

     Id.


                                                               
         Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 107 of 164




EUDQGZKDWGR\RXWKLQNRI"3UHVWLJHSURGXFWVEHVWLQFODVVUHDOO\EHLQJVXFFHVVIXO´

'H&DSULRZHQWRQWRQRWHWKDW³>Q@RPDWWHUZKDWKDSSHQV>7UXPS@FDQFRPHEDFNRXWRIWKH

JURXQGOLNHDSKRHQL[DQGJHWULJKWEDFNRQWRSDJDLQ+HUHSUHVHQWVHQWUHSUHQHXULDOLVPIRUWKLV

FRXQWU\+HUHSUHVHQWVsuccess.´

               ,QRQH7UXPS1HWZRUNLQIRPHUFLDODPDQH[SODLQVWKDWKHOHIWD³VL[ILJXUHMRE´

WRMRLQ7UXPS¶VQHZEXVLQHVVZKHQKH³UHDOL]HGKRZKXJHWKLVLVJRQQDEH´$QRWKHUPDQ

VDLGWKDWZKHQKHOHDUQHGWKDW7UXPSZDVVWDUWLQJKLVRZQFRPSDQ\³>L@W>ZDV@DQREUDLQHU´

+HFRQWLQXHGH[SODLQLQJWKDW7UXPS¶VLQYROYHPHQW³EULQJVVRPXFKWRWKHLQGXVWU\,WEULQJV

FUHGLELOLW\LWEULQJVXVWRDQHZOHYHOEHFDXVHHYHU\RQHUHFRJQL]HVDQGWUXVWVWKDW7UXPSEUDQG

QDPHDQGVRZKHQZHWDONEXVLQHVV7UXPSPHDQVEXVLQHVV´

               7UXPS¶VVWDWHPHQWV²DQGWKHXVHRIWKH7UXPSEUDQG²KDGWKHGHVLUHGHIIHFW

9XOQHUDEOHFRQVXPHUVUHOLHGRQKLVDVVXUDQFHVWKH\EHOLHYHGKLPZKHQKHSURPLVHGWKDWWKH

7UXPS1HWZRUNZDVDORZULVNZD\WRHVFDSHWKHILQDQFLDOLPSDFWVRIWKH5HFHVVLRQDQGWKDWLI

SHRSOHZRUNHGKDUGHQRXJKWKH\ZRXOGPDNHDJRRGUHWXUQ

               )RUH[DPSOH(LOHHQDQG*HRUJH.HOOH\WZR)ORULGDUHVLGHQWVDQGUHWLUHGFROOHJH

SURIHVVRUVVSRNHDERXWWKHLUH[SHULHQFHZLWKWKH7UXPS1HWZRUNLQD&%6LQYHVWLJDWLYH

UHSRUW³7KH\ZHUHVRZLQJKRSHWKHUHWRDORWRISHRSOHLQWKHPLGGOHRIWKH5HFHVVLRQ´





    -HVVLFD3UHVVOHUIf I Can’t Trust Donald Trump, Who Can I Trust? The Donald Has a New
Scheme. Seller Beware1(:<25.0$*$=,1( -DQ 
KWWSQ\PDJFRPQ\PDJIHDWXUHVLQGH[KWPOSULQW

    -HVVLFD3UHVVOHUIf I Can’t Trust Donald Trump, Who Can I Trust? The Donald Has a New
Scheme. Seller Beware1(:<25.0$*$=,1( -DQ 
KWWSQ\PDJFRPQ\PDJIHDWXUHVLQGH[KWPOSULQW

    7KH7UXPS1HWZRUN³'RQDOG7UXPSDQG,GHDO+HDOWK7HDP8S´DYDLODEOHRQWKH7UXPS
1HWZRUN<RXWXEHFKDQQHOKWWSVZZZ\RXWXEHFRPZDWFK"Y I.$K2R)M

    Id.

    Id.


                                                               
         Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 108 of 164




*HRUJH.HOOH\VWDWHG(LOHHQ.HOOH\HODERUDWHG³,ZDVVROGRQWKHSURGXFWDQGWKHPHVVDJH

DQGWKHWHVWLPRQLDOVDQGWKHQRIFRXUVH'RQDOG7UXPSFRPLQJRQ´




                                                                                          
               7KHH[SHULHQFHVRI(LOHHQDQG*HRUJH.HOOH\ZHUHW\SLFDORIRWKHULQYHVWRUVLQ

7KH7UXPS1HWZRUN,QWKHPRQWKVIROORZLQJWKHODXQFKRIWKHQHZO\UHEUDQGHG7UXPS

1HWZRUNUHFUXLWPHQWLQFUHDVHGVLJQLILFDQWO\,QMXVWRQH\HDUWKHFRPSDQ\UHFUXLWHG

QHZSDUWLFLSDQWVJURZLQJIURPWRDIWHUVHFXULQJWKH7UXPSHQGRUVHPHQW,QD

SUHVVUHOHDVHWKHFRPSDQ\VWDWHGWKDWLWKDGJURZQ³SHUFHQW´VLQFHSDUWQHULQJZLWK

7UXPS$FFRUGLQJWRDFRPSODLQWILOHGE\'HDQ%OHFKPDQZLWKWKH6XSUHPH&RXUWRI1HZ

<RUNLQ6XIIRON&RXQW\LQDWWKHWLPHWKDW,GHDO+HDOWKDQQRXQFHGWKHGHDOZLWK7UXPS






    -XOLDQQD*ROGPDQDQG/DXUD6WULFNOHUTrump’s Failed Venture: Vitamin Business Fails After
Get Rich Quick Pledge&%61HZV,QYHVWLJDWLRQ&%67+,60251,1* $SU DW
DYDLODEOHDWKWWSVZZZFEVQHZVFRPQHZVGRQDOGWUXPSQHWZRUNFEVQHZVLQYHVWLJDWLRQ
VXSSOHPHQWVPXOWLOHYHOPDUNHWLQJ

    (ULQ$LOZRUWKFirm’s New Moniker May be its Trump Card: After Partnering with the
Donald, the Former Ideal Health Takes Off%26721*/2%('HFDYDLODEOHDW
KWWSDUFKLYHERVWRQFRPEXVLQHVVDUWLFOHVILUPVBQHZBPRQLNHUBPD\BEHBLWVBWUXPSB
FDUG

    NBC’s The Apprentice Leads Candidates to The Trump Network351(:6:,5(7UXPS
1HWZRUN 'HF KWWSELRFHXWLFDFRPSGI3UHVV5HOHDVHSGI


                                                               
         Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 109 of 164




&RUSRUDWLRQWRUHEUDQGWKHFRPSDQ\DV7KH7UXPS1HWZRUNFRPSDQ\OHDGHUVKLSWROGLWV

H[LVWLQJQHWZRUNRIPDUNHWHUVWKDWWKH\H[SHFWHGWKHFRPSDQ\¶VUHYHQXHWRJURZWRELOOLRQ

               7UXPS¶VVWDWHPHQWVWKDW7KH7UXPS1HWZRUNRIIHUHGDUHDVRQDEOHSUREDELOLW\RI

FRPPHUFLDOVXFFHVVZHUHIDOVH,QUHDOLW\WKHFKDQFHVRIFRPPHUFLDOVXFFHVVZHUHPLQLVFXOH

$SSUR[LPDWHO\D\HDUDIWHULWVRIILFLDOODXQFKWKHFRPSDQ\VWRSSHGUHJXODUO\SD\LQJLWV

VDOHVSHRSOH,QIRUH[DPSOHDIRUPHUVDOHVSHUVRQWROGUHSRUWHUVWKDWVKHZDVPDNLQJ

³VL[ILJXUHVHQRXJKWRVXSSRUWKHUFKLOGUHQDVDVLQJOHPRP´$IWHUEDUHO\D\HDUKRZHYHU

WKHSD\FKHFNVVWRSSHGDQGWKHVDOHVSHUVRQ³ORVWKHUKRXVHDQGFDU´

               ,Q'HFHPEHU7UXPS¶VOLFHQVLQJDJUHHPHQWZLWK,GHDO+HDOWKH[SLUHGDQG

ZDVQRWUHQHZHG%\WKHFRPSDQ\ZDVVROGDQGUHQDPHG%LRFHXWLFD//&DQG

SHRSOHZKRKDGERXJKWLQWR7UXPS¶VSURPLVHVRIVXFFHVVORVWHYHU\WKLQJ*HRUJHDQG(LOHHQ

.HOOH\IRUH[DPSOHZKRLQYHVWHGWKHLUUHWLUHPHQWVDYLQJVLQWR7KH7UXPS1HWZRUNSUHFLVHO\

EHFDXVHRI7UXPS¶VDVVXUDQFHVORVWQHDUO\LQRQO\DFRXSOHRI\HDUV





    SeeBlechman YIdeal Health, Inc., et al.1R&RPSO

    $QD6ZDQVRQThe Trump Network Sought To Make People Rich but Left Behind
Disappointment, :$6+,1*72132670DUDYDLODEOHDW
KWWSVZZZZDVKLQJWRQSRVWFRPQHZVZRQNZSWKHWUXPSQHWZRUNVRXJKWWR
PDNHSHRSOHULFKEXWOHIWEHKLQGGLVDSSRLQWPHQW"XWPBWHUP EFIF

    3 Trump-backed companies that raise troubling questions&%61HZV-DQDYDLODEOH
DWKWWSVZZZFEVQHZVFRPQHZVFRPSDQLHVWKDWUDLVHTXHVWLRQVDERXWWKHWUXPSEUDQG

    Id.

    ,NH6ZHWOLW]Donald Trump, Bad Science, and the Vitamin Company That Went Bust, 67$7
1(:60DUDYDLODEOHDWKWWSVZZZVWDWQHZVFRPGRQDOGWUXPSYLWDPLQ
FRPSDQ\

    See Bioceutica Review: Neutraceuticals, Cosmeceuticals & Retail, %(+,1'0/0-DQ
DYDLODEOHDWKWWSEHKLQGPOPFRPPOPUHYLHZVELRFHXWLFDUHYLHZQHXWUDFHXWLFDOV
FRVPHFHXWLFDOVUHWDLOsee also 7HG1X\WHQThe Trump Network Sold to Antoine Nohra,
%86,1(66)25+20()HEDYDLODEOHDW
KWWSVZZZEXVLQHVVIRUKRPHRUJWKHWUXPSQHWZRUNVROGWRDQWRLQHQRKUD

    -XOLDQQD*ROGPDQDQG/DXUD6WULFNOHUTrump’s Failed Venture: Vitamin Business Fails After
Get Rich Quick Pledge&%61HZV,QYHVWLJDWLRQ&%67+,60251,1* $SU DW


                                                               
         Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 110 of 164




               %\QXPHURXVMXGJHPHQWVWRWDOLQJLQH[FHVVRIPLOOLRQZHUHDZDUGHG

DJDLQVW7KH7UXPS1HWZRUN,QF771//&6FRWW6WDQZRRG7RGG6WDQZRRGDQG'H&DSULRLQ

YDULRXVVWDWHFRXUWV


              (            7UXPS)DOVHO\5HSUHVHQWHGWKDW+H:DV(QGRUVLQJ7KH7UXPS1HWZRUN
                             %HFDXVH,W:DV+LV&RPSDQ\DQG%HFDXVH+H*HQXLQHO\%HOLHYHG,W:RXOG
                             %HD6XFFHVV

               :KHQ,GHDO+HDOWKSDUWQHUHGZLWK'HIHQGDQWVLQWKHQDPHDQGIDFHRIWKH

FRPSDQ\ZDVFKDQJHGDQGUHEUDQGHGEXWWKHIXQGDPHQWDOSURGXFWVDQGEXVLQHVVPRGHO

UHPDLQHGWKHVDPH1RQHWKHOHVV7UXPSSURPRWHG7KH7UXPS1HWZRUNSURGXFWVDQGEXVLQHVV

RSSRUWXQLWLHVDVLILWZHUHDQHZYHQWXUHWKDWKHKLPVHOIKDGFUHDWHGLQZKLFKKHKDGSHUVRQDOO\

LQYHVWHGDQGXSRQZKLFKKHKDGFRQGXFWHGDSSURSULDWHGXHGLOLJHQFH7UXPSVHQWDPHVVDJH

WKDWLQYHVWRUVVKRXOGWUXVWKLPEHFDXVHKHKDGDFFHVVWRVXSHULRULQIRUPDWLRQWKDQWKH\GLGXSRQ

ZKLFKKHKDGEDVHGKLVLQYHVWPHQWGHFLVLRQV

               +HVXJJHVWHGWKDWKLVEHOLHIZDVSUHGLFDWHGRQDPRQJRWKHUWKLQJVKLVSHUVRQDO

VWDNHLQWKHFRPSDQ\+HIDLOHGWRGLVFORVHWRFRQVXPHUVWKDWKHGLGQRWLQIDFWRZQDPDMRULW\

RIWKHFRPSDQ\RUWKDWKHZDVEHLQJSDLGIRUHDFKRIKLVSURPRWLRQDOVWDWHPHQWVDQG

HQGRUVHPHQWV

               ,QDLQYHVWLJDWLRQLQWR7KH7UXPS1HWZRUNIRUH[DPSOH&%6UHSRUWHGWKDW

'RQDOG7UXPSKDGSHUVRQDOO\VLJQHGDOHWWHUDGGUHVVHGWR7UXPS1HWZRUNPDUNHWHUVWKDW

SODLQO\VWDWHG³,EHOLHYHLQWKH7UXPS1HWZRUNSURGXFWV´





DYDLODEOHDWKWWSVZZZFEVQHZVFRPQHZVGRQDOGWUXPSQHWZRUNFEVQHZVLQYHVWLJDWLRQ
VXSSOHPHQWVPXOWLOHYHOPDUNHWLQJ


                                                               
         Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 111 of 164






                                                                                                   

               0RUHRYHUDWKLVDSSHDUDQFHDWWKH7UXPS1HWZRUNODXQFKLQ7UXPSWROG

DWWHQGHHV³,W¶VJRLQJWREHRXUFRPSDQ\DVDJURXS´+HDVVXUHGWKHP³:H¶UHDOOJRLQJWREH

VXFFHVVIXOWRJHWKHU´7UXPSZDVFRQYH\LQJWRHDJHUOLVWHQHUVWKDWKHZDQWHGWKHPWRMRLQD

EXVLQHVVRIZKLFKKHZDVDSDUWDQGZKRVHVXFFHVVKHZRXOGHQVXUH

               7UXPSXUJHGSHRSOHWREHOLHYHLQKLVHQGRUVHPHQWRI7KH7UXPS1HWZRUNDQGWR

WUXVWKLVMXGJPHQWDOOWKHZKLOHREIXVFDWLQJKLVODFNRIDFWXDOLQYROYHPHQWLQWKHFRPSDQ\$V

DOOHJHGDERYHD7UXPS(QWHUSULVHHQWLW\'61/LFHQVLQJ//&DQG,GHDO+HDOWKKDGHQWHUHGLQWR

DVLPSOHOLFHQVLQJDJUHHPHQWLQZKLFK'61/LFHQVLQJ//&UHFHLYHGSD\PHQWVIRU7UXPS¶V

SURPRWLRQVDQGHQGRUVHPHQWVRIWKHFRPSDQ\LQH[FKDQJHIRUWKHXVHRIWKH7UXPSQDPHDQG

EUDQG7UXPSZDVQHLWKHUWKHRZQHUQRUWKHRSHUDWRURIWKH7UXPS1HWZRUNEXWFUHDWHGWKDW

LPSUHVVLRQLQWKHPLQGVRISRWHQWLDOUHFUXLWV






    'RQDOG7UXPSVSHHFK7UXPS1HWZRUN&RQIHUHQFH0LDPL)ORULGD  <RXWXEH
KWWSVZZZ\RXWXEHFRPZDWFK"WLPHBFRQWLQXH  Y ;\5(01MU$

    Id.


                                                               
         Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 112 of 164




               $-XQHSURSRVDOIURPWKHQ3UHVLGHQWRI,GHDO+HDOWK'H&DSULRWR&DWK\

*ORVVHUIRUPHUH[HFXWLYH9LFH3UHVLGHQWRI*OREDO/LFHQVLQJIRU7KH7UXPS2UJDQL]DWLRQ

SURYLGHVDGGLWLRQDOLQVLJKWLQWRWKHGHWDLOVRIWKHDJUHHPHQWEHWZHHQ'61/LFHQVLQJ//&DQG

,GHDO+HDOWK$FFRUGLQJWRWKHSURSRVDO7KH7UXPS2UJDQL]DWLRQZRXOGUHFHLYHDQLQLWLDO

OLFHQVLQJIHHRIPLOOLRQDVZHOODVDSHUFHQWHTXLW\VWDNHLQ,GHDO+HDOWK,QFDGGLWLRQDO

LQFRPHDQG³FDVKGLVWULEXWLRQV´,QUHWXUQ7UXPSZRXOGDPRQJRWKHUWKLQJVDWWHQGWKH

FRPSDQ\¶V$QQXDO1DWLRQDO0HHWLQJDVDNH\QRWHVSHDNHUSDUWLFLSDWHLQWZRRIWKHFRPSDQ\¶V

OHDGHUVKLSFRQIHUHQFHV³ZLWKFRPSHQVDWLRQ´SDUWLFLSDWHLQWZRFRQIHUHQFHFDOOLQWHUYLHZVZLWK

WKHIRXQGHUVDQGWZRDXGLRDQGYLGHRSURGXFWLRQV)LQDOO\7UXPSZRXOGDJUHHWRKDYHKLV

LPDJHDQGTXRWHVXVHGLQFRPSDQ\PDUNHWLQJDQGUHFUXLWLQJPDWHULDOV

               1RWDEO\WKHSURSRVDOVWDWHGWKDWXQGHUWKHWHUPVRIWKHDJUHHPHQW7UXPSZRXOG

DJUHHWRDOORZ7KH7UXPS1HWZRUNWRXVH³KLVLPDJHDQGTXRWDWLRQVIRUSUHVVUHOHDVHVDQG

PDUNHWLQJPDWHULDOVwith [Trump’s] approvalZKLFKZLOOQRW>@EHXQUHDVRQDEO\ZLWKKHOG´

    HPSKDVLVDGGHG $VZDVWKHFDVHZLWK$&1EHFDXVH7UXPS¶VLPDJHFRXOGRQO\EHXVHG

ZLWKKLVDSSURYDOWKH7UXPS(QWHUSULVHYHU\OLNHO\DSSURYHGWKHFRPSDQ\¶VVWDWHPHQWVDERXW

7UXPS¶VHQGRUVHPHQWDQGUROHLQ7KH7UXPS1HWZRUN

               ,QDGGLWLRQWR7UXPS¶VRZQHQGRUVHPHQWWKH7UXPS(QWHUSULVHDOVRIDFLOLWDWHG

WKHHQGRUVHPHQWRIDQGSDUWLFLSDWLRQLQ7KH7UXPS1HWZRUNE\VHYHUDOIRUPHUFRQWHVWDQWVIURP






    ([KLELW(PDLOIURP/RX'H&DSULRWR&DWK\*ORVVHUWLWOHG³)LQDO7UXPS'RFXPHQWVIRU
:HGQHVGD\0HHWLQJ´Ideal Health YBlechman, &DVHFY'-& $SU 

    Id.

    Id.

    ([KLELW(PDLOIURP/RX'H&DSULRWR&DWK\*ORVVHUWLWOHG³)LQDO7UXPS'RFXPHQWVIRU
:HGQHVGD\0HHWLQJ´Ideal Health YBlechman&DVHFY'-& $SU 

    Id.


                                                               
         Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 113 of 164




The Apprentice. ,QDSUHVVUHOHDVHGLVFXVVLQJWKRVHHQGRUVHPHQWV7UXPSHFKRHGWKHLGHD

WKDWKHZDVHQGRUVLQJ7KH7UXPS1HWZRUNEHFDXVHKHJHQXLQHO\EHOLHYHGLQWKHFRPSDQ\

                             :KHQ,VWDUWHG7KH$SSUHQWLFHWHOHYLVLRQVKRZHYHU\RQHWROGPHLWZDV
                             DORQJVKRW:HDUHQRZLQRXUWKVHDVRQThe Trump Network is not
                             a long shot.,ZDQWSHRSOHWREHVXFFHVVIXODQGWRHQMR\ZKDWWKH\DUH
                             GRLQJI see unbelievable enthusiasm for the company’s products and
                             business model.

    HPSKDVLVDGGHG 

               7UXPS¶VPLVUHSUHVHQWDWLRQDERXWWKHPHDQLQJRIDQGPRWLYDWLRQVIRUKLV

HQGRUVHPHQWVXFFHHGHGLQEULQJLQJPDQ\QHZUHFUXLWVWR7KH7UXPS1HWZRUN,QWKHVSDQRID

OLWWOHRYHUWZR\HDUVWKRXVDQGVRISHRSOHZHUHLQGXFHGWRLQYHVWLQWKHEXVLQHVVRSSRUWXQLWLHV

RIIHUHGE\7KH7UXPS1HWZRUNEHFDXVHRI7UXPS¶VVHHPLQJO\JHQXLQHHQGRUVHPHQWDQGIDOVH

VWDWHPHQWVDERXWWKHFRPSDQ\

               )RUH[DPSOH5LFKDUG&KHVWHUDPDUNHWHUIRU7KH7UXPS1HWZRUNEDVHGRXWRI

/RQJ,VODQG1HZ<RUNWROGNew York Magazine³:KRLQWKHLUULJKWPLQGZRXOGQRWJRZLWK

VRPHWKLQJ'RQDOG7UXPSLVSURPRWLQJ"´&KHVWHUH[SODLQHGWKDWDOWKRXJKKHZDVLQLWLDOO\

KHVLWDQWWRMRLQSURPRWLRQDOYLGHRVRI'RQDOG7UXPSRQ7KH7UXPS1HWZRUN¶VZHEVLWH

FRQYLQFHGKLP +HVDLG³,IHOWOLNHKHZDVVSHDNLQJWRPH7KLVLVDPDQZKRZDVGRZQLQWKH

GXPSVDQGFDPHEDFN1RZHYHU\WKLQJKHWRXFKHVWXUQVWRJROG´






     NBC’s The Apprentice Leads Candidates to The Trump Network351(:6:,5(7UXPS
1HWZRUN'HFDYDLODEOHDWKWWSELRFHXWLFDFRPSGI3UHVV5HOHDVHSGI

    -HVVLFD3UHVVOHUIf I Can’t Trust Donald Trump, Who Can I Trust? The Donald Has a New
Scheme. Seller Beware1(:<25.0$*$=,1( -DQ 
KWWSQ\PDJFRPQ\PDJIHDWXUHVLQGH[KWPOSULQW

     Id.


                                                               
         Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 114 of 164




               &KHVWHUZHQWRQ³,IHHOOLNHLQ>'RQDOG7UXPS¶V@KHDUWKHZDQWVWRKHOSSHRSOH

ZKRDUHGRZQDQGRXW´&KHVWHUVDLG³,I,WKRXJKWKHZDVMXVWLQLWIRUWKHPRQH\,ZRXOGQ¶WGR

LW´

               $OH[,]]RDQRWKHUIRUPHUVDOHVUHSUHVHQWDWLYHRU³PDUNHWHU´RI7KH7UXPS

1HWZRUNZDVTXRWHGLQWKHVDPHDUWLFOHH[SODLQLQJKHUPRWLYDWLRQIRUGHFLGLQJWRTXLWKHUMREWR

EHFRPHDPDUNHWHUIXOOWLPH³3HRSOHKDYHVDLGµ7KLVLV'RQDOG7UXPS¶VQHWZRUNPDUNHWLQJ

FRPSDQ\",ZDQWLQ¶´,]]RVDLG³,ZDVWDONLQJWRDZRPDQWKHRWKHUGD\DQGVKHVDLGµ,I,

FDQ¶WWUXVW'RQDOG7UXPSZKRFDQ,WUXVW"¶$QG,VDLGµ<RX¶UHtotallyULJKW¶´


,;          7+(75803(17(535,6(¶6)5$8'8/(17352027,21$1'
              (1'256(0(172)7+(75803,167,787(

               $WVRPHSRLQWEHWZHHQDQGHDUO\7UXPS8QLYHUVLW\//&HQWHUHGLQWR

DOLFHQVLQJDJUHHPHQWZLWK%XVLQHVV6WUDWHJLHV*URXS//&WRIRUPWKH³7UXPS,QVWLWXWH´7KH

7UXPS,QVWLWXWHZDVDOLYHVHPLQDUSURJUDPWKDWSXUSRUWHGWRVHOO7UXPS¶V³VHFUHWVWRVXFFHVV´

LQWKHUHDOHVWDWHEXVLQHVVLQVHYHUDOH[WUDYDJDQWO\SULFHGVHPLQDUV7UXPSDJUHHGWRHQGRUVHDQG

SURPRWHWKH7UXPS,QVWLWXWHOHFWXUHVDQGSURGXFWVLQH[FKDQJHIRUIUDQFKLVHIHHVDQGVHFUHW

OXPSVXPSD\PHQWV

               $VZLWK$&1DQG7KH7UXPS1HWZRUNWKH7UXPS(QWHUSULVHGLVVHPLQDWHGWKH

0HVVDJHDVLWUHODWHGWRWKH7UXPS,QVWLWXWHSHUYDVLYHO\,WXVHGYDULRXVFKDQQHOVWRGLVVHPLQDWH

WKH0HVVDJHLQFOXGLQJWHOHYLVLRQLQIRPHUFLDOVDGYHUWRULDOVDQGSULQWHGSURPRWLRQDOPDWHULDOV

)RUH[DPSOHLQLQIRUPHUFLDOV7UXPSSURPRWHGWKHSXUSRUWHGVXFFHVVHVRIWKH7UXPS,QVWLWXWH

DQGWKHTXDOLW\RIWKH6HPLQDUFRQWHQWVLQFOXGLQJWKH³'RQDOG7UXPS:D\WR:HDOWK´




    Id.

    Id.

    Id.


                                                               
         Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 115 of 164




VHPLQDU,QDGGLWLRQ7UXPSGLVVHPLQDWHGIDOVHVWDWHPHQWVDERXWWKH7UXPS,QVWLWXWHLQ

SULQWHGSURPRWLRQDOPDWHULDOVPDLOHGWRFRQVXPHUVDFURVVWKHFRXQWU\,QDSURPRWLRQDOPDLOLQJ

IRUH[DPSOH7UXPS¶VVLJQDWXUHLVSURPLQHQWO\IHDWXUHGRQDOHWWHUWRSRWHQWLDO7UXPS,QVWLWXWH

UHFUXLWVH[WROOLQJWKHTXDOLW\RIWKHLQIRUPDWLRQFRQWDLQHGLQ³7KH7UXPS,QVWLWXWH¶V:D\WR

:HDOWK´VHPLQDUVHULHV$QG7UXPSZDVSURPLQHQWO\HPEOD]RQHGRQSURPRWLRQDOPDWHULDOV

GLVSOD\HGRQWKH7UXPS,QVWLWXWHZHEVLWH




                                                                                                 






    'RQDOG7UXPS:D\WR:HDOWK6HPLQDUVLQIRPHUFLDO  
KWWSV\RXWXEHFRPZDWFK"Y 2J]ZX1,7KH'RQDOG7UXPS:D\WR:HDOWK-XQ
KWWSVZZZ\RXWXEHFRPZDWFK"Y \\5XVF

    0DLOLQJ³7KH7UXPS,QVWLWXWH¶V:D\7R:HDOWK´ )HE )ORULGD$WWRUQH\*HQHUDO
&RQVXPHU&RPSODLQWVsee also6DP6WHLQTrump Tried to Get Bush’s Labor Secretary to Attend
His Get-Rich-Quick Seminar+8)),1*7213267'HFDYDLODEOHDW
KWWSVZZZKXIILQJWRQSRVWFRPHQWU\GRQDOGWUXPSHODLQH
FKDRBXVBDEDHEHEEDHGI


                                                               
       Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 116 of 164






                                                                                   
           7KH0HVVDJHDVDSSOLHGWRWKH7UXPS,QVWLWXWHZDVVXEVWDQWLYHO\WKHVDPHDVWKH

0HVVDJHDSSOLHGWR7KH7UXPS1HWZRUNDQG$&1$VZLWK$&1DQG7KH7UXPS1HWZRUN

7UXPSIDOVHO\UHSUHVHQWHGWKDW  SURVSHFWLYHVWXGHQWVZRXOGKDYHDUHDVRQDEOHSUREDELOLW\RI

FRPPHUFLDOVXFFHVVLIWKH\LQYHVWHGLQWKHWUDLQLQJSURJUDPRIIHUHGE\WKH7UXPS,QVWLWXWH

     7UXPSZDVHQGRUVLQJWKH,QVWLWXWHEHFDXVHKHEHOLHYHGLWRIIHUHGDUHDVRQDEOHSUREDELOLW\RI

FRPPHUFLDOVXFFHVV UDWKHUWKDQEHFDXVHWKH7UXPS(QWHUSULVHZDVEHLQJSDLG DQG  KLV

HQGRUVHPHQWZDVSUHGLFDWHGRQ'HIHQGDQWV¶H[WHQVLYHGXHGLOLJHQFHLQVLGHLQIRUPDWLRQDQG

SHUVRQDOH[SHULHQFHZLWKWKH7UXPS,QVWLWXWH


          $     7UXPS)DOVHO\5HSUHVHQWHG7KDW&RQVXPHUV+DG5HDVRQDEOH3UREDELOLW\RI
                  &RPPHUFLDO6XFFHVVLQ7KH7UXPS,QVWLWXWH

           )URPWKHSHULRGRIXQWLO'RQDOG7UXPSDSSHDUHGLQQXPHURXV

WHOHYLVLRQLQIRPHUFLDOVDQGRQOLQHDQGSULQWHGSURPRWLRQDOPDWHULDOVIRUWKH7UXPS,QVWLWXWH,Q

DOOWKHVHSURPRWLRQV7UXPSHPSKDWLFDOO\VWDWHGWKDWE\SDUWLFLSDWLQJLQWKH7UXPS,QVWLWXWH

VHPLQDUVVWXGHQWVZRXOGOHDUQLQGXVWU\VHFUHWVDQGDGYLFHIURPKLPDERXWKRZWRVXFFHHGLQWKH

UHDOHVWDWHEXVLQHVVZKLFKZRXOGDIIRUGWKHPDUHDVRQDEOHSUREDELOLW\RIFRPPHUFLDOVXFFHVV




                                                 
         Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 117 of 164




8OWLPDWHO\KHSURPLVHGWKDWWKHVNLOOVWDXJKWZRXOGKHOSSHRSOHPDNHPRQH\DQGEHFRPH

VXFFHVVIXOLQWKHUHDOHVWDWHEXVLQHVVMXVWDVKHGLG

               7KHZHEVLWHDQGRWKHUPDWHULDOVGLUHFWO\SUHGLFDWHGWKHUHDVRQDEOHSUREDELOLW\RI

VXFFHVVSURPLVHGZLWKWKHIDFWWKDW7UXPSZDVLQWLPDWHO\LQYROYHGLQWKH,QVWLWXWH2QWKH

7UXPS,QVWLWXWH¶VZHEVLWHIRUH[DPSOH7UXPSIDOVHO\FODLPHGWKDWSURVSHFWLYHVWXGHQWVZRXOG

OHDUQ7UXPS¶V³VHFUHWUHFLSHIRUVXFFHVV´DQGRWKHUWDFWLFVWR³LPSURYHWKHLUOLYHVWKURXJK

ILQDQFLDOVXFFHVV´7KHZHEVLWHSURFODLPHGWKDW³WKHUHDUHWZRJUHDWZD\VWRFUHDWHZHDOWK±

RZQLQJDEXVLQHVVDQGLQYHVWLQJLQUHDOHVWDWH'RQDOG7UXPSLVDPDVWHURIERWKDQGKLV

VWUDWHJLHVIRUERWKKDYHEHHQSDFNHGLQWRWKLVVHPLQDU´3URPRWLRQDOPDWHULDOVSURPLVHGWKDW

E\DWWHQGLQJ7UXPS,QVWLWXWHVHPLQDUVFXVWRPHUVFRXOGOHDUQWKH³ULJKWNQRZOHGJHDQGWKHULJKW

PLQGVHWWRFUHDWHXQOLPLWHGULFKHV´




                                                                              




    7KH7UXPS,QVWLWXWHZHEVLWH³7KH6HPLQDU´DUFKLYHV
KWWSVZHEDUFKLYHRUJZHEKWWSZZZWUXPSLQVWLWXWHFRPVHPLQDUSKS

    Id.

    Id


                                                               
         Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 118 of 164






                                                                                                    
               5HSHDWHGO\7UXPS¶VDVVXUDQFHVRIVXFFHVVZHUHSUHPLVHGRQWKHIDFWWKDWWKH

VHPLQDUVSXUSRUWHGO\FRQWDLQHGKLVSHUVRQDONQRZOHGJHDQGDGYLFHDERXWKRZWRVXFFHHGLQWKH

UHDOHVWDWHPDUNHW$QRWKHULQIRPHUFLDOIURPIRUH[DPSOHSURFODLPHGWKDWDWWKH³'RQDOG

7UXPS:D\WR:HDOWK´VHPLQDUVFXVWRPHUVZRXOG³OHDUQWKHVHFUHWVDQGVWUDWHJLHVWKDWKDYH

PDGH'RQDOG7UXPSDELOOLRQDLUH´7UXPSSHUVRQDOO\SURPLVHGWKDWFXVWRPHUVZRXOGDPRQJ






  'RQDOG7UXPS:D\WR:HDOWK6HPLQDU  KWWSVZZZ\RXWXEHFRPZDWFK"Y 2J]
ZX1,


                                                               
         Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 119 of 164




RWKHUWKLQJVOHDUQ³WKH7UXPSZD\WRJHWFDVKEDFNZKHQ\RXEX\DSURSHUW\´³7KHUHDUH

PDQ\PDQ\JUHDWGHDOVRXWWKHUHDQG,¶PJRLQJWRWHDFK\RXKRZWRILQGWKHP´KHFRQWLQXHG

7KHLQIRPHUFLDODOVRIHDWXUHGFOLSVRIZKDWDSSHDUWREHLQWHUYLHZVZLWKDFWXDOFXVWRPHUVZKR

KDGUHFHQWO\DWWHQGHGRQHRIWKH³:D\WR:HDOWK´VHPLQDUV³(YHU\WKLQJKHWRXFKHGWXUQHGWR

JROGDQGQRZLW¶VUXEELQJRIIRQXVWKHVDPHZD\´DPDQVD\VZKLOHVWDQGLQJLQWKHPLGGOHRI

ZKDWDSSHDUVWREHWKHOREE\RIDEXV\KRWHOFRQYHQWLRQFHQWHU³,WKLQNLW¶VWKHJUHDWHVWWKLQJ

,¶YHHYHUJRQHWR%HWWHUWKDQDFROOHJHHGXFDWLRQ´DVVHUWVDQRWKHU³/HDUQIURPWKHEHVW7KDW¶V

KRZ,VHHLWWKDW¶VZK\,¶PKHUHWKDW¶VZK\,FDPH´

               ([WHQVLYHSURPRWLRQDOPDWHULDOVDOVRKHUDOGHGWKH7UXPS,QVWLWXWHVHPLQDUVDV

FRQWDLQLQJ³'RQDOG7UXPS¶VµVHFUHWUHFLSH¶IRUVXFFHVV²DFRPELQDWLRQRIWKHULJKWNQRZOHGJH

DQGWKHULJKWPLQGVHWWRFUHDWHXQOLPLWHGULFKHV´WKH7UXPS,QVWLWXWHZHEVLWHSURPLVHG³$V

\RX¶OOGLVFRYHUWKHUHDUHWZRJUHDWZD\VWRFUHDWHZHDOWK²RZQLQJDEXVLQHVVDQGLQYHVWLQJLQ

UHDOHVWDWH'RQDOG7UXPSLVDPDVWHURIERWKDQGKLVVWUDWHJLHVIRUERWKKDYHEHHQSDFNHGLQWR

WKLVVHPLQDU´




    'RQDOG7UXPS:D\WR:HDOWK6HPLQDU  KWWSVZZZ\RXWXEHFRPZDWFK"Y 2J]
ZX1,

    Id.

    Id.

    Id.

    7KH7UXPS,QVWLWXWHDUFKLYHGZHEVLWH³7KH6HPLQDU´
KWWSVZHEDUFKLYHRUJZHEKWWSZZZWUXPSLQVWLWXWHFRPVHPLQDUSKS ODVW
DFFHVVHG0DU see also$OH[/HDU\In Trump Institute, Donald Trump Had Florida
Partners With a Record of Fraud7$03$%$<7,0(6-XQDYDLODEOHDW
KWWSZZZWDPSDED\FRPQHZVSROLWLFVVWDWHURXQGXSLQWUXPSLQVWLWXWHGRQDOGWUXPSKDG
IORULGDSDUWQHUVZLWKDUHFRUGRIIUDXG

    7KH7UXPS,QVWLWXWHDUFKLYHGZHEVLWH³7KH6HPLQDU´
KWWSVZHEDUFKLYHRUJZHEKWWSZZZWUXPSLQVWLWXWHFRPVHPLQDUSKS ODVW
DFFHVVHG0DU see also$OH[/HDU\In Trump Institute, Donald Trump Had Florida
Partners With a Record of Fraud7$03$%$<7,0(6-XQDYDLODEOHDW
KWWSZZZWDPSDED\FRPQHZVSROLWLFVVWDWHURXQGXSLQWUXPSLQVWLWXWHGRQDOGWUXPSKDG
IORULGDSDUWQHUVZLWKDUHFRUGRIIUDXG


                                                               
         Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 120 of 164




               ,QDSURPRWLRQDOPDLOLQJIURPWKH7UXPS,QVWLWXWHSURVSHFWLYHFXVWRPHUV

UHFHLYHGZKDWDSSHDUHGWREHDSHUVRQDOOHWWHUZULWWHQDQGVLJQHGE\7UXPSLQKLVFDSDFLW\DV

³&KDLUPDQ7UXPS,QVWLWXWH´³:KDW\RXKDYHLQ\RXUKDQGVULJKWQRZLVP\SHUVRQDO

LQYLWDWLRQIRU\RXDQG\RXUJXHVWWRDWWHQGDVSHFLDOHYHQWIHDWXULQJDKDQGSLFNHGPHPEHURIP\

RUJDQL]DWLRQZKRZLOOWHDFK\RXPDQ\RIWKHVWUDWHJLHVDQGWHFKQLTXHVWKDWDUHWKHUHDVRQVIRU

P\VXFFHVV´LWUHDG ³7KLVLVZKDW,KDYHOHDUQHGWKHKDUGZD\LQWKHVWUHHWVILJKWLQJWRJURZ

P\HPSLUH´

               $GHVFULSWLRQRIWKH³'RQDOG7UXPS:D\WR:HDOWK´VHPLQDURQWKH7UXPS

,QVWLWXWHZHEVLWHH[SODLQHGWRSURVSHFWLYHFXVWRPHUVWKDWDWWKHVHPLQDUWKH\ZRXOGOHDUQDERXW

WKHVHFUHWVWR'RQDOG7UXPS¶VVXFFHVV7KHZHEVLWHSURFODLPHG³7KH'RQDOG7UXPS:D\WR

:HDOWK6HPLQDUSURYLGHVDSRZHUIXOLQWURGXFWLRQWRWKHZHDOWKEXLOGLQJVWUDWHJLHVLQUHDO

HVWDWHDQGEXVLQHVVWKDWKDYHPDGH'RQDOG7UXPSDPXOWLELOOLRQDLUH´




                                                                                            




    0DLOLQJ³7KH7UXPS,QVWLWXWH¶V:D\WR:HDOWK´ )HE )ORULGD$WWRUQH\*HQHUDO
&RQVXPHU&RPSODLQWVsee also6DP6WHLQTrump Tried to Get Bush’s Labor Secretary to Attend
His Get Rich Quick Seminar, +8)),1*7213267'HFDYDLODEOHDW
KWWSVZZZKXIILQJWRQSRVWFRPHQWU\GRQDOGWUXPSHODLQH
FKDRBXVBDEDHEHEEDHGI 

    Id.

    Id.

    7UXPS,QVWLWXWHZHEVLWH³$ERXW8V´
KWWSVZHEDUFKLYHRUJZHEKWWSZZZWUXPSLQVWLWXWHFRPDERXWXVSKS


                                                               
    Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 121 of 164






                                                                           



                                   
     Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 122 of 164






                                                                                                      
        %XWWKHVHVWDWHPHQWVZHUHSODLQO\IDOVH7UXPSKDGQRDFWXDOLQYROYHPHQWLQWKH

FUHDWLRQRIFRXUVHPDWHULDOV1RPDWWHUKRZPXFKSHRSOHSDLGWRDWWHQGWKHVHPLQDUVWKH\

ZRXOGQHYHUDFWXDOO\EHDEOHWROHDUQZKDW7UXPSKDGWRWHDFKEHFDXVHKHQHYHUVSHQWDQ\WLPH

UHYLHZLQJWKHFRXUVHPDWHULDOVRUGUDIWLQJWKHFRQWHQWV,QIDFWODUJHSRUWLRQVRIWKHPDWHULDOV

VROGDVSDUWRIWKH7UXPS,QVWLWXWHVHPLQDUVZHUHSODJLDUL]HGIURPDQRWKHUVRXUFH




                                                
         Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 123 of 164






                                                                                                      
               2QHRIWKHSURGXFWVPDUNHWHGE\WKH7UXPS,QVWLWXWHZDVDZRUNERRNFRQWDLQLQJ

WLSVDQGVWUDWHJLHVIRUZD\VWRDFTXLUHZHDOWKLQUHDOHVWDWHDQGRWKHUUHODWHGEXVLQHVVHV,Q

WKHNew York TimesUHSRUWHGWKDWVXEVWDQWLDOSRUWLRQVRIWKHFRQWHQWRIWKHFRXUVHPDWHULDOV




   See-RQDWKDQ0DUWLQTrump Institute Offered Get Rich Schemes with Plagiarized Lessons
7+(1(:<25.7,0(6-XQ
KWWSVZZZQ\WLPHVFRPXVSROLWLFVGRQDOGWUXPSLQVWLWXWHSODJLDULVPKWPO


                                                               
         Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 124 of 164




FRQWDLQHGLQWKHZRUNERRNFDOOHG³%LOOLRQDLUH¶V5RDGPDSWR6XFFHVV´KDGEHHQSODJLDUL]HG

IURPDERRNWKDWZDVSDUWRIDFROOHFWLRQRIWUDLQLQJPDWHULDOVWLWOHG³5HDO(VWDWH0DVWHU\6\VWHP´

SXEOLVKHGLQE\68&&(660DJD]LQH$VDOOHJHGDERYH7UXPSZDVDQDGYLVRU\ERDUG

PHPEHURIWKH68&&(66)RXQGDWLRQLQDQDIILOLDWHRI68&&(660DJD]LQH,QDGGLWLRQ

7UXPSDQGKLVIDPLO\KDYHEHHQIHDWXUHGLQDUWLFOHVLQ68&&(660DJD]LQHZKLFKGHWDLOHG7UXPS¶V

UHODWLRQVKLSZLWK$&1




                                                                                                        






   See-RQDWKDQ0DUWLQTrump Institute Offered Get Rich Schemes with Plagiarized Lessons
7+(1(:<25.7,0(6-XQ
KWWSVZZZQ\WLPHVFRPXVSROLWLFVGRQDOGWUXPSLQVWLWXWHSODJLDULVPKWPO


                                                               
         Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 125 of 164






                                                                                                    
               ,QWKHNew York TimesUHSRUWHGWKDW6XVDQ*3DUNHUWKHHGLWRURIWKH

7UXPS,QVWLWXWHPDQXDOVDLGWKDWVKHZDVKLUHGWRZULWHWKHPDQXDODIWHUUHVSRQGLQJWRD

&UDLJVOLVWDGDQGWKDWVKHFHUWDLQO\QHYHUPHW'RQDOG7UXPSRUUHFHLYHGDQ\JXLGDQFHIURPKLP

DERXWZKDWWRZULWHLQWKHPDQXDO,QVWHDG3DUNHUVDLGWKDWVKHZURWHLWEDVHGRQKHURZQ

SHUVRQDONQRZOHGJHDERXWUHDOHVWDWHDQGDFXUVRU\UHYLHZRISULRUERRNVWKDW7UXPSKDG

ZULWWHQ






      Id.


                                                               
         Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 126 of 164




              %            7UXPS)DOVHO\5HSUHVHQWHGWKDW+H6XSSRUWHGWKH7UXPS,QVWLWXWH%HFDXVH
                             +H%HOLHYHG,W2IIHUHGD5HDVRQDEOH3UREDELOLW\RI&RPPHUFLDO6XFFHVV
                              5DWKHUWKDQ%HFDXVHWKH7UXPS(QWHUSULVH:DV%HLQJ3DLG 

               7UXPSIDOVHO\UHSUHVHQWHGWKDWKHZDVHQGRUVLQJWKH,QVWLWXWHEHFDXVHKHEHOLHYHG

LWZRXOGUHVXOWLQDUHDVRQDEOHSUREDELOLW\RIFRPPHUFLDOVXFFHVV DQGQRWEHFDXVHKHZDVEHLQJ

SDLG )RUH[DPSOHWKH³)$4´VHFWLRQRIWKH7UXPS,QVWLWXWHZHEVLWHH[SOLFLWO\PLVVWDWHGWKH

EDVLVIRU7UXPS¶VHQGRUVHPHQW³:K\GLG'RQDOG7UXPSFUHDWHWKH7UXPS,QVWLWXWH"´UHDGRQH

TXHVWLRQ³$PHULFDKDVEHHQYHU\JRRGWR0U7UXPS´WKHDQVZHUH[SODLQHG³DQGWKLVLVKLV

ZD\RIJLYLQJEDFNNQRZOHGJHWRWKRVHZKRZDQWWROHDUQPRUHDERXWEHFRPLQJVXFFHVVIXO´




                                                                                           
               ,Q\HWDQRWKHU7UXPS,QVWLWXWHLQIRPHUFLDO7UXPSDVVHUWHGWKDWLIFXVWRPHUV

DWWHQGHGWKHVHPLQDUWLWOHG³7KH'RQDOG7UXPS:D\WR:HDOWK´WKH\ZRXOGOHDUQDERXWKLV

SHUVRQDODGYLFHDQGUHDOHVWDWHNQRZOHGJH ³,SXWDOORIP\FRQFHSWVWKDWKDYHZRUNHGVRZHOO

IRUPHQHZDQGROGLQWRRXUVHPLQDU´KHSURFODLPHG³,¶PWHDFKLQJZKDW,¶YHOHDUQHG$QG

I’m real´ HPSKDVLVDGGHG  7KHLQIRPHUFLDOZDVVWDJHGWRORRNOLNHDQLQWHUYLHZEHWZHHQ

'RQDOG7UXPSDQGDUHSRUWHUQDUUDWRU³,QFRQWLQXLQJWKDWHIIRUWWRVKDUHKLVNQRZOHGJH´WKH

LQWHUYLHZHUH[SODLQHGGLUHFWO\WRWKHFDPHUD³KHKDVFUHDWHGWKH7UXPS,QVWLWXWHVRKLV






    7UXPS,QVWLWXWHZHEVLWH³)$4´
KWWSVZHEDUFKLYHRUJZHEKWWSZZZWUXPSLQVWLWXWHFRPIDTSKSJ

    Id.

    7KH'RQDOG7UXPS:D\WR:HDOWK-XQ
KWWSVZZZ\RXWXEHFRPZDWFK"Y \\5XVF

    Id.


                                                               
         Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 127 of 164




PHWKRGVRIVXFFHVVFDQEHWDXJKWWRDQ\RQHZKRZDQWVWRKDYHWKDWSRZHUNQRZOHGJHDQG

NQRZKRZ´




                                                                                                 

               7UXPSDQGWKH7UXPS(QWHUSULVHLQWHQWLRQDOO\FRQFHDOHGWKHQDWXUHRIWKH

OLFHQVLQJDJUHHPHQWZLWKWKH7UXPS,QVWLWXWHWKHIDFWWKDW7UXPSUHFHLYHGODUJHIHHVWROLFHQVH

RXWWKH7UXPSEUDQGDQGWKHIDFWWKDWWKH7UXPS(QWHUSULVHKDGQRRZQHUVKLSRUGD\WRGD\

FRQWURORYHUWKHRSHUDWLRQRIWKHFRPSDQ\7RWKHFRQWUDU\WKH7UXPS,QVWLWXWHZDVLQLWLDOO\

FUHDWHGDVSDUWRIDEXVLQHVVSODQLQYROYLQJ7UXPS8QLYHUVLW\'RQDOG7UXPS¶VRQOLQHXQLYHUVLW\

WKDWKDVEHHQZLGHO\LQYHVWLJDWHGDQGDFFXVHGRIRSHUDWLQJIUDXGXOHQWEXVLQHVVSUDFWLFHV6RPH

RIWKHNH\DOOHJDWLRQVDJDLQVW7UXPS8QLYHUVLW\LQYROYHGPLVOHDGLQJDGYHUWLVHPHQWVWKDW7UXPS

KLPVHOIZRXOGEHLQWHJUDOO\LQYROYHGLQWKHVHOHFWLRQRISURIHVVRUVDQGFRXUVHPDWHULDOVZKHQLQ

IDFWKHZDVQRW:KLOH7UXPSKDGDPDMRULW\LQWHUHVWLQ7UXPS8QLYHUVLW\KHKDGQRSHUVRQDO

HTXLW\VWDNHLQWKH7UXPS,QVWLWXWH$V$ODQ*DUWHQWKHQH[HFXWLYHYLFHSUHVLGHQWDQGJHQHUDO

FRXQVHORI7KH7UXPS2UJDQL]DWLRQWROGWKHHuffington Post LQ³7KH7UXPS,QVWLWXWHZDV

DOLFHQVHHRI7UXPS8QLYHUVLW\DQGZDVQRWRZQHGRUFRQWUROOHGE\0U7UXPSRUDQ\RIKLV

FRPSDQLHV´





       Id.

      &KULVWLQD:LONLHTrump Institute Fired Veteran for ‘Absences’ after He Was Deployed to
Afghanistan, +8)),1*7213267$SUDYDLODEOHDW


                                                               
         Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 128 of 164




               ,QIDFWWKH7UXPS,QVWLWXWHGHDOZDVWKHFXOPLQDWLRQRIDQHIIRUWE\WKH7UXPS

(QWHUSULVHWRILQGDQGSDUWQHUZLWKLQGLYLGXDOVZKRKDGUXQOHJDOO\SUREOHPDWLFOLYHVHPLQDUVLQ

WKHSDVW,QD-XO\GHSRVLWLRQWDNHQDVSDUWRIWKH1HZ<RUN$WWRUQH\*HQHUDO¶V

LQYHVWLJDWLRQLQWR7UXPS8QLYHUVLW\3UHVLGHQWRI7UXPS8QLYHUVLW\0LFKDHO6H[WRQH[SODLQHG

WKDWZKHQKHDQG7UXPSZHUHVHDUFKLQJIRUSHRSOHWROLFHQVHWKHOLYHVHPLQDUEXVLQHVVRXWWR

WKH\GLGLQIDFWFRQVLGHUVHYHUDOGLIIHUHQWFRPSDQLHVZLWKUHOHYDQWH[SHULHQFH

               6H[WRQIXUWKHUH[SODLQHGWKDWWKH\ODWHUSODQQHGWREULQJWKH7UXPS,QVWLWXWHOLYH

VHPLQDUEXVLQHVV³EDFNLQKRXVH´DW7UXPS8QLYHUVLW\RQFHWKH\XQGHUVWRRGWKHEXVLQHVVRI

SURGXFLQJOLYHVHPLQDUVEHWWHU7KDWLV7UXPSDQG6H[WRQZHUHORRNLQJWRlearnWKHOLYH

VHPLQDUEXVLQHVVIURPWKHLUOLFHQVLQJSDUWQHU

               8OWLPDWHO\KHH[SODLQHGWKH\GHFLGHGWROLFHQVHWR0LFKDHODQG,UHQH0LOLQD

)ORULGDFRXSOHZKRRZQHGDQGRSHUDWHGDQRWKHUOLYHVHPLQDUFRPSDQ\FDOOHG1DWLRQDO*UDQWV

&RQIHUHQFHV ³1DWLRQDO*UDQWV´ 2YHUDSHULRGRIGHFDGHVWKH0LOLQVRSHUDWHGDYDULHW\RIJHW

ULFKTXLFNVFKHPHVLQZKLFKWKH\VROGHGXFDWLRQDOVHPLQDUVDQGPDWHULDOVWKDWSXUSRUWHGWRWHDFK

SHRSOHKRZWRHDVLO\REWDLQZHDOWK,QHDFKFDVHWKHFRPSDQLHVZHUHDFFXVHGRIPDNLQJIDOVH

SURPLVHVOXULQJFXVWRPHUVLQZLWKGHFHSWLYHPDUNHWLQJXVLQJDJJUHVVLYHVDOHVWDFWLFVWR

SHUVXDGHSHRSOHWREX\LQFUHDVLQJO\H[SHQVLYHSURGXFWVDQGSURYLGLQJOLWWOHDFFRXQWDELOLW\LQWKH

ZD\RIFXVWRPHUVHUYLFHRUUHIXQGVDFFRUGLQJWRQHZVDUWLFOHV



KWWSVZZZKXIILQJWRQSRVWFRPHQWU\WUXPSLQVWLWXWHILUHG
YHWHUDQBXVBIGDHEGDHIH

    *LGHRQ5HVQLFNTrump’s Get Rich Seminar Partnered With Couple Prosecuted for Fraud
'DLO\%HVW $SU$0 KWWSVZZZWKHGDLO\EHDVWFRPWUXPSVJHWULFKVHPLQDU
SDUWQHUHGZLWKFRXSOHSURVHFXWHGIRUIUDXG'UHZ*DUEHUMeet the Shadowy Jewish Couple at
the Center of the Trump Institute Scandal)RUZDUG -XO\ $OH[/HDU\In Trump
Institute, Donald Trump had Florida Partners With Record of Fraud, 7DPSD%D\7LPHV -XO\
$0 -RQDWKDQ0DUWLQ7UXPS,QVWLWXWH2IIHUHG*HW5LFK6FKHPHV:LWK3ODJLDUL]HG
/HVVRQV1<7LPHV -XQH KWWSVZZZQ\WLPHVFRPXVSROLWLFVGRQDOG


                                                               
         Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 129 of 164






                                                                                          
               ,Q-XQHVWDWHDWWRUQH\VJHQHUDO DQGWKHDWWRUQH\JHQHUDORI*XDP 

VLJQHGDOHWWHUWRWKH)HGHUDO7UDGH&RPPLVVLRQQRWLQJWKH0LOLQV¶GHFHSWLYHWUDGHSUDFWLFHV

WKURXJK1DWLRQDO*UDQWV$QGLQ-DQXDU\WKHQ7H[DV$WWRUQH\*HQHUDO*UHJ$EERWW

VXHG1DWLRQDO*UDQWVDQGLWVH[HFXWLYHV0LNHDQG,UHQH0LOLQ0DWW2UODQGRDQG*DLO$PHQLQ

+DUULV&RXQW\'LVWULFW&RXUWLQ7H[DVDOOHJLQJWKDW1DWLRQDO*UDQWVKDGPLVOHGFRQVXPHUV

1DWLRQDO*UDQWVGLGQRWDGPLWDQ\ZURQJGRLQJEXWWKHDFWLRQUHVXOWHGLQWKHLUEHLQJEDUUHGIURP

FRQGXFWLQJWKHNLQGRIGHFHSWLYHDGYHUWLVLQJWKH\KDGSUHYLRXVO\XVHG





WUXPSLQVWLWXWHSODJLDULVPKWPO6SHQFHU:RRGPDQDocuments Show Just How Trump Suckered
Students of the Trump Institute Felt7KH1DWLRQ 0DUFK 
KWWSVZZZWKHQDWLRQFRPDUWLFOHGRFXPHQWVVKRZMXVWKRZVXFNHUHGVWXGHQWVRIWKHWUXPS
LQVWLWXWHIHOW

    /HWWHUIURP$WWRUQH\V*HQHUDOVWRWKH)HGHUDO7UDGH&RPPLVVLRQ -XQH 

    $VVXUDQFHRI9ROXQWDU\&RPSOLDQFH,QWKH0DWWHURIProven Methods SeminarsLLC1R
 +DUULV&W\'LVW&W-DQ 


                                                               
         Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 130 of 164






                                                                                                        
               7KH0LOLQVHIIHFWLYHO\UDQWKH7UXPS,QVWLWXWH7KH7UXPS,QVWLWXWHHYHQVKDUHG

RIILFHVSDFHLQ%RFD5DWRQ)ORULGDZLWKWKH0LOLQV¶RWKHUFRPSDQLHVDFFRUGLQJWR)ORULGD

FRUSRUDWHUHFRUGV

               7KH7UXPS,QVWLWXWHHYHQVKDUHGVWDIIHUVZLWKWKH0LOLQV¶RWKHUFRPSDQLHV

$FFRUGLQJWRDQ$SULODUWLFOHLQWKHDaily BeastIRUH[DPSOH1DWLRQDO*UDQWVXVHGLWV

VWDIIHUVDQGRIILFHVSDFHWRKHOSRSHUDWHWKH7UXPS,QVWLWXWH7ZRVXFKVWDIIHUVZHUHVSHDNHUV

5LFN:LVHPDQDQG6DHQ+LJJLQVZKRKDGZRUNHGDVVDOHVSHRSOHIRU1DWLRQDO*UDQWVEHIRUH





  *LGHRQ5HVQLFNTrump’s Get Rich Seminar Partnered With Couple Prosecuted for Fraud
'DLO\%HVW $SU$0 KWWSVZZZWKHGDLO\EHDVWFRPWUXPSVJHWULFKVHPLQDU
SDUWQHUHGZLWKFRXSOHSURVHFXWHGIRUIUDXG


                                                               
         Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 131 of 164




GRLQJWKHVDPHZRUNIRUWKH7UXPS,QVWLWXWH7KHUHZDVDOVR³UHF\FOHG1*&PDWHULDO´LQ

7UXPS,QVWLWXWHSLWFKHVLQFOXGLQJDVWRU\DERXWKRZ:LVHPDQREWDLQHGRYHULQ

JRYHUQPHQWPRQH\WRUHQRYDWHKLV8WDKKRPH

               7KH0LOLQVUDQWKH7UXPS,QVWLWXWHLQDVLPLODUO\SUREOHPDWLFZD\,QWKH

%HWWHU%XVLQHVV%XUHDXJDYH7UXPS,QVWLWXWHDQ)UDWLQJ7KLVZDVUHIOHFWLYHRIWKHRYHUDOO

H[SHULHQFHWKDWFRQVXPHUVKDGZLWKWKHFRPSDQ\GXULQJWKH\HDUVLWZDVRSHUDWLRQDO

               5HFRUGVFRPSLOHGE\$WWRUQH\V*HQHUDODFURVVWKHFRXQWU\GXULQJWKH\HDUVWKDW

7UXPS,QVWLWXWHZDVLQRSHUDWLRQDOVRGHPRQVWUDWHZLGHVSUHDGGLVVDWLVIDFWLRQZLWKWKH7UXPS

,QVWLWXWHVHPLQDUVE\FXVWRPHUVZKRFRXOGQRWUHFHLYHUHIXQGVDQGIHOWDVWKRXJKWKH\KDGEHHQ

VFDPPHGRXWRIWKRXVDQGVRIGROODUV

               $VSDUWRIDLQYHVWLJDWLRQLQWR7UXPSHQWLW\IRUSURILWHGXFDWLRQVFKHPHV

IRUH[DPSOHWKHQ7H[DV$WWRUQH\*HQHUDO*UHJ$EERWWKDGFRPSLOHGDERXWSDJHVRI

GRFXPHQWVDQGFRPSODLQWVWKDWKDGEHHQILOHGDJDLQVW7UXPS,QVWLWXWH DQG7UXPS8QLYHUVLW\ 

DFFRUGLQJWRUHSRUWLQJE\The NationLQ,QFOXGHGLQ$EERWW¶VGRFXPHQWVZHUH

FRPSODLQWVWKDWZHUHQRWRQO\VXEPLWWHGWRWKH7H[DV$WWRUQH\*HQHUDO¶VRIILFHEXWDOVRILOLQJV






    -RH0XOOLQDQG-RQDWKDQ.DPLQVN\Firm’s Claims for Grants Get Legal Scrutiny,
6$&5$0(172%((-XO\DYDLODEOHDW
KWWSVGULYHJRRJOHFRPILOHG%\+-=VR*Q-%H+9-9]1W41=E:YLHZsee also -RH0XOOLQ
DQG-RQDWKDQ.DPLQVN\Trump University and the Art of the Get Rich Seminar, $56
7(&+1,&$$SUDYDLODEOHDWKWWSVDUVWHFKQLFDFRPWHFKSROLF\ZH
ZLWQHVVHGWKHELUWKRIWUXPSXQLYHUVLW\

    'RXJODV)HLGHQTrump U. Hit by Complaints from Those Who Paid Up to 30G, And Say They
Got Very Little in Return, 1<'$,/<1(:60D\DYDLODEOHDW
KWWSZZZQ\GDLO\QHZVFRPQHZVWUXPSXKLWFRPSODLQWVSDLGJUHWXUQDUWLFOH

    6SHQFHU:RRGPDQDocuments Show Just How Suckered Students of the Trump Institute Felt,
7+(1$7,210DUDYDLODEOHDWKWWSVZZZWKHQDWLRQFRPDUWLFOHGRFXPHQWVVKRZ
MXVWKRZVXFNHUHGVWXGHQWVRIWKHWUXPSLQVWLWXWHIHOW


                                                               
         Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 132 of 164




IURP%HWWHU%XVLQHVV%XUHDXVLQWKHVWDWHVRI)ORULGDDQG1HZ<RUNZKHUHWKHUHZHUHDGGLWLRQDO

7UXPS,QVWLWXWHDQG7UXPS8QLYHUVLW\RIILFHV

               7KH7UXPS(QWHUSULVHSURILWHGHQRUPRXVO\IURPWKLVIUDXG7KH7UXPS,QVWLWXWH

VHPLQDUVDQGFRXUVHPDWHULDOFRXOGFRVWSDUWLFLSDQWVWHQVRIWKRXVDQGVRIGROODUVLQWRWDOIHHV$W

WKHLQLWLDO³IUHH´VHPLQDUVIRUH[DPSOHSDUWLFLSDQWVZHUHSURGGHGWRSXUFKDVHDQDGGLWLRQDO

WKUHHGD\FRQIHUHQFHD³:HDOWK%XLOGLQJ:HHNHQG´IRU

               ,QLWVILUVWIXOO\HDURIRSHUDWLRQWKH7UXPS,QVWLWXWHKHOGDERXWGLIIHUHQW

VHPLQDUVLQGLIIHUHQWFLWLHVDFURVVWKHFRXQWU\

               $VRQHPDQZURWHLQDFRPSODLQWWRWKH)ORULGD$WWRUQH\*HQHUDO¶VRIILFHDERXWD

VHPLQDU³7KH\DUHXVLQJRXUPRQH\WRPDNHPRQH\´ $QRWKHUFRPSODLQWIURPD

ZRPDQZKRZURWHWRWKH$WWRUQH\*HQHUDO¶VRIILFHUHTXHVWLQJDLGLQUHFHLYLQJDUHIXQGRI

DIWHUVKHZDVDOOHJHGO\PLVOHGDERXWWKH7UXPS,QVWLWXWHE\LWVDGYHUWLVLQJVWDWHG³:H

VSHQWQXPHURXVKRXUVSODFLQJFDOOV PRVWWLPHVZHUHRQO\DEOHWROHDYHDPHVVDJHLQDJHQHUDO

PDLOER[RUZHUHGLVFRQQHFWHGZLWKRXWDOORZLQJDYRLFHPDLO´ ³7UXPS,QVWLWXWHWRRNRXUPRQH\

GLGQRWSURYLGHDQ\PHQWRULQJVHUYLFHLVYLUWXDOO\XQDYDLODEOHE\SKRQHHPDLORUID[DQGKDV

IDLOHGWROLYHXSWRWKHLUDJUHHPHQW´






    Id.See also 6FRWW0D[ZHOOTrump Funds Bondi as the AG Considered a Probe25/$1'2
6(17,1(/2FWDYDLODEOHDWKWWSDUWLFOHVRUODQGRVHQWLQHOFRPQHZVRV
VFRWWPD[ZHOOERQGLWUXPSBBDWWRUQH\JHQHUDOSDPERQGLGRQDOGWUXPSFDPSDLJQ
HYHQW

    *LGHRQ5HVQLFNTrump’s Get Rich Seminar Partnered with Couple Prosecuted for Fraud
7+('$,/<%($67$SUDYDLODEOHDWKWWSVZZZWKHGDLO\EHDVWFRPWUXPSVJHWULFK
VHPLQDUSDUWQHUHGZLWKFRXSOHSURVHFXWHGIRUIUDXG

    $OH[/HDU\In Trump Institute, Donald Trump Had Florida Partners with a Record of Fraud,
7$03$%$<7,0(6-XQKWWSZZZWDPSDED\FRPQHZVSROLWLFVVWDWHURXQGXSLQ
WUXPSLQVWLWXWHGRQDOGWUXPSKDGIORULGDSDUWQHUVZLWKDUHFRUGRIIUDXG

    Id.


                                                               
         Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 133 of 164




               $QRWKHUVWXGHQWZURWHWRWKH)ORULGD$WWRUQH\*HQHUDO¶VRIILFHVHHNLQJKHOSLQ

REWDLQLQJDUHIXQGIURP7UXPS,QVWLWXWH³3OHDVHKHOSPH,ZDVODLGRIIZRUNIRUWKHILUVW

WLPHLQP\OLIHDQGUHDOO\QHHGWKLVPRQH\WRVXSSRUWP\IDPLO\LVVRPXFKPRQH\IRU

P\IDPLO\´$QRWKHUZRPDQZURWHDFRPSODLQWGLUHFWO\DGGUHVVHGWR'RQDOG7UXPSZKLFK

ZDVWKHQIRUZDUGHGWRWKH$WWRUQH\*HQHUDO¶VRIILFH³0U7UXPS,DPDQ\HDUROGZRPDQ

OLYLQJRQDIL[HGPRGHVWLQFRPH7KHPRQWKO\SD\PHQW\RXURUJDQL]DWLRQKDVEHHQGHGXFWLQJ

IURPP\EDQNDFFRXQWLVFUHDWLQJDQRQJRLQJKDUGVKLSIRUPH´

               $QRWKHUFRPSODLQWVXEPLWWHGLQE\D&RQQHFWLFXWFRXSOHH[SODLQHGWKDWWKH\

DWWHQGHGD7UXPS,QVWLWXWHVHPLQDUDQGZHUHOHGWREHOLHYHE\WKHSHUVRQFRQGXFWLQJWKHVHPLQDU

³WKDWKHZDVDEVROXWHO\EURNHDQGKLVZLIHZDVDERXWWROHDYHKLPDQGKHIRXQGWKH7UXPS

,QVWLWXWHZKLFKVDYHGKLVOLIH´$IHZGD\VODWHUWKHFRXSOHUHFHLYHGDSKRQHFDOOIURPVRPHRQH

DWWKH7UXPS,QVWLWXWHZKRFRQYLQFHGWKHPWRVLJQXSIRUDPRUHH[WHQGHGSURJUDP³7KLVPDQ

NQHZWKDWZHZHUHDOUHDG\LQDORWRIGHEWDQGZHZHUHJRLQJWRSD\IRUWKLVSDUW>RQ@FUHGLWFDUG

DQGWKHRWKHUSDUWP\KXVEDQGZDVWRERUURZIURPKLVNUHWLUHPHQW3ODQ´WKHFRPSODLQW

VWDWHG$IHZGD\VODWHUZKHQWKHFRXUVHPDWHULDOVDQGWKHFRQWUDFWGLGQRWDUULYHLQWKHPDLO

WKHFRXSOHWULHGWRFDQFHOWKHLUPHPEHUVKLSDQGUHFHLYHDUHIXQG6HYHUDOSKRQHFDOOVDQGRYHU

WHQGD\VODWHUWKH\ZHUHWROGWKDWWKHLUPHPEHUVKLSZDVSDVWWKHFDQFHOODWLRQGDWHDQGWKH\

ZRXOGQRWEHDEOHWRUHFHLYHDUHIXQG³7KH7UXPS,QVWLWXWHIDLOHGXVE\QRW>«@VWD\LQJWUXHWR

WKHLUZRUG´WKH\ZURWH




    6SHQFHU:RRGPDQDocuments Show Just How Suckered Students of the Trump Institute Felt,
7+(1$7,210DUKWWSVZZZWKHQDWLRQFRPDUWLFOHGRFXPHQWVVKRZMXVWKRZ
VXFNHUHGVWXGHQWVRIWKHWUXPSLQVWLWXWHIHOW

    $OH[/HDU\In Trump Institute, Donald Trump had Florida partners with a record of fraud,
7$03$%$<7,0(6-XQH
KWWSVZZZWDPSDED\FRPQHZVSROLWLFVVWDWHURXQGXSLQWUXPSLQVWLWXWHGRQDOGWUXPSKDG
IORULGDSDUWQHUVZLWKDUHFRUGRIIUDXG


                                                               
         Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 134 of 164




               $QRWKHU)ORULGDUHVLGHQWVXEPLWWHGDFRPSODLQWWRWKH$WWRUQH\*HQHUDO¶VRIILFH

LQVHHNLQJKHOSREWDLQLQJDUHIXQGIURPWKH7UXPS,QVWLWXWH7KHFXVWRPHUKDGEHHQ

ZDLWLQJVHYHUDOPRQWKVIRUDUHVSRQVHIURPWKH7UXPS,QVWLWXWHUHJDUGLQJDUHIXQG³>7@KH

FRPSDQ\«>LV@WU\LQJWRJHWULGRIPH´WKHFRPSODLQWVWDWHV³7KLVFRPSDQ\LVD'RQDOG7UXPS

FRPSDQ\VR,IHOWLWZDVOHJLWLPDWH´

               $&DOLIRUQLDUHVLGHQWZURWHWRWKH)ORULGD$WWRUQH\*HQHUDO¶VRIILFHLQ-DQXDU\RI

H[SODLQLQJWKDWKHKDGSDLGIRUDUHDOHVWDWHFRXUVHRYHUD\HDUHDUOLHUDQGKDV

VLQFHEHHQXQDEOHWRJHWDUHIXQG³,UHFHLYHGQRWKLQJ´IURPWKHFRXUVHKHZURWH³,KDYHFDOOHG

UHSHDWHGO\WRJHWDUHIXQG,WKLQNWKLVLVDELJVFDP&DQ\RXKHOSPH"´


              &            7UXPS)DOVHO\5HSUHVHQWHGWKDW+LV(QGRUVHPHQW:DV3UHGLFDWHGRQ
                             $SSURSULDWH'XH'LOLJHQFHDQGRU,QVLGH,QIRUPDWLRQ

               ,QDGGLWLRQWRPLVUHSUHVHQWLQJWKHSUREDELOLW\RISURVSHFWLYHVWXGHQWV¶FRPPHUFLDO

VXFFHVVEDVHGRQWKHPDWHULDODQGWKHQDWXUHRIKLVRZQLQYROYHPHQWDQGFRPSHQVDWLRQ7UXPS

UHSHDWHGO\PLVVWDWHGWKDWKHKDGDFFHVVWRLQVLGHLQIRUPDWLRQUHJDUGLQJWKH,QVWLWXWHDQGWKDWKH

ZDVLQWLPDWHO\DZDUHRIWKHHGXFDWLRQDOFRQWHQWLQZKLFKKHZDVDVNLQJVWXGHQWVWRLQYHVW

               $VSDUWRI7UXPS¶VFODLPWKDWKHZDVLQWLPDWHO\IDPLOLDUZLWKWKHFRQWHQWRIWKH

7UXPS,QVWLWXWH¶VHGXFDWLRQDOVHUYLFHVKHVXJJHVWHGWKDWKHKLPVHOIKDGFKRVHQWKHFRXUVH

PDWHULDO7UXPSFODLPHGWKDWKHKDV³SXWDOORI>KLVRZQ@FRQFHSWV´LQWRWKHVHPLQDUVIRUSHRSOH

WROHDUQIURP.³$GGLWLRQDOHGXFDWLRQDOPDWHULDOVZLOOEHIRUVDOHDWWKHVHPLQDU´LVZULWWHQ

DFURVVWKHERWWRPRIWKHVFUHHQGXULQJRQHSRUWLRQRIRQHRIWKHLQIRPHUFLDOV

               1RWRQO\ZDVLWSDWHQWO\IDOVHWKDW7UXPSKDGDXWKRUHGWKHFRXUVHPDWHULDOV DV

DOOHJHGDERYH EXW7UXPS¶VRZQDWWRUQH\VPDGHFOHDUMXVWKRZOLWWOHGLOLJHQFH7UXPSKDGGRQH



   7KH'RQDOG7UXPS:D\WR:HDOWK-XQ
KWWSVZZZ\RXWXEHFRPZDWFK"Y \\5XVF


                                                               
         Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 135 of 164




RQWKH,QVWLWXWHKHZDVHQGRUVLQJ)RUH[DPSOHZKHQ$ODQ*DUWHQWKHQH[HFXWLYHYLFH

SUHVLGHQWDQGJHQHUDOFRXQVHORI7KH7UXPS2UJDQL]DWLRQVSRNHWRWKHNew York Times LQ

KHFODLPHGWKDW'RQDOG7UXPSZDV³REYLRXVO\´XQDZDUHRIWKHSODJLDULVPLVVXHVLQFHKHKDG

OLWWOHDFWXDOLQYROYHPHQWZLWKWKH7UXPS,QVWLWXWHLQWKHILUVWSODFH *DUWHQXQGHUVFRUHGWKDW

WKH7UXPS,QVWLWXWHZDVVLPSO\D³VKRUWWHUPOLFHQVLQJGHDO´WKRXJK7UXPS¶VRZQVWDWHPHQWVDW

WKHWLPHZHUHGLUHFWO\WRWKHFRQWUDU\

               0RUHRYHU*DUWHQGLUHFWO\FRQWUDGLFWHG7UXPS¶VPDQ\DVVHUWLRQVWKDWKHZDV

LQYROYHGLQGHVLJQLQJWKH7UXPS,QVWLWXWHSURJUDPDQGLQVHOHFWLQJPHQWRUV*DUWHQVWDWHGWKDW

³>W@KH7UXPS,QVWLWXWHZDVDOLFHQVHHRI7UXPS8QLYHUVLW\DQGZDVQRWRZQHGDQGFRQWUROOHGE\

0U7UXPSRUDQ\RIKLVFRPSDQLHV´*DUWHQFRQWLQXHG³$VVXFK0U7UXPSKDGQRWKLQJ

ZKDWVRHYHUWRGRZLWKWKHHPSOR\PHQWRIDQ\RIWKH7UXPS,QVWLWXWH¶VHPSOR\HHVRUPHQWRUV´

               ,QKLVGHSRVLWLRQ6H[WRQVDLGWKDWKHGLGQRW³EHOLHYH´WKDWDQ\RQHDW7KH

7UXPS2UJDQL]DWLRQZRXOGKDYHUHYLHZHGWKH7UXPS,QVWLWXWH¶VFXUULFXOXP+HIXUWKHU

HPSKDVL]HGWKDW7UXPSSHUVRQDOO\³ZRXOGQHYHUGRWKDW´


;           &/$66$//(*$7,216

               3ODLQWLIIVEULQJWKLVDFWLRQRQWKHLURZQEHKDOIDQGSXUVXDQWWR)HGHUDO5XOHRI

&LYLO3URFHGXUH D HDFKRIWKHWKUHHVXEGLYLVLRQVRI5XOH E DQG5XOH F  



     See-RQDWKDQ0DUWLQTrump Institute Offered Get Rich Schemes with Plagiarized Lessons
7+(1(:<25.7,0(6-XQ
KWWSVZZZQ\WLPHVFRPXVSROLWLFVGRQDOGWUXPSLQVWLWXWHSODJLDULVPKWPO

    Id.

    &KULVWLQD:LONLHTrump Institute Fired Veteran for ‘Absences’ After he was Deployed to
Afghanistan+8)),1*7213267$SUDYDLODEOHDW
KWWSVZZZKXIILQJWRQSRVWFRPHQWU\WUXPSLQVWLWXWHILUHG
YHWHUDQBXVBIGDHEGDHIH

    Makaeff et al. YTrump University, LLC, et al., 1RFY(,*:9*6H[WRQ'HS
-XO\DW

    Id. DW


                                                               
       Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 136 of 164




           )LUVW3ODLQWLIIVVHHNFHUWLILFDWLRQRIDQDWLRQZLGHFODVVXQGHU5XOH E  $ 

DQGRU E  FODVVFRQVLVWLQJRIDOOSHUVRQVDQGHQWLWLHVZKRLQYHVWHGLQVXEVFULEHGWRRU

PDGHSD\PHQWVWR$&12SSRUWXQLW\//& ³$&1´ RULWVDIILOLDWHV WKH³1DWLRQZLGH(TXLWDEOH

&ODVV´ IRUSXUSRVHVRIDVVHUWLQJFRPPRQODZIUDXGDQGFRPPRQODZQHJOLJHQW

PLVUHSUHVHQWDWLRQFODLPVDQGFODLPVXQGHU5,&2

           3ODLQWLIIV-DQH'RHDQG/XNH/RHDOVRVHHNFHUWLILFDWLRQRIDFODVVRUVXEFODVV

XQGHU5XOH E  $ DQGRU E  FRQVLVWLQJRIDOOSHUVRQVDQGHQWLWLHVZKRIURP

&DOLIRUQLDLQYHVWHGLQVXEVFULEHGRUPDGHSD\PHQWVWR$&12SSRUWXQLW\//& ³$&1´ RULWV

DIILOLDWHV WKH³&DOLIRUQLD(TXLWDEOH&ODVV´ IRUSXUSRVHVRIDVVHUWLQJVWDWXWRU\FODLPVXQGHU

&DOLIRUQLDODZ

           3ODLQWLII5LFKDUG5RHDOVRVHHNVFHUWLILFDWLRQRIDFODVVRUVXEFODVVXQGHU

5XOH E  $ DQGRU E  FRQVLVWLQJRIDOOSHUVRQVDQGHQWLWLHVZKRIURP0DU\ODQG

LQYHVWHGLQVXEVFULEHGRUPDGHSD\PHQWVWR$&12SSRUWXQLW\//& ³$&1´ RULWVDIILOLDWHV

    WKH³0DU\ODQG(TXLWDEOH&ODVV´ IRUSXUSRVHVRIDVVHUWLQJVWDWXWRU\FODLPVXQGHU0DU\ODQGODZ

           3ODLQWLII0DU\0RHDOVRVHHNVFHUWLILFDWLRQRIDFODVVRUVXEFODVVXQGHU

5XOH E  $ DQGRU E  FRQVLVWLQJRIDOOSHUVRQVDQGHQWLWLHVZKRIURP3HQQV\OYDQLD

LQYHVWHGLQVXEVFULEHGRUPDGHSD\PHQWVWR$&12SSRUWXQLW\//& ³$&1´ RULWVDIILOLDWHV

    WKH³3HQQV\OYDQLD(TXLWDEOH&ODVV´ IRUSXUSRVHVRIDVVHUWLQJVWDWXWRU\FODLPVXQGHU

3HQQV\OYDQLDODZ

           7KHSURSRVHG1DWLRQZLGH(TXLWDEOH&ODVVWKHSURSRVHG&DOLIRUQLD(TXLWDEOH

&ODVVWKHSURSRVHG0DU\ODQG(TXLWDEOH&ODVVDQGWKHSURSRVHG3HQQV\OYDQLD(TXLWDEOH&ODVV

DUHUHIHUUHGWRFROOHFWLYHO\DVWKH³(TXLWDEOH&ODVVHV´




                                                 
    Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 137 of 164




        7KHSURVHFXWLRQRIVHSDUDWHDFWLRQVE\LQGLYLGXDOPHPEHUVRIWKH

5XOH E  $ DQG E  (TXLWDEOH&ODVVHVZRXOGFUHDWHWKHULVNRILQFRQVLVWHQWRUYDU\LQJ

DGMXGLFDWLRQVZKLFKZRXOGHVWDEOLVKLQFRPSDWLEOHVWDQGDUGVRIFRQGXFWIRU'HIHQGDQWV

        'HIHQGDQWVKDYHDFWHGRUIDLOHGWRDFWRQJURXQGVJHQHUDOO\DSSOLFDEOHWRWKH

5XOH E  $ DQG E  (TXLWDEOH&ODVVHVWKHUHE\PDNLQJDSSURSULDWHILQDOLQMXQFWLYHDQG

GHFODUDWRU\UHOLHIZLWKUHVSHFWWRWKH(TXLWDEOH&ODVVHVDVDZKROH

        7KHLQGLYLGXDOPHPEHUVRIWKH5XOH E  $ DQG E  (TXLWDEOH&ODVVHVDUH

VRQXPHURXVWKDWMRLQGHULVLPSUDFWLFDEOH7KHSUHFLVHVL]HRIWKHHDFKRIWKH(TXLWDEOH&ODVVHV

LVNQRZQRQO\WR'HIHQGDQWVEXWKDQGLO\PHHWVWKHWKUHVKROGIRUFHUWLILFDWLRQ

        6HFRQG3ODLQWLIIVVHHNFHUWLILFDWLRQRIDQDWLRQZLGHFODVVXQGHU5XOH E  

FRQVLVWLQJRIDOOSHUVRQVDQGHQWLWLHVZKRLQYHVWHGLQVXEVFULEHGRUPDGHSD\PHQWVWR$&1

2SSRUWXQLW\//& ³$&1´ RULWVDIILOLDWHVEXWGLGQRWUHFRXSDQDPRXQWHTXDOWRRUPRUHWKDQ

WKRVHSD\PHQWVIURP$&1 WKH³1DWLRQZLGH'DPDJHV&ODVV´ IRUSXUSRVHVRIDVVHUWLQJFRPPRQ

ODZIUDXGDQGFRPPRQODZQHJOLJHQWPLVUHSUHVHQWDWLRQFODLPVDQGFODLPVXQGHU5,&2

        3ODLQWLIIV-DQH'RHDQG/XNH/RHDOVRVHHNFHUWLILFDWLRQRIDFODVVRUVXEFODVV

XQGHU5XOH E  FRQVLVWLQJRIDOOSHUVRQVDQGHQWLWLHVZKRIURP&DOLIRUQLDLQYHVWHGLQ

VXEVFULEHGRUPDGHSD\PHQWVWR$&12SSRUWXQLW\//& ³$&1´ RULWVDIILOLDWHVEXWGLGQRW

UHFRXSDQDPRXQWHTXDOWRRUPRUHWKDQWKRVHSD\PHQWVIURP$&1 WKH³&DOLIRUQLD'DPDJHV

&ODVV´ IRUSXUSRVHVRIDVVHUWLQJVWDWXWRU\FODLPVXQGHU&DOLIRUQLDODZ

        3ODLQWLII5LFKDUG5RHDOVRVHHNVFHUWLILFDWLRQRIDFODVVRUVXEFODVVXQGHU

5XOH E  FRQVLVWLQJRIDOOSHUVRQVDQGHQWLWLHVZKRIURP0DU\ODQGLQYHVWHGLQVXEVFULEHG

RUPDGHSD\PHQWVWR$&12SSRUWXQLW\//& ³$&1´ RULWVDIILOLDWHVEXWGLGQRWUHFRXSDQ




                                               
     Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 138 of 164




DPRXQWHTXDOWRRUPRUHWKDQWKRVHSD\PHQWVIURP$&1 WKH³0DU\ODQG'DPDJHV&ODVV´ IRU

SXUSRVHVRIDVVHUWLQJVWDWXWRU\FODLPVXQGHU0DU\ODQGODZ

        3ODLQWLII0DU\0RHDOVRVHHNVFHUWLILFDWLRQRIDFODVVRUVXEFODVVXQGHU5XOH

 E  FRQVLVWLQJRIDOOSHUVRQVDQGHQWLWLHVZKRIURP3HQQV\OYDQLDLQYHVWHGLQVXEVFULEHGRU

PDGHSD\PHQWVWR$&12SSRUWXQLW\//& ³$&1´ RULWVDIILOLDWHVEXWGLGQRWUHFRXSDQ

DPRXQWHTXDOWRRUPRUHWKDQWKRVHSD\PHQWVIURP$&1 WKH³3HQQV\OYDQLD'DPDJHV&ODVV´ 

IRUSXUSRVHVRIDVVHUWLQJVWDWXWRU\FODLPVXQGHU3HQQV\OYDQLDODZ

        7KHSURSRVHG1DWLRQZLGH'DPDJHV&ODVVWKHSURSRVHG&DOLIRUQLD'DPDJHV

&ODVVWKHSURSRVHG0DU\ODQG'DPDJHV&ODVVDQGWKHSURSRVHG3HQQV\OYDQLD'DPDJHV&ODVVDUH

UHIHUUHGWRFROOHFWLYHO\DVWKH³'DPDJHV&ODVVHV´

        7KHLQGLYLGXDOPHPEHUVRIWKH'DPDJHV&ODVVHVDUHVRQXPHURXVWKDWMRLQGHULV

LPSUDFWLFDEOH7KHSUHFLVHVL]HRIWKHHDFKRIWKH'DPDJHV&ODVVHVLVNQRZQRQO\WR'HIHQGDQWV

EXWKDQGLO\PHHWVWKHWKUHVKROGIRUFHUWLILFDWLRQ

        $OORIWKHPHPEHUVRIWKH'DPDJHV&ODVVHVKDYHEHHQLQMXUHGDVDUHVXOWRI

'HIHQGDQWV¶FRQGXFW

        7KLUGDVDQDOWHUQDWLYHWRVHHNLQJFODVVFHUWLILFDWLRQXQGHU5XOH E 3ODLQWLIIV

PD\DOVRVHHNFHUWLILFDWLRQRIWKHFODVVHVGHILQHGDERYHEXWOLPLWHGWRVSHFLILFLGHQWLILHG

FRPPRQLVVXHVXQGHU5XOH F  

        3ODLQWLIIVUHVHUYHWKHULJKWWRDPHQGWKHGHILQLWLRQVRIWKH&ODVVHVLIGLVFRYHU\

DQGRUIXUWKHULQYHVWLJDWLRQUHYHDOWKDWWKH&ODVVHVVKRXOGEHH[SDQGHGRURWKHUZLVHPRGLILHG

        7KHUHDUHQXPHURXVTXHVWLRQVRIODZDQGIDFWFRPPRQWRWKH(TXLWDEOH&ODVVHV

DQGWKH'DPDJHV&ODVVHV FROOHFWLYHO\WKH³&ODVVHV´ &KLHIDPRQJWKHPDUHZKHWKHU

'HIHQGDQWVDFWLRQVDVGHVFULEHGLQWKLV&RPSODLQWYLRODWHG5,&2RUWKHFRQVXPHUSURWHFWLRQ




                                                
    Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 139 of 164




VWDWXWHVRI&DOLIRUQLD0DU\ODQGRU3HQQV\OYDQLDRUFRQVWLWXWHGFRPPRQODZIUDXGRUFRPPRQ

ODZQHJOLJHQWPLVUHSUHVHQWDWLRQ7KHVHFRPPRQLVVXHVSUHGRPLQDWHRYHUDQ\LQGLYLGXDOLVVXHV

SHUWDLQLQJWRWKHPHPEHUVRIWKH'DPDJHV&ODVVHVDQGLQFOXGHZLWKRXWOLPLWDWLRQZKHWKHU

                  D  7KH7UXPS$VVRFLDWLRQLQ)DFWLVDQ³HQWHUSULVH´ZLWKLQWKHPHDQLQJRI

                      86&  

                  E  7KH7UXPS&RUSRUDWLRQLVDQ³HQWHUSULVH´ZLWKLQWKHPHDQLQJRI

                      86&  

                  F  'HIHQGDQWVRSHUDWHGDQGFRQWUROOHGWKH7UXPS$VVRFLDWLRQLQ)DFW

                  G  7KH,QGLYLGXDO'HIHQGDQWVRSHUDWHGDQGFRQWUROOHGWKH7UXPS&RUS

                      (QWHUSULVH

                  H  'HIHQGDQWVHQJDJHGRUFRQVSLUHGWRHQJDJHLQDSDWWHUQRIPDLOIUDXG

                      LQGLFWDEOHXQGHU86&

                  I  'HIHQGDQWVHQJDJHGRUFRQVSLUHGWRHQJDJHLQDSDWWHUQRIZLUHIUDXG

                      LQGLFWDEOHXQGHU86&

                  J  'HIHQGDQWVSURPRWHGWKH$&1EXVLQHVVRSSRUWXQLW\ZLWKIDOVHDQG

                      PLVOHDGLQJVWDWHPHQWV

                  K  'HIHQGDQWVHQJDJHGLQDVFKHPHWRGHIUDXGPHPEHUVRIWKH&ODVVHV

                  L  0HPEHUVRIWKH&ODVVHVDUHHQWLWOHGWRDQDZDUGRIWUHEOHVWDWXWRU\

                      SXQLWLYHGDPDJHVDWWRUQH\V¶IHHVDQGH[SHQVHV

                  M  0HPEHUVRIWKH&ODVVHVDUHHQWLWOHGWRHTXLWDEOHUHOLHIDQGLIVRWKH

                      QDWXUHRIVXFKUHOLHI




                                                
        Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 140 of 164




                       N  'HIHQGDQWV¶FRQGXFWLQMXUHGPHPEHUVRIWKH&ODVVHVDQGZKHWKHUWKRVH

                          LQMXULHVLQFOXGLQJPRQHWDU\DQGRXWRISRFNHWSHFXQLDU\ORVVHVDUH

                          FRPSHQVDEOH

           'HIHQGDQWV¶SUDFWLFHVDQGWKHFODLPVDOOHJHGLQWKLVFRPSODLQWDUHFRPPRQWRDOO

PHPEHUVRIWKH&ODVVHV

           7KHYLRODWLRQVDQGLQMXULHVVXIIHUHGE\3ODLQWLIIVDUHW\SLFDORIWKRVHVXIIHUHGE\

PHPEHUVRIWKH&ODVVHV3ODLQWLIIVOLNHDOOPHPEHUVRIWKH&ODVVHVDUHLQGLYLGXDOVZKRZHUH

OXUHGLQWRLQYHVWLQJLQWKH$&1EXVLQHVVRSSRUWXQLW\DQGLQFXUUHGFRVWVDQGVXIIHUHGORVVHVDVD

UHVXOWRI'HIHQGDQWV¶PLVUHSUHVHQWDWLRQVDQGVFKHPHWRGHIUDXG7KH&ODVVHVZLOOEHQHILWIURP

WKHUHPHGLDODQGPRQHWDU\UHOLHIVRXJKWLQWKLVDFWLRQ

           3ODLQWLIIVDQGWKHLUFRXQVHOZLOODGHTXDWHO\DQGIDLUO\SURWHFWWKHLQWHUHVWVRIDOO

PHPEHUVRIWKH&ODVVEHFDXVHWKH\KDYHWKHUHTXLVLWHSHUVRQDOLQWHUHVWLQWKHRXWFRPHRIWKLV

OLWLJDWLRQDQGWKH\KDYHQRLQWHUHVWDQWDJRQLVWLFWRRWKHUVLQWKH&ODVVHV

           3ODLQWLIIVDUHUHSUHVHQWHGE\FRXQVHOFRPSHWHQWDQGH[SHULHQFHGLQIHGHUDOFODVV

DFWLRQFRQVXPHUSURWHFWLRQDQG5,&2OLWLJDWLRQ.DSODQ+HFNHUDQG)LQN//3 ³.+)´ LVD

SURPLQHQW1HZ<RUN&LW\ODZILUPZKRVHODZ\HUVKDYHH[WHQVLYHH[SHULHQFHOLWLJDWLQJFRPSOH[

FLYLOFDVHVDQGLQFLYLOULJKWVOLWLJDWLRQ(PHU\&HOOL%ULQFNHUKRII $EDG\//3 ³(&%$´ LV

DOVRDSURPLQHQW1HZ<RUN&LW\ODZILUPZLWKH[WHQVLYHH[SHULHQFHLQFODVVDFWLRQODZVXLWVDQG

LQFRQVXPHUDQGFLYLOULJKWVOLWLJDWLRQ(&%$VHUYHGDVFODVVFRXQVHOLQSykes Y Mel Harris &

Associates, LLC)5' 6'1<  FHUWLI\LQJ5XOH E  DQG  FODVVHVRI

KXQGUHGVRIWKRXVDQGVRISHUVRQVLQMXUHGE\IUDXGXOHQWVFKHPHWRREWDLQGHIDXOWMXGJPHQWVLQ

YLRODWLRQRIinter alia5,&2DQGWKH1HZ<RUN&RQVXPHU3URWHFWLRQ$FW aff’d)G

    G&LU 




                                                  
     Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 141 of 164




         $FODVVDFWLRQLVWKHVXSHULRUPHWKRGIRUDIDLUDQGHIILFLHQWDGMXGLFDWLRQRIWKLV

PDWWHULQWKDW'HIHQGDQWVKDYHDFWHGLQDPDQQHUJHQHUDOO\DSSOLFDEOHWRWKH&ODVVHVMRLQGHURI

DOOPHPEHUVRIWKH&ODVVHVLVLPSUDFWLFDEOHDQGDFODVVDFWLRQPD\DYRLGQXPHURXVVHSDUDWH

DFWLRQVE\&ODVVPHPEHUVWKDWZRXOGXQGXO\EXUGHQWKHFRXUWV

         $GGLWLRQDOO\WKHGDPDJHVVXIIHUHGE\FODVVPHPEHUVDOWKRXJKVXEVWDQWLDODUH

VPDOOLQUHODWLRQWRWKHH[WUDRUGLQDU\H[SHQVHDQGEXUGHQRIFRPSOH[OLWLJDWLRQDQGLWLVWKHUHIRUH

KLJKO\XQOLNHO\WKDWDQ\VLJQLILFDQWQXPEHURILQGLYLGXDODFWLRQVZLOOEHSXUVXHGSDUWLFXODUO\

EHFDXVHPHPEHUVRIWKH&ODVVHVDUHSULPDULO\ORZLQFRPHLQGLYLGXDOVZLWKOLPLWHGDFFHVVWR

FRXQVHO+HQFHWKHLUULJKWVXQGHUWKHODZPD\ZHOOEHPHDQLQJOHVVZLWKRXWFHUWLILFDWLRQRID

FODVVDFWLRQVHHNLQJFRPPRQUHGUHVV

         7KLVFDVHFDQEHHIILFLHQWO\DQGHDVLO\PDQDJHGDVDFODVVDFWLRQ

                                        &$86(62)$&7,21

&281721(              5DFNHWHHULQJLQ9LRODWLRQRIWKH5DFNHWHHULQJ,QIOXHQFHGDQG&RUUXSW
                         2UJDQL]DWLRQV$FW86& F 

         3ODLQWLIIVLQFRUSRUDWHE\UHIHUHQFHDOOSUHFHGLQJSDUDJUDSKVDQGUHDOOHJHWKHPDV

LIVHWIRUWKIXOO\KHUHLQ

         3ODLQWLIIVDUHQDWXUDOSHUVRQVDQGDVVXFKDUH³SHUVRQV´ZLWKLQWKHPHDQLQJRI

86&  

         'HIHQGDQWVDUH³SHUVRQV´ZLWKLQWKHPHDQLQJRI86&  ZKR

FRQGXFWHGWKHDIIDLUVRIWKH7UXPS$VVRFLDWLRQLQ)DFWWKURXJKDSDWWHUQRIUDFNHWHHULQJDFWLYLW\

LQYLRODWLRQRI86& F 

         7KH,QGLYLGXDO'HIHQGDQWVDUH³SHUVRQV´ZLWKLQWKHPHDQLQJRI86&

  ZKRFRQGXFWHGWKHDIIDLUVRIWKH7UXPS&RUS(QWHUSULVHWKURXJKDSDWWHUQRI

UDFNHWHHULQJDFWLYLW\LQYLRODWLRQRI86& F 



                                               
       Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 142 of 164




           $WDOOWLPHVUHOHYDQWWRWKLV&RPSODLQWWKH7UXPS$VVRFLDWLRQLQ)DFWZDVDQ

DVVRFLDWLRQLQIDFWZLWKLQWKHPHDQLQJRI86&  FRPSULVHGRIDQHWZRUNRI

FRPSDQLHVDQGDVVRFLDWHVWKDWVKDUHGDFRPPRQSXUSRVHLQFOXGLQJEXWQRWOLPLWHGWR

    L 'HIHQGDQW7KH7UXPS&RUSRUDWLRQ LL 'HIHQGDQW'RQDOG-7UXPS LLL 'HIHQGDQW,YDQND

7UXPS LY 'HIHQGDQW'RQDOG7UXPS-U Y 'HIHQGDQW(ULF7UXPS YL 7UXPS3URGXFWLRQV

    YLL '61/LFHQVLQJ//& YLLL 7UXPS8QLYHUVLW\//& L[ 7UXPS,QWHUQDWLRQDO5HDOW\

    [ 7UXPS1DWLRQDO*ROI&OXE//&DQG [L 71*&&KDUORWWH//&

           $WDOOWLPHVUHOHYDQWWRWKLV&RPSODLQWWKH7UXPS&RUS(QWHUSULVHZDVOHJDO

HQWLW\DQGDQHQWHUSULVHZLWKLQWKHPHDQLQJRI86&  FRPSULVHGRIKLJKOHYHO

H[HFXWLYHVZLWKLQ7KH7UXPS&RUSRUDWLRQZKRRSHUDWHGDQGFRQWUROOHG7KH7UXPS&RUSRUDWLRQ

DQGWKH7UXPS&RUS(QWHUSULVHLQFOXGLQJZLWKRXWOLPLWDWLRQWKH,QGLYLGXDO'HIHQGDQWV

           7KH7UXPS$VVRFLDWLRQLQ)DFWDQGWKH7UXPS&RUS(QWHUSULVH UHIHUUHGWR

FROOHFWLYHO\DVWKH³7UXPS(QWHUSULVH´ KDGWKHFRPPRQSXUSRVHRIHDUQLQJUHYHQXHIURPWKH

(QGRUVHG(QWLWLHVLQH[FKDQJHIRUFRQYH\LQJDIDOVHDQGPLVOHDGLQJ0HVVDJHRQEHKDOIRIWKH

(QGRUVHG(QWLWLHVQDPHO\  WKDWSURVSHFWLYHLQYHVWRUVZRXOGKDYHDUHDVRQDEOHSUREDELOLW\RI

FRPPHUFLDOVXFFHVVLIWKH\ERXJKWLQWRWKH,QYHVWPHQWV  WKDW7UXPSZDVSURPRWLQJDQG

HQGRUVLQJWKH,QYHVWPHQWVEHFDXVHKHEHOLHYHGWKDWWKH\RIIHUHGDUHDVRQDEOHSUREDELOLW\RI

FRPPHUFLDOVXFFHVV UDWKHUWKDQEHFDXVHWKH7UXPS(QWHUSULVHZDVEHLQJSDLG DQG  WKDW

7UXPS¶VHQGRUVHPHQWZDVSUHGLFDWHGRQH[WHQVLYHGXHGLOLJHQFHLQVLGHULQIRUPDWLRQDQG

SHUVRQDOH[SHULHQFHZLWKWKH,QYHVWPHQWV7KH(QWHUSULVH¶VSXUVXLWRIWKLVFRPPRQSXUSRVHE\

WKHDFWLRQVDOOHJHGLQWKLV&RPSODLQWDPRXQWHGWRWKHFRQGXFWRIDVFKHPHWRGHIUDXG3ODLQWLIIV

    WKH³)UDXGXOHQW6FKHPH´ 




                                               
     Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 143 of 164




         'HIHQGDQW7UXPSH[HUFLVHGVXEVWDQWLDOFRQWURORYHUWKH7UXPS(QWHUSULVHWKURXJK

WKHIROORZLQJPHDQV

                $     GLUHFWLQJWKHEXVLQHVVDFWLYLWLHVRI7KH7UXPS&RUSRUDWLRQDQGLWV

                        VXEVLGLDULHVDQGDIILOLDWHVWRFDUU\RXWWKH7UXPS(QWHUSULVH

                %     DSSURYLQJPDUNHWLQJDQGDGYHUWLVLQJPDWHULDOVZKLFKIHDWXUHGKLV

                        QDPHOLNHQHVVDQGRUYRLFHLQFOXGLQJPDWHULDOVSURGXFHGE\

                        $&1WKH7UXPS,QVWLWXWHDQG7UXPS1HWZRUN

                &     DXWKRUL]LQJFRPSDQLHVZLWKLQWKH7UXPS(QWHUSULVHWROLFHQVHWKH

                        ULJKWWRXVHKLVQDPHWRRWKHUFRPSDQLHVLQFOXGLQJWKH7UXPS

                        ,QVWLWXWHDQG7UXPS1HWZRUN

         $WDOOUHOHYDQWWLPHVWKH7UXPS(QWHUSULVHKDGDQDVFHUWDLQDEOHVWUXFWXUHWKDWZDV

VHSDUDWHDQGGLVWLQFWIURP7UXPSDQG7KH7UXPS&RUSRUDWLRQDQGLWVRSHUDWLRQVZHUHVHSDUDWH

IURPWKHSDWWHUQRIUDFNHWHHULQJDFWLYLW\LQZKLFK7UXPSDQG7KH7UXPS&RUSRUDWLRQHQJDJHG

         ,QFDUU\LQJRXWWKH)UDXGXOHQW6FKHPHWKH7UXPS(QWHUSULVHHQJDJHGLQLQWHUVWDWH

FRPPHUFHDQGRULWVDFWLYLWLHVDIIHFWHGLQWHUVWDWHFRPPHUFHLQFOXGLQJEHFDXVHWKHEXVLQHVVHV

WKDW7UXPSHQGRUVHGRIIHUHGWKHLUSURGXFWVQDWLRQDOO\DQGEHFDXVH7UXPSPDGHDSSHDUDQFHVLQ

VHYHUDOVWDWHVLQFRQGXFWLQJWKH(QWHUSULVH

         8QGHUWKHGLUHFWLRQRI'HIHQGDQWVWKH7UXPS(QWHUSULVHKDGDQRQJRLQJ

RUJDQL]DWLRQDOIUDPHZRUNIRUFDUU\LQJRXWLWVREMHFWLYHVDQGIXQFWLRQHGDVDFRQWLQXLQJXQLWZLWK

DFRPPRQSXUSRVH(DFKSDUWLFLSDQWLQWKH7UXPS(QWHUSULVHKDGDV\VWHPDWLFOLQNDJHWRHDFK

RWKHUSDUWLFLSDQWWKURXJKFRUSRUDWHWLHVFRQWUDFWXDOUHODWLRQVKLSVILQDQFLDOWLHVDQGWKH

FRQWLQXLQJFRRUGLQDWLRQRIWKHLUDFWLYLWLHV




                                                   
     Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 144 of 164




        %\HQJDJLQJLQWKH)UDXGXOHQW6FKHPH'HIHQGDQWVFRQGXFWHGWKHDIIDLUVRIWKH

7UXPS(QWHUSULVHWKURXJKDSDWWHUQRIUDFNHWHHULQJDFWLYLW\7KHUDFNHWHHULQJDFWLYLW\ZDVPDGH

SRVVLEOHE\WKHUHJXODUDQGUHSHDWHGXVHRIWKHIDFLOLWLHVVHUYLFHVOHJDOHQWLWLHVDQGHPSOR\HHV

RIWKH7UXPS(QWHUSULVH

        'HIHQGDQWVFDUULHGRXWWKH)UDXGXOHQW6FKHPHWKURXJKQXPHURXVDFWVRIPDLODQG

ZLUHIUDXGZKLFKDFWVDUHLQGLFWDEOHXQGHU86&DQGUHVSHFWLYHO\DQGWKXV

FRQVWLWXWHUDFNHWHHULQJDFWLYLW\ZLWKLQWKHPHDQLQJRI86&  'HIHQGDQWVXVHG

WKRXVDQGVRILQWHUVWDWHPDLODQGZLUHFRPPXQLFDWLRQVWRFUHDWHDQGSHUSHWXDWHWKH)UDXGXOHQW

6FKHPHWKURXJKFRPPXQLFDWLRQVEHWZHHQDQGDPRQJ'HIHQGDQWVDQGPHPEHUVRIWKH

(QWHUSULVHPRQH\WUDQVIHUVIDOVHVWDWHPHQWVPLVUHSUHVHQWDWLRQVDQGPLVOHDGLQJRPLVVLRQV

DOOHJHGLQWKLV&RPSODLQW7KHVHDFWVRIPDLODQGZLUHIUDXGWRJHWKHUFRQVWLWXWHDSDWWHUQRI

UDFNHWHHULQJDFWLYLW\ZLWKLQWKHPHDQLQJRI86& F 

        7KHSDWWHUQRIUDFNHWHHULQJDFWLYLW\FRPPHQFHGLQODWHZKHQ7UXPSEHJDQ

WRHQGRUVH$&17KHSDWWHUQH[WHQGHGWR7UXPS¶VHQGRUVHPHQWRI7KH7UXPS1HWZRUNDQG

7UXPS,QVWLWXWH7KHSDWWHUQFRQWLQXHGXQWLODWOHDVW$XJXVWZKHQWKH$&1&KDULW\JROI

WRXUQDPHQWZDVKRVWHGDWWKH71*&&KDUORWWH7KRXJKWKHSDWWHUQRIUDFNHWHHULQJH[WHQGHGWR

WKH7UXPS1HWZRUNDQGWKH7UXPS,QVWLWXWHWKH7UXPS(QWHUSULVH¶VIUDXGXOHQWSURPRWLRQDQG

HQGRUVHPHQWRI$&1DORQHFRQVWLWXWHVDSDWWHUQRIUDFNHWHHULQJDFWLYLW\

        'HIHQGDQWV¶IUDXGXOHQWXVHRIWKHPDLOVLQFOXGHGFRPPXQLFDWLRQVEHWZHHQDQG

DPRQJ'HIHQGDQWVDQGPHPEHUVRIWKH(QWHUSULVHLQDGGLWLRQWRWKHIROORZLQJFRPPXQLFDWLRQV

VHQWE\LQWHUVWDWHPDLOWR3ODLQWLIIVDQGRWKHUWKLUGSDUWLHVYLD86PDLORUFRPPHUFLDOFDUULHUDW

7UXPS¶VEHKHVWRUZLWKKLVH[SUHVVDXWKRUL]DWLRQDQGZKLFKLQYROYHGNQRZLQJO\IDOVH

VWDWHPHQWVPLVUHSUHVHQWDWLRQVDQGPLVOHDGLQJRPLVVLRQVE\7UXPS




                                                
     Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 145 of 164




               $     7KH$&12SSRUWXQLW\'LVFVIHDWXULQJ7UXPS

               %     ,VVXHVRI$&11HZVPDJD]LQHIHDWXULQJ7UXPSDQGRUGHWDLOLQJ

                       KLVHQGRUVHPHQWRI$&1

               &     ,VVXHVRISuccess from HomeMagazineIHDWXULQJ7UXPSDQGRU

                       GHWDLOLQJKLVHQGRUVHPHQWRI$&1

               '     (SLVRGHVRIThe Celebrity ApprenticeIHDWXULQJ$&1WKDWZHUH

                       GLVWULEXWHGLQSK\VLFDOPHGLD VXFKDV'9'V 

               (     3URPRWLRQDOPDWHULDOVIRU7UXPS,QVWLWXWHFRQWDLQLQJ7UXPS¶V

                       QDPHDQGLPDJH

               )     $GYHUWLVLQJPDWHULDOVIRUWKH7UXPS,QVWLWXWHFRQWDLQLQJDVLJQHG

                       OHWWHUIURP7UXPSSURPRWLQJWKHDonald Trump Way to Wealth

                       VHPLQDU

               *     $GYHUWLVLQJPDWHULDOVIRU7UXPS1HWZRUNFRQWDLQLQJ7UXPS¶V

                       QDPHLPDJHDQGSURPRWLRQDOVWDWHPHQWV

        'HIHQGDQWV¶IUDXGXOHQWXVHRILQWHUVWDWHZLUHVHUYLFHVLQFOXGHGHPDLO

FRPPXQLFDWLRQVDQGPRQH\WUDQVIHUVEHWZHHQDQGDPRQJ'HIHQGDQWVDQGPHPEHUVRIWKH

(QWHUSULVHLQDGGLWLRQWRWKHIROORZLQJFRPPXQLFDWLRQVWKDWZHUHEURDGFDVWRUGLVWULEXWHGXVLQJ

LQWHUVWDWHZLUHVHUYLFHVRURWKHULQWHUVWDWHHOHFWURQLFPHGLD

               $     9LGHRVRI7UXPS¶VVSHHFKHVDW$&1HYHQWVWKDWZHUHSRVWHGRQ

                       <RX7XEH

               %     3RVWVDXWKRUHGE\7UXPSRQ$&1¶VEORJ

               &     9LGHRVRI7UXPS¶VVSHHFKHVDW7UXPS1HWZRUNHYHQWVWKDWZHUH

                       SRVWHGRQ<RX7XEH




                                                
    Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 146 of 164




              '     3RVWVDXWKRUHGE\7UXPSRQWKH7UXPS1HWZRUN¶VZHEVLWH

              (     3URPRWLRQDOYLGHRVIHDWXULQJ7UXPSIRU7UXPS1HWZRUNWKDWZHUH

                      SRVWHGRQ<RX7XEH

              )     3URPRWLRQDOYLGHRVIHDWXULQJ7UXPSIRUWKH7UXPS,QVWLWXWHWKDW

                      ZHUHSRVWHGRQ<RX7XEH

        7KURXJKRXWWKHUHOHYDQWWLPHSHULRGRQRUDERXWWKHGDWHVVHWIRUWKEHORZ

3ODLQWLIIVDOVRUHFHLYHGWKHIROORZLQJIUDXGXOHQWPDLODQGRUZLUHFRPPXQLFDWLRQVE\7UXPS

              $     ,QPLGWRODWH3ODLQWLII'RHYLHZHGDQ$&1'9'LQZKLFK7UXPS

                      GHOLYHUHGWKH0HVVDJHGLUHFWO\WRYLHZHUVDWDQ$&1UHFUXLWPHQWPHHWLQJ

                      LQ/RV$QJHOHV7KH0HVVDJHZDVUHSHDWHGDQGDXJPHQWHGE\FOLSVRI

                      $&1¶VDSSHDUDQFHRQThe Celebrity ApprenticeZKLFK3ODLQWLII'RHDOVR

                      YLHZHG

              %     3ODLQWLII'RHDOVRUHFHLYHGWKH0HVVDJHDW$&1PHHWLQJVVKHDWWHQGHG

                      HYHU\WZRZHHNVWKURXJKRXWODWHWRODWHDWWZRKRWHOVLQ/RV

                      $QJHOHVGXULQJZKLFK$&1'9'VSURPLQHQWO\IHDWXULQJ7UXPS¶V

                      HQGRUVHPHQWZHUHSOD\HG

              &     3ODLQWLII'RHDOVRUHFHLYHGWKH0HVVDJHDW$&1FRQIHUHQFHVLQLQ

                      &OHYHODQG2KLRDQG'HWURLW0LFKLJDQGXULQJZKLFKYLGHRVIHDWXULQJ

                      7UXPSFRQYH\LQJWKH0HVVDJHZHUHSURPLQHQWO\GLVSOD\HG

              '     ,QPLGDWDQ$&1UHFUXLWPHQWPHHWLQJLQ/RV$QJHOHV3ODLQWLII/RH

                      YLHZHGDQ$&1'9'LQZKLFK7UXPSGHOLYHUHGWKH0HVVDJHGLUHFWO\WR

                      YLHZHUV




                                             
     Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 147 of 164




               (     3ODLQWLII/RHDOVRUHFHLYHGWKH0HVVDJHDWDSSUR[LPDWHO\WR$&1

                       PHHWLQJVKHDWWHQGHGHYHU\WZRZHHNVWKURXJKRXWODWHWRODWHDW

                       WZRKRWHOVLQ/RV$QJHOHVGXULQJZKLFK$&1'9'VSURPLQHQWO\

                       IHDWXULQJ7UXPS¶VHQGRUVHPHQWZHUHSOD\HG

               )     3ODLQWLII/RHDOVRUHFHLYHGWKH0HVVDJHDW$&1FRQIHUHQFHVLQLQ

                       3DOP6SULQJV&DOLIRUQLD&OHYHODQG2KLRDQG'HWURLW0LFKLJDQGXULQJ

                       ZKLFKYLGHRVIHDWXULQJ7UXPSFRQYH\LQJWKH0HVVDJHZHUHSURPLQHQWO\

                       GLVSOD\HG

               *     $URXQGPLG3ODLQWLII5RHUHFHLYHGWKH0HVVDJHE\ZDWFKLQJYLGHR

                       RI7UXPSIURPDQHSLVRGHRIThe Celebrity ApprenticeIHDWXULQJ$&1

               +     $URXQGPLG3ODLQWLII0RHUHFHLYHGWKH0HVVDJHE\ZDWFKLQJD

                       SURPRWLRQDOYLGHRSURPLQHQWO\IHDWXULQJ7UXPSDWDQHYHQWKHOGDWDKRWHO

                       LQ3HQQV\OYDQLD

        ,QUHOLDQFHRQWKH0HVVDJHFRQYH\HGE\7UXPSDQGWKH7UXPS(QWHUSULVHLQ

IXUWKHUDQFHRIWKH)UDXGXOHQW6FKHPH3ODLQWLIIVLQYHVWHGLQ$&1LQFXUUHGH[SHQVHVLQ

FRQQHFWLRQWKHUHZLWKDQGVXIIHUHGORVVDQGGDPDJHWKHUHE\

        +DG'HIHQGDQWVQRWEHHQFRPSOLFLWDQGKDGWKH\QRWEROVWHUHGDQGIXUWKHUHGWKH

GHFHSWLRQRIFRQVXPHUV3ODLQWLIIVZRXOGQRWKDYHEHHQLQMXUHG7KXV3ODLQWLIIV¶LQMXULHVZHUH

GLUHFWO\DQGSUR[LPDWHO\FDXVHGE\WKHSDWWHUQRIUDFNHWHHULQJDFWLYLW\GHVFULEHGDERYH

        %\YLUWXHRIWKHVHYLRODWLRQVRI86& F 'HIHQGDQWVDUHOLDEOHWR

3ODLQWLIIVIRUWKUHHWLPHVWKHGDPDJHV3ODLQWLIIVKDYHVXVWDLQHGSOXVWKHFRVWRIWKLVVXLW

LQFOXGLQJUHDVRQDEOHDWWRUQH\V¶IHHV




                                                
     Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 148 of 164




&28177:2               &RQVSLUDF\WR&RQGXFWWKH$IIDLUVRID5DFNHWHHULQJ(QWHUSULVH
                          86& G 

         3ODLQWLIIVLQFRUSRUDWHE\UHIHUHQFHDOOSUHFHGLQJSDUDJUDSKVDQGUHDOOHJHWKHPDV

LIVHWIRUWKIXOO\KHUHLQ

         'HIHQGDQWVKDYHDJUHHGDQGFRQVSLUHGWRYLRODWH86& F DVVHWIRUWK

DERYHLQYLRODWLRQRI86& G 'HIHQGDQWVKDYHLQWHQWLRQDOO\FRQVSLUHGDQGDJUHHG

WRGLUHFWO\DQGLQGLUHFWO\FRQGXFWDQGSDUWLFLSDWHLQWKHFRQGXFWRIWKHDIIDLUVRIWKH7UXPS

(QWHUSULVHWKURXJKDSDWWHUQRIUDFNHWHHULQJDFWLYLW\

         'HIHQGDQWVNQHZWKDWWKHLUSUHGLFDWHDFWVRIZLUHIUDXGZHUHSDUWRIDSDWWHUQRI

UDFNHWHHULQJDFWLYLW\DQGDJUHHGWRWKHFRPPLVVLRQRIWKRVHDFWVWRIXUWKHUWKHLUVFKHPHWR

GHIUDXGKRSHIXOLQYHVWRUV

         $VDGLUHFWUHVXOWDQGSUR[LPDWHUHVXOWRI'HIHQGDQWV¶FRQVSLUDF\DQGWKH

PXOWLSOHRYHUWDFWVWDNHQE\DOO'HIHQGDQWVLQIXUWKHUDQFHRIWKDWFRQVSLUDF\3ODLQWLIIVKDYHEHHQ

LQMXUHGLQWKHLUEXVLQHVVDQGSURSHUW\

&28177+5((             'LVVHPLQDWLRQRI8QWUXHDQG0LVOHDGLQJ3XEOLF6WDWHPHQWVLQ
                          9LRODWLRQRI&DOLIRUQLD%XVLQHVVDQG3URIHVVLRQV&RGHet seq

         3ODLQWLIIVLQFRUSRUDWHE\UHIHUHQFHDOOSUHFHGLQJSDUDJUDSKVDQGUHDOOHJHWKHPDV

LIVHWIRUWKIXOO\KHUHLQ3ODLQWLIIV-DQH'RHDQG/XNH/RH ³&DOLIRUQLD3ODLQWLIIV´ DVVHUW&RXQW

7KUHHRQEHKDOIRIWKHPVHOYHV

         'HIHQGDQWVDUH³SHUVRQV´ZLWKLQWKHPHDQLQJRI&DOLIRUQLD%XVLQHVV 

3URIHVVLRQDO&RGH

         &DOLIRUQLD%XVLQHVV 3URIHVVLRQV&RGHSURKLELWVWKHGLVVHPLQDWLRQLQ

DQ\PDQQHURUPHDQVRIDQ\XQWUXHRUPLVOHDGLQJVWDWHPHQWVRUUHSUHVHQWDWLRQVFRQFHUQLQJ

SURSHUW\RUVHUYLFHV




                                                
     Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 149 of 164




        'HIHQGDQWVYLRODWHG&DOLIRUQLD%XVLQHVV 3URIHVVLRQV&RGHE\

GLVVHPLQDWLQJWRWKHSXEOLFDIDOVHDQGPLVOHDGLQJ0HVVDJHRQEHKDOIRIWKH$&1

QDPHO\  WKDWSURVSHFWLYHLQYHVWRUVZRXOGKDYHDUHDVRQDEOHSUREDELOLW\RIFRPPHUFLDO

VXFFHVVLIWKH\ERXJKWLQWR$&1  WKDW7UXPSZDVHQGRUVLQJDQGSURPRWLQJ$&1EHFDXVHKH

EHOLHYHGWKDWWKH\RIIHUHGDUHDVRQDEOHSUREDELOLW\RIFRPPHUFLDOVXFFHVV UDWKHUWKDQEHFDXVH

WKH7UXPS(QWHUSULVHZDVEHLQJSDLG DQG  WKDW7UXPS¶VHQGRUVHPHQWZDVSUHGLFDWHGRQ

H[WHQVLYHGXHGLOLJHQFHLQVLGHULQIRUPDWLRQDQGSHUVRQDOH[SHULHQFHZLWKWKH$&1EXVLQHVV

RSSRUWXQLWLHV

        2QRUDERXWWKHGDWHVVHWIRUWKEHORZ3ODLQWLIIV'RHDQG/RHUHFHLYHGWKH

IROORZLQJIUDXGXOHQWFRPPXQLFDWLRQVE\7UXPS

               $    ,QPLGWRODWHDWDQ$&1UHFUXLWPHQWPHHWLQJLQ/RV$QJHOHV

                      3ODLQWLII'RHYLHZHGDQ$&1'9'LQZKLFK7UXPSGHOLYHUHGWKH

                      0HVVDJHGLUHFWO\WRYLHZHUV7KH0HVVDJHZDVUHSHDWHGDQGDXJPHQWHG

                      E\FOLSVRI$&1¶VDSSHDUDQFHRQThe Celebrity ApprenticeZKLFK

                      3ODLQWLII'RHDOVRYLHZHG

               %    3ODLQWLII'RHDOVRUHFHLYHGWKH0HVVDJHDW$&1PHHWLQJVVKHDWWHQGHG

                      HYHU\WZRZHHNVWKURXJKRXWODWHWRODWHDWWZRKRWHOVLQ/RV

                      $QJHOHVGXULQJZKLFK$&1'9'VSURPLQHQWO\IHDWXULQJ7UXPS¶V

                      HQGRUVHPHQWZHUHSOD\HG

               &    3ODLQWLII'RHDOVRUHFHLYHGWKH0HVVDJHDW$&1FRQIHUHQFHVLQLQ

                      &OHYHODQG2KLRDQG'HWURLW0LFKLJDQGXULQJZKLFKYLGHRVIHDWXULQJ

                      7UXPSFRQYH\LQJWKH0HVVDJHZHUHSURPLQHQWO\GLVSOD\HG




                                              
     Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 150 of 164




               '     ,QPLGDWDQ$&1UHFUXLWPHQWPHHWLQJLQ/RV$QJHOHV3ODLQWLII/RH

                       YLHZHGDQ$&1'9'LQZKLFK7UXPSGHOLYHUHGWKH0HVVDJHGLUHFWO\WR

                       YLHZHUV

               (     3ODLQWLII/RHDOVRUHFHLYHGWKH0HVVDJHDWDSSUR[LPDWHO\WR$&1

                       PHHWLQJVKHDWWHQGHGHYHU\WZRZHHNVWKURXJKRXWODWHWRODWHDW

                       WZRKRWHOVLQ/RV$QJHOHV²GXULQJZKLFK$&1'9'VSURPLQHQWO\

                       IHDWXULQJ7UXPS¶VHQGRUVHPHQWZHUHSOD\HG

               )     3ODLQWLII/RHDOVRUHFHLYHGWKH0HVVDJHDW$&1FRQIHUHQFHVLQLQ

                       3DOP6SULQJV&DOLIRUQLD&OHYHODQG2KLRDQG'HWURLW0LFKLJDQGXULQJ

                       ZKLFKYLGHRVIHDWXULQJ7UXPSFRQYH\LQJWKH0HVVDJHZHUHSURPLQHQWO\

                       GLVSOD\HG

        $VVHWIRUWKLQWKLV&RPSODLQW'HIHQGDQWVNQHZRUE\H[HUFLVHRIUHDVRQDEOHFDUH

VKRXOGKDYHNQRZQWKDWWKHVWDWHPHQWVUHJDUGLQJ$&1ZHUHIDOVHDQGPLVOHDGLQJ7KH

VWDWHPHQWVUHIHUHQFHGDERYHZKLFK'HIHQGDQWVGLVVHPLQDWHGWRWKHSXEOLFZHUHPDWHULDODQG

OLNHO\WRGHFHLYHDUHDVRQDEOHFRQVXPHU

        $VVHWIRUWKLQWKLV&RPSODLQW'HIHQGDQWVLQWHQGHGWKDWFRQVXPHUVUHO\RQWKH

IDOVHDQGPLVOHDGLQJUHSUHVHQWDWLRQVWKDWWKH\GLVVHPLQDWHGUHJDUGLQJ$&1

        3ODLQWLIIV'RHDQG/RHLQYHVWHGLQ$&1DQGLQFXUUHGH[SHQVHVLQFRQQHFWLRQ

WKHUHZLWKDVDGLUHFWUHVXOWRIDQGLQUHOLDQFHRQWKHIDOVHDQGPLVOHDGLQJUHSUHVHQWDWLRQV

GLVVHPLQDWHGE\'HIHQGDQWV

        +DGPHPEHUVRIWKH7UXPS(QWHUSULVHQRWEHHQFRPSOLFLWDQGKDGWKH\QRW

EROVWHUHGDQGIXUWKHUHGWKHGHFHSWLRQRIFRQVXPHUV3ODLQWLIIV'RHDQG/RHZRXOGQRWKDYHEHHQ

LQMXUHG7KXVWKHLULQMXULHVZHUHGLUHFWO\DQGSUR[LPDWHO\FDXVHGE\'HIHQGDQWV¶GLVVHPLQDWLRQ




                                                
     Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 151 of 164




RIXQWUXHRUPLVOHDGLQJVWDWHPHQWVDQGUHSUHVHQWDWLRQVRISURSHUW\RUVHUYLFHVWRLQGLYLGXDOV

ZLWKLQWKHVWDWHRI&DOLIRUQLDLQYLRODWLRQRI&DOLIRUQLD%XVLQHVV 3URIHVVLRQV&RGH

        ,QDFFRUGDQFHZLWK&DOLIRUQLD%XVLQHVV 3URIHVVLRQV&RGH3ODLQWLIIV

'RHDQG/RHUHTXHVWWKDWWKLV&RXUWHQWHUVXFKRUGHUVRUMXGJPHQWVDVPD\EHQHFHVVDU\

LQFOXGLQJGLVJRUJHPHQWRIDQ\PRQH\'HIHQGDQWVREWDLQHGE\IDOVHDGYHUWLVLQJDQGIRUVXFK

RWKHUUHOLHIDVPD\EHDSSURSULDWH

&2817)285           8QIDLU&RPSHWLWLRQLQ9LRODWLRQRI&DOLIRUQLD%XVLQHVVDQG
                       3URIHVVLRQV&RGHet seq

        3ODLQWLIIVLQFRUSRUDWHE\UHIHUHQFHDOOSUHFHGLQJSDUDJUDSKVDQGUHDOOHJHWKHPDV

LIVHWIRUWKIXOO\KHUHLQ3ODLQWLIIV'RHDQG/RHDVVHUW&RXQW)RXURQEHKDOIRIWKHPVHOYHV

        'HIHQGDQWVDUH³SHUVRQV´ZLWKLQWKHPHDQLQJRI&DOLIRUQLD%XVLQHVV 

3URIHVVLRQV&RGH

        'HIHQGDQWVKDYHYLRODWHG&DOLIRUQLD%XVLQHVV 3URIHVVLRQV&RGH¶V

SURKLELWLRQDJDLQVW³XQODZIXOXQIDLURUIUDXGXOHQW´EXVLQHVVSUDFWLFHVE\GLVVHPLQDWLQJ

PDWHULDOO\IDOVHDQGPLVOHDGLQJUHSUHVHQWDWLRQVDERXW$&1WR3ODLQWLIIV'RHDQG/RH

        'HIHQGDQW¶VDFWLRQVFRQVWLWXWH³XQIDLU´EXVLQHVVDFWVDQGSUDFWLFHVZLWKLQWKH

PHDQLQJRI&DOLIRUQLD%XVLQHVV 3URIHVVLRQV&RGH'HIHQGDQWV¶SUDFWLFHVRIIHQG

SXEOLFSROLF\DQGDUHXQHWKLFDORSSUHVVLYHXQVFUXSXORXVDQGYLRODWHWKHODZVVWDWHGKHUHLQ

0RUHRYHU'HIHQGDQWV¶FRQGXFWKDVFDXVHGVXEVWDQWLDOLQMXU\WR3ODLQWLIIV'RHDQG/RH7KH

JUDYLW\RI'HIHQGDQWV¶ZURQJIXOFRQGXFWVLJQLILFDQWO\RXWZHLJKVDQ\SXUSRUWHGEHQHILWVWKDWFDQ

EHDWWULEXWHGWRVXFKFRQGXFW

        'HIHQGDQWV¶DFWLRQVDOVRFRQVWLWXWHIUDXGXOHQWEXVLQHVVDFWVDQGSUDFWLFHVZLWKLQ

WKHPHDQLQJRI&DOLIRUQLD%XVLQHVV 3URIHVVLRQV&RGH'HIHQGDQWV¶RPLVVLRQV

UHJDUGLQJWKHQDWXUHRI7UXPS¶VUHODWLRQVKLSZLWKWKH$&1DVZHOODV'HIHQGDQWV¶DVVHUWLRQV


                                               
    Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 152 of 164




UHJDUGLQJWKHTXDOLW\DQGYDOXHRIWKHLQYHVWLQJLQ$&1DQGWKHOLNHOLKRRGRIILQDQFLDOVXFFHVV

ZHUHDOOLQWHQGHGWRGHFHLYHFRQVXPHUVOLNH3ODLQWLIIV'RHDQG/RH

        2QRUDERXWWKHGDWHVVHWIRUWKEHORZ3ODLQWLIIV'RHDQG/RHUHFHLYHGWKH

IROORZLQJIUDXGXOHQWFRPPXQLFDWLRQVE\7UXPS

               $    ,QPLGWRODWHDWDQ$&1UHFUXLWPHQWPHHWLQJLQ/RV$QJHOHV

                      3ODLQWLII'RHYLHZHGDQ$&1'9'LQZKLFK7UXPSGHOLYHUHGWKH

                      0HVVDJHGLUHFWO\WRYLHZHUV7KH0HVVDJHZDVUHSHDWHGDQGDXJPHQWHG

                      E\FOLSVRI$&1¶VDSSHDUDQFHRQThe Celebrity ApprenticeZKLFK

                      3ODLQWLII'RHDOVRYLHZHG

               %    3ODLQWLII'RHDOVRUHFHLYHGWKH0HVVDJHDW$&1PHHWLQJVVKHDWWHQGHG

                      HYHU\WZRZHHNVWKURXJKRXWODWHWRODWHDWWZRKRWHOVLQ/RV

                      $QJHOHVGXULQJZKLFK$&1'9'VSURPLQHQWO\IHDWXULQJ7UXPS¶V

                      HQGRUVHPHQWZHUHSOD\HG

               &    3ODLQWLII'RHDOVRUHFHLYHGWKH0HVVDJHDW$&1FRQIHUHQFHVLQLQ

                      &OHYHODQG2KLRDQG'HWURLW0LFKLJDQGXULQJZKLFKYLGHRVIHDWXULQJ

                      7UXPSFRQYH\LQJWKH0HVVDJHZHUHSURPLQHQWO\GLVSOD\HG

               '    ,QPLGDWDQ$&1UHFUXLWPHQWPHHWLQJLQ/RV$QJHOHV3ODLQWLII/RH

                      YLHZHGDQ$&1'9'LQZKLFK7UXPSGHOLYHUHGWKH0HVVDJHGLUHFWO\WR

                      YLHZHUV

               (    3ODLQWLII/RHDOVRUHFHLYHGWKH0HVVDJHDWDSSUR[LPDWHO\WR$&1

                      PHHWLQJVKHDWWHQGHGHYHU\WZRZHHNVWKURXJKRXWODWHWRODWHDW

                      WZRKRWHOVLQ/RV$QJHOHVGXULQJZKLFK$&1'9'VSURPLQHQWO\

                      IHDWXULQJ7UXPS¶VHQGRUVHPHQWZHUHSOD\HG




                                              
     Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 153 of 164




               )     3ODLQWLII/RHDOVRUHFHLYHGWKH0HVVDJHDW$&1FRQIHUHQFHVLQLQ

                       3DOP6SULQJV&DOLIRUQLD&OHYHODQG2KLRDQG'HWURLW0LFKLJDQGXULQJ

                       ZKLFKYLGHRVIHDWXULQJ7UXPSFRQYH\LQJWKH0HVVDJHZHUHSURPLQHQWO\

                       GLVSOD\HG

        $VVHWIRUWKLQWKLV&RPSODLQW'HIHQGDQWVNQHZRUE\H[HUFLVHRIUHDVRQDEOHFDUH

VKRXOGKDYHNQRZQWKDWWKHVWDWHPHQWVUHJDUGLQJWKHSURSHUW\DQGVHUYLFHVRI$&1ZHUHIDOVH

DQGPLVOHDGLQJ7KHVWDWHPHQWVUHIHUHQFHGDERYHZKLFK'HIHQGDQWVGLVVHPLQDWHGWRWKHSXEOLF

ZHUHPDWHULDODQGOLNHO\WRGHFHLYHDUHDVRQDEOHFRQVXPHU

        $VVHWIRUWKLQWKLV&RPSODLQW'HIHQGDQWVLQWHQGHGWKDWFRQVXPHUVUHO\RQWKH

IDOVHDQGPLVOHDGLQJUHSUHVHQWDWLRQVWKDWWKH\GLVVHPLQDWHGUHJDUGLQJWKHSURSHUW\DQGVHUYLFHV

RI$&1

        3ODLQWLIIV'RHDQG/RHLQYHVWHGLQ$&1DQGLQFXUUHGH[SHQVHVLQFRQQHFWLRQ

WKHUHZLWKDVDGLUHFWUHVXOWRIDQGLQUHOLDQFHRQWKHIDOVHDQGPLVOHDGLQJUHSUHVHQWDWLRQV

GLVVHPLQDWHGE\'HIHQGDQWV

        +DG'HIHQGDQWVQRWEHHQFRPSOLFLWDQGKDGWKH\QRWEROVWHUHGDQGIXUWKHUHGWKH

GHFHSWLRQRIFRQVXPHUV3ODLQWLIIV'RHDQG/RHZRXOGQRWKDYHEHHQLQMXUHG7KXV3ODLQWLIIV¶

LQMXULHVZHUHGLUHFWO\DQGSUR[LPDWHO\FDXVHGE\'HIHQGDQWV¶FRQGXFWRIWKH7UXPS(QWHUSULVH¶V

DIIDLUVWKURXJKDSDWWHUQRIXQODZIXOIUDXGXOHQWDQGXQIDLUEXVLQHVVSUDFWLFHVLQYLRODWLRQRI

&DOLIRUQLD%XVLQHVV 3URIHVVLRQV&RGHet seq. 

        'HIHQGDQWV¶FRQGXFWZDVDOVRXQODZIXOLQYLRODWLRQRI&DOLIRUQLD%XVLQHVV 

3URIHVVLRQV&RGH¶VSURKLELWLRQDJDLQVWEXVLQHVVSUDFWLFHVZKLFKFRQVWLWXWHYLRODWLRQVRI

RWKHUVWDWXWHVLQFOXGLQJ&DOLIRUQLD%XVLQHVV 3URIHVVLRQV&RGH




                                                
       Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 154 of 164




           ,QDFFRUGDQFHZLWK&DOLIRUQLD%XVLQHVV 3URIHVVLRQV&RGH&DOLIRUQLD

3ODLQWLIIVDQGPHPEHUVRIWKH&DOLIRUQLD&ODVVUHTXHVWWKDWWKLV&RXUWHQWHUVXFKRUGHUVRU

MXGJPHQWDVPD\EHQHFHVVDU\LQFOXGLQJGLVJRUJHPHQWRIDQ\PRQH\'HIHQGDQWVJDLQHGE\

XQIDLUFRPSHWLWLRQDQGIRUVXFKRWKHUUHOLHIDVPD\EHDSSURSULDWH

&2817),9(             8QIDLUDQG'HFHSWLYH7UDGH3UDFWLFHVLQ9LRODWLRQRI0DU\ODQG
                         &RQVXPHU3URWHFWLRQ$FW0G&RGH$QQ&RP/DZ

           3ODLQWLIIVLQFRUSRUDWHE\UHIHUHQFHDOOSUHFHGLQJSDUDJUDSKVDQGUHDOOHJHWKHPDV

LIVHWIRUWKIXOO\KHUHLQ3ODLQWLII5RHDVVHUWV&RXQW)LYHRQEHKDOIRIKLPVHOI

           0DU\ODQG¶V&RQVXPHU3URWHFWLRQ$FW ³0&3$´ SURKLELWVDQ\XQIDLURUGHFHSWLYH

WUDGHSUDFWLFHVLQFOXGLQJ³IDOVHRUPLVOHDGLQJUHSUHVHQWDWLRQVRIDQ\NLQG´ZKLFKKDYHWKH

³FDSDFLW\WHQGHQF\RUHIIHFWRIGHFHLYLQJRUPLVOHDGLQJFXVWRPHUV´0G&RGH$QQ&RP

/DZ  7KHVWDWXWHIXUWKHUSURKLELWVDOO³GHFHSWLRQIUDXGIDOVHSUHWHQVHIDOVH

SUHPLVHPLVUHSUHVHQWDWLRQRUNQRZLQJFRQFHDOLQJVXSSUHVVLRQRURPLVVLRQRIDQ\PDWHULDO

IDFW´ZLWKWKHLQWHQWWRLQGXFHUHOLDQFH³LQFRQQHFWLRQZLWKWKHSURPRWLRQRUVDOHRIDQ\

FRQVXPHUJRRGVRUVHUYLFH´0G&RGH$QQ&RP/DZ  

           'HIHQGDQWVHQJDJHGLQGHFHSWLYHWUDGHSUDFWLFHVLQYLRODWLRQRI0G&RGH$QQ

&RP/DZ  E\NQRZLQJO\GLVVHPLQDWLQJWRWKHSXEOLFDIDOVHDQGPLVOHDGLQJ0HVVDJH

UHJDUGLQJ$&1QDPHO\  WKDWSURVSHFWLYHLQYHVWRUVZRXOGKDYHDUHDVRQDEOHSUREDELOLW\RI

FRPPHUFLDOVXFFHVVLIWKH\ERXJKWLQWRWKH$&1  WKDW7UXPSZDVHQGRUVLQJDQGSURPRWLQJ

$&1EHFDXVHKHEHOLHYHGWKDWWKH\RIIHUHGDUHDVRQDEOHSUREDELOLW\RIFRPPHUFLDOVXFFHVV

    UDWKHUWKDQEHFDXVHWKH7UXPS(QWHUSULVHZDVEHLQJSDLG DQG  WKDW7UXPS¶VHQGRUVHPHQW

ZDVSUHGLFDWHGRQH[WHQVLYHGXHGLOLJHQFHLQVLGHULQIRUPDWLRQDQGSHUVRQDOH[SHULHQFHZLWKWKH

$&1EXVLQHVVRSSRUWXQLWLHV




                                                
     Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 155 of 164




        'HIHQGDQWVXVHGPDLODQGZLUHFRPPXQLFDWLRQVWRFUHDWHDQGGLVVHPLQDWHIDOVH

VWDWHPHQWVPLVUHSUHVHQWDWLRQVDQGPLVOHDGLQJRPLVVLRQVWR3ODLQWLII5RH

        2QRUDURXQGPLG3ODLQWLII5RHUHFHLYHGWKHIUDXGXOHQW0HVVDJHE\

ZDWFKLQJYLGHRRI7UXPSIURPDQHSLVRGHRIWKHTheCelebrity ApprenticeIHDWXULQJ$&1

        $VVHWIRUWKLQWKLV&RPSODLQW'HIHQGDQWVLQWHQGHGWKDW3ODLQWLII5RHUHO\RQWKH

IDOVHDQGPLVOHDGLQJUHSUHVHQWDWLRQVWKDWWKH\GLVVHPLQDWHGUHJDUGLQJWKHSURSHUW\DQGVHUYLFHV

RI$&1

        +DG'HIHQGDQWVQRWEHHQFRPSOLFLWDQGKDGWKH\QRWEROVWHUHGDQGIXUWKHUHGWKH

GHFHSWLRQRIFRQVXPHUV3ODLQWLII5RHZRXOGQRWKDYHEHHQLQMXUHG7KXVKLVLQMXULHVZHUH

GLUHFWO\DQGSUR[LPDWHO\FDXVHGE\'HIHQGDQWV¶GLVVHPLQDWLRQRIXQWUXHRUPLVOHDGLQJ

VWDWHPHQWVDQGUHSUHVHQWDWLRQVUHJDUGLQJSURSHUW\RUVHUYLFHVWRLQGLYLGXDOVZLWKLQWKHVWDWHRI

0DU\ODQGLQYLRODWLRQRI0G&RGH$QQ&RP/DZ  

        3ODLQWLII5RHLVHQWLWOHGWRHTXLWDEOHUHOLHIDFWXDOGDPDJHVDQGDWWRUQH\V¶IHHV

XQGHU0G&RGH$QQ&RP/DZ D LQDQDPRXQWWREHSURYHQDWWULDODQGDQ\RWKHU

MXVWDQGSURSHUUHOLHIDYDLODEOHXQGHUWKH0DU\ODQG&3$

&28176,;            8QIDLUDQG'HFHSWLYH$FWVRU3UDFWLFHVLQ9LRODWLRQRI3HQQV\OYDQLD
                       8QIDLU7UDGH3UDFWLFHVDQG&RQVXPHU3URWHFWLRQ/DZ ³873&3/´ 
                       3D6WDW$QQ  et seq

        3ODLQWLIIVLQFRUSRUDWHE\UHIHUHQFHDOOSUHFHGLQJSDUDJUDSKVDQGUHDOOHJHWKHPDV

LIVHWIRUWKIXOO\KHUHLQ3ODLQWLII0DU\0RHDVVHUWV&RXQW6L[RQEHKDOIRIKHUVHOI

        'HIHQGDQWVDUH³SHUVRQV´ZLWKLQWKHPHDQLQJRI3D6WDW$QQ  

        6HFWLRQ  LL RIWKH3HQQV\OYDQLD8QIDLU7UDGH3UDFWLFHVDQG&RQVXPHU

3URWHFWLRQ/DZSURKLELWVEXVLQHVVDFWVRUSUDFWLFHVWKDW³FDXV>H@OLNHOLKRRGRIFRQIXVLRQRURI

PLVXQGHUVWDQGLQJDVWRWKHVRXUFHVVSRQVRUVKLSDSSURYDORUFHUWLILFDWLRQRIJRRGVRUVHUYLFHV´



                                                
     Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 156 of 164




3D6WDW$QQ  LL 6HFWLRQ  LLL SURKLELWVEXVLQHVVDFWVRUSUDFWLFHVWKDW

³FDXV>H@OLNHOLKRRGRIFRQIXVLRQRURIPLVXQGHUVWDQGLQJDVWRDIILOLDWLRQFRQQHFWLRQRU

DVVRFLDWLRQZLWKRUFHUWLILFDWLRQE\DQRWKHU´3D6WDW$QQ  LLL 

        6HFWLRQ  Y IXUWKHUSURKLELWVEXVLQHVVDFWVRUSUDFWLFHVZKLFKLQFOXGH

³>U@HSUHVHQWLQJWKDWJRRGVRUVHUYLFHVKDYHVSRQVRUVKLSDSSURYDOFKDUDFWHULVWLFVLQJUHGLHQWV

XVHVEHQHILWVRUTXDQWLWLHVWKDWWKH\GRQRWKDYHRUWKDWDSHUVRQKDVDVSRQVRUVKLSDSSURYDO

VWDWXVDIILOLDWLRQRUFRQQHFWLRQWKDWKHGRHVQRWKDYH´3D6WDW$QQ  Y 

        6HFWLRQ  YLL SURKLELWVEXVLQHVVDFWVRUSUDFWLFHVZKLFKLQFOXGH

³>U@HSUHVHQWLQJWKDWJRRGVRUVHUYLFHVDUHRIDSDUWLFXODUVWDQGDUGTXDOLW\RUJUDGHRUWKDWJRRGV

DUHRIDSDUWLFXODUVW\OHRUPRGHOLIWKH\DUHRIDQRWKHU´3D6WDW$QQ  YLL 

)LQDOO\VHFWLRQ  [[L SURKLELWV³>H@QJDJLQJLQDQ\RWKHUIUDXGXOHQWRUGHFHSWLYHFRQGXFW

ZKLFKFUHDWHVDOLNHOLKRRGRIFRQIXVLRQRUPLVXQGHUVWDQGLQJ´3D6WDW$QQ  [[L 

        'HIHQGDQWVYLRODWHG3D6WDW$QQ  LLLLLYYLL[[L E\

GLVVHPLQDWLQJWRWKHSXEOLFDIDOVHDQGPLVOHDGLQJ0HVVDJHRQEHKDOIRI$&1QDPHO\  WKDW

SURVSHFWLYHLQYHVWRUVZRXOGKDYHDUHDVRQDEOHSUREDELOLW\RIFRPPHUFLDOVXFFHVVLIWKH\ERXJKW

LQWR$&1  WKDW7UXPSZDVHQGRUVLQJDQGSURPRWLQJLQYHVWPHQWLQ$&1EHFDXVHKHEHOLHYHG

WKDWLWRIIHUHGDUHDVRQDEOHSUREDELOLW\RIFRPPHUFLDOVXFFHVV UDWKHUWKDQEHFDXVHWKH7UXPS

(QWHUSULVHZDVEHLQJSDLG DQG  WKDW7UXPS¶VHQGRUVHPHQWZDVSUHGLFDWHGRQH[WHQVLYHGXH

GLOLJHQFHLQVLGHULQIRUPDWLRQDQGSHUVRQDOH[SHULHQFHZLWKWKH$&1EXVLQHVVRSSRUWXQLWLHV

        $URXQGPLG3ODLQWLII0RHUHFHLYHGWKHIUDXGXOHQW0HVVDJHE\ZDWFKLQJD

SURPRWLRQDOYLGHRSURPLQHQWO\IHDWXULQJ7UXPSDWDQHYHQWKHOGLQD3HQQV\OYDQLDKRWHO

        $OORIWKHDFWVFRPSODLQHGRIKHUHLQZHUHSHUSHWUDWHGE\'HIHQGDQWVLQWKHFRXUVH

RIWUDGHRUFRPPHUFHZLWKLQWKHPHDQLQJRI3D&RQV6WDW  




                                                
     Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 157 of 164




         $VVHWIRUWKLQWKLV&RPSODLQW'HIHQGDQWVNQHZRUE\H[HUFLVHRIUHDVRQDEOHFDUH

VKRXOGKDYHNQRZQWKDWWKHVWDWHPHQWVUHJDUGLQJWKHSURSHUW\DQGVHUYLFHVRI$&1ZHUHIDOVH

DQGPLVOHDGLQJ7KHVWDWHPHQWVGHVFULEHGDERYHZKLFK'HIHQGDQWVGLVVHPLQDWHGWRWKHSXEOLF

ZHUHPDWHULDODQGOLNHO\WRGHFHLYHDUHDVRQDEOHFRQVXPHU

         $VVHWIRUWKLQWKLV&RPSODLQW'HIHQGDQWVLQWHQGHGWKDWFRQVXPHUVUHO\RQWKH

IDOVHDQGPLVOHDGLQJUHSUHVHQWDWLRQVWKDWWKH\GLVVHPLQDWHGUHJDUGLQJWKHSURSHUW\DQGVHUYLFHV

RI$&1

         3ODLQWLII0RHLQYHVWHGKHUPRQH\LQ$&1DVDGLUHFWUHVXOWRIDQGLQUHOLDQFHRQ

WKHIDOVHDQGPLVOHDGLQJUHSUHVHQWDWLRQVGLVVHPLQDWHGE\'HIHQGDQWV

         +DG'HIHQGDQWVQRWEHHQFRPSOLFLWDQGKDGWKH\QRWEROVWHUHGDQGIXUWKHUHGWKH

GHFHSWLRQRIFRQVXPHUV3ODLQWLII0RHZRXOGQRWKDYHEHHQLQMXUHG7KXV3ODLQWLIIV¶LQMXULHV

ZHUHGLUHFWO\DQGSUR[LPDWHO\FDXVHGE\'HIHQGDQWV¶GLVVHPLQDWLRQRIXQWUXHRUPLVOHDGLQJ

VWDWHPHQWVDQGUHSUHVHQWDWLRQVRISURSHUW\RUVHUYLFHVWRLQGLYLGXDOVZLWKLQWKHVWDWHRI

3HQQV\OYDQLDLQYLRODWLRQRI3D6WDW$QQ  LLLLLYYLL[[L 

         ,QDFFRUGDQFHZLWK3D6WDW$QQ3ODLQWLII0RHLVHQWLWOHGWRWUHEOH

WKHLUDFWXDOGDPDJHVRUZKLFKHYHULVJUHDWHUHTXLWDEOHUHOLHIDQGDWWRUQH\V¶IHHVDQGFRVWV

3D&RQV6WDW D 3ODLQWLII0RHLVDOVRHQWLWOHGWRDQDZDUGRISXQLWLYHGDPDJHV

JLYHQWKDW'HIHQGDQWV¶FRQGXFWZDVPDOLFLRXVZDQWRQZLOOIXORSSUHVVLYHRUH[KLELWHGD

UHFNOHVVLQGLIIHUHQFHWRWKHULJKWVRIRWKHUV

&28176(9(1            &RPPRQ/DZ)UDXG

         3ODLQWLIIVLQFRUSRUDWHE\UHIHUHQFHDOOSUHFHGLQJSDUDJUDSKVDQGUHDOOHJHWKHPDV

LIVHWIRUWKIXOO\KHUHLQ




                                                  
    Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 158 of 164




        $VDOOHJHGKHUHLQ'HIHQGDQWVLQWHQWLRQDOO\PDGHIDOVHUHSUHVHQWDWLRQVRIPDWHULDO

IDFWUHJDUGLQJWKHQDWXUHRIWKH$&1EXVLQHVVRSSRUWXQLWLHVQDPHO\  WKDWSURVSHFWLYH

LQYHVWRUVZRXOGKDYHDUHDVRQDEOHSUREDELOLW\RIFRPPHUFLDOVXFFHVVLIWKH\ERXJKWLQWRWKH

$&1EXVLQHVVRSSRUWXQLWLHV  WKDW7UXPSZDVHQGRUVLQJDQGSURPRWLQJWKH$&1EXVLQHVV

RSSRUWXQLWLHVEHFDXVHKHEHOLHYHGWKDWWKH\RIIHUHGDUHDVRQDEOHSUREDELOLW\RIFRPPHUFLDO

VXFFHVV UDWKHUWKDQEHFDXVHWKH7UXPS(QWHUSULVHZDVEHLQJSDLG DQG  WKDW7UXPS¶V

HQGRUVHPHQWZDVSUHGLFDWHGRQH[WHQVLYHGXHGLOLJHQFHH[SHULHQFHDQGRUDFFHVVWRLQVLGH

LQIRUPDWLRQDERXWWKH$&1EXVLQHVVRSSRUWXQLWLHV

        2QRUDERXWWKHGDWHVVHWIRUWKEHORZ3ODLQWLIIVUHFHLYHGWKHIROORZLQJIUDXGXOHQW

FRPPXQLFDWLRQVE\7UXPS

               $    ,QPLGWRODWHDWDQ$&1UHFUXLWPHQWPHHWLQJLQ/RV$QJHOHV

                      3ODLQWLII'RHYLHZHGDQ$&1'9'LQZKLFK7UXPSGHOLYHUHGWKH

                      0HVVDJHGLUHFWO\WRYLHZHUV7KH0HVVDJHZDVUHSHDWHGDQGDXJPHQWHG

                      E\FOLSVRI$&1¶VDSSHDUDQFHRQThe Celebrity ApprenticeZKLFK

                      3ODLQWLII'RHDOVRYLHZHG

               %    3ODLQWLII'RHDOVRUHFHLYHGWKH0HVVDJHDW$&1PHHWLQJVVKHDWWHQGHG

                      HYHU\WZRZHHNVWKURXJKRXWODWHWRODWHDWWZRKRWHOVLQ/RV

                      $QJHOHVGXULQJZKLFK$&1'9'VSURPLQHQWO\IHDWXULQJ7UXPS¶V

                      HQGRUVHPHQWZHUHSOD\HG

               &    3ODLQWLII'RHDOVRUHFHLYHGWKH0HVVDJHDW$&1FRQIHUHQFHVLQLQ

                      &OHYHODQG2KLRDQG'HWURLW0LFKLJDQGXULQJZKLFKYLGHRVIHDWXULQJ

                      7UXPSFRQYH\LQJWKH0HVVDJHZHUHSURPLQHQWO\GLVSOD\HG




                                              
    Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 159 of 164




               '    ,QPLGDWDQ$&1UHFUXLWPHQWPHHWLQJLQ/RV$QJHOHV3ODLQWLII/RH

                      YLHZHGDQ$&1'9'LQZKLFK7UXPSGHOLYHUHGWKH0HVVDJHGLUHFWO\WR

                      YLHZHUV

               (    3ODLQWLII/RHDOVRUHFHLYHGWKH0HVVDJHDWDSSUR[LPDWHO\WR$&1

                      PHHWLQJVKHDWWHQGHGHYHU\WZRZHHNVWKURXJKRXWODWHWRODWHDW

                      WZRKRWHOVLQ/RV$QJHOHVGXULQJZKLFK$&1'9'VSURPLQHQWO\

                      IHDWXULQJ7UXPS¶VHQGRUVHPHQWZHUHSOD\HG

               )    3ODLQWLII/RHDOVRUHFHLYHGWKH0HVVDJHDW$&1FRQIHUHQFHVLQLQ

                      3DOP6SULQJV&DOLIRUQLD&OHYHODQG2KLRDQG'HWURLW0LFKLJDQGXULQJ

                      ZKLFKYLGHRVIHDWXULQJ7UXPSFRQYH\LQJWKH0HVVDJHZHUHSURPLQHQWO\

                      GLVSOD\HG

               *    $URXQGPLG3ODLQWLII5RHUHFHLYHGWKH0HVVDJHE\ZDWFKLQJYLGHR

                      RI7UXPSIURPDQHSLVRGHRITheCelebrity ApprenticeIHDWXULQJ$&1

               +    $URXQGPLG3ODLQWLII0RHUHFHLYHGWKH0HVVDJHE\ZDWFKLQJD

                      SURPRWLRQDOYLGHRSURPLQHQWO\IHDWXULQJ7UXPSDWDQHYHQWKHOGLQD

                      3HQQV\OYDQLDKRWHO

        $VVHWIRUWKLQWKLV&RPSODLQW'HIHQGDQWVNQHZRUE\H[HUFLVHRIUHDVRQDEOHFDUH

VKRXOGKDYHNQRZQWKDWWKHVWDWHPHQWVUHJDUGLQJWKHSURSHUW\DQGVHUYLFHVRI,QYHVWPHQWV$&1

ZHUHIDOVHDQGPLVOHDGLQJ7KHVWDWHPHQWVUHIHUHQFHGDERYHZKLFK'HIHQGDQWVGLVVHPLQDWHGWR

WKHSXEOLFZHUHOLNHO\WRGHFHLYHDUHDVRQDEOHFRQVXPHUDQGWKHUHIRUHZHUHPDWHULDO

        $VVHWIRUWKLQWKLV&RPSODLQW'HIHQGDQWVLQWHQGHGWKDWFRQVXPHUVUHO\RQWKH

IDOVHDQGPLVOHDGLQJUHSUHVHQWDWLRQVWKDWWKH\GLVVHPLQDWHGUHJDUGLQJWKHSURSHUW\DQGVHUYLFHV

RI$&1




                                              
      Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 160 of 164




           3ODLQWLIIVLQYHVWHGWKHLUPRQH\LQ$&1DVDGLUHFWUHVXOWRIDQGLQUHOLDQFHRQWKH

IDOVHDQGPLVOHDGLQJUHSUHVHQWDWLRQVGLVVHPLQDWHGE\'HIHQGDQWV

           +DG'HIHQGDQWVQRWEHHQFRPSOLFLWDQGKDGWKH\QRWEROVWHUHGDQGIXUWKHUHGWKH

GHFHSWLRQRIFRQVXPHUV3ODLQWLIIVZRXOGQRWKDYHEHHQLQMXUHG7KXV3ODLQWLIIV¶LQMXULHVZHUH

GLUHFWO\DQGSUR[LPDWHO\FDXVHGE\'HIHQGDQWV¶FRQGXFWRIWKH7UXPS(QWHUSULVH¶VDIIDLUV

WKURXJKDSDWWHUQRIGLVVHPLQDWLQJXQWUXHRUPLVOHDGLQJVWDWHPHQWVDQGUHSUHVHQWDWLRQVRI

SURSHUW\RUVHUYLFHVWRPHPEHUVRIWKHSXEOLFLQYLRODWLRQRIWKHODZ

           3ODLQWLIIVDUHHQWLWOHGWRHTXLWDEOHUHOLHIDQGGDPDJHVLQDQDPRXQWWREHSURYHQDW

WULDO

&2817(,*+7            &RPPRQ/DZ1HJOLJHQW0LVUHSUHVHQWDWLRQ

           3ODLQWLIIVLQFRUSRUDWHE\UHIHUHQFHDOOSUHFHGLQJSDUDJUDSKVDQGUHDOOHJHWKHPDV

LIVHWIRUWKIXOO\KHUHLQ

           $VDOOHJHGKHUHLQ'HIHQGDQWVQHJOLJHQWO\PDGHPDWHULDOPLVUHSUHVHQWDWLRQVRI

IDFWUHJDUGLQJWKHQDWXUHRI$&1'HIHQGDQWV¶PLVUHSUHVHQWDWLRQVZHUHIXUQLVKHGIRUWKH

SXUSRVHRILQIOXHQFLQJ3ODLQWLIIV¶ILQDQFLDOFKRLFHV DQGXOWLPDWHO\LQGXFLQJWKHPWRLQYHVWLQWKH

(QGRUVHG(QWLWLHV¶EXVLQHVVRSSRUWXQLWLHVDQGWUDLQLQJSURJUDPV 

           $VDOOHJHGKHUHLQ'HIHQGDQWVLQWHQWLRQDOO\PDGHIDOVHUHSUHVHQWDWLRQVRIPDWHULDO

IDFWUHJDUGLQJWKHQDWXUHRIWKH$&1EXVLQHVVRSSRUWXQLWLHVQDPHO\  WKDWSURVSHFWLYH

LQYHVWRUVZRXOGKDYHDUHDVRQDEOHSUREDELOLW\RIFRPPHUFLDOVXFFHVVLIWKH\ERXJKWLQWRWKH

$&1EXVLQHVVRSSRUWXQLWLHV  WKDW7UXPSZDVHQGRUVLQJDQGSURPRWLQJWKH$&1EXVLQHVV

RSSRUWXQLWLHVEHFDXVHKHEHOLHYHGWKDWWKH\RIIHUHGDUHDVRQDEOHSUREDELOLW\RIFRPPHUFLDO

VXFFHVV UDWKHUWKDQEHFDXVHWKH7UXPS(QWHUSULVHZDVEHLQJSDLG DQG  WKDW7UXPS¶V




                                                 
    Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 161 of 164




HQGRUVHPHQWZDVSUHGLFDWHGRQH[WHQVLYHGXHGLOLJHQFHH[SHULHQFHDQGRUDFFHVVWRLQVLGH

LQIRUPDWLRQDERXWWKH$&1EXVLQHVVRSSRUWXQLWLHV

        2QRUDERXWWKHGDWHVVHWIRUWKEHORZ3ODLQWLIIVUHFHLYHGWKHIROORZLQJIUDXGXOHQW

FRPPXQLFDWLRQVE\7UXPS

              $     ,QPLGWRODWHDWDQ$&1UHFUXLWPHQWPHHWLQJLQ/RV$QJHOHV

                      3ODLQWLII'RHYLHZHGDQ$&1'9'LQZKLFK7UXPSGHOLYHUHGWKH

                      0HVVDJHGLUHFWO\WRYLHZHUV7KH0HVVDJHZDVUHSHDWHGDQGDXJPHQWHG

                      E\FOLSVRI$&1¶VDSSHDUDQFHRQThe Celebrity ApprenticeZKLFK

                      3ODLQWLII'RHDOVRYLHZHG

              %     3ODLQWLII'RHDOVRUHFHLYHGWKH0HVVDJHDW$&1PHHWLQJVVKHDWWHQGHG

                      HYHU\WZRZHHNVWKURXJKRXWODWHWRODWHDWWZRKRWHOVLQ/RV

                      $QJHOHVGXULQJZKLFK$&1'9'VSURPLQHQWO\IHDWXULQJ7UXPS¶V

                      HQGRUVHPHQWZHUHSOD\HG

              &     3ODLQWLII'RHDOVRUHFHLYHGWKH0HVVDJHDW$&1FRQIHUHQFHVLQLQ

                      &OHYHODQG2KLRDQG'HWURLW0LFKLJDQGXULQJZKLFKYLGHRVIHDWXULQJ

                      7UXPSFRQYH\LQJWKH0HVVDJHZHUHSURPLQHQWO\GLVSOD\HG

              '     ,QPLGDWDQ$&1UHFUXLWPHQWPHHWLQJLQ/RV$QJHOHV3ODLQWLII/RH

                      YLHZHGDQ$&1'9'LQZKLFK7UXPSGHOLYHUHGWKH0HVVDJHGLUHFWO\WR

                      YLHZHUV

              (     3ODLQWLII/RHDOVRUHFHLYHGWKH0HVVDJHDWDSSUR[LPDWHO\WR$&1

                      PHHWLQJVKHDWWHQGHGHYHU\WZRZHHNVWKURXJKRXWODWHWRODWHDW

                      WZRKRWHOVLQ/RV$QJHOHVGXULQJZKLFK$&1'9'VSURPLQHQWO\

                      IHDWXULQJ7UXPS¶VHQGRUVHPHQWZHUHSOD\HG




                                             
      Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 162 of 164




                 )     3ODLQWLII/RHDOVRUHFHLYHGWKH0HVVDJHDW$&1FRQIHUHQFHVLQLQ

                         3DOP6SULQJV&DOLIRUQLD&OHYHODQG2KLRDQG'HWURLW0LFKLJDQGXULQJ

                         ZKLFKYLGHRVIHDWXULQJ7UXPSFRQYH\LQJWKH0HVVDJHZHUHSURPLQHQWO\

                         GLVSOD\HG

                 *     $URXQGPLG3ODLQWLII5RHUHFHLYHGWKH0HVVDJHE\ZDWFKLQJYLGHR

                         RI7UXPSIURPDQHSLVRGHRITheCelebrity ApprenticeIHDWXULQJ$&1

                 +     $URXQGPLG3ODLQWLII0RHUHFHLYHGWKH0HVVDJHE\ZDWFKLQJD

                         SURPRWLRQDOYLGHRSURPLQHQWO\IHDWXULQJ7UXPSDWDQHYHQWKHOGLQD

                         3HQQV\OYDQLDKRWHO

           $VVHWIRUWKLQWKLV&RPSODLQW'HIHQGDQWVLQWHQGHGWKDWFRQVXPHUVUHO\RQWKH

IDOVHDQGPLVOHDGLQJUHSUHVHQWDWLRQVWKDWWKH\GLVVHPLQDWHGUHJDUGLQJWKHSURSHUW\DQGVHUYLFHV

RI$&1

           'HIHQGDQWVKDGQRUHDVRQDEOHJURXQGVIRUEHOLHYLQJWKDWWKHPLVUHSUHVHQWDWLRQV

ZHUHWUXHDQGIDLOHGWRH[HUFLVHUHDVRQDEOHFDUHDQGRUGLOLJHQFHLQFRPPXQLFDWLQJWKH

PLVUHSUHVHQWDWLRQV'HIHQGDQWV¶PLVUHSUHVHQWDWLRQVZHUHPDWHULDOWRWKHUHDVRQDEOHFRQVXPHU

DQGWKHUHIRUHUHOLDQFHXSRQVXFKUHSUHVHQWDWLRQVPD\EHSUHVXPHGDVDPDWWHURIODZ

           +DG'HIHQGDQWVQRWEHHQFRPSOLFLWDQGKDGWKH\QRWEROVWHUHGDQGIXUWKHUHGWKH

GHFHSWLRQRIFRQVXPHUV3ODLQWLIIVZRXOGQRWKDYHEHHQLQMXUHG7KXV3ODLQWLIIV¶LQMXULHVZHUH

GLUHFWO\DQGSUR[LPDWHO\FDXVHGE\'HIHQGDQWV¶GLVVHPLQDWLRQRIXQWUXHRUPLVOHDGLQJ

VWDWHPHQWVDQGUHSUHVHQWDWLRQVRISURSHUW\RUVHUYLFHVWRPHPEHUVRIWKHSXEOLFLQYLRODWLRQRI

WKHODZ

           3ODLQWLIIVDUHHQWLWOHGWRHTXLWDEOHUHOLHIDQGGDPDJHVLQDQDPRXQWWREHSURYHQDW

WULDO




                                                
     Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 163 of 164




                                      35$<(5)255(/,()

        :+(5()25(3ODLQWLIIVSUD\WKDWWKLV&RXUW

        $     $QRUGHUFHUWLI\LQJWKLVFDVHDVDFODVVDFWLRQSXUVXDQWWR)HGHUDO5XOHRI&LYLO

3URFHGXUH

        %      $MXGJPHQWGHFODULQJWKDW'HIHQGDQWVKDYHFRPPLWWHGWKHYLRODWLRQVRIODZ

DOOHJHGLQWKLVFDVH

        &      $ZDUGDFWXDOFRPSHQVDWRU\VWDWXWRU\FRQVHTXHQWLDOGDPDJHV

        '     $ZDUGSXQLWLYHDQGWUHEOHGDPDJHV

        (     $ZDUGHTXLWDEOHPRQHWDU\UHOLHILQFOXGLQJUHVWLWXWLRQDQGGLVJRUJHPHQWRIDOOLOO

JRWWHQJDLQVDQGWKHLPSRVLWLRQRIDFRQVWUXFWLYHWUXVWXSRQRURWKHUZLVHUHVWULFWLQJWKH

SURFHHGVRI'HIHQGDQWV¶LOOJRWWHQJDLQVWRHQVXUHDQHIIHFWLYHUHPHG\

        )     $ZDUG3ODLQWLIIVWKHFRVWVRIWKLVDFWLRQLQFOXGLQJUHDVRQDEOHDWWRUQH\V¶IHHVDQG

H[SHQVHVDQGH[SHUWIHHV

        *     (QMRLQ'HIHQGDQWVIURPFRQWLQXLQJWRIDOVHO\PDUNHWDQGDGYHUWLVHFRQFHDO

PDWHULDOLQIRUPDWLRQIURPWKHSXEOLFDQGFRPPLWXQODZIXODQGXQIDLUEXVLQHVVDFWVDQG

SUDFWLFHVDQGRUGHU'HIHQGDQWVWRHQJDJHLQDFRUUHFWLYHQRWLFHFDPSDLJQ

        +     $ZDUGGHFODUDWRU\UHOLHI

        ,     $ZDUGSUHMXGJPHQWDQGSRVWMXGJPHQWLQWHUHVWDWWKHKLJKHVWUDWHDOORZHGE\

ODZDQG

        -     *UDQWVXFKIXUWKHUUHOLHIDVWKLV&RXUWPD\GHHPMXVWDQGSURSHU

                                          -85<'(0$1'

        3ODLQWLIIGHPDQGVDWULDOE\MXU\RQDOOFODLPVVRWULDEOHDVDPDWWHURIULJKW

                               




                                                 
Case 1:18-cv-09936-LGS-SLC Document 1 Filed 10/29/18 Page 164 of 164
